                  EXHIBIT 2

PX 587 – COUNT I – Refinery STEERS Events – Sorted
by Pollutant – Totals Added – Traceability Codes Added
         A                 B                  C                   D                 E                   F                            G                     H               I              J           K             L                                           M                                          N                O
     This exhibit adds one column to the stipulated table in PX 1A; that column is entitled “Number of Days of Violation.” The number of days of violation are calculated as follows:

     1. 1 day of violation is counted for each 24-hour period an emission event lasts (e.g., 30-hour Duration = 2 days of violation).

     2. Because the Refinery permit regulates emissions on a pollutant-by-pollutant basis, days of violation are calculated separately for each regulated air contaminant released in an event. VOCs are grouped together as one pollutant because they are regulated that way (except
     for benzene, which is regulated separately in the permit); oxides of Nitrogen are similarly grouped together as one pollutant.

     3. Every emission limit is considered to be “0”, because no upset-related emissions are authorized by the Refinery permit.


1    4. Because the Refinery’s flexible emission caps group all emission sources together, only 1 violation per day for each pollutant released in an emission event is counted, regardless of how many emission points in the same event emitted that pollutant.

                   Bates # of first                                                                                                                                                                Amount     Reported
     Tracking                                                                   Duration                                                               Emission                                                                                                                                     Number of Days     Traceability
                    page of Final     Start Date & Time   End Date & Time                       Authorization                      Unit                                  EPN         Contaminant   Released   Emission                                       Cause
     Number                                                                      (h:mm)                                                                 Point                                                                                                                                         of Violation        Codes
2                     STEERS                                                                                                                                                                         (lbs)  Limit (lbs/hr)
                                                                                                                                                                                                                                FCCU3 C Boiler tripped offline at 2:47 and again shortly after
                  ETSC 000736 -                                                             Not specifically              Fluid Catalytic Cracking     Wet Gas
          66438                          10/14/05 2:47      10/14/05 20:21        17:34                                                                                                Ammonia       1,125.00              0.00 start-up at noon. Cause of event currently under                           1              O-RQ
                  000737                                                                    authorized                             Unit 3          Scrubber Bypass
3                                                                                                                                                                                                                               investigation.
                                                                                                                                                                                                                                Product stripper tower T-276 developed a pinhole leak. The
                                                                                                                                                                                                                                leak was likely caused by corrosion/erosion. There was a small
                                                                                                                                                                                                                                intermittent fire and release of process gas oil (VOC-PGO).
                  ETSC 001049 -                                                             Not specifically                                                                                                                    The small fire has ended and visible emissions from the
          83410                          11/2/06 5:00        11/2/06 19:33        14:33                                          Gofiner 1            Tower T-276                      Ammonia            10.00            0.00                                                                            1
                  001050                                                                    authorized                                                                                                                          pinhole have stopped. The VOC reported is C5 thru C8s. The
                                                                                                                                                                                                                                tower was isolated and repaired. Portions of Gofiner 1 are
                                                                                                                                                                                                                                permitted in Permit 18287 and an Interim Agreement with
4                                                                                                                                                                                                                               TCEQ.
                                                                                                                                                                                                                                A seal on a unit pump failed which resulted in a release of hot
                  ETSC 001027 -                                                             Not specifically                                         Gofiner Unit 1
          85962                          1/11/07 20:25       1/11/07 21:10         0:45                                           Gofiner                               GF1FUG         Ammonia              0.20           0.00 gas oil vapors to the atmosphere. Portions of the Gofiner Unit             1
                  001028                                                                    authorized                                                 Fugitives
5                                                                                                                                                                                                                               are covered under Permit 18287-PSD-TX-730-M4.
               ETSC 001184 -                                                                Not specifically              Fluid Catalytic Cracking   FCCU3 Bypass                                                               CO Boiler SG501C tripped offline. Portions of the FCCU3 are
        121025                         03/06/2009 17:48    03/06/2009 20:31        2:43                                                                               Bypass Stack     Ammonia              9.00           0.00                                                                            1
6              001185                                                                       authorized                             Unit 3               Stack                                                                   authorized under Flexible PAL Permit #18287/PSD-TX-730M4.
                                                                                                                                                                                                                                Loss of oxygen to FCCU2. A portion of emissions are
                  ETSC 001224 -                                                                                                                      FCCU2 Wet Gas
        126586                         07/08/2009 11:00    07/08/2009 12:00        1:00                                           FCCU2                                FCCU2WGS        Ammonia            24.63           76.86 authorized by Flex PAL Permit #18287/PSD-TX-730M-4.                        1
                  001225                                                                                                                                Scrubber
7                                                                                                                                                                                                                               Calculations show emissions were below reportable quantity.
                                                                                                                                                                                                                                A coupling on the common discharge header for the Wet Gas
                                                                                            0.5 lb of the total 0.5 lbs                                                                                                         Scrubber Recirculation Pumps (P-501's) developed a leak on
                  ETSC 001323 -                                                                                             Fluidized Catalytic      FCCU-3 Wet Gas
        143353                         08/09/2010 17:10    08/09/2010 18:31        1:21     are authorized by Permit                                                   FCCU3WGS        Ammonia              0.00          76.86 8/8/2010. The P-501's were shut down to install a temporary                1
                  001324                                                                                                       Cracking Unit            Scrubber
                                                                                            #18287/PSD-TX-730                                                                                                                   clamp. Portions of the unit emissions are authorized by
8                                                                                                                                                                                                                               Permit #18287.PSD-TX-730. The event has ended.
                                                                                            Portions of these
                                                                                            emissions may be                Fluidized Catalytic                                                                                 Loss of oxygen to FCCU2 from third party supplier. Portions of
                  ETSC 001341 -                                                                                                                      FCCU2 Wet Gas
        146940                          11/02/2010 2:00    11/02/2010 5:00         3:00     authorized by Flex PAL           Cracking Unit 2                           FCCU2WGS        Ammonia            68.30           76.86 emissions may be authorized by Flex PAL Permit #18287/PSD-                 1
                  001342                                                                                                                                Scrubber
                                                                                            Permit #18287/PSD-TX-                 (FCCU2)                                                                                       TX-730M-4.
9                                                                                           730M4
                                                                                                                                                                                                                                  On 11/15/11 @ 23:00, a hole in a pipe was observed and
                                                                                                                                                                                                                                  subsequently isolated. The initial estimate indicated the
                  ETSC 068035 -                                                             Not specifically                                                                                                                      emissions were below a reportable quantity. During insulation
        161875                          11/17/11 10:50      11/17/11 11:15         0:25                                           Gofiner             Hole in Pipe                     Ammonia       5.07          0.00                                                                                    1
                  068036                                                                    authorized                                                                                                                            removal and inspection of the pipe on 11/17/11, the hole size
                                                                                                                                                                                                                                  indicated that emissions were higher than the initial estimate.
10                                                                                                                                                                                                                                Site Permit Number is 18287/PSD-TX-730.
                                                                                            51 LBS of total 111 LBS
                  ETSC 072917 -                                                             are authorized under    Fluid Catalytic Cracking                                                                                      CO Boiler trip resulted in emissions from the wet gas scrubber
        179694                           2/22/13 18:24       2/23/13 1:31          7:07                                                      Cat Regenerator           FCCU3WGS        Ammonia       60.00         78.86                                                                                   1
                  072918                                                                    Permit #18287/PSD-TX-             Unit 3                                                                                              at the Fluidized Catalytic Cracking Unit 3 (FCCU3).
11                                                                                          730M4/PAL7
                                                                                            5 lbs of total 5 bs are
                  ETSC 073073 -                                                             authorized under Permit    Fluidized Catalytic   FCCU3 Wet Gas                                                                        FCCU3 Selective Catalytic Reduction (SCR) system tripped
        187800                           8/27/13 8:30        8/27/13 16:45         8:20                                                                                FCCU3WGS        Ammonia              0.00          76.86                                                                            1
                  073074                                                                    #18287/PSD-TX-               Cracking Unit 3         Scrubber                                                                         causing NOx emissions to increase.
12                                                                                          730M4/PAL7.
                                                                                                                                                                                                                                  Boiler SG-501A boiler tripped offline and regenerator flue gas
                                                                                            Not specifically
                                                                                                                                                                                                                                  was partially rerouted to the atmosphere. Regenerator flue
                                                                                            authorized. 500 ppm
                  ETSC 001053 -                                                                                      Fluid Catalytic Cracking          CO Boiler                                                                  gas from SG-501A also continued to be partially treated in the
          83379                          11/1/06 14:24       11/2/06 16:00        25:36     limit per 40 CFR 63.1565                                                                   Ammonia            76.00            0.00                                                                            2
                  001054                                                                                                      Unit 3                  Bypass Stack                                                                Wet Gas Scrubber. The boiler was promptly returned to
                                                                                            (c)(1) and 400 ppm limit
                                                                                                                                                                                                                                  service. The event has ended. The unit has returned to normal
                                                                                            per 30 TAC 117.206(e)(1)
13                                                                                                                                                                                                                                operations.
                                                                                                                                                                                                                                  Valve leaked regenerator flue gas through boiler SG-501C
                  ETSC 001055 -                                                             Permit by Rule 30 TAC         Fluid Catalytic Cracking FCCU3 Wet Gas                                                                  during maintenance. Flue gas was partially treated in Wet Gas
          83409                         10/31/06 23:17       11/1/06 1:00         25:43                                                                                                Ammonia            22.00         100.00                                                                             2
                  001056                                                                    106.263                                Unit 3          Scrubber Stack                                                                 Scrubber. Event has ended. Unit has returned to normal
14                                                                                                                                                                                                                                operations. Portions of FCCU3 are permitted in Permit 18287.
                                                                                                                                                                                                                                  High fuel gas burner pressure caused by an obstruction in the
                                                                                                                                                                                                                                  seal drum increased carbon monoxide concentration in Wet
                                                                                                                                                                                                                                  Gas Scrubber. Federal and State carbon monoxide limits were
                                                                                                                                                                                                                                  exceeded. Boilers SG-501A and SG-501B tripped offline.
                  ETSC 001047 -                                                             Not specifically              Fluid Catalytic Cracking    Wet Gas
          83474                          11/3/06 13:00       11/5/06 0:01         35:01                                                                                                Ammonia         208.00              0.00   Regenerator flue gas continued to be partially treated in the            2              O-RQ
                  001048                                                                    authorized                             Unit 3          Scrubber Stack
                                                                                                                                                                                                                                  Wet Gas Scrubber throughout the event. The event has
                                                                                                                                                                                                                                  ended. Operations have returned to normal. Event details are
                                                                                                                                                                                                                                  under investigation. Portions of FCCU3 are permitted under
15                                                                                                                                                                                                                                Permit 18287.
                                                                                                                                                                                                                                  CO boiler SG-501C went off-line unexpectedly on the morning
                                                                                                                                                                                                                                  of 5/13/07 causing unauthorized emissions at the wet gas
                                                                                                                                                                                                                                  scrubber stack. The boiler was restarted a few hours later and
                                                                                                                                                                                                                                  returned to normal operation. Hourly emissions were back to
                  ETSC 000985 -                                                             Not specifically              Fluid Catalytic Cracking FCCU3 Wet Gas
          89687                          4/13/07 5:27        4/14/07 8:03         26:36                                                                                FCCU3WGS        Ammonia         189.00              0.00   normal by 2:30pm, but the 24-hr rolling average for Carbon               2              O-RQ
                  000986                                                                    authorized                        Unit 3; CO Boiler       Scrubber
                                                                                                                                                                                                                                  MOnoxide stayed above the 400ppm limit set in 30 TAC
                                                                                                                                                                                                                                  Chapter 117 until 8:00am the next day. Portions of the FCCU3
                                                                                                                                                                                                                                  are authorized under Flexible Permit Number 18287/PSD-TX-
16                                                                                                                                                                                                                                730.
                                                                                                                                                                                                                                  Planned Maintenance resulted in startup of FCCU3 C Boiler.
                  ETSC 001083 -                                                             PAL Permit 18287/PSD-                                    FCCU3 Wet Gas
        106240                         04/13/2008 14:20    04/15/2008 2:12        35:52                                         CO Boiler C                              FCCU3         Ammonia            19.00           80.65   Portions of this unit are authorized by Flex PAL Permit                  2
                  001084                                                                    TX-302M4                                                    Scrubber
17                                                                                                                                                                                                                                #18287/PSD-TX-730M-4.
                                                                                                                                                                                                                                  Boilers A/B/C tripped off-line. Portions of the FCCU3 unit are
               ETSC 001091 -                                                                No specific emisions          Fluid Catalytic Cracking
        106703                         04/22/2008 11:02    04/23/2008 16:21       29:19                                                               Bypass Stack    Bypass Stack     Ammonia         349.00              0.00   authorized under Flexible PAL Permit #18287/PSD-TX-                      2              O-RQ
               001092                                                                       authorized                             Unit 3
18                                                                                                                                                                                                                                730M4/PAL.
                                                                                                                                                                                                                                  Boilers B and C tripped offline while A Boiler was down for
               ETSC 001173 -                                                                Not specifically              Fluid Catalytic Cracking   FCCU3 Bypass
        118545                          01/07/2009 4:16    01/08/2009 14:16       34:00                                                                               Bypass Stack     Ammonia            32.00            0.00   maintenance. Portions of FCCU3 unit are authorized under                 2
               001174                                                                       authorized                             Unit 3               Stack
19                                                                                                                                                                                                                                Flexible PAL Permit #18287/PSD-TX-730M4.
                                                                                            33 lbs of 33 are
                                                                                                                                                                                                                                FCCU2 start up after planned shutdown for planned
               ETSC 001180 -                                                                authorized by PAL             Fluid Catalytic Cracking FCCU2 Wet Gas
        120022                         02/13/2009 19:00    02/15/2009 16:00       45:00                                                                                FCCUWGS         Ammonia            33.00           76.86 maintenance. Portions of this unit are authorized by Flex PAL              2
               001181                                                                       Permit 18287/PSD-TX-                   Unit 2             Scrubber
                                                                                                                                                                                                                                Permit #18287/PSD-TX-730M-4.
20                                                                                          730M4
                                                                                                                                                                                                                                  FCCU3 CO Boiler A tripped offline while B Boiler was down for
                  ETSC 001197 -                                                             Not specifically              Fluid Catalytic Cracking   FCCU3 Bypass     FCCU3 Bypass
        123795                          05/04/2009 8:41    05/05/2009 17:05       32:24                                                                                                Ammonia         216.00              0.00   maintenance. Portions of FCCU3 unit are authorized under                 2              O-RQ
                  001198                                                                    authorized                             Unit 3               Stack            Stack
21                                                                                                                                                                                                                                Flexible PAL Permit #18287/PSD-TX-730M4.
                                                                                                                                                                                                                                  CO Boiler SG501A tripped offline. Hourly emissions returned
                                                                                                                                                                                                                                  to normal by 6/22/09 18:40, but the 24-hr rolling average for
                  ETSC 001210 -                                                             Not specifically              Fluid Catalytic Cracking   FCCU3 Bypass
        125838                          06/21/2009 9:24    06/22/2009 18:40       33:16                                                                               Bypass Stack     Ammonia              2.00           0.00   carbon monoxide stayed above the 400 ppm limit set in 30                 2
                  001211                                                                    authorized                             Unit 3               Stack
                                                                                                                                                                                                                                  TAC Chapter 117 until 6/22/09 21:00. Portions of FCCU3 are
22                                                                                                                                                                                                                                authorized under Flexible PAL Permit #18287/PSD-TX-730M4.
                                                                                                                                                                                                                                  Startup FCCU3 from planned maintenance. Event ended on
                                                                                                                                                                                                                                  11/26/09 at 21:00, but the 24-hr rolling average for carbon
                  ETSC 001247 -                                                             Not specifically                                         FCCU3 Wet Gas
        132400                          11/25/2009 7:59    11/26/2009 21:00       37:01                                           FCCU3                                FCCU3WGS        Ammonia         369.00             76.86   monoxide stayed above the 400 ppm limit set in 30 TAC                    2              O-RQ
                  001248                                                                    authorized                                                  Scrubber
                                                                                                                                                                                                                                  Chapter 117 until 11/27/09 21:00. Portions of this unit are
23                                                                                                                                                                                                                                authorized by Flex PAL Permit #18287/PSD-TX-730M-4.
                                                                                                                                                                                                                                  CO boiler SG-501C was taken out of service periodically to
                                                                                                                                                                                                                                  perform maintenance on the electrical circuit that provides
                                                                                                                                                                                                                                  power to its instrumentation. The boiler had to remain out of
                  ETSC 001041 -                                                             Not specifically              Fluid Catalytic Cracking FCCU3 Wet Gas
          84046                         11/20/06 10:25      11/22/06 11:19        48:54                                                                                FCCU3WGS        Ammonia         226.00              0.00   service longer than expected to make the necessary repairs.              3              O-RQ
                  001042                                                                    authorized                    Unit 3; CO Boiler 501C      Scrubber
                                                                                                                                                                                                                                  The extended duration of the downtime caused the unit to
                                                                                                                                                                                                                                  exceed the pre-notified emissions. Portions of the FCCU3 are
24                                                                                                                                                                                                                                authorized under permit #18287.
                                                                                                                                                                                                                                  Scheduled shutdown due to approach of Hurricane Ike.
                  ETSC 001132 -                                                             Permit #18287 & PSD-TX- Fluid Catalytic Cracking
        113887                         09/11/2008 12:00    09/15/2008 18:30       102:30                                                              FCCU3 D505       FCCU3WGS        Ammonia         680.00             80.65   Portions of the refinery are permitted under Permit                      5              O-RQ
                  001144                                                                    730M4                            Unit 2
25                                                                                                                                                                                                                                18287/PSD-TX-730-M4.
                                                                                                                                                                                                                                  Benzene concentration in wastewater treatment system.
                  ETSC 001113 -                                                             All emissions authorized Wastewater Treatment Wastewater
        110887                          07/10/2008 3:00    07/18/2008 13:00       202:00                                                                               SEWERFUG        Ammonia            89.00           80.65   Portions of this facility are authorized by Permit No.                   9
                  001114                                                                    by Permit 18287                 Plant        Treatment Plant
26                                                                                                                                                                                                                                18287/PSD-TX-730.
                                                                                                                                                                                                                                  A malfunction of seal tank internals to the FCCU3 bypass stack
                  ETSC 001103 -                                                             Not specifically              Fluid Catalytic Cracking   FCCU3 Bypass
        109166                         05/15/2008 17:00    07/25/2008 14:00      1701:00                                                                                 FCCU3         Ammonia         567.00              0.00   caused emissions to escape through the stack. Portions of the            71             O-RQ
                  001104                                                                    authorized                             Unit 3               Stack
27                                                                                                                                                                                                                                refinery are authorized by PAL permit number 18287.
                                                                                                                                                                                                                                  Boiler SG-501A boiler tripped offline and regenerator flue gas
                                                                                                                                                                                                                                  was partially rerouted to the atmosphere. Regenerator flue
                  ETSC 001053 -                                                             Not specifically              Fluid Catalytic Cracking    Wet Gas                                                                     gas from SG-501A also continued to be partially treated in the
          83379                          11/1/06 14:24       11/2/06 16:00        25:36                                                                                                Ammonia            47.00            0.00                                                                      already counted
                  001054                                                                    authorized                             Unit 3          Scrubber Stack                                                                 Wet Gas Scrubber. The boiler was promptly returned to
                                                                                                                                                                                                                                  service. The event has ended. The unit has returned to normal
28                                                                                                                                                                                                                                operations.
        A                 B                  C                  D              E                   F                        G                     H               I              J           K              L                                         M                                         N                  O
                  Bates # of first                                                                                                                                                        Amount     Reported
     Tracking                                                               Duration                                                         Emission                                                                                                                                    Number of Days      Traceability
                   page of Final     Start Date & Time   End Date & Time                   Authorization                  Unit                                  EPN         Contaminant   Released   Emission                                       Cause
     Number                                                                  (h:mm)                                                           Point                                                                                                                                        of Violation         Codes
2                    STEERS                                                                                                                                                                 (lbs)  Limit (lbs/hr)
                                                                                                                                                                                                                       Boilers A/B/C tripped off-line. Portions of the FCCU3 unit are
                 ETSC 001091 -                                                         Permit 18287 - 32 lb      Fluid Catalytic Cracking FCCU3 Wet Gas
       106703                         04/22/2008 11:02   04/23/2008 16:21    29:19                                                                           FCCU3WGS         Ammonia            32.00           80.65 authorized under Flexible PAL Permit #18287/PSD-TX-                already counted
                 001092                                                                authorized                         Unit 3             Scrubbe
29                                                                                                                                                                                                                     730M4/PAL.
                                                                                                                                                                                                                       Scheduled shutdown due to approach of Hurricane Ike.
              ETSC 001132 -                                                            Not specifically          Fluid Catalytic Cracking   FCCU3 Bypass
       113887                         09/11/2008 12:00   09/15/2008 18:30    102:30                                                                          Bypass Stack     Ammonia              6.00           0.00 Portions of the refinery are permitted under Permit                already counted
              001144                                                                   authorized                         Unit 3               Stack
30                                                                                                                                                                                                                     18287/PSD-TX-730-M4.
                                                                                                                                                                                                                       Boilers B and C tripped offline while A Boiler was down for
              ETSC 001173 -                                                            Not specifically          Fluid Catalytic Cracking FCCU3 Wet Gas
       118545                          01/07/2009 4:16   01/08/2009 14:16    34:00                                                                            FCCUWGS         Ammonia         911.00             76.86 maintenance. Portions of FCCU3 unit are authorized under           already counted
              001174                                                                   authorized                         Unit 3             Scrubber
31                                                                                                                                                                                                                     Flexible PAL Permit #18287/PSD-TX-730M4.
                 ETSC 001184 -                                                         Not specifically          Fluid Catalytic Cracking FCCU3 Wet Gas                                                                CO Boiler SG501C tripped offline. Portions of the FCCU3 are
       121025                         03/06/2009 17:48   03/06/2009 20:31     2:43                                                                           FCCU3WGS         Ammonia         112.00             76.86                                                                    already counted
32               001185                                                                authorized                         Unit 3             Scrubber                                                                  authorized under Flexible PAL Permit #18287/PSD-TX-730M4.
                                                                                                                                                                                                                       FCCU3 CO Boiler A tripped offline while B Boiler was down for
                 ETSC 001197 -                                                         Not specifically          Fluid Catalytic Cracking FCCU3 Wet Gas
       123795                          05/04/2009 8:41   05/05/2009 17:05    32:24                                                                           FCCU3WGS         Ammonia            13.00           76.86 maintenance. Portions of FCCU3 unit are authorized under           already counted
                 001198                                                                authorized                         Unit 3             Scrubber
33                                                                                                                                                                                                                     Flexible PAL Permit #18287/PSD-TX-730M4.
                                                                                                                                                                                                                       CO Boiler SG501A tripped offline. Hourly emissions returned
                                                                                                                                                                                                                       to normal by 6/22/09 18:40, but the 24-hr rolling average for
                 ETSC 001210 -                                                         Not specifically          Fluid Catalytic Cracking FCCU3 Wet Gas
       125838                          06/21/2009 9:24   06/22/2009 18:40    33:16                                                                           FCCU3WGS         Ammonia         139.00             76.86 carbon monoxide stayed above the 400 ppm limit set in 30           already counted
                 001211                                                                authorized                         Unit 3             Scrubber
                                                                                                                                                                                                                       TAC Chapter 117 until 6/22/09 21:00. Portions of FCCU3 are
34                                                                                                                                                                                                                     authorized under Flexible PAL Permit #18287/PSD-TX-730M4.
35                                                                                                                                                                                                                                                                  TOTAL - AMMONIA            120                90
                                                                                                                                                                                                                       During the shutdown of the unit, an atmospheric safety valve
                                                                                                                                                                                                                       on T-451 opened and released light hydrocarbons to the
                                                                                                                                                                                                                       atmopshere. Light ends and hydrogen were also flared on the
                 ETSC 000798 -                                                         Not specifically
         70344                          1/12/06 13:09      1/12/06 13:24      0:15                                   Hydroformer 4             OH0452                         Benzene            44.33            0.00 Fuels North flare system. VOC is unspeciated C6+ material.               1             O-RQ, R-RQ
                 000801                                                                authorized
                                                                                                                                                                                                                       The refinery flares are permitted under permit #18287. This
                                                                                                                                                                                                                       report is being submitted under an interim agreement with
36                                                                                                                                                                                                                     TCEQ Region 12.
                                                                                                                                                                                                                       Heptane from tank 741 water draw valve was released to
                 ETSC 000828 -                                                         Not specifically                                      Plant Sewer
         76531                          5/31/06 14:00       6/1/06 5:50      15:50                                  Oil Movements                            SEWERFUG         Benzene              2.00           0.00 onsite sewer and waste water treatment plant. Portions of Oil            1
                 000829                                                                authorized                                              Fugitives
37                                                                                                                                                                                                                     Movements are authorized under permit #18267.
                 ETSC 000923 -                                                         Not specifically                                     P451 B suction
       101421                           12/17/07 1:00      12/17/07 5:30      4:30                                   Hydroformer 4                                            Benzene            21.00            0.00 Stabilizer pump suction leak to atmosphere.                              1             O-RQ, R-RQ
38               000924                                                                authorized                                              piping
                                                                                                                                                                                                                     A reactor was being air freed when material was released
              ETSC 001126 -                                                            Not specifically                                                                                                              resulting in a fire. This event has ended. Portions of the HF3
       113088                         08/24/2008 15:30   08/24/2008 15:40     0:10                                   Hydroformer 3           Reactor Vent    HF3RXVENT        Benzene              0.20         0.00                                                                            1
              001127                                                                   authorized                                                                                                                    unit are authorized under Flexible PAL Permit #18287/PSD-TX-
39                                                                                                                                                                                                                   730M4/PAL.
                                                                                                                                                                                                                     Loss of flame on flare pilots. The event has ended. Portions of
                 ETSC 001325 -                                                         Not specifically             West Loop Flare
       144239                         08/30/2010 16:02   08/30/2010 16:39     0:37                                                           Flare Stack 4     FLARE04        Benzene            15.50       6010.61 the unit emissions are authorized by Permit #18287/PSD-TX-                 1            F, O-RQ, R-RQ
                 001326                                                                authorized                      System
40                                                                                                                                                                                                                   730.
                                                                                                                                                                                                                     Air emissions are from evaporation of frac tank slop oil spill.
              ETSC 072695 -                                                            Not specifically                                     Oil Movements
       154039                          05/02/2011 6:30   05/02/2011 10:30     4:00                                  Oil Movements                                             Benzene            66.50          0.00 Portions of the unit emissions are authorized by Flex PAL                  1             O-RQ, R-RQ
              072698                                                                   authorized                                              Area, Spill
41                                                                                                                                                                                                                   Permit #18287/PSD-TX-730M4/PAL7. This event has ended.
                                                                                                                                                                                                                     Emissions due to hole in pipe. Portions of these emissions are
                    ETSC 072698 -                                                      Not specifically
      156835                            7/14/11 13:00      7/14/11 20:40      7:40                               Oil Movements Area 3        Hole in Pipe                     Benzene       61.60         0.00       authorized by Permit #18287/PSD-TX-730M4/PAL7. The event                   1             O-RQ, R-RQ
                       072699                                                          authorized
42                                                                                                                                                                                                                   has ended.
                                                                                                                                                                                                                     Benzene concentration in wastewater treatment system due
                                                                                       28.8 pounds of 55.8
                                                                                                                                       Wastewater                                                                    to a spill at the Chemical Plant. As per 30TAC101.201.(a)(4),
                    ETSC 068133 -                                                      pounds are authorized     Wastewater Treatment
      162526                            11/24/11 9:00     11/24/11 20:00     11:00                                                    Oxidation Unit          WOUFUG          Benzene       55.80         91.88      the initial spill notification was made under 30TAC327.3.                  1             O-RQ, R-RQ
                       068134                                                          by Permit No.                   System
                                                                                                                                         Fugitives                                                                   Portions of this facility are authorized by Permit No.
                                                                                       18287/PSD-TX-730
43                                                                                                                                                                                                                   18287/PSD-TX-730
                                                                                                                                                                                                                     3-gallon spill of steam cracked naphtha. As per 30 TAC
                 ETSC 068642 -                                                         Not specifically                                                                                                              101.201 (a)(4), the initial spill notification was made under 30                       O-RQ, R-RQ, O-M,
       164148                           1/14/12 21:00      1/14/12 21:45      0:45                                       DOCKS                                                Benzene       15.00         0.00                                                                                  1
                 068643                                                                authorized                                                                                                                    TAC 327.3 on 1/14/12. Portions of this facility are authorized                               R-M
44                                                                                                                                                                                                                   by Permit #18287/PSD-TX-730M4/PAL7.
                                                                                                                                                                                                                     Compressor trip resulted in unit shutdown, causing
                 ETSC 072655 -                                                         Not specifically           Hydrocracking Unit 1          E-702                                                                subsequent emissions and flaring. Portions of the unit
       168050                           5/1/12 17:39        5/2/12 2:29       8:50                                                                                            Benzene       0.10          0.00                                                                                  1
                 072658                                                                authorized                       (HCU1)                Exchanger                                                              emissions are authorized by Permit #18287/PSD-TX-
45                                                                                                                                                                                                                   730M4/PAL7.
                 ETSC 073046 -                                                         Not specifically
       182695                           5/11/13 6:30       5/11/13 11:21      4:51                                   Hydroformer 3              Flange                        Benzene              3.70           0.00 Flange leak on inlet line to Reactor 3                                   1
46               073047                                                                authorized
                                                                                                                   Oil Movements,
                                                                                                                                            Underground
       147380 ETSC 001343              10/16/2010 1:30    10/17/2010 5:30    28:00                               Underground Naphtha                          Pipe Leaks      Benzene            81.00            0.00 Underground pipe leaks.                                                  2             O-RQ, R-RQ
                                                                                                                                             Naphtha Fill
47                                                                                                                       Fill
                                                                                                                                                                                                                     Spill was caused from leak in pipe. Portions of the refinery
                 ETSC 068110 -                                                         Not specifically
       156946                           7/5/11 14:50       7/7/11 14:50      48:00                               Oil Movements Area 1        Area 1, Spill                    Benzene       20.13         0.00       emissions may be authorized by Permit #18287/PSD-TX-730.                   2             O-RQ, R-RQ
                 068111                                                                authorized
48                                                                                                                                                                                                                   The event has ended.
                                                                                                                                                                                                                     Leak at flange on PS7 drum; event has ended. Portions of the
                 ETSC 001282 -                                                         Not specifically                                     Flange at PS7
       135717                          02/10/2010 9:45   02/12/2010 12:34    50:49                                  Pipe Still 7 (PS7)                                        Benzene              1.00      6010.61 refinery emissions are authorized by Permit #18287/PSD-TX-                 3
                 001283                                                                authorized                                               drum
49                                                                                                                                                                                                                   730.
                                                                                       Portions may be
                                                                                                                                                                                                                         Discovered hole in T-730 Light Virgin Naptha Draw Line.
                 ETSC 068135 -                                                         authorized under Permit
       162866                          12/16/11 19:30     12/20/11 21:30     98:00                             Crude Light Ends (CLE)        Hole in Pipe                     Benzene      109.80         0.00           Portions of the unit emissions are authorized by Permit                4             O-RQ, R-RQ
                 068136                                                                #18287/PSD-TX-
                                                                                                                                                                                                                         #18287/PSD-TX-730M4/PAL7.
50                                                                                     730M4/PAL7
                                                                                                                                                                                                                         Leaking stormwater roof drain resulted in crude oil on tank
                 ETSC 001076 -                                                         Not specifically                                       Tank 1095                                                                  roof. Secondary mist released at ground level sewer and
       103838                          02/16/2008 8:30   02/20/2008 12:00    99:30                                  Oil Movements                            SEWERFUG         Benzene              0.40           0.00                                                                          5
                 001078                                                                authorized                                            sewer drain                                                                 vapor released from tank roof. Portions of Oil Movements,
51                                                                                                                                                                                                                       including the tank, authorized in Permit 18287.
                                                                                                                                                                                                                         Scheduled shutdown due to approach of Hurricane Ike.
                 ETSC 001132 -                                                         Permit #18287 & PSD-TX-
       113887                         09/11/2008 12:00   09/15/2008 18:30    102:30                                Baytown Refinery            Flare 19        FLARE19        Benzene              1.00          91.92   Portions of the refinery are permitted under Permit                    5
                 001144                                                                730M4
52                                                                                                                                                                                                                       18287/PSD-TX-730-M4.
                                                                                                                                                                                                                         Loss of flotation on Tank 998 floating roof. Event is under
                                                                                                                                                                                                                         investigation but most likely cause is that floating roof
                                                                                                                                                                                                                         became entangled with tank's roof anti-rotation device. Tank
                 ETSC 000975 -                                                         Not specifically
         91325                          5/17/07 6:00       5/22/07 19:00     133:00                              Oil Movements Area 1         Tank 998         TK0998         Benzene            21.00            0.00   contained oil destined for refinery recycle. Portions of Oil           6             O-RQ, R-RQ
                 000976                                                                authorized
                                                                                                                                                                                                                         Movements Area 1, including Tank 998, are authorized in
                                                                                                                                                                                                                         permit 18287. No impact on production and all customer
53                                                                                                                                                                                                                       needs were met. Event has ended.
                                                                                       34 lbs of the 442.1 lbs                                                                                                           Benzene concentration in wastewater treatment system.
                 ETSC 001113 -                                                                                  Wastewater Treatment Wastewater
       110887                          07/10/2008 3:00   07/18/2008 13:00    202:00    are authorized by Permit                                              SEWERFUG         Benzene         442.10             91.92   Portions of this facility are authorized by Permit No.                 9             O-RQ, R-RQ
                 001114                                                                                                Plant        Treatment Plant
54                                                                                     18287                                                                                                                             18287/PSD-TX-730.
                                                                                                                                                                                                                         Scheduled startup due to shutdown for Hurricane Ike. This
                                                                                                                                                                                                                         initial STEERS initial report is based on September 2005
                                                                                                                                              CLEU T785                                                                  refinery startup after shutdown due to approach of hurricane.
                 ETSC 001156 -                                                         Permit #18287 & PSD-TX-
       114161                         09/15/2008 18:30    10/04/2008 1:00    438:30                                Baytown Refinery         Piping Pinhole                    Benzene              2.00     6,014.44     Portions of the refinery are permitted under Permit                    19
                 001163                                                                730M4
                                                                                                                                                 Leak                                                                    18287/PSD-TX-730-M4. Note: STEERS would not allow
                                                                                                                                                                                                                         submittal of just one report because it exceeded the CCEDS
55                                                                                                                                                                                                                       requirements. The STEERS contact (Jim Drozd) recommended
                                                                                                                                                                                                                         During the shutdown of the unit, an atmospheric safety valve
                                                                                                                                                                                                                         on T-451 opened and released light hydrocarbons to the
                                                                                                                                                                                                                         atmopshere. Light ends and hydrogen were also flared on the
                 ETSC 000798 -                                                         Not specifically
         70344                          1/12/06 13:09      1/12/06 13:24      0:15                                                             Flare 17       FLARE 17        Benzene              0.24           0.00   Fuels North flare system. VOC is unspeciated C6+ material.       already counted
                 000801                                                                authorized
                                                                                                                                                                                                                         The refinery flares are permitted under permit #18287. This
                                                                                                                                                                                                                         report is being submitted under an interim agreement with
56                                                                                                                                                                                                                       TCEQ Region 12.
                                                                                                                                                                                                                         During the shutdown of the unit, an atmospheric safety valve
                                                                                                                                                                                                                         on T-451 opened and released light hydrocarbons to the
                                                                                                                                                                                                                         atmopshere. Light ends and hydrogen were also flared on the
                 ETSC 000798 -                                                         Not specifically
         70344                          1/12/06 13:09      1/12/06 13:24      0:15                                                             Flare 18       FLARE 18        Benzene              0.24           0.00   Fuels North flare system. VOC is unspeciated C6+ material.       already counted
                 000801                                                                authorized
                                                                                                                                                                                                                         The refinery flares are permitted under permit #18287. This
                                                                                                                                                                                                                         report is being submitted under an interim agreement with
57                                                                                                                                                                                                                       TCEQ Region 12.
                                                                                                                                                                                                                         During the shutdown of the unit, an atmospheric safety valve
                                                                                                                                                                                                                         on T-451 opened and released light hydrocarbons to the
                                                                                                                                                                                                                         atmopshere. Light ends and hydrogen were also flared on the
                 ETSC 000798 -                                                         Not specifically
         70344                          1/12/06 13:09      1/12/06 13:24      0:15                                                             Flare 20       FLARE 20        Benzene              0.24           0.00   Fuels North flare system. VOC is unspeciated C6+ material.       already counted
                 000801                                                                authorized
                                                                                                                                                                                                                         The refinery flares are permitted under permit #18287. This
                                                                                                                                                                                                                         report is being submitted under an interim agreement with
58                                                                                                                                                                                                                       TCEQ Region 12.
                                                                                                                                                                                                                         During the shutdown of the unit, an atmospheric safety valve
                                                                                                                                                                                                                         on T-451 opened and released light hydrocarbons to the
                                                                                                                                                                                                                         atmopshere. Light ends and hydrogen were also flared on the
                 ETSC 000798 -                                                         Not specifically
         70344                          1/12/06 13:09      1/12/06 13:24      0:15                                                             Flare 21       FLARE 21        Benzene              0.24           0.00   Fuels North flare system. VOC is unspeciated C6+ material.       already counted
                 000801                                                                authorized
                                                                                                                                                                                                                         The refinery flares are permitted under permit #18287. This
                                                                                                                                                                                                                         report is being submitted under an interim agreement with
59                                                                                                                                                                                                                       TCEQ Region 12.
                                                                                                                                                                                                                         Leaking stormwater roof drain resulted in crude oil on tank
                                                                                       20.7 of 42.5 lbs
                 ETSC 001076 -                                                                                                                                                                                           roof. Secondary mist released at ground level sewer and
       103838                          02/16/2008 8:30   02/20/2008 12:00    99:30     authorized by Permit         Oil Movements           Tank 1095 roof     TK1095         Benzene            42.50       6014.44                                                                      already counted
                 001078                                                                                                                                                                                                  vapor released from tank roof. Portions of Oil Movements,
                                                                                       18287
60                                                                                                                                                                                                                       including the tank, authorized in Permit 18287.
        A                B                  C                  D              E                   F                        G                     H               I                J              K            L                                          M                                          N                O
                 Bates # of first                                                                                                                                                             Amount     Reported
     Tracking                                                              Duration                                                         Emission                                                                                                                                         Number of Days     Traceability
                  page of Final     Start Date & Time   End Date & Time                   Authorization                  Unit                                  EPN         Contaminant        Released   Emission                                     Cause
     Number                                                                 (h:mm)                                                           Point                                                                                                                                             of Violation        Codes
2                   STEERS                                                                                                                                                                      (lbs)  Limit (lbs/hr)
                                                                                                                                                                                                                           Scheduled startup due to shutdown for Hurricane Ike. This
                                                                                                                                                                                                                           initial STEERS initial report is based on September 2005
                                                                                                                                                                                                                           refinery startup after shutdown due to approach of hurricane.
                                                                                                                                           LECC Pump P-                                                                    Portions of the refinery are permitted under Permit
                ETSC 001156 -                                                         Not specifically            Baytown Refinery          015 Recycle                                                                    18287/PSD-TX-730-M4. Note: STEERS would not allow
       114161                        09/15/2008 18:30    10/04/2008 1:00    438:30                                                                                            Benzene                 1.00          0.00                                                                      already counted
                001163                                                                authorized                   Operating Units         Piping Pinhole                                                                  submittal of just one report because it exceeded the CCEDS
                                                                                                                                                Leak                                                                       requirements. The STEERS contact (Jim Drozd) recommended
                                                                                                                                                                                                                           we submit two reports. A previous submitted report with
                                                                                                                                                                                                                           Incident Tracking Number 114157 contains the balance of
61                                                                                                                                                                                                                         information for this startup event.
                                                                                                                                                                                                                           Scheduled startup due to shutdown for Hurricane Ike. This
                                                                                                                                                                                                                           initial STEERS initial report is based on September 2005
                                                                                                                                                                                                                           refinery startup after shutdown due to approach of hurricane.
                                                                                                                                                                                                                           Portions of the refinery are permitted under Permit
                ETSC 001156 -                                                         Permit #18287 & PSD-TX-     Baytown Refinery                                                                                         18287/PSD-TX-730-M4. Note: STEERS would not allow
       114161                        09/15/2008 18:30    10/04/2008 1:00    438:30                                                            Flare 17        FLARE17         Benzene                 1.00    6,014.44                                                                        already counted
                001163                                                                730M4                        Operating Units                                                                                         submittal of just one report because it exceeded the CCEDS
                                                                                                                                                                                                                           requirements. The STEERS contact (Jim Drozd) recommended
                                                                                                                                                                                                                           we submit two reports. A previous submitted report with
                                                                                                                                                                                                                           Incident Tracking Number 114157 contains the balance of
62                                                                                                                                                                                                                         information for this startup event.
63                                                                                                                                                                                                                                                                         TOTAL - BENZENE          66              30
                                                                                                                                                                                                                           A temporary loss of amine flow to absorber tower T-662 led
                                                                                                                                                                                                                           to increased hydrogen sulfide emissions at Flexsorb Absorber
                                                                                                                                                                                                                           Vent T-601. The event has ended and the unit is back to
                ETSC 000959 -                                                         CS2 authorized under      Sulfur Conversion Unit;
        95557                           8/7/07 7:13        8/7/07 8:33       1:20                                                              T-601         SCU2T601      Carbon Disulfide           0.02          1.00   normal operation. There was no impact to prodction and all               1
                000960                                                                permit 18287               Tail Gas Cleanup Unit
                                                                                                                                                                                                                           customers' needs were met. Emissions from the Sulfur
                                                                                                                                                                                                                           Conversion Unit (SCU2) are authorized under Flexible Permit
64                                                                                                                                                                                                                         #18287.
                                                                                      All emission from this                                                                                                               During a Claus D unit start-up, a sulfur condenser in the unit
                ETSC 001105 -                                                         EPN authorized by         Claus Sulfur Recovery                                                                                      plugged causing the downstream flexsorb absorber vent to
       109887                        06/22/2008 10:00    06/25/2008 1:00    63:00                                                            Drum 702        SCU2D702      Carbon disulfide           1.20          0.00                                                                            4
                001106                                                                Flexible Permit 18287              Unit                                                                                              exceeded permit limits. Portions of the Refinery are
65                                                                                    SC30                                                                                                                                 authorized by PAL permit number 18287/PSD-TX730M4.
                                                                                                                                                                                                                           Water ingress from a suspected exchanger leak at Tail Gas
                                                                                      Portion of emissions                                                                                                                 Cleanup Unit C lead to reduced treatment of tail gas at SCU2.
                ETSC 001065 -                                                         authorized under permit Sulfur Conversion Unit                                                                                       Portions of the emissions from SCU2F702 and SCU2T601 were
       102061                         01/04/2008 5:10    01/08/2008 8:00    98:50                                                            Tower 601       SCU2T601      Carbon disulfide          90.70          1.00                                                                            5
                001066                                                                18287 PSD No                      2                                                                                                  authorized under Flexible PAL Permit #18287/PSD-TX-730M.
                                                                                      TX730M4/PAL                                                                                                                          Also, flexible Permit #18287 SC30 authorized emissions from
66                                                                                                                                                                                                                         SCU2D702.
                                                                                                                                                                                                                           Scheduled shutdown due to approach of Hurricane Ike.
                ETSC 001132 -                                                         Permit #18287 & PSD-TX-     Baytown Refinery
       113887                        09/11/2008 12:00   09/15/2008 18:30    102:30                                                          SCU2 D-702       SCU2D702      Carbon disulfide           5.00          0.00   Portions of the refinery are permitted under Permit                      5
                001144                                                                730M4                        Operating Units
67                                                                                                                                                                                                                         18287/PSD-TX-730-M4.
                                                                                                                                                                                                                           Water ingress from a suspected exchanger leak at Tail Gas
                                                                                                                                                                                                                           Cleanup Unit C lead to reduced treatment of tail gas at SCU2.
                ETSC 001065 -                                                         Flexible Permit 18287 SC Sulfur Conversion Unit                                                                                      Portions of the emissions from SCU2F702 and SCU2T601 were
       102061                         01/04/2008 5:10    01/08/2008 8:00    98:50                                                            Drum 702        SCU2D702      Carbon disulfide           2.10          0.00                                                                      already counted
                001066                                                                30                                 2                                                                                                 authorized under Flexible PAL Permit #18287/PSD-TX-730M.
                                                                                                                                                                                                                           Also, flexible Permit #18287 SC30 authorized emissions from
68                                                                                                                                                                                                                         SCU2D702.
                                                                                                                                                                                                                           During a Claus D unit start-up, a sulfur condenser in the unit
                ETSC 001105 -                                                         24 lbs of 54 lbs are      Claus Sulfur Recovery         Flexsorb                                                                     plugged causing the downstream flexsorb absorber vent to
       109887                        06/22/2008 10:00    06/25/2008 1:00    63:00                                                                            SCU2R601      Carbon disulfide          54.00          1.00                                                                      already counted
                001106                                                                authorized                         Unit              Absorber Vent                                                                   exceeded permit limits. Portions of the Refinery are
69                                                                                                                                                                                                                         authorized by PAL permit number 18287/PSD-TX730M4.
                                                                                                                                                                                                                           Scheduled shutdown due to approach of Hurricane Ike.
                ETSC 001132 -                                                         Permit #18287 & PSD-TX-     Baytown Refinery
       113887                        09/11/2008 12:00   09/15/2008 18:30    102:30                                                           SCU2 T601       SCU2T601      Carbon disulfide          21.00         29.00   Portions of the refinery are permitted under Permit                already counted
                001144                                                                730M4                        Operating Units
70                                                                                                                                                                                                                         18287/PSD-TX-730-M4.
71                                                                                                                                                                                                                                                               TOTAL - CARBON DISULFIDE           15
                                                                                                                                                                                                                           FCCU3 C Boiler tripped offline at 2:47 and again shortly after
                ETSC 000736 -                                                         Not specifically          Fluid Catalytic Cracking     Wet Gas
        66438                          10/14/05 2:47     10/14/05 20:21     17:34                                                                                          Carbon Monoxide    263,767.00            0.00   start-up at noon. Cause of event currently under                         1             H, R-RQ
                000737                                                                authorized                         Unit 3          Scrubber Bypass
72                                                                                                                                                                                                                         investigation.
                                                                                                                                                                                                                           During start-up of Hydrofining Unit 9, exceeded 3 hour 160
                                                                                                                                                                                                                           ppm limit of H2S in fuel gas. This fuel gas is used at the
                ETSC 000728 -                                                                                     Flexicoker Unit &
        68273                          11/21/05 5:57      11/21/05 7:43      1:46     Permit #18287                                          DCUF601         DCUF601       Carbon Monoxide           12.00    4199.43      Flexicoker Unit Furnace F-301 (FXKF301) & WHB-301                        1                H
                000729                                                                                           Delayed Coker Unit
                                                                                                                                                                                                                           (FXKGTGWHB) and at the Delayed Coker Unit F-601 & F-602.
73                                                                                                                                                                                                                         These sources are listed in permit #18287.
                                                                                                                                            HGU1 Onsite                                                                    HGU-1 Furnace F-121 was shutdown due to exchanger E-122
                   ETSC 000812 -                                                      Not specifically          Hydrogen Generation
      69967                            1/10/06 13:50      1/10/06 16:45      2:55                                                           Atmospheric                    Carbon Monoxide     10,647.00            0.00   problems. Portions of the HGU-1 unit are permitted under                 1             H, R-RQ
                      000813                                                          authorized                       Unit
74                                                                                                                                             Vent                                                                        permit #18287.
                                                                                                                                                                                                                           During the shutdown of the unit, an atmospheric safety valve
                                                                                                                                                                                                                           on T-451 opened and released light hydrocarbons to the
                                                                                                                                                                                                                           atmopshere. Light ends and hydrogen were also flared on the
                ETSC 000798 -                                                         Not specifically
        70344                          1/12/06 13:09      1/12/06 13:24      0:15                                                             Flare 17       FLARE 17      Carbon Monoxide            7.70          0.00   Fuels North flare system. VOC is unspeciated C6+ material.               1                H
                000801                                                                authorized
                                                                                                                                                                                                                           The refinery flares are permitted under permit #18287. This
                                                                                                                                                                                                                           report is being submitted under an interim agreement with
75                                                                                                                                                                                                                         TCEQ Region 12.
                                                                                                                                                                                                                           Facility steam constraints resulted in exceedance of NOx 93
                ETSC 000796 -                                                                                   ExxonMobil Baytown
        70360                          1/12/06 21:10      1/13/06 13:11     16:01     Permit #18287                                        GTG45/WHB75      BH7WHB75       Carbon Monoxide        213.00      4199.43      ppmv limit from the coupled GTG45/WHB75 stack.                           1                H
                000797                                                                                               Refinery
76                                                                                                                                                                                                                         GTG45/WHB75 are permitted under permit #18287.
                                                                                                                                                                                                                           Paint cans and wood-based material caught fire inside the
                ETSC 000776 -                                                         Not specifically                                     Tank 801 fire                                                                   firewall of Tank 801. The minor fire only burned painting
        72945                          3/14/06 17:30      3/14/06 17:50      0:20                                  Oil Movements                                           Carbon Monoxide           10.46          0.00                                                                            1                H
                000777                                                                authorized                                               wall                                                                        supplies and was put out minutes later. The ignition source
77                                                                                                                                                                                                                         was not determined.
                                                                                                                                                                                                                           Loss of MEA circulation on H2S scrubber tower T-854 causing
                                                                                                                                                                                                                           Hydrogen Sulfide in the blend gas to exceed the NSPS J limit
                                                                                                                                                                                                                           of 160 ppm over a 3 hour average. Each fuel gas combustion
                                                                                                                                            Multiple FN
                ETSC 000770 -                                                         Permit #18287                Fuels North Gas                                                                                         device in the Fuels North area potentially received the
        73875                          4/2/06 14:30       4/2/06 19:00       4:30                                                           Combustion                     Carbon Monoxide        512.50      4,199.43                                                                              1                H
                000771                                                                PSDTX730M3                      Treating                                                                                             hydrogen sulfide containing material. The emission sources
                                                                                                                                              Devices
                                                                                                                                                                                                                           are: F-
                                                                                                                                                                                                                           801/802/803/804/410/402/403/404/405/301/926/901/701/2
78                                                                                                                                                                                                                         01/227/702/703.
                                                                                                                                                                                                                           Fire at Electrical Substation #5, servicing the lubes plant.
                                                                                                                                                                                                                           Resulted in trip of East Loop Flare Gas Recovery Compressor
                                                                                                                                                                                                                           and subsequent flaring off of the East Loop Flare Systems.
                ETSC 000842 -                                                         Not specifically           Substation 5 & East                                                                                       Material routed to the flare included flows from MEK, LDU,
        74965                          4/25/06 21:45      4/26/06 21:31     23:46                                                             Flare 15        Flare15      Carbon Monoxide      1,311.00          542.70                                                                            1               F, H
                000844                                                                authorized                  Loop Flare System                                                                                        PDU & LHU2 units. VOC from substation is petroleum
                                                                                                                                                                                                                           distillates. This report is being submitted as part of the
                                                                                                                                                                                                                           interim agreement with TCEQ Region 12. Portions of the
79                                                                                                                                                                                                                         Refinery are permitted under Permit #18287.
                                                                                                                                                                                                                           Bearing failure in pump P-2 caused the engine to overheat
                ETSC 000840 -                                                         Not specifically
        75191                          5/1/06 16:20       5/1/06 16:50       0:30                                  Cooling Tower 9           Pump P-2                      Carbon Monoxide            0.40          0.00   and smoke. No actual flame was present. Portions of Cooling              1
                000841                                                                authorized
80                                                                                                                                                                                                                         Tower 9 are covered under refinery permit 18287.
                                                                                                                                                                                                                           Product stripper tower T-276 developed a pinhole leak. The
                                                                                                                                                                                                                           leak was likely caused by corrosion/erosion. There was a small
                                                                                                                                                                                                                           intermittent fire and release of process gas oil (VOC-PGO).
                ETSC 001049 -                                                         Not specifically                                                                                                                     The small fire has ended and visible emissions from the
        83410                          11/2/06 5:00       11/2/06 19:33     14:33                                      Gofiner 1            Tower T-276                    Carbon Monoxide           30.00          0.00                                                                            1                H
                001050                                                                authorized                                                                                                                           pinhole have stopped. The VOC reported is C5 thru C8s. The
                                                                                                                                                                                                                           tower was isolated and repaired. Portions of Gofiner 1 are
                                                                                                                                                                                                                           permitted in Permit 18287 and an Interim Agreement with
81                                                                                                                                                                                                                         TCEQ.
                                                                                                                                                                                                                           A small fire was discovered on a line to F-601 furnace at the
                ETSC 001039 -                                                         Not specifically          Lube Hydrofining Unit                                                                                      Lube Hydrofining Unit 1 (LHU1). The event has ended.
        84083                          11/20/06 1:00      11/20/06 4:00      3:00                                                            F601 Line      Fire on Line   Carbon Monoxide      2,923.00            0.00                                                                            1                H
                001041                                                                authorized                         1                                                                                                 Portions of the Lube Hydrifining Unit are covered under
82                                                                                                                                                                                                                         permit #18287.
                                                                                                                                                                                                                           Equipment malfunction caused High H2S in the Low Btu Gas
                ETSC 000991 -                                                         Permit 18287 & PSD-TX-      Low Btu Gas Fired        Low Btu Gas                                                                     (LBG)system. Portions of the refinery are authorized under
        87852                          3/2/07 12:15        3/3/07 4:42      16:27                                                                             LBGSRC       Carbon Monoxide      1,193.00      3804.90                                                                               1                H
                000992                                                                730M3PAL                        Sources              Fired Sources                                                                   permit 18287 and PSD-TX_730M3/PAL. Emissions were
83                                                                                                                                                                                                                         intermittent between 6:43pm 3/1/07 and 11/10am 3/2/07.
                                                                                                                                                                                                                           Shift in power supply to Hydrofining Unit 9 (HU9) resulted in
                                                                                                                                                                                                                           depressuring to D-500 atmospheric vent. HU9 diversion
                ETSC 000947 -                                                         Not specifically
        96519                          8/23/07 20:13      8/24/07 1:07       4:54                                Hydrofining Unit #9          Flare 14        FLARE14      Carbon Monoxide           39.00          0.00   resulted in flaring of Low Btu Gas normally used in HU9                  1               F,H
                000949                                                                authorized
                                                                                                                                                                                                                           furnaces. Portions of the BTRF Refinery are authorized by
84                                                                                                                                                                                                                         Flex/PAL Permit No. 18289
                                                                                                                                                                                                                           A reactor was being air freed when material was released
                ETSC 001126 -                                                         Not specifically                                                                                                                     resulting in a fire. This event has ended. Portions of the HF3
       113088                        08/24/2008 15:30   08/24/2008 15:40     0:10                                   Hydroformer 3           Reactor Vent    HF3RXVENT      Carbon Monoxide            9.00          0.00                                                                            1                H
                001127                                                                authorized                                                                                                                           unit are authorized under Flexible PAL Permit #18287/PSD-TX-
85                                                                                                                                                                                                                         730M4/PAL.
              ETSC 001184 -                                                           Not specifically          Fluid Catalytic Cracking   FCCU3 Bypass                                                                    CO Boiler SG501C tripped offline. Portions of the FCCU3 are
       121025                        03/06/2009 17:48   03/06/2009 20:31     2:43                                                                           Bypass Stack   Carbon Monoxide      2,646.00            0.00                                                                            1                H
86            001185                                                                  authorized                         Unit 3               Stack                                                                        authorized under Flexible PAL Permit #18287/PSD-TX-730M4.
                ETSC 001203 -                                                         49 of the 74 lbs are                                                                                                                 HCU1 shut down. Portions of the units are authorized by
       125757                        06/17/2009 14:45   06/17/2009 17:00     2:15                                Hydrocracker Unit 1          Flare 4         FLARE4       Carbon Monoxide           74.00    3736.48                                                                               1               F, H
                001209                                                                authorized                                                                                                                           Permit #18287/PSD-TX-730.
87
                                                                                                                                                                                                                      Loss of oxygen to FCCU2. A portion of emissions are
                ETSC 001224 -                                                                                                              FCCU2 Wet Gas
       126586                        07/08/2009 11:00   07/08/2009 12:00     1:00                                       FCCU2                               FCCU2WGS       Carbon Monoxide      5,704.43      3804.09 authorized by Flex PAL Permit #18287/PSD-TX-730M-4.                           1             H, R-RQ
                001225                                                                                                                        Scrubber
88                                                                                                                                                                                                                    Calculations show emissions were below reportable quantity.
         A                B                  C                  D              E                   F                         G                     H               I                J              K               L                                           M                                         N               O
                  Bates # of first                                                                                                                                                             Amount     Reported
      Tracking                                                              Duration                                                           Emission                                                                                                                                            Number of Days   Traceability
                   page of Final     Start Date & Time   End Date & Time                   Authorization                   Unit                                  EPN         Contaminant       Released   Emission                                          Cause
      Number                                                                 (h:mm)                                                             Point                                                                                                                                                of Violation      Codes
 2                   STEERS                                                                                                                                                                      (lbs)  Limit (lbs/hr)
                                                                                                                                                                                                                            As a result of a malfunctioning boiler feed water pump, the
               ETSC 001237 -                                                                                                                                                                                                Flexicoker waste heat boiler (WHB) was shut down causing
                                                                                       Not specifically           Flexicoker Waste Heat
        128824 001238; EOMCS          08/30/2009 15:22    08/31/2009 1:57    10:35                                                           Flare Stack 26      FL26        Carbon Monoxide       938.00              0.00 emissions to be released to the atmosphere through the                       1              F, H
                                                                                       authorized                         Boiler
               00232142 - 0023148                                                                                                                                                                                           Flexicoker gas turbine generator WHB bypass stack. Portions
89                                                                                                                                                                                                                          of the refinery are authorized by PAL permit number 18287.
                                                                                                                                                                                                                            Shutdown of compressor C-701 caused HCU1 to shutdown.
                 ETSC 001241 -                                                         Not specifically                                                                                                                     Associated units temporarily reduced rates to minimize
        130563                         10/09/2009 6:37   10/09/2009 12:37     6:00                                 Hydrocracker Unit 1          Flare14         FLARE14      Carbon Monoxide           61.00        3804.09                                                                              1              F, H
                 001244                                                                authorized                                                                                                                           emissions. Portions of this event may be authorized under
90                                                                                                                                                                                                                          Permit 18287-PSD-TX-730-M4.
                                                                                       Portions may be
                 ETSC 001316 -                                                                                     Catalytic Light Ends                                                                                          Flaring due to C-75 compressor trip. Portions of the unit
        142407                         07/15/2010 4:32   07/15/2010 10:07     5:35     authorized by Permit                                  Flare Stack 17     FLARE17      Carbon Monoxide       168.20           3736.48                                                                              1              F, H
                 001322                                                                                              Unit 3 (CLEU3)                                                                                              emissions are authorized by Permit #18287/PSD-TX-730.
91                                                                                     18287/PSD-TX-730M4
                                                                                                                                                                                                                            A coupling on the common discharge header for the Wet Gas
                                                                                       53.6 of the total 53.6                                                                                                               Scrubber Recirculation Pumps (P-501's) developed a leak on
                 ETSC 001323 -                                                                                      Fluidized Catalytic      FCCU-3 Wet Gas
        143353                        08/09/2010 17:10   08/09/2010 18:31     1:21     are authorized by Permit                                                FCCU3WGS      Carbon Monoxide             0.00       3736.48 8/8/2010. The P-501's were shut down to install a temporary                  1
                 001324                                                                                                Cracking Unit            Scrubber
                                                                                       #18287/PSD-TX-730                                                                                                                    clamp. Portions of the unit emissions are authorized by
92                                                                                                                                                                                                                          Permit #18287.PSD-TX-8
                                                                                                                                                                                                                            Loss of flame on flare pilots. The event has ended. Portions of
                 ETSC 001325 -                                                         Not specifically              West Loop Flare
        144239                        08/30/2010 16:02   08/30/2010 16:39     0:37                                                            Flare Stack 4     FLARE04      Carbon Monoxide           12.50        3736.48 the unit emissions are authorized by Permit #18287/PSD-TX-                   1              F, H
                 001326                                                                authorized                       System
93                                                                                                                                                                                                                          730.
                                                                                       1168 lbs of total 2553 lbs
                                                                                                                     Fluidized Catalytic                                                                                    Loss of oxygen to FCCU2 from third party supplier. Portions of
                 ETSC 001341 -                                                         are authorized by Flex                              FCCU2 Wet Gas
        146940                         11/02/2010 2:00    11/02/2010 5:00     3:00                                    Cracking Unit 2                          FCCU2WGS      Carbon Monoxide      1,385.00          3736.48 emissions may be authorized by Flex PAL Permit #18287/PSD-                   1               H
                 001342                                                                PAL Permit #18287/PSD-                                  Scrubber
                                                                                                                           (FCCU2)                                                                                          TX-730M-4.
94                                                                                     TX-730M-4
                                                                                       Portions may be                                                                                                                           Compressor trip resulted in unit shutdown, causing
                 ETSC 072655 -                                                         authorized under Permit Hydrocracking Unit 1                                                                                              subsequent emissions and flaring. Portions of the unit
        168050                          5/1/12 17:39        5/2/12 2:29       8:50                                                          Flare Stack 11      FLARE11      Carbon Monoxide     53.06          3736.48                                                                                  1              F, H
                 072658                                                                18287/PSD-TX-                        (HCU1)                                                                                               emissions are authorized by Permit #18287/PSD-TX-
95                                                                                     730M4/PAL7.                                                                                                                               730M4/PAL7.
                                                                                       4988 LBS of total 31733
                                                                                       LBS are authorized
                 ETSC 072917 -                                                                                    Fluid Catalytic Cracking                                                                                       CO Boiler trip resulted in emissions from the wet gas scrubber
        179694                          2/22/13 18:24      2/23/13 1:31       7:07     under Permit                                        Cat Regenerator     FCCU3WGS      Carbon Monoxide    2,645.00        3,736.48                                                                                 1               H
                 072918                                                                                                     Unit 3                                                                                               at the Fluidized Catalytic Cracking Unit 3 (FCCU3).
                                                                                       #18287/PSD-TX-
96                                                                                     730M4/PAL7
               ETSC 073046 -                                                           Not specifically
        182695                          5/11/13 6:30       5/11/13 11:21      4:51                                     Hydroformer 3            Flange                       Carbon Monoxide             1.10             0.00 Flange leak on inlet line to Reactor 3                                    1               H
97             073047                                                                  authorized
                                                                                       206 lbs of total 206 bs
               ETSC 073073 -                                                           are authorized under          Fluidized Catalytic   FCCU3 Wet Gas                                                                    FCCU3 Selective Catalytic Reduction (SCR) system tripped
        187800                          8/27/13 8:30       8/27/13 16:45      8:20                                                                             FCCU3WGS      Carbon Monoxide             0.00       3736.48                                                                              1
               073074                                                                  Permit #18287/PSD-TX-           Cracking Unit 3         Scrubber                                                                     causing NOx emissions to increase.
98                                                                                     730M4/PAL7.

                                                                                                                                                                                                                               Replaced 250 foot section of jet vent gas line. The refinery
                 ETSC 000732 -                                                         Not specifically
         66872                          11/5/05 0:06       11/6/05 4:16      28:10                                   Booster Station 4          Flare 27        FLARE27      Carbon Monoxide      7,255.00                0.00 flares are permitted under Permit #18287. This report is being            2           F, H, R-RQ
                 000733                                                                authorized
                                                                                                                                                                                                                               submitted under an interim agreement with TCEQ Region 12.
99
               ETSC 000734 -                                                           Not specifically                                                                                                                          HF4 furnace maintenance resulting in flaring of Low BTU Gas
         66884                          11/1/05 8:51       11/2/05 13:46     28:55                                  Hydrofining Unit 4       Flare Stack 26      FS26        Carbon Monoxide    14,822.00                 0.00                                                                           2           F, H, R-RQ
100            000735                                                                  authorized                                                                                                                                (LBG) normally consumed by the furnace.
                                                                                                                                                                                                                                 Pump P-329A tripped at Flexicoker resulting in flaring.
               ETSC 000730 -                                                           Not specifically                                                                                                                          Portions of the Flexicoker are permitted under permit
         67926                          11/13/05 5:24     11/14/05 11:29     30:05                                    Flexicoker Unit        Flare Stack 25      FS25        Carbon Monoxide       444.00                 0.00                                                                           2              F, H
               000731                                                                  authorized                                                                                                                                #18287. This report is being submitted under an interim
101                                                                                                                                                                                                                              agreement with TCEQ Region 12.
                                                                                                                                                                                                                                  During the shutdown of the unit, GTG/WHB-301 exceeded it's
                 ETSC 000806 -                                                         Not specifically                                          FXK
         70283                          1/10/06 8:00       1/11/06 18:00     34:00                                    Flexicoker Unit                         FXKGTGWHB      Carbon Monoxide    11,229.00                 0.00   NOX RACT 24-hour rolling average limit of 400 ppm CO.                   2            H, R-RQ
                 000807                                                                authorized                                            GTG/WHB301
102                                                                                                                                                                                                                              GTG/WHB-301 is permitted under Permit #18287.
               ETSC 000915 -                                                                                                                                                                                                     Restart of Claus B following inspection and repair. Natural gas
         76448                          6/7/06 10:00        6/9/06 1:44      39:44     Permit #9163               Sulfur Conversion Unit       SCU2 F-549      SCU2 F-549    Carbon Monoxide           70.00              1.00                                                                           2               H
103            000916                                                                                                                                                                                                            will be routed to the F-549 incinerator during start-up.
                                                                                                                                                                                                                                 Boiler SG-501A boiler tripped offline and regenerator flue gas
                                                                                       Not specifically
                                                                                                                                                                                                                                 was partially rerouted to the atmosphere. Regenerator flue
                                                                                       authorized. 500 ppm
                 ETSC 001053 -                                                                                  Fluid Catalytic Cracking       CO Boiler                                                                         gas from SG-501A also continued to be partially treated in the
         83379                          11/1/06 14:24      11/2/06 16:00     25:36     limit per 40 CFR 63.1565                                                              Carbon Monoxide    20,077.00                 0.00                                                                           2            H, R-RQ
                 001054                                                                                                  Unit 3               Bypass Stack                                                                       Wet Gas Scrubber. The boiler was promptly returned to
                                                                                       (c)(1) and 400 ppm limit
                                                                                                                                                                                                                                 service. The event has ended. The unit has returned to normal
                                                                                       per 30 TAC 117.206(e)(1)
104                                                                                                                                                                                                                              operations.
                                                                                       Permit by Rule 30 TAC
                                                                                                                                                                                                                                 Valve leaked regenerator flue gas through boiler SG-501C
                                                                                       106.263. 500 ppm limit
                 ETSC 001055 -                                                                                  Fluid Catalytic Cracking FCCU3 Wet Gas                                                                           during maintenance. Flue gas was partially treated in Wet Gas
         83409                         10/31/06 23:17      11/1/06 1:00      25:43     per 40 CFR 63.1565(c)(1)                                                              Carbon Monoxide    28,429.00           5000.00                                                                              2            H, R-RQ
                 001056                                                                                                  Unit 3          Scrubber Stack                                                                          Scrubber. Event has ended. Unit has returned to normal
                                                                                       and 400 ppm limit per
                                                                                                                                                                                                                                 operations. Portions of FCCU3 are permitted in Permit 18287.
                                                                                       30 TAC 117.206(e)(1)
105
                                                                                                                                                                                                                                 High fuel gas burner pressure caused by an obstruction in the
                                                                                                                                                                                                                                 seal drum increased carbon monoxide concentration in Wet
                                                                                       Permit 18287, 500 ppm                                                                                                                     Gas Scrubber. Federal and State carbon monoxide limits were
                                                                                       limit per 40 CFR                                                                                                                          exceeded. Boilers SG-501A and SG-501B tripped offline.
                 ETSC 001047 -                                                                                    Fluid Catalytic Cracking    Wet Gas
         83474                          11/3/06 13:00      11/5/06 0:01      35:01     63.165(c)(1), 400 ppm                                                                 Carbon Monoxide    51,388.00           3804.09      Regenerator flue gas continued to be partially treated in the           2            H, R-RQ
                 001048                                                                                                    Unit 3          Scrubber Stack
                                                                                       limit per 30 TAC                                                                                                                          Wet Gas Scrubber throughout the event. The event has
                                                                                       117.206(e)(1)                                                                                                                             ended. Operations have returned to normal. Event details are
                                                                                                                                                                                                                                 under investigation. Portions of FCCU3 are permitted under
106                                                                                                                                                                                                                              Permit 18287.
                                                                                                                                                                                                                                 CO boiler SG-501C went off-line unexpectedly on the morning
                                                                                                                                                                                                                                 of 5/13/07 causing unauthorized emissions at the wet gas
                                                                                                                                                                                                                                 scrubber stack. The boiler was restarted a few hours later and
                                                                                                                                                                                                                                 returned to normal operation. Hourly emissions were back to
                 ETSC 000985 -                                                         Not specifically           Fluid Catalytic Cracking FCCU3 Wet Gas
         89687                          4/13/07 5:27       4/14/07 8:03      26:36                                                                             FCCU3WGS      Carbon Monoxide    48,822.00                 0.00   normal by 2:30pm, but the 24-hr rolling average for Carbon              2            H, R-RQ
                 000986                                                                authorized                     Unit 3; CO Boiler       Scrubber
                                                                                                                                                                                                                                 MOnoxide stayed above the 400ppm limit set in 30 TAC
                                                                                                                                                                                                                                 Chapter 117 until 8:00am the next day. Portions of the FCCU3
                                                                                                                                                                                                                                 are authorized under Flexible Permit Number 18287/PSD-TX-
107                                                                                                                                                                                                                              730.
                                                                                                                                                                                                                                 Planned Maintenance resulted in startup of FCCU3 C Boiler.
                 ETSC 001083 -                                                         PAL Permit 18287/PSD-                                 FCCU3 Wet Gas
        106240                        04/13/2008 14:20    04/15/2008 2:12    35:52                                      CO Boiler C                              FCCU3       Carbon Monoxide      9,052.00          3804.09      Portions of this unit are authorized by Flex PAL Permit                 2            H, R-RQ
                 001084                                                                TX-302M4                                                 Scrubber
108                                                                                                                                                                                                                              #18287/PSD-TX-730M-4.
                                                                                                                                                                                                                                 Boilers A/B/C tripped off-line. Portions of the FCCU3 unit are
                 ETSC 001091 -                                                         30 TAC 117 400 ppm -       Fluid Catalytic Cracking
        106703                        04/22/2008 11:02   04/23/2008 16:21    29:19                                                            Bypass Stack    Bypass Stack   Carbon Monoxide   111,667.00                 0.00   authorized under Flexible PAL Permit #18287/PSD-TX-                     2            H, R-RQ
                 001092                                                                31404 lb authorized                 Unit 3
109                                                                                                                                                                                                                              730M4/PAL.
                                                                                                                                                                                                                                 Boilers B and C tripped offline while A Boiler was down for
                 ETSC 001173 -                                                         Not specifically           Fluid Catalytic Cracking   FCCU3 Bypass
        118545                         01/07/2009 4:16   01/08/2009 14:16    34:00                                                                            Bypass Stack   Carbon Monoxide      9,031.00                0.00   maintenance. Portions of FCCU3 unit are authorized under                2            H, R-RQ
                 001174                                                                authorized                          Unit 3               Stack
110                                                                                                                                                                                                                              Flexible PAL Permit #18287/PSD-TX-730M4.
                                                                                       19840 lbs of 27231 are
                                                                                                                                                                                                                            FCCU2 start up after planned shutdown for planned
                 ETSC 001180 -                                                         authorized by PAL          Fluid Catalytic Cracking FCCU2 Wet Gas
        120022                        02/13/2009 19:00   02/15/2009 16:00    45:00                                                                             FCCUWGS       Carbon Monoxide    27,231.00           3804.09 maintenance. Portions of this unit are authorized by Flex PAL                2            H, R-RQ
                 001181                                                                Permit 18287/PSD-TX-                Unit 2             Scrubber
                                                                                                                                                                                                                            Permit #18287/PSD-TX-730M-4.
111                                                                                    730M4
                                                                                                                                                                                                                                 FCCU3 CO Boiler A tripped offline while B Boiler was down for
                 ETSC 001197 -                                                         Not specifically           Fluid Catalytic Cracking   FCCU3 Bypass     FCCU3 Bypass
        123795                         05/04/2009 8:41   05/05/2009 17:05    32:24                                                                                           Carbon Monoxide    61,369.00                 0.00   maintenance. Portions of FCCU3 unit are authorized under                2            H, R-RQ
                 001198                                                                authorized                          Unit 3               Stack            Stack
112                                                                                                                                                                                                                              Flexible PAL Permit #18287/PSD-TX-730M4.
                                                                                                                                                                                                                                 Failure of cooling tower supply header caused shutdown of
                                                                                                                                                                                                                                 Propane Dewaxing Unit and Lube Deasphalting Unit.
                 ETSC 001201 -                                                         Not specifically
        124761                        05/26/2009 23:40   05/28/2009 13:57    38:17                                    Dewaxing Unit             Flare 15         FS15        Carbon Monoxide      2,216.00          3736.48      Shutdown and subsequent unit clearing caused flaring.                   2              F, H
                 001202                                                                authorized
                                                                                                                                                                                                                                 Portions of the Refinery are authorized under Flexible PAL
113                                                                                                                                                                                                                              Permit #18287/PSD-TX-730M4.
                                                                                                                                                                                                                                 CO Boiler SG501A tripped offline. Hourly emissions returned
                                                                                                                                                                                                                                 to normal by 6/22/09 18:40, but the 24-hr rolling average for
                 ETSC 001210 -                                                         Not specifically           Fluid Catalytic Cracking   FCCU3 Bypass
        125838                         06/21/2009 9:24   06/22/2009 18:40    33:16                                                                            Bypass Stack   Carbon Monoxide       558.00                 0.00   carbon monoxide stayed above the 400 ppm limit set in 30                2               H
                 001211                                                                authorized                          Unit 3               Stack
                                                                                                                                                                                                                                 TAC Chapter 117 until 6/22/09 21:00. Portions of FCCU3 are
114                                                                                                                                                                                                                              authorized under Flexible PAL Permit #18287/PSD-TX-730M4.
                                                                                                                                                                                                                                 Startup FCCU3 from planned maintenance. Event ended on
                                                                                                                                                                                                                                 11/26/09 at 21:00, but the 24-hr rolling average for carbon
                 ETSC 001247 -                                                         Not specifically                                      FCCU3 Wet Gas
        132400                         11/25/2009 7:59   11/26/2009 21:00    37:01                                        FCCU3                                FCCU3WGS      Carbon Monoxide   105,321.00           3736.48      monoxide stayed above the 400 ppm limit set in 30 TAC                   2            H, R-RQ
                 001248                                                                authorized                                               Scrubber
                                                                                                                                                                                                                                 Chapter 117 until 11/27/09 21:00. Portions of this unit are
115                                                                                                                                                                                                                              authorized by Flex PAL Permit #18287/PSD-TX-730M-4.
                                                                                       23.57 lbs of the total
                 ETSC 072911 -                                                         55.80 lbs are authorized                                                                                                                  Compressor trip resulted in an atmospheric release at a HCU1
        178267                          1/21/13 3:37       1/22/13 19:00     39:23                              Hydrocracking Unit 1         Flare Stack 11     FLARE11      Carbon Monoxide     32.23          3,736.48                                                                                 2              F, H
                 072914                                                                under permit 18287/PSD-                                                                                                                   safety vent and safe utilization of the flare system.
116                                                                                    TX-730M4.
                                                                                                                                                                                                                             CO boiler SG-501C was taken out of service periodically to
                                                                                                                                                                                                                             perform maintenance on the electrical circuit that provides
                                                                                                                                                                                                                             power to its instrumentation. The boiler had to remain out of
                 ETSC 001041 -                                                         500 ppm RMACT II and       Fluid Catalytic Cracking FCCU3 Wet Gas
         84046                         11/20/06 10:25     11/22/06 11:19     48:54                                                                             FCCU3WGS      Carbon Monoxide   111,871.00               0.00 service longer than expected to make the necessary repairs.                 3            H, R-RQ
                 001042                                                                400 ppm NOX RACT           Unit 3; CO Boiler 501C      Scrubber
                                                                                                                                                                                                                             The extended duration of the downtime caused the unit to
                                                                                                                                                                                                                             exceed the pre-notified emissions. Portions of the FCCU3 are
117                                                                                                                                                                                                                          authorized under permit #18287.
                                                                                       Portions are authorized                                                                                                               Emissions due to loss of flexicoker fractionator bottoms flow.
                 ETSC 068131 -
        160475                          10/12/11 3:44     10/14/11 13:59     58:15     under Permit                     Flexicoker           Flare Stack 25     FLARE 25     Carbon Monoxide      8.10          3736.48      Portions of emissions are authorized by Permit #18287/PSD-                  3              F, H
                 068132
118                                                                                    #18287/PSD-TX-730                                                                                                                     TX-730M4/PAL7.
                                                                                                                                                                                                                             Maintenance on west loop flare gas recovery compressor C-
                 ETSC 000715 -                                                         Not specifically                                                                                                                      002. VOC is unspeciated C6+ material. The refinery flares are
         68629                          12/12/05 6:00     12/15/05 23:20     89:20                                                               Flare 4        FLARE4       Carbon Monoxide           61.00            0.00                                                                             4              F, H
                 000717                                                                authorized                                                                                                                            permitted under permit #18287. This report is being
119                                                                                                                                                                                                                          submitted under an interim agreement with TCEQ Region 12.
         A                B                  C                  D              E                   F                         G                     H                 I                J             K            L                                         M                                          N                O
                  Bates # of first                                                                                                                                                               Amount     Reported
      Tracking                                                              Duration                                                           Emission                                                                                                                                        Number of Days     Traceability
                   page of Final     Start Date & Time   End Date & Time                   Authorization                   Unit                                    EPN         Contaminant       Released   Emission                                     Cause
      Number                                                                 (h:mm)                                                             Point                                                                                                                                            of Violation        Codes
 2                   STEERS                                                                                                                                                                        (lbs)  Limit (lbs/hr)
                 EOMCS 00024373 -                                                      Not specifically                                                                                                                       HCU1 shut down. Portions of the units are authorized by
        124215                        05/12/2009 15:46   05/15/2009 20:48    77:02                                 Hydrocracker Unit 1          Flare 11          FLARE11      Carbon Monoxide           2.00    3804.09                                                                              4               F, H
120              000024382                                                             authorized                                                                                                                             Permit #18287/PSD-TX-730.
                                                                                       7303 lbs of the 7303 lbs
                                                                                                                                                                                                                         Flaring due to Flexicoker start-up after shut down. This event
                 ETSC 001221 -                                                         are authorized by Permit                                 FN Fired
        126082                        06/25/2009 21:00    06/29/2009 3:46    78:46                                   Flexicoker (FXK)                                          Carbon Monoxide     7,303.00      3736.48 has ended. Portions of the refinery are permitted under                      4             H, R-RQ
                 001223                                                                # 18287 & PSD-TX-                                        Sources
                                                                                                                                                                                                                         Permit 18287/PSD-TX-730-M4.
121                                                                                    730M4
                                                                                                                                                                                                                          Run in test of Flexicoker Unit GTG 301 resulting in turbine
                 ETSC 000784 -                                                         Not specifically                                      GTG301 WHB
         71454                          2/22/06 13:55      2/27/06 0:00      106:05                                   Flexicoker Unit                                          Carbon Monoxide     5,385.00          0.00 emissions being routed through the Waste Heat Boiler bypass                 5             H, R-RQ
                 000785                                                                authorized                                            Bypass STack
122                                                                                                                                                                                                                       stack.
                                                                                                                                                                                                                          Water ingress from a suspected exchanger leak at Tail Gas
                                                                                                                                                                                                                          Cleanup Unit C lead to reduced treatment of tail gas at SCU2.
                 ETSC 001065 -                                                         Not specifically           Sulfur Conversion Unit                                                                                  Portions of the emissions from SCU2F702 and SCU2T601 were
        102061                         01/04/2008 5:10    01/08/2008 8:00    98:50                                                            Furnace 702        SCU2F702      Carbon Monoxide          67.00        0.00                                                                             5                H
                 001066                                                                authorized                           2                                                                                             authorized under Flexible PAL Permit #18287/PSD-TX-730M.
                                                                                                                                                                                                                          Also, flexible Permit #18287 SC30 authorized emissions from
123                                                                                                                                                                                                                       SCU2D702.
                                                                                                                                                                                                                          Scheduled shutdown due to approach of Hurricane Ike.
                 ETSC 001132 -                                                         Permit #18287 & PSD-TX-                                All Blend Gas
        113887                        09/11/2008 12:00   09/15/2008 18:30    102:30                                 Baytown Refinery                                           Carbon Monoxide          85.00    3,804.09 Portions of the refinery are permitted under Permit                         5                H
                 001144                                                                730M4                                                  Fired Sources
124                                                                                                                                                                                                                       18287/PSD-TX-730-M4.
                                                                                                                                                                                                                          Start-up of the Flexicoker Gas Turbine after a unit turnaround.
               ETSC 000780 -                                                           Not specifically                                                                                                                   During start-up exceeded NOx RACT and RMACT II CO
         72319                          2/27/06 9:00        3/5/06 7:00      142:00                                   Flexicoker Unit           GTG301          FXKWHB301      Carbon Monoxide    31,493.00          0.00                                                                             6             H, R-RQ
               000781                                                                  authorized                                                                                                                         Concentration limits of 400 ppm and 500 ppm. Portions of the
125                                                                                                                                                                                                                       Flexicoker are permitted under Permit #18287.
                                                                                       Portions of these
                                                                                                                                                                                                                         Emissions from hole in piping to gas treating towers. Portions
                 ETSC 001273 -                                                         emissions may be
        134509                        01/14/2010 14:30    01/21/2010 1:50    155:20                                    Gas Treating             Flare 20           FL20        Carbon Monoxide     6,335.41      3736.48 of the refinery emissions may be authorized by Permit                        7            F, H, R-RQ
                 001274                                                                authorized by Permit
                                                                                                                                                                                                                         #18287/PSD-TX-730.
126                                                                                    #18287
                                                                                                                                                                                                                          The MEA Tower System had a leaking exchanger that resulted
                                                                                                                                                                                                                          in increased levels of H2S in the blend gas system and in Tank
                                                                                                                                                                                                                          501. Each fuel gas combustion device in the Fuels North area
                                                                                                                                              Fuels North                                                                 potentially received the hydrogen sulfide containing material.
                 ETSC 001057 -
         82898                          10/20/06 3:00     10/28/06 12:00     201:00    Flexible Permit #18287          Fuels North            Combustion        FNCOMBDV       Carbon Monoxide    19,165.00      4199.43 The possible emission sources are: HSK:                                      9             H, R-RQ
                 001058
                                                                                                                                                Devices                                                                   F901/926/701/801/802/803/804/ 401/402/403/404/405
                                                                                                                                                                                                                          HDS: F301/201/227/703 FXK: F301/WHB301 Portions of the
                                                                                                                                                                                                                          Refinery are authorized under permit 18287 and PSD-TX-
127                                                                                                                                                                                                                       730M3.
                                                                                                                                                                                                                          Scheduled startup due to shutdown for Hurricane Ike. This
                                                                                                                                                                                                                          initial STEERS initial report is based on September 2005
                                                                                                                                                                                                                          refinery startup after shutdown due to approach of hurricane.
                                                                                                                                                                                                                          Portions of the refinery are permitted under Permit
                                                                                                                                                All BG Fired
                 ETSC 001156 -                                                         Permit #18287 & PSD-TX-                                                                                                            18287/PSD-TX-730-M4. Note: STEERS would not allow
        114161                        09/15/2008 18:30    10/04/2008 1:00    438:30                                 Baytown Refinery         Fired Units (SEE                  Carbon Monoxide       109.00      3,804.09                                                                             19               H
                 001163                                                                730M4                                                                                                                              submittal of just one report because it exceeded the CCEDS
                                                                                                                                                 PERMIT)
                                                                                                                                                                                                                          requirements. The STEERS contact (Jim Drozd) recommended
                                                                                                                                                                                                                          we submit two reports. A previous submitted report with
                                                                                                                                                                                                                          Incident Tracking Number 114157 contains the balance of
128                                                                                                                                                                                                                       information for this startup event.

                                                                                                                                                                                                                            A malfunction of seal tank internals to the FCCU3 bypass stack
                 ETSC 001103 -                                                         Not specifically           Fluid Catalytic Cracking   FCCU3 Bypass
        109166                        05/15/2008 17:00   07/25/2008 14:00    1701:00                                                                              FCCU3        Carbon Monoxide   151,214.00            0.00 caused emissions to escape through the stack. Portions of the             71            H, R-RQ
                 001104                                                                authorized                          Unit 3               Stack
                                                                                                                                                                                                                            refinery are authorized by PAL permit number 18287.
129
                                                                                                                                                                                                                              During start-up of Hydrofining Unit 9, exceeded 3 hour 160
                                                                                                                                                                                                                              ppm limit of H2S in fuel gas. This fuel gas is used at the
                 ETSC 000728 -                                                                                      Flexicoker Unit &
         68273                          11/21/05 5:57      11/21/05 7:43      1:46                                                              DCUF602          DCUF602       Carbon Monoxide          12.00    4199.43      Flexicoker Unit Furnace F-301 (FXKF301) & WHB-301                 already counted
                 000729                                                                                            Delayed Coker Unit
                                                                                                                                                                                                                              (FXKGTGWHB) and at the Delayed Coker Unit F-601 & F-602.
130                                                                                                                                                                                                                           These sources are listed in permit #18287.
                                                                                                                                                                                                                              During start-up of Hydrofining Unit 9, exceeded 3 hour 160
                                                                                                                                                                                                                              ppm limit of H2S in fuel gas. This fuel gas is used at the
                 ETSC 000728 -                                                                                      Flexicoker Unit &
         68273                          11/21/05 5:57      11/21/05 7:43      1:46     Permit #18287                                          FXK WHB 301       FXKGTGWHB      Carbon Monoxide           6.00    4199.43      Flexicoker Unit Furnace F-301 (FXKF301) & WHB-301                 already counted
                 000729                                                                                            Delayed Coker Unit
                                                                                                                                                                                                                              (FXKGTGWHB) and at the Delayed Coker Unit F-601 & F-602.
131                                                                                                                                                                                                                           These sources are listed in permit #18287.
                                                                                                                                                                                                                              During start-up of Hydrofining Unit 9, exceeded 3 hour 160
                                                                                                                                                                                                                              ppm limit of H2S in fuel gas. This fuel gas is used at the
                 ETSC 000728 -                                                                                      Flexicoker Unit &
         68273                          11/21/05 5:57      11/21/05 7:43      1:46     Permit #18287                                            FXKF301           FXKF301      Carbon Monoxide           5.00    4199.43      Flexicoker Unit Furnace F-301 (FXKF301) & WHB-301                 already counted
                 000729                                                                                            Delayed Coker Unit
                                                                                                                                                                                                                              (FXKGTGWHB) and at the Delayed Coker Unit F-601 & F-602.
132                                                                                                                                                                                                                           These sources are listed in permit #18287.
                                                                                                                                                                                                                              Maintenance on west loop flare gas recovery compressor C-
                 ETSC 000715 -                                                         Not specifically                                                                                                                       002. VOC is unspeciated C6+ material. The refinery flares are
         68629                          12/12/05 6:00     12/15/05 23:20     89:20                                                               Flare 5          FLARE5       Carbon Monoxide          10.00          0.00                                                                     already counted
                 000717                                                                authorized                                                                                                                             permitted under permit #18287. This report is being
133                                                                                                                                                                                                                           submitted under an interim agreement with TCEQ Region 12.
                                                                                                                                                                                                                              Maintenance on west loop flare gas recovery compressor C-
                 ETSC 000715 -                                                         Not specifically                                                                                                                       002. VOC is unspeciated C6+ material. The refinery flares are
         68629                          12/12/05 6:00     12/15/05 23:20     89:20                                                               Flare 3          FLARE3       Carbon Monoxide    10,017.00            0.00                                                                     already counted
                 000717                                                                authorized                                                                                                                             permitted under permit #18287. This report is being
134                                                                                                                                                                                                                           submitted under an interim agreement with TCEQ Region 12.
                                                                                                                                                                                                                              During the shutdown of the unit, an atmospheric safety valve
                                                                                                                                                                                                                              on T-451 opened and released light hydrocarbons to the
                                                                                                                                                                                                                              atmopshere. Light ends and hydrogen were also flared on the
                 ETSC 000798 -                                                         Not specifically
         70344                          1/12/06 13:09      1/12/06 13:24      0:15                                                              Flare 18         FLARE 18      Carbon Monoxide           7.70          0.00   Fuels North flare system. VOC is unspeciated C6+ material.        already counted
                 000801                                                                authorized
                                                                                                                                                                                                                              The refinery flares are permitted under permit #18287. This
                                                                                                                                                                                                                              report is being submitted under an interim agreement with
135                                                                                                                                                                                                                           TCEQ Region 12.
                                                                                                                                                                                                                              During the shutdown of the unit, an atmospheric safety valve
                                                                                                                                                                                                                              on T-451 opened and released light hydrocarbons to the
                                                                                                                                                                                                                              atmopshere. Light ends and hydrogen were also flared on the
                 ETSC 000798 -                                                         Not specifically
         70344                          1/12/06 13:09      1/12/06 13:24      0:15                                                              Flare 20         FLARE 20      Carbon Monoxide           7.70          0.00   Fuels North flare system. VOC is unspeciated C6+ material.        already counted
                 000801                                                                authorized
                                                                                                                                                                                                                              The refinery flares are permitted under permit #18287. This
                                                                                                                                                                                                                              report is being submitted under an interim agreement with
136                                                                                                                                                                                                                           TCEQ Region 12.
                                                                                                                                                                                                                              During the shutdown of the unit, an atmospheric safety valve
                                                                                                                                                                                                                              on T-451 opened and released light hydrocarbons to the
                                                                                                                                                                                                                              atmopshere. Light ends and hydrogen were also flared on the
                 ETSC 000798 -                                                         Not specifically
         70344                          1/12/06 13:09      1/12/06 13:24      0:15                                                              Flare 21         FLARE 21      Carbon Monoxide           7.70          0.00   Fuels North flare system. VOC is unspeciated C6+ material.        already counted
                 000801                                                                authorized
                                                                                                                                                                                                                              The refinery flares are permitted under permit #18287. This
                                                                                                                                                                                                                              report is being submitted under an interim agreement with
137                                                                                                                                                                                                                           TCEQ Region 12.
                                                                                                                                                                                                                              Fire at Electrical Substation #5, servicing the lubes plant.
                                                                                                                                                                                                                              Resulted in trip of East Loop Flare Gas Recovery Compressor
                                                                                                                                             Substation 5 -                                                                   and subsequent flaring off of the East Loop Flare Systems.
                 ETSC 000842 -                                                         Not specifically            Substation 5 & East       Transformers                                                                     Material routed to the flare included flows from MEK, LDU,
         74965                          4/25/06 21:45      4/26/06 21:31     23:46                                                                                             Carbon Monoxide          22.40          0.00                                                                     already counted
                 000844                                                                authorized                   Loop Flare System        T501, T502 &                                                                     PDU & LHU2 units. VOC from substation is petroleum
                                                                                                                                                 T503                                                                         distillates. This report is being submitted as part of the
                                                                                                                                                                                                                              interim agreement with TCEQ Region 12. Portions of the
138                                                                                                                                                                                                                           Refinery are permitted under Permit #18287.
                                                                                                                                                                                                                              Fire at Electrical Substation #5, servicing the lubes plant.
                                                                                                                                                                                                                              Resulted in trip of East Loop Flare Gas Recovery Compressor
                                                                                                                                                                                                                              and subsequent flaring off of the East Loop Flare Systems.
                 ETSC 000842 -                                                         Not specifically            Substation 5 & East                                                                                        Material routed to the flare included flows from MEK, LDU,
         74965                          4/25/06 21:45      4/26/06 21:31     23:46                                                              Flare 16          Flare16      Carbon Monoxide          46.00        542.70                                                                     already counted
                 000844                                                                authorized                   Loop Flare System                                                                                         PDU & LHU2 units. VOC from substation is petroleum
                                                                                                                                                                                                                              distillates. This report is being submitted as part of the
                                                                                                                                                                                                                              interim agreement with TCEQ Region 12. Portions of the
139                                                                                                                                                                                                                           Refinery are permitted under Permit #18287.
                                                                                                                                                                                                                              Boiler SG-501A boiler tripped offline and regenerator flue gas
                                                                                       Permit 18287, 500 ppm                                                                                                                  was partially rerouted to the atmosphere. Regenerator flue
                 ETSC 001053 -                                                         limit per 40 CFR 63.1565 Fluid Catalytic Cracking    Wet Gas                                                                           gas from SG-501A also continued to be partially treated in the
         83379                          11/1/06 14:24      11/2/06 16:00     25:36                                                                                             Carbon Monoxide    20,604.00      3804.09                                                                        already counted
                 001054                                                                (c)(1) and 400 ppm limit          Unit 3          Scrubber Stack                                                                       Wet Gas Scrubber. The boiler was promptly returned to
                                                                                       per 30 TAC 117.206(e)(1)                                                                                                               service. The event has ended. The unit has returned to normal
140                                                                                                                                                                                                                           operations.
                                                                                                                                                                                                                              Shift in power supply to Hydrofining Unit 9 (HU9) resulted in
                                                                                                                                                                                                                              depressuring to D-500 atmospheric vent. HU9 diversion
                 ETSC 000947 -                                                         Not specifically
         96519                          8/23/07 20:13      8/24/07 1:07       4:54                                 Hydrofining Unit #9       Flare Stack 26        FS26        Carbon Monoxide       284.00            0.00   resulted in flaring of Low Btu Gas normally used in HU9           already counted
                 000949                                                                authorized
                                                                                                                                                                                                                              furnaces. Portions of the BTRF Refinery are authorized by
141                                                                                                                                                                                                                           Flex/PAL Permit No. 18293
                                                                                       Permit 18287 and 30                                                                                                                    Boilers A/B/C tripped off-line. Portions of the FCCU3 unit are
                 ETSC 001091 -                                                                                Fluid Catalytic Cracking FCCU3 Wet Gas
        106703                        04/22/2008 11:02   04/23/2008 16:21    29:19     TAC 117 400 ppm - 3590                                                   FCCU3WGS       Carbon Monoxide    18,330.00      3804.09      authorized under Flexible PAL Permit #18287/PSD-TX-               already counted
                 001092                                                                                                Unit 3             Scrubbe
142                                                                                    lb authorized                                                                                                                          730M4/PAL.
                                                                                                                                                                                                                              Scheduled shutdown due to approach of Hurricane Ike.
                 ETSC 001132 -                                                         Permit #18287 & PSD-TX-
        113887                        09/11/2008 12:00   09/15/2008 18:30    102:30                                 Baytown Refinery         Flare Stack 25        FS25        Carbon Monoxide       271.00            0.00   Portions of the refinery are permitted under Permit               already counted
                 001144                                                                730M4
143                                                                                                                                                                                                                           18287/PSD-TX-730-M4.
                                                                                                                                                                                                                              Scheduled shutdown due to approach of Hurricane Ike.
               ETSC 001132 -                                                           Not specifically           Fluid Catalytic Cracking   FCCU3 Bypass
        113887                        09/11/2008 12:00   09/15/2008 18:30    102:30                                                                             Bypass Stack   Carbon Monoxide       151.00            0.00   Portions of the refinery are permitted under Permit               already counted
               001144                                                                  authorized                          Unit 3               Stack
144                                                                                                                                                                                                                           18287/PSD-TX-730-M4.
                                                                                                                                                                                                                              Scheduled shutdown due to approach of Hurricane Ike.
               ETSC 001132 -                                                           Permit #18287 & PSD-TX-
        113887                        09/11/2008 12:00   09/15/2008 18:30    102:30                                 Baytown Refinery            Flare 27          FLARE27      Carbon Monoxide     1,315.00      3,804.09     Portions of the refinery are permitted under Permit               already counted
               001144                                                                  730M4
145                                                                                                                                                                                                                           18287/PSD-TX-730-M4.
         A                B                  C                  D              E                   F                      G                     H              I              J             K            L                                     M                                         N                O
                  Bates # of first                                                                                                                                                       Amount     Reported
      Tracking                                                              Duration                                                       Emission                                                                                                                               Number of Days     Traceability
                   page of Final     Start Date & Time   End Date & Time                   Authorization                 Unit                                EPN       Contaminant       Released   Emission                                 Cause
      Number                                                                 (h:mm)                                                         Point                                                                                                                                   of Violation        Codes
 2                   STEERS                                                                                                                                                                (lbs)  Limit (lbs/hr)
                                                                                                                                                                                                                  Scheduled shutdown due to approach of Hurricane Ike.
                 ETSC 001132 -                                                         Permit #18287 & PSD-TX-
        113887                        09/11/2008 12:00   09/15/2008 18:30    102:30                                Baytown Refinery          Flare 11       FLARE11    Carbon Monoxide     1,127.00      3,804.09 Portions of the refinery are permitted under Permit              already counted
                 001144                                                                730M4
146                                                                                                                                                                                                               18287/PSD-TX-730-M4.
                                                                                                                                                                                                                  Scheduled shutdown due to approach of Hurricane Ike.
               ETSC 001132 -                                                           Permit #18287 & PSD-TX-
        113887                        09/11/2008 12:00   09/15/2008 18:30    102:30                                Baytown Refinery          Flare 14       FLARE14    Carbon Monoxide     2,787.00      3,804.09 Portions of the refinery are permitted under Permit              already counted
               001144                                                                  730M4
147                                                                                                                                                                                                               18287/PSD-TX-730-M4.
                                                                                                                                                                                                                  Scheduled shutdown due to approach of Hurricane Ike.
               ETSC 001132 -                                                           Permit #18287 & PSD-TX-
        113887                        09/11/2008 12:00   09/15/2008 18:30    102:30                                Baytown Refinery          Flare 15       FLARE15    Carbon Monoxide     1,127.00      3,804.09 Portions of the refinery are permitted under Permit              already counted
               001144                                                                  730M4
148                                                                                                                                                                                                               18287/PSD-TX-730-M4.
                                                                                                                                                                                                                  Scheduled shutdown due to approach of Hurricane Ike.
               ETSC 001132 -                                                           Permit #18287 & PSD-TX-
        113887                        09/11/2008 12:00   09/15/2008 18:30    102:30                                Baytown Refinery          Flare 17       FLARE17    Carbon Monoxide     4,364.00      3,804.09 Portions of the refinery are permitted under Permit              already counted
               001144                                                                  730M4
149                                                                                                                                                                                                               18287/PSD-TX-730-M4.
                                                                                                                                                                                                                  Scheduled shutdown due to approach of Hurricane Ike.
               ETSC 001132 -                                                           Permit #18287 & PSD-TX-
        113887                        09/11/2008 12:00   09/15/2008 18:30    102:30                                Baytown Refinery          Flare 18       FLARE18    Carbon Monoxide       137.00      3,804.09 Portions of the refinery are permitted under Permit              already counted
               001144                                                                  730M4
150                                                                                                                                                                                                               18287/PSD-TX-730-M4.
                                                                                                                                                                                                                  Scheduled shutdown due to approach of Hurricane Ike.
               ETSC 001132 -                                                           Permit #18287 & PSD-TX-
        113887                        09/11/2008 12:00   09/15/2008 18:30    102:30                                Baytown Refinery          Flare 19       FLARE19    Carbon Monoxide           4.00    3,804.09 Portions of the refinery are permitted under Permit              already counted
               001144                                                                  730M4
151                                                                                                                                                                                                               18287/PSD-TX-730-M4.
                                                                                                                                                                                                                  Scheduled shutdown due to approach of Hurricane Ike.
                 ETSC 001132 -                                                         Permit #18287 & PSD-TX-
        113887                        09/11/2008 12:00   09/15/2008 18:30    102:30                                Baytown Refinery          Flare 20       FLARE20    Carbon Monoxide     3,957.00      3,804.09 Portions of the refinery are permitted under Permit              already counted
                 001144                                                                730M4
152                                                                                                                                                                                                               18287/PSD-TX-730-M4.
                                                                                                                                                                                                                  Scheduled shutdown due to approach of Hurricane Ike.
                 ETSC 001132 -                                                         Permit #18287 & PSD-TX-
        113887                        09/11/2008 12:00   09/15/2008 18:30    102:30                                Baytown Refinery          Flare 21       FLARE21    Carbon Monoxide       270.00      3,804.09 Portions of the refinery are permitted under Permit              already counted
                 001144                                                                730M4
153                                                                                                                                                                                                               18287/PSD-TX-730-M4.
                                                                                                                                                                                                                  Scheduled shutdown due to approach of Hurricane Ike.
                 ETSC 001132 -                                                         Permit #18287 & PSD-TX-
        113887                        09/11/2008 12:00   09/15/2008 18:30    102:30                                Baytown Refinery           Flare 3       FLARE3     Carbon Monoxide     3,590.00      3,804.09 Portions of the refinery are permitted under Permit              already counted
                 001144                                                                730M4
154                                                                                                                                                                                                               18287/PSD-TX-730-M4.
                                                                                                                                                                                                                  Scheduled shutdown due to approach of Hurricane Ike.
               ETSC 001132 -                                                           Permit #18287 & PSD-TX-
        113887                        09/11/2008 12:00   09/15/2008 18:30    102:30                                Baytown Refinery           Flare 4       FLARE4     Carbon Monoxide     2,487.00      3,804.09 Portions of the refinery are permitted under Permit              already counted
               001144                                                                  730M4
155                                                                                                                                                                                                               18287/PSD-TX-730-M4.
                                                                                                                                                                                                                  Scheduled shutdown due to approach of Hurricane Ike.
               ETSC 001132 -                                                           Permit #18287 & PSD-TX-
        113887                        09/11/2008 12:00   09/15/2008 18:30    102:30                                Baytown Refinery        Flare Stack 5      FL5      Carbon Monoxide          15.00    3,804.09 Portions of the refinery are permitted under Permit              already counted
               001144                                                                  730M4
156                                                                                                                                                                                                               18287/PSD-TX-730-M4.
                                                                                                                                                                                                                  Scheduled shutdown due to approach of Hurricane Ike.
               ETSC 001132 -                                                           Permit #18287 & PSD-TX-
        113887                        09/11/2008 12:00   09/15/2008 18:30    102:30                                Baytown Refinery           Flare 6       FLARE6     Carbon Monoxide       104.00      3,804.09 Portions of the refinery are permitted under Permit              already counted
               001144                                                                  730M4
157                                                                                                                                                                                                               18287/PSD-TX-730-M4.
                                                                                                                                                                                                                  Scheduled shutdown due to approach of Hurricane Ike.
               ETSC 001132 -                                                           Permit #18287 & PSD-TX-     Baytown Refinery
        113887                        09/11/2008 12:00   09/15/2008 18:30    102:30                                                        SCU2 F-529      SCU2F529    Carbon Monoxide       590.00      3,804.09 Portions of the refinery are permitted under Permit              already counted
               001144                                                                  730M4                        Operating Units
158                                                                                                                                                                                                               18287/PSD-TX-730-M4.
                                                                                                                                                                                                                  Scheduled shutdown due to approach of Hurricane Ike.
               ETSC 001132 -                                                           Permit #18287 & PSD-TX- Fluid Catalytic Cracking FCCU2 Wet Gas
        113887                        09/11/2008 12:00   09/15/2008 18:30    102:30                                                                        FCCU2WGS    Carbon Monoxide    12,621.00      3,804.09 Portions of the refinery are permitted under Permit              already counted
               001144                                                                  730M4                            Unit 2             Scrubber
159                                                                                                                                                                                                               18287/PSD-TX-730-M4.
                                                                                                                                                                                                                  Scheduled shutdown due to approach of Hurricane Ike.
                 ETSC 001132 -                                                         Permit #18287 & PSD-TX- Fluid Catalytic Cracking
        113887                        09/11/2008 12:00   09/15/2008 18:30    102:30                                                        FCCU3 D505      FCCU3WGS    Carbon Monoxide    11,966.00      3,804.09 Portions of the refinery are permitted under Permit              already counted
                 001144                                                                730M4                            Unit 2
160                                                                                                                                                                                                               18287/PSD-TX-730-M4.
                                                                                                                                                                                                                  Scheduled shutdown due to approach of Hurricane Ike.
                 ETSC 001132 -                                                         Permit #18287 & PSD-TX- Fluid Catalytic Cracking
        113887                        09/11/2008 12:00   09/15/2008 18:30    102:30                                                        FCCU3 F-103     FCCU3F103   Carbon Monoxide       163.00      3,804.09 Portions of the refinery are permitted under Permit              already counted
                 001144                                                                730M4                            Unit 2
161                                                                                                                                                                                                               18287/PSD-TX-730-M4.
                                                                                                                                                                                                                  Scheduled startup due to shutdown for Hurricane Ike. This
                                                                                                                                                                                                                  initial STEERS initial report is based on September 2005
                                                                                                                                                                                                                  refinery startup after shutdown due to approach of hurricane.
                                                                                                                                                                                                                  Portions of the refinery are permitted under Permit
                                                                                                                                           HF3 MOV32
                 ETSC 001156 -                                                         Not specifically            Baytown Refinery                                                                               18287/PSD-TX-730-M4. Note: STEERS would not allow
        114161                        09/15/2008 18:30    10/04/2008 1:00    438:30                                                        Flange Flash                Carbon Monoxide           1.00        0.00                                                                  already counted
                 001163                                                                authorized                   Operating Units                                                                               submittal of just one report because it exceeded the CCEDS
                                                                                                                                               Fire
                                                                                                                                                                                                                  requirements. The STEERS contact (Jim Drozd) recommended
                                                                                                                                                                                                                  we submit two reports. A previous submitted report with
                                                                                                                                                                                                                  Incident Tracking Number 114157 contains the balance of
162                                                                                                                                                                                                               information for this startup event.
                                                                                                                                                                                                                  Scheduled startup due to shutdown for Hurricane Ike. This
                                                                                                                                                                                                                  initial STEERS initial report is based on September 2005
                                                                                                                                                                                                                  refinery startup after shutdown due to approach of hurricane.
                                                                                                                                                                                                                  Portions of the refinery are permitted under Permit
                                                                                                                                          CLEU T-62 Feed
                 ETSC 001156 -                                                         Permit #18287 & PSD-TX-                                                                                                    18287/PSD-TX-730-M4. Note: STEERS would not allow
        114161                        09/15/2008 18:30    10/04/2008 1:00    438:30                                Baytown Refinery        Line Pinhole                Carbon Monoxide           1.00    3,804.09                                                                  already counted
                 001163                                                                730M4                                                                                                                      submittal of just one report because it exceeded the CCEDS
                                                                                                                                               Leak
                                                                                                                                                                                                                  requirements. The STEERS contact (Jim Drozd) recommended
                                                                                                                                                                                                                  we submit two reports. A previous submitted report with
                                                                                                                                                                                                                  Incident Tracking Number 114157 contains the balance of
163                                                                                                                                                                                                               information for this startup event.
                                                                                                                                                                                                                  Scheduled startup due to shutdown for Hurricane Ike. This
                                                                                                                                                                                                                  initial STEERS initial report is based on September 2005
                                                                                                                                                                                                                  refinery startup after shutdown due to approach of hurricane.
                                                                                                                                                                                                                  Portions of the refinery are permitted under Permit
                 ETSC 001156 -                                                         Permit #18287 & PSD-TX-     Baytown Refinery                                                                               18287/PSD-TX-730-M4. Note: STEERS would not allow
        114161                        09/15/2008 18:30    10/04/2008 1:00    438:30                                                          Flare 11       FLARE11    Carbon Monoxide     4,957.00      3,804.09                                                                  already counted
                 001163                                                                730M4                        Operating Units                                                                               submittal of just one report because it exceeded the CCEDS
                                                                                                                                                                                                                  requirements. The STEERS contact (Jim Drozd) recommended
                                                                                                                                                                                                                  we submit two reports. A previous submitted report with
                                                                                                                                                                                                                  Incident Tracking Number 114157 contains the balance of
164                                                                                                                                                                                                               information for this startup event.
                                                                                                                                                                                                                  Scheduled startup due to shutdown for Hurricane Ike. This
                                                                                                                                                                                                                  initial STEERS initial report is based on September 2005
                                                                                                                                                                                                                  refinery startup after shutdown due to approach of hurricane.
                                                                                                                                                                                                                  Portions of the refinery are permitted under Permit
                 ETSC 001156 -                                                         Permit #18287 & PSD-TX-     Baytown Refinery                                                                               18287/PSD-TX-730-M4. Note: STEERS would not allow
        114161                        09/15/2008 18:30    10/04/2008 1:00    438:30                                                          Flare 18       FLARE18    Carbon Monoxide       386.00      3,804.09                                                                  already counted
                 001163                                                                730M4                        Operating Units                                                                               submittal of just one report because it exceeded the CCEDS
                                                                                                                                                                                                                  requirements. The STEERS contact (Jim Drozd) recommended
                                                                                                                                                                                                                  we submit two reports. A previous submitted report with
                                                                                                                                                                                                                  Incident Tracking Number 114157 contains the balance of
165                                                                                                                                                                                                               information for this startup event.
                                                                                                                                                                                                                  Scheduled startup due to shutdown for Hurricane Ike. This
                                                                                                                                                                                                                  initial STEERS initial report is based on September 2005
                                                                                                                                                                                                                  refinery startup after shutdown due to approach of hurricane.
                                                                                                                                                                                                                  Portions of the refinery are permitted under Permit
                 ETSC 001156 -                                                         Permit #18287 & PSD-TX-     Baytown Refinery                                                                               18287/PSD-TX-730-M4. Note: STEERS would not allow
        114161                        09/15/2008 18:30    10/04/2008 1:00    438:30                                                          Flare 21       FLARE21    Carbon Monoxide       319.00      3,804.09                                                                  already counted
                 001163                                                                730M4                        Operating Units                                                                               submittal of just one report because it exceeded the CCEDS
                                                                                                                                                                                                                  requirements. The STEERS contact (Jim Drozd) recommended
                                                                                                                                                                                                                  we submit two reports. A previous submitted report with
                                                                                                                                                                                                                  Incident Tracking Number 114157 contains the balance of
166                                                                                                                                                                                                               information for this startup event.
                                                                                                                                                                                                                  Scheduled startup due to shutdown for Hurricane Ike. This
                                                                                                                                                                                                                  initial STEERS initial report is based on September 2005
                                                                                                                                                                                                                  refinery startup after shutdown due to approach of hurricane.
                                                                                                                                                                                                                  Portions of the refinery are permitted under Permit
                 ETSC 001156 -                                                         Permit #18287 & PSD-TX-     Baytown Refinery                                                                               18287/PSD-TX-730-M4. Note: STEERS would not allow
        114161                        09/15/2008 18:30    10/04/2008 1:00    438:30                                                       Flare Stack 26     FS26      Carbon Monoxide           3.00    3,804.09                                                                  already counted
                 001163                                                                730M4                        Operating Units                                                                               submittal of just one report because it exceeded the CCEDS
                                                                                                                                                                                                                  requirements. The STEERS contact (Jim Drozd) recommended
                                                                                                                                                                                                                  we submit two reports. A previous submitted report with
                                                                                                                                                                                                                  Incident Tracking Number 114157 contains the balance of
167                                                                                                                                                                                                               information for this startup event.
                                                                                                                                                                                                                  Scheduled startup due to shutdown for Hurricane Ike. This
                                                                                                                                                                                                                  initial STEERS initial report is based on September 2005
                                                                                                                                                                                                                  refinery startup after shutdown due to approach of hurricane.
                                                                                                                                                                                                                  Portions of the refinery are permitted under Permit
                 ETSC 001156 -                                                         Permit #18287 & PSD-TX-     Baytown Refinery                                                                               18287/PSD-TX-730-M4. Note: STEERS would not allow
        114161                        09/15/2008 18:30    10/04/2008 1:00    438:30                                                          Flare 14       FLARE14    Carbon Monoxide    11,382.00      3,804.09                                                                  already counted
                 001163                                                                730M4                        Operating Units                                                                               submittal of just one report because it exceeded the CCEDS
                                                                                                                                                                                                                  requirements. The STEERS contact (Jim Drozd) recommended
                                                                                                                                                                                                                  we submit two reports. A previous submitted report with
                                                                                                                                                                                                                  Incident Tracking Number 114157 contains the balance of
168                                                                                                                                                                                                               information for this startup event.
                                                                                                                                                                                                                  Scheduled startup due to shutdown for Hurricane Ike. This
                                                                                                                                                                                                                  initial STEERS initial report is based on September 2005
                                                                                                                                                                                                                  refinery startup after shutdown due to approach of hurricane.
                                                                                                                                                                                                                  Portions of the refinery are permitted under Permit
                 ETSC 001156 -                                                         Permit #18287 & PSD-TX-     Baytown Refinery                                                                               18287/PSD-TX-730-M4. Note: STEERS would not allow
        114161                        09/15/2008 18:30    10/04/2008 1:00    438:30                                                          Flare 16       FLARE16    Carbon Monoxide           6.00    3,804.09                                                                  already counted
                 001163                                                                730M4                        Operating Units                                                                               submittal of just one report because it exceeded the CCEDS
                                                                                                                                                                                                                  requirements. The STEERS contact (Jim Drozd) recommended
                                                                                                                                                                                                                  we submit two reports. A previous submitted report with
                                                                                                                                                                                                                  Incident Tracking Number 114157 contains the balance of
169                                                                                                                                                                                                               information for this startup event.
          A                B                    C                     D                      E               F                        G                   H              I                 J             K              L                                           M                                         N                O
                   Bates # of first                                                                                                                                                                   Amount     Reported
      Tracking                                                                       Duration                                                        Emission                                                                                                                                          Number of Days     Traceability
                    page of Final       Start Date & Time      End Date & Time                       Authorization                  Unit                               EPN          Contaminant       Released   Emission                                        Cause
      Number                                                                          (h:mm)                                                          Point                                                                                                                                              of Violation        Codes
 2                    STEERS                                                                                                                                                                            (lbs)  Limit (lbs/hr)
                                                                                                                                                                                                                                      Scheduled startup due to shutdown for Hurricane Ike. This
                                                                                                                                                                                                                                      initial STEERS initial report is based on September 2005
                                                                                                                                                                                                                                      refinery startup after shutdown due to approach of hurricane.
                                                                                                                                                                                                                                      Portions of the refinery are permitted under Permit
                  ETSC 001156 -                                                                  Permit #18287 & PSD-TX-      Baytown Refinery                                                                                        18287/PSD-TX-730-M4. Note: STEERS would not allow
         114161                          09/15/2008 18:30       10/04/2008 1:00        438:30                                                          Flare 17      FLARE17        Carbon Monoxide    10,687.00        3,804.09                                                                        already counted
                  001163                                                                         730M4                         Operating Units                                                                                        submittal of just one report because it exceeded the CCEDS
                                                                                                                                                                                                                                      requirements. The STEERS contact (Jim Drozd) recommended
                                                                                                                                                                                                                                      we submit two reports. A previous submitted report with
                                                                                                                                                                                                                                      Incident Tracking Number 114157 contains the balance of
170                                                                                                                                                                                                                                   information for this startup event.
                                                                                                                                                                                                                                      Scheduled startup due to shutdown for Hurricane Ike. This
                                                                                                                                                                                                                                      initial STEERS initial report is based on September 2005
                                                                                                                                                                                                                                      refinery startup after shutdown due to approach of hurricane.
                                                                                                                                                                                                                                      Portions of the refinery are permitted under Permit
                  ETSC 001156 -                                                                  Permit #18287 & PSD-TX-      Baytown Refinery                                                                                        18287/PSD-TX-730-M4. Note: STEERS would not allow
         114161                          09/15/2008 18:30       10/04/2008 1:00        438:30                                                          Flare 6        FLARE6        Carbon Monoxide     1,260.00        3,804.09                                                                        already counted
                  001163                                                                         730M4                         Operating Units                                                                                        submittal of just one report because it exceeded the CCEDS
                                                                                                                                                                                                                                      requirements. The STEERS contact (Jim Drozd) recommended
                                                                                                                                                                                                                                      we submit two reports. A previous submitted report with
                                                                                                                                                                                                                                      Incident Tracking Number 114157 contains the balance of
171                                                                                                                                                                                                                                   information for this startup event.
                                                                                                                                                                                                                                      Boilers B and C tripped offline while A Boiler was down for
                  ETSC 001173 -                                                                  Not specifically           Fluid Catalytic Cracking FCCU3 Wet Gas
         118545                           01/07/2009 4:16      01/08/2009 14:16         34:00                                                                        FCCUWGS        Carbon Monoxide   259,848.00         3736.48      maintenance. Portions of FCCU3 unit are authorized under          already counted
                  001174                                                                         authorized                          Unit 3             Scrubber
172                                                                                                                                                                                                                                   Flexible PAL Permit #18287/PSD-TX-730M4.
                  ETSC 001184 -                                                                  Not specifically           Fluid Catalytic Cracking FCCU3 Wet Gas                                                                    CO Boiler SG501C tripped offline. Portions of the FCCU3 are
         121025                          03/06/2009 17:48      03/06/2009 20:31         2:43                                                                         FCCU3WGS       Carbon Monoxide    31,863.00         3736.48                                                                        already counted
173               001185                                                                         authorized                          Unit 3             Scrubber                                                                      authorized under Flexible PAL Permit #18287/PSD-TX-730M4.
                                                                                                                                                                                                                                      FCCU3 CO Boiler A tripped offline while B Boiler was down for
                  ETSC 001197 -                                                                  Not specifically           Fluid Catalytic Cracking FCCU3 Wet Gas
         123795                           05/04/2009 8:41      05/05/2009 17:05         32:24                                                                        FCCU3WGS       Carbon Monoxide     5,037.00         3736.48      maintenance. Portions of FCCU3 unit are authorized under          already counted
                  001198                                                                         authorized                          Unit 3             Scrubber
174                                                                                                                                                                                                                                   Flexible PAL Permit #18287/PSD-TX-730M4.
                  EOMCS 00024373 -                                                               not specifically                                                                                                                     HCU1 shut down. Portions of the units are authorized by
         124215                          05/12/2009 15:46      05/15/2009 20:48         77:02                                Hydrocracker Unit 1       Flare 14      FLARE14        Carbon Monoxide     1,549.00         3804.09                                                                        already counted
175               000024382                                                                      authorized                                                                                                                           Permit #18287/PSD-TX-730.
                  EOMCS 00024373 -                                                               Not specifically                                                                                                                     HCU1 shut down. Portions of the units are authorized by
         124215                          05/12/2009 15:46      05/15/2009 20:48         77:02                                Hydrocracker Unit 1       Flare 3        FLARE3        Carbon Monoxide          15.00       3804.09                                                                        already counted
176               000024382                                                                      authorized                                                                                                                           Permit #18287/PSD-TX-730.
                  EOMCS 00024373 -                                                                                                                                                                                                    HCU1 shut down. Portions of the units are authorized by
         124215                          05/12/2009 15:46      05/15/2009 20:48         77:02    184 lbs are authorized      Hydrocracker Unit 1       Flare 4        FLARE4        Carbon Monoxide       184.00         3804.09                                                                        already counted
177               000024382                                                                                                                                                                                                           Permit #18287/PSD-TX-730.
                  EOMCS 00024373 -                                                               Not specifically                                                                                                                     HCU1 shut down. Portions of the units are authorized by
         124215                          05/12/2009 15:46      05/15/2009 20:48         77:02                                Hydrocracker Unit 1    Flare Stack 5      FS5          Carbon Monoxide          13.00       3804.09                                                                        already counted
178               000024382                                                                      authorized                                                                                                                           Permit #18287/PSD-TX-730.
                  EOMCS 00024373 -                                                                                                                                                                                                    HCU1 shut down. Portions of the units are authorized by
         124215                          05/12/2009 15:46      05/15/2009 20:48         77:02                                Hydrocracker Unit 1       Flare 6        FLARE6        Carbon Monoxide          13.00       3804.09                                                                        already counted
179               000024382                                                                                                                                                                                                           Permit #18287/PSD-TX-730.
                                                                                                                                                                                                                                      Failure of cooling tower supply header caused shutdown of
                                                                                                                                                                                                                                      Propane Dewaxing Unit and Lube Deasphalting Unit.
                  ETSC 001201 -                                                                  Not specifically
         124761                          05/26/2009 23:40      05/28/2009 13:57         38:17                                   Dewaxing Unit          Flare 16        FS16         Carbon Monoxide       305.00         3736.48      Shutdown and subsequent unit clearing caused flaring.             already counted
                  001202                                                                         authorized
                                                                                                                                                                                                                                      Portions of the Refinery are authorized under Flexible PAL
180                                                                                                                                                                                                                                   Permit #18287/PSD-TX-730M4.
                  ETSC 001203 -                                                                  Not specifically                                                                                                                     HCU1 shut down. Portions of the units are authorized by
         125757                          06/17/2009 14:45      06/17/2009 17:00         2:15                                 Hydrocracker Unit 1       Flare 11      FLARE11        Carbon Monoxide           1.00       3736.48                                                                        already counted
181               001209                                                                         authorized                                                                                                                           Permit #18287/PSD-TX-730.
                  ETSC 001203 -                                                                  Not specifically                                                                                                                     HCU1 shut down. Portions of the units are authorized by
         125757                          06/17/2009 14:45      06/17/2009 17:00         2:15                                 Hydrocracker Unit 1       Flare 14      FLARE14        Carbon Monoxide           9.00       3736.48                                                                        already counted
182               001209                                                                         authorized                                                                                                                           Permit #18287/PSD-TX-730.
                  ETSC 001203 -                                                                  Not specifically                                                                                                                     HCU1 shut down. Portions of the units are authorized by
         125757                          06/17/2009 14:45      06/17/2009 17:00         2:15                                 Hydrocracker Unit 1       Flare 17      FLARE17        Carbon Monoxide       129.00         3736.48                                                                        already counted
183               001209                                                                         authorized                                                                                                                           Permit #18287/PSD-TX-730.
                  ETSC 001203 -                                                                  Not specifically                                                                                                                     HCU1 shut down. Portions of the units are authorized by
         125757                          06/17/2009 14:45      06/17/2009 17:00         2:15                                 Hydrocracker Unit 1       Flare 20      FLARE20        Carbon Monoxide           3.00       3736.48                                                                        already counted
184               001209                                                                         authorized                                                                                                                           Permit #18287/PSD-TX-730.
                  ETSC 001203 -                                                                  Not specifically                                                                                                                     HCU1 shut down. Portions of the units are authorized by
         125757                          06/17/2009 14:45      06/17/2009 17:00         2:15                                 Hydrocracker Unit 1       Flare 3        FLARE3        Carbon Monoxide       180.00         3736.48                                                                        already counted
185               001209                                                                         authorized                                                                                                                           Permit #18287/PSD-TX-730.
                  ETSC 001203 -                                                                  Not specifically                                                                                                                     HCU1 shut down. Portions of the units are authorized by
         125757                          06/17/2009 14:45      06/17/2009 17:00         2:15                                 Hydrocracker Unit 1    Flare Stack 5      FS5          Carbon Monoxide           1.00       3736.48                                                                        already counted
186               001209                                                                         authorized                                                                                                                           Permit #18287/PSD-TX-730.
                  ETSC 001203 -                                                                  Not specifically                                                                                                                     HCU1 shut down. Portions of the units are authorized by
         125757                          06/17/2009 14:45      06/17/2009 17:00         2:15                                 Hydrocracker Unit 1       Flare 6        FLARE6        Carbon Monoxide       101.00         3736.48                                                                        already counted
187               001209                                                                         authorized                                                                                                                           Permit #18287/PSD-TX-730.
                                                                                                                                                                                                                                      CO Boiler SG501A tripped offline. Hourly emissions returned
                                                                                                                                                                                                                                      to normal by 6/22/09 18:40, but the 24-hr rolling average for
                ETSC 001210 -                                                                    Not specifically           Fluid Catalytic Cracking FCCU3 Wet Gas
         125838                           06/21/2009 9:24      06/22/2009 18:40         33:16                                                                        FCCU3WGS       Carbon Monoxide    39,597.00         3736.48      carbon monoxide stayed above the 400 ppm limit set in 30          already counted
                001211                                                                           authorized                          Unit 3             Scrubber
                                                                                                                                                                                                                                      TAC Chapter 117 until 6/22/09 21:00. Portions of FCCU3 are
188                                                                                                                                                                                                                                   authorized under Flexible PAL Permit #18287/PSD-TX-730M4.
                                                                                                 Portions of the refinery
                                                                                                                                                                                                                                 Flaring due to Flexicoker start-up after shut down. This event
                  ETSC 001221 -                                                                  are authorized by Permi
         126082                          06/25/2009 21:00       06/29/2009 3:46         78:46                                  Flexicoker (FXK)     Flare Stack 25     FL25         Carbon Monoxide           1.00       3736.48 has ended. Portions of the refinery are permitted under                already counted
                  001223                                                                         #18287 & PSD-TX-
                                                                                                                                                                                                                                 Permit 18287/PSD-TX-730-M4.
189                                                                                              730M4
                                                                                                 103105 lbs of the
                                                                                                                                                                                                                                 Flaring due to Flexicoker start-up after shut down. This event
                  ETSC 001221 -                                                                  158107 lbs are
         126082                          06/25/2009 21:00       06/29/2009 3:46         78:46                                  Flexicoker (FXK)     Flare Stack 26     FL26         Carbon Monoxide   158,107.00         3736.48 has ended. Portions of the refinery are permitted under                already counted
                  001223                                                                         authorized by Permit #
                                                                                                                                                                                                                                 Permit 18287/PSD-TX-730-M4.
190                                                                                              18287 & PSD-TX-730M4
                                                                                                 Portions of the refinery
                                                                                                                                                                                                                                 Flaring due to Flexicoker start-up after shut down. This event
                  ETSC 001221 -                                                                  are authorized by Permi
         126082                          06/25/2009 21:00       06/29/2009 3:46         78:46                                  Flexicoker (FXK)     Flare Stack 27     FL27         Carbon Monoxide           1.00       3736.48 has ended. Portions of the refinery are permitted under                already counted
                  001223                                                                         #18287 & PSD-TX-
                                                                                                                                                                                                                                 Permit 18287/PSD-TX-730-M4.
191                                                                                              730M4
                                                                                                                                                                                                                                      As a result of a malfunctioning boiler feed water pump, the
                                                                                                                                                     Flexicoker
                ETSC 001237 -                                                                                                                                                                                                         Flexicoker waste heat boiler (WHB) was shut down causing
                                                                                                 Not specifically           Flexicoker Waste Heat    Waste Heat
         128824 001238; EOMCS            08/30/2009 15:22       08/31/2009 1:57         10:35                                                                                       Carbon Monoxide     1,326.00               0.00   emissions to be released to the atmosphere through the            already counted
                                                                                                 authorized                         Boiler          Boiler Bypass
                00232142 - 0023148                                                                                                                                                                                                    Flexicoker gas turbine generator WHB bypass stack. Portions
                                                                                                                                                        Stack
192                                                                                                                                                                                                                                   of the refinery are authorized by PAL permit number 18287.
                                                                                                                                                                                                                                      Shutdown of compressor C-701 caused HCU1 to shutdown.
                  ETSC 001241 -                                                                  Not specifically                                                                                                                     Associated units temporarily reduced rates to minimize
         130563                           10/09/2009 6:37      10/09/2009 12:37         6:00                                 Hydrocracker Unit 1       Flare17       FLARE17        Carbon Monoxide     1,566.00         3804.09                                                                        already counted
                  001244                                                                         permitted                                                                                                                            emissions. Portions of this event may be authorized under
193                                                                                                                                                                                                                                   Permit 18287-PSD-TX-730-M4.
                                                                                                                                                                                                                                      Shutdown of compressor C-701 caused HCU1 to shutdown.
                  ETSC 001241 -                                                                  Not specifically                                                                                                                     Associated units temporarily reduced rates to minimize
         130563                           10/09/2009 6:37      10/09/2009 12:37         6:00                                 Hydrocracker Unit 1       Flare3          FL3          Carbon Monoxide       213.00         3804.09                                                                        already counted
                  001244                                                                         authorized                                                                                                                           emissions. Portions of this event may be authorized under
194                                                                                                                                                                                                                                   Permit 18287-PSD-TX-730-M4.
                                                                                                                                                                                                                                      Shutdown of compressor C-701 caused HCU1 to shutdown.
                  ETSC 001241 -                                                                  Not specifically                                                                                                                     Associated units temporarily reduced rates to minimize
         130563                           10/09/2009 6:37      10/09/2009 12:37         6:00                                 Hydrocracker Unit 1       Flare6          FL6          Carbon Monoxide       104.00         3804.09                                                                        already counted
                  001244                                                                         authorized                                                                                                                           emissions. Portions of this event may be authorized under
195                                                                                                                                                                                                                                   Permit 18287-PSD-TX-730-M4.
                                                                                                 Portions may be
                  ETSC 001316 -                                                                                              Catalytic Light Ends                                                                                     Flaring due to C-75 compressor trip. Portions of the unit
         142407                           07/15/2010 4:32      07/15/2010 10:07         5:35     authorized by Permit                               Flare Stack 20     FL20         Carbon Monoxide          42.83       3736.48                                                                        already counted
                  001322                                                                                                       Unit 3 (CLEU3)                                                                                         emissions are authorized by Permit #18287/PSD-TX-730.
196                                                                                              18287/PSD-TX-730M4
                                                                                                 Portions may be
                  ETSC 001316 -                                                                                              Catalytic Light Ends                                                                                     Flaring due to C-75 compressor trip. Portions of the unit
         142407                           07/15/2010 4:32      07/15/2010 10:07         5:35     authorized by Permit                               Flare Stack 29     FL29         Carbon Monoxide           8.58       3736.48                                                                        already counted
                  001322                                                                                                       Unit 3 (CLEU3)                                                                                         emissions are authorized by Permit #18287/PSD-TX-730.
197                                                                                              18287/PSD-TX-730M4
                                                                                                 Portions may be
                  ETSC 001316 -                                                                                              Catalytic Light Ends                                                                                     Flaring due to C-75 compressor trip. Portions of the unit
         142407                           07/15/2010 4:32      07/15/2010 10:07         5:35     authorized by Permit                               Flare Stack 3      FL3          Carbon Monoxide       453.94         3736.48                                                                        already counted
                  001322                                                                                                       Unit 3 (CLEU3)                                                                                         emissions are authorized by Permit #18287/PSD-TX-730.
198                                                                                              18287/PSD-TX-730M4
                                                                                                 Portions may be
                  ETSC 001316 -                                                                                              Catalytic Light Ends                                                                                     Flaring due to C-75 compressor trip. Portions of the unit
         142407                           07/15/2010 4:32      07/15/2010 10:07         5:35     authorized by Permit                               Flare Stack 4    FLARE04        Carbon Monoxide       135.01         3736.48                                                                        already counted
                  001322                                                                                                       Unit 3 (CLEU3)                                                                                         emissions are authorized by Permit #18287/PSD-TX-730.
199                                                                                              18287/PSD-TX-730M4
                                                                                                 Portions may be
                ETSC 001316 -                                                                                                Catalytic Light Ends                                                                                Flaring due to C-75 compressor trip. Portions of the unit
         142407                           07/15/2010 4:32      07/15/2010 10:07         5:35     authorized by Permit                               Flare Stack 5      FL5          Carbon Monoxide       709.72         3736.48                                                                        already counted
                001322                                                                                                         Unit 3 (CLEU3)                                                                                    emissions are authorized by Permit #18287/PSD-TX-730.
200                                                                                              18287/PSD-TX-730M4
                                                                                                 Portions may be
                ETSC 001316 -                                                                                                Catalytic Light Ends                                                                                Flaring due to C-75 compressor trip. Portions of the unit
         142407                           07/15/2010 4:32      07/15/2010 10:07         5:35     authorized by Permit                               Flare Stack 6      FL6          Carbon Monoxide       171.32         3736.48                                                                        already counted
                001322                                                                                                         Unit 3 (CLEU3)                                                                                    emissions are authorized by Permit #18287/PSD-TX-730.
201                                                                                              18287/PSD-TX-730M4
                                                                                                 Portions are authorized                                                                                                              Emissions due to loss of flexicoker fractionator bottoms flow.
                ETSC 068131 -
         160475                            10/12/11 3:44        10/14/11 13:59          58:15    under Permit                     Flexicoker        Flare Stack 26   FLARE 26       Carbon Monoxide   42,924.10      3736.48          Portions of emissions are authorized by Permit #18287/PSD-        already counted
                068132
202                                                                                              #18287/PSD-TX-730                                                                                                                    TX-730M4/PAL7.
                                                                                                 Portions may be                                                                                                                      Compressor trip resulted in unit shutdown, causing
                  ETSC 072655 -                                                                  authorized under Permit     Hydrocracking Unit 1                                                                                     subsequent emissions and flaring. Portions of the unit
         168050                            5/1/12 17:39           5/2/12 2:29           8:50                                                        Flare Stack 14   FLARE14        Carbon Monoxide    253.02        3736.48                                                                            already counted
                  072658                                                                         18287/PSD-TX-                     (HCU1)                                                                                             emissions are authorized by Permit #18287/PSD-TX-
203                                                                                              730M4/PAL7.                                                                                                                          730M4/PAL7.
                                                                                                 22.20 lbs of the total
                  ETSC 072911 -                                                                  873.90 lbs are                                                                                                                       Compressor trip resulted in an atmospheric release at a HCU1
         178267                            1/21/13 3:37          1/22/13 19:00          39:23                                Hydrocracking Unit 1   Flare Stack 14   FLARE14        Carbon Monoxide    851.70        3,736.48                                                                           already counted
                  072914                                                                         authorized under permit                                                                                                              safety vent and safe utilization of the flare system.
204                                                                                              18287/PSD-TX-730M4.

                  ETSC 000897 -                                                                  500 ppm limit per 40                                                                                                                 During FCCU2 startup last month, CO RMACT II 1-hour
      78472/      000898; ETSC 000903                                                            CFR 63.1565(c)(1) and      Fluid Catalytic Cracking FCCU2 Wet Gas                                                                    average limit and NOx RACT CO 24-hour average limit from
                                                6/12/06 2:00          6/16/06 10:20 104:30                                                                          FCCU2WGS    Carbon Monoxide        98,121.00               0.00
      80119       - 000904; EOMCS                                                                400 ppm limit per 30       Unit 2                   Scrubber Stack                                                                   the Wet Gas Scrubber stack was exceeded. Portions of the
                  00232129 - 232130                                                              TAC 117.206(e)(1)                                                                                                                    refinery are authorized under Permit #18287.
205
          A                 B                    C                     D                      E               F                         G                     H               I                    J                  K            L                                          M                                          N                O
                    Bates # of first                                                                                                                                                                              Amount     Reported
      Tracking                                                                        Duration                                                           Emission                                                                                                                                                 Number of Days     Traceability
                     page of Final       Start Date & Time      End Date & Time                       Authorization                   Unit                                  EPN             Contaminant           Released   Emission                                       Cause
      Number                                                                           (h:mm)                                                             Point                                                                                                                                                     of Violation        Codes
 2                     STEERS                                                                                                                                                                                       (lbs)  Limit (lbs/hr)
                                                                                                                                                                                                                                                 Improved calculation methodology of the CO RMACT II and
                                                                                                                                                                                                                                                 NOX RACT CO limits showed an exceedance greater than the
                                                                                                                                                                                                                                                 reportable quantity. This new information extends the
                   ETSC 000897 -                                                                  500 ppm limit per 40
                                                                                                                                                                                                                                                 duration and emissions of the June FCCU2 Startup event
      78472/       000898; ETSC 000903                                                            CFR 63.1565(c)(1) and      Fluid Catalytic Cracking FCCU2 Wet Gas
                                                 6/12/06 2:00          6/16/06 10:20 104:30                                                                          FCCU2WGS           Carbon Monoxide            98,121.00              0.00   reported in STEERS #78472. On August 18, 2006, final
      80119        - 000904; EOMCS                                                                400 ppm limit per 30       Unit 2                   Scrubber Stack
                                                                                                                                                                                                                                                 calculations showed new estimates warranted reporting. Per
                   00232129 - 232130                                                              TAC 117.206(e)(1)
                                                                                                                                                                                                                                                 TCEQ request, the report is being submitted to reflect this
                                                                                                                                                                                                                                                 new information. Portions of the refinery are authorized
206                                                                                                                                                                                                                                              under Permit #18287.
207                                                                                                                                                                                                                                                                                 TOTAL - CARBON MONOXIDE             208              205
                                                                                                                                                                                                                                                 A temporary loss of amine flow to absorber tower T-662 led
                                                                                                                                                                                                                                                 to increased hydrogen sulfide emissions at Flexsorb Absorber
                                                                                                                                                                                                                                                 Vent T-601. The event has ended and the unit is back to
                   ETSC 000959 -                                                                  COS authorized under       Sulfur Conversion Unit;
           95557                             8/7/07 7:13           8/7/07 8:33           1:20                                                               T-601         SCU2T601          Carbonyl Sulfide              13.50          29.00   normal operation. There was no impact to prodction and all              1
                   000960                                                                         permit 18287                Tail Gas Cleanup Unit
                                                                                                                                                                                                                                                 customers' needs were met. Emissions from the Sulfur
                                                                                                                                                                                                                                                 Conversion Unit (SCU2) are authorized under Flexible Permit
208                                                                                                                                                                                                                                              #18287.
                                                                                                  All emission from this                                                                                                                         During a Claus D unit start-up, a sulfur condenser in the unit
                   ETSC 001105 -                                                                  EPN authorized by          Claus Sulfur Recovery                                                                                               plugged causing the downstream flexsorb absorber vent to
         109887                           06/22/2008 10:00       06/25/2008 1:00         63:00                                                            Drum 702        SCU2D702          Carbonyl sulfide               2.30           0.00                                                                     already counted
                   001106                                                                         Flexible Permit 18287               Unit                                                                                                       exceeded permit limits. Portions of the Refinery are
209                                                                                               SC30                                                                                                                                           authorized by PAL permit number 18287/PSD-TX730M4.
                                                                                                                                                                                                                                                 Water ingress from a suspected exchanger leak at Tail Gas
                                                                                                  Portion of emissions                                                                                                                           Cleanup Unit C lead to reduced treatment of tail gas at SCU2.
                   ETSC 001065 -                                                                  authorized under permit Sulfur Conversion Unit                                                                                                 Portions of the emissions from SCU2F702 and SCU2T601 were
         102061                            01/04/2008 5:10       01/08/2008 8:00         98:50                                                            Tower 601       SCU2T601          Carbonyl sulfide         1,822.80            29.00                                                                           5            R-RQ, R-M
                   001066                                                                         18287 PSD No                      2                                                                                                            authorized under Flexible PAL Permit #18287/PSD-TX-730M.
                                                                                                  TX730M4/PAL                                                                                                                                    Also, flexible Permit #18287 SC30 authorized emissions from
210                                                                                                                                                                                                                                              SCU2D702.
                                                                                                                                                                                                                                                 Scheduled shutdown due to approach of Hurricane Ike.
                   ETSC 001132 -                                                                  Permit #18287 & PSD-TX-      Baytown Refinery
         113887                           09/11/2008 12:00      09/15/2008 18:30        102:30                                                           SCU2 D-702       SCU2D702          Carbonyl sulfide               9.00           0.00   Portions of the refinery are permitted under Permit                     5
                   001144                                                                         730M4                         Operating Units
211                                                                                                                                                                                                                                              18287/PSD-TX-730-M4.
                                                                                                                                                                                                                                                 Water ingress from a suspected exchanger leak at Tail Gas
                                                                                                                                                                                                                                                 Cleanup Unit C lead to reduced treatment of tail gas at SCU2.
                   ETSC 001065 -                                                                  Flexible Permit 18287 SC Sulfur Conversion Unit                                                                                                Portions of the emissions from SCU2F702 and SCU2T601 were
         102061                            01/04/2008 5:10       01/08/2008 8:00         98:50                                                            Drum 702        SCU2D702          Carbonyl sulfide               4.00           0.00                                                                     already counted
                   001066                                                                         30                                 2                                                                                                           authorized under Flexible PAL Permit #18287/PSD-TX-730M.
                                                                                                                                                                                                                                                 Also, flexible Permit #18287 SC30 authorized emissions from
212                                                                                                                                                                                                                                              SCU2D702.
                                                                                                                                                                                                                                                 During a Claus D unit start-up, a sulfur condenser in the unit
                   ETSC 001105 -                                                                  1180 lbs or 1455 lbs are   Claus Sulfur Recovery         Flexsorb                                                                              plugged causing the downstream flexsorb absorber vent to
         109887                           06/22/2008 10:00       06/25/2008 1:00         63:00                                                                            SCU2R601          Carbonyl sulfide         1,455.00            29.00                                                                           4            R-RQ, R-M
                   001106                                                                         authorizec                          Unit              Absorber Vent                                                                            exceeded permit limits. Portions of the Refinery are
213                                                                                                                                                                                                                                              authorized by PAL permit number 18287/PSD-TX730M4.
                                                                                                                                                                                                                                                 Scheduled shutdown due to approach of Hurricane Ike.
                   ETSC 001132 -                                                                  Permit #18287 & PSD-TX-      Baytown Refinery
         113887                           09/11/2008 12:00      09/15/2008 18:30        102:30                                                            SCU2 T601       SCU2T601          Carbonyl sulfide               1.00           1.00   Portions of the refinery are permitted under Permit               already counted
                   001144                                                                         730M4                         Operating Units
214                                                                                                                                                                                                                                              18287/PSD-TX-730-M4.
215                                                                                                                                                                                                                                                                                  TOTAL - CARBONYL SULFIDE            15               9
                                                                                                                                                                                                                                                 Spill was caused from leak in pipe. Portions of the refinery
                   ETSC 068110 -                                                                  Not specifically
         156946                             7/5/11 14:50          7/7/11 14:50           48:00                               Oil Movements Area 1        Area 1, Spill                         Crude Oil           2,112.23       0.00           emissions may be authorized by Permit #18287/PSD-TX-730.                2
                   068111                                                                         authorized
216                                                                                                                                                                                                                                              The event has ended.
217                                                                                                                                                                                                                                                                                           TOTAL - CRUDE OIL          2
                                                                                                                                                                                                                                                 Temperature excursion on Gas Turbine 45 resulted in release
                      ETSC 001067 -                                                               Not specifically                                                                            Halon 1301
       102440                             01/14/2008 17:11      01/14/2008 17:12         0:01                                  Baytown Refinery         Gas Turbine 45                                                300.00              0.00   of halon into gas turbine enclosure. Portions of refinery               1
                         001068                                                                   authorized                                                                            (Bromotrifluoromethane)
218                                                                                                                                                                                                                                              permitted under Permit 18287/PSD-TX-730.
                                                                                                                              Crude and Delayed           Halon Fire
                      ETSC 072915 -                                                               Not specifically                                                                            Halon 1301                                         Discharge of Halon 1301 fire suppression system inside
       179091                               1/25/13 15:00         1/25/13 15:30          0:30                                Coking Control Center       Suppression                                               910.00         0.00                                                                                   1
                         072916                                                                   authorized                                                                            (Bromotrifluoromethane)                                  control center annex after electrical maintenance.
219                                                                                                                             Annex Building             System
220                                                                                                                                                                                                                                                                                         TOTAL - HALON                2
                                                                                                                                                                                                                                            FCCU3 C Boiler tripped offline at 2:47 and again shortly after
                   ETSC 000736 -                                                                  Not specifically           Fluid Catalytic Cracking     Wet Gas
           66438                            10/14/05 2:47        10/14/05 20:21          17:34                                                                                             Hydrogen Cyanide           900.00           0.00 start-up at noon. Cause of event currently under                             1              R-RQ
                   000737                                                                         authorized                          Unit 3          Scrubber Bypass
221                                                                                                                                                                                                                                         investigation.
                   ETSC 001184 -                                                                  Not specifically           Fluid Catalytic Cracking   FCCU3 Bypass                                                                        CO Boiler SG501C tripped offline. Portions of the FCCU3 are
         121025                           03/06/2009 17:48      03/06/2009 20:31         2:43                                                                            Bypass Stack      Hydrogen Cyanide                4.00        0.00                                                                        already counted
222                001185                                                                         authorized                          Unit 3               Stack                                                                            authorized under Flexible PAL Permit #18287/PSD-TX-730M4.
                                                                                                                                                                                                                                            Loss of oxygen to FCCU2. A portion of emissions are
                   ETSC 001224 -                                                                                                                        FCCU2 Wet Gas
         126586                           07/08/2009 11:00      07/08/2009 12:00         1:00                                        FCCU2                                FCCU2WGS         Hydrogen Cyanide               12.90     6014.44 authorized by Flex PAL Permit #18287/PSD-TX-730M-4.                          1              R-RQ
                   001225                                                                                                                                  Scrubber
223                                                                                                                                                                                                                                         Calculations show emissions were below reportable quantity.
                                                                                                  Portions of these
                                                                                                  emissions may be           Fluidized Catalytic                                                                                            Loss of oxygen to FCCU2 from third party supplier. Portions of
                   ETSC 001341 -                                                                                                                   FCCU2 Wet Gas
         146940                            11/02/2010 2:00       11/02/2010 5:00         3:00     authorized by Flex PAL      Cracking Unit 2                             FCCU2WGS         Hydrogen Cyanide               74.00     6010.61 emissions may be authorized by Flex PAL Permit #18287/PSD-                   1              R-RQ
                   001342                                                                                                                              Scrubber
                                                                                                  Permit #18287/PSD-TX-            (FCCU2)                                                                                                  TX-730M-4.
224                                                                                               730M4
                                                                                                  Portions may be
                   ETSC 072917 -                                                                  authorized under Permit Fluid Catalytic Cracking                                                                                               CO Boiler trip resulted in emissions from the wet gas scrubber
         179694                             2/22/13 18:24         2/23/13 1:31           7:07                                                      Cat Regenerator        FCCU3WGS          Hydrogen cyanide        45.00         0.00                                                                                   1              R-RQ
                   072918                                                                         #18287/PSD-TX-                    Unit 3                                                                                                       at the Fluidized Catalytic Cracking Unit 3 (FCCU3).
225                                                                                               730M4/PAL7
                                                                                                                                                                                                                                                 Boiler SG-501A boiler tripped offline and regenerator flue gas
                                                                                                  Not specifically
                                                                                                                                                                                                                                                 was partially rerouted to the atmosphere. Regenerator flue
                                                                                                  authorized. 500 ppm
                   ETSC 001053 -                                                                                           Fluid Catalytic Cracking       CO Boiler                                                                              gas from SG-501A also continued to be partially treated in the
           83379                            11/1/06 14:24         11/2/06 16:00          25:36    limit per 40 CFR 63.1565                                                                 Hydrogen Cyanide               61.00           0.00                                                                           2              R-RQ
                   001054                                                                                                           Unit 3               Bypass Stack                                                                            Wet Gas Scrubber. The boiler was promptly returned to
                                                                                                  (c)(1) and 400 ppm limit
                                                                                                                                                                                                                                                 service. The event has ended. The unit has returned to normal
                                                                                                  per 30 TAC 117.206(e)(1)
226                                                                                                                                                                                                                                              operations.
                                                                                                                                                                                                                                                 Valve leaked regenerator flue gas through boiler SG-501C
                   ETSC 001055 -                                                                  Permit by Rule 30 TAC      Fluid Catalytic Cracking FCCU3 Wet Gas                                                                              during maintenance. Flue gas was partially treated in Wet Gas
           83409                           10/31/06 23:17         11/1/06 1:00           25:43                                                                                             Hydrogen Cyanide               18.00          10.00                                                                           2              R-RQ
                   001056                                                                         106.263                             Unit 3          Scrubber Stack                                                                             Scrubber. Event has ended. Unit has returned to normal
227                                                                                                                                                                                                                                              operations. Portions of FCCU3 are permitted in Permit 18287.
                                                                                                                                                                                                                                                 High fuel gas burner pressure caused by an obstruction in the
                                                                                                                                                                                                                                                 seal drum increased carbon monoxide concentration in Wet
                                                                                                                                                                                                                                                 Gas Scrubber. Federal and State carbon monoxide limits were
                                                                                                                                                                                                                                                 exceeded. Boilers SG-501A and SG-501B tripped offline.
                   ETSC 001047 -                                                                  Not specifically           Fluid Catalytic Cracking    Wet Gas
           83474                            11/3/06 13:00         11/5/06 0:01           35:01                                                                                             Hydrogen Cyanide           166.00              0.00   Regenerator flue gas continued to be partially treated in the           2              R-RQ
                   001048                                                                         authorized                          Unit 3          Scrubber Stack
                                                                                                                                                                                                                                                 Wet Gas Scrubber throughout the event. The event has
                                                                                                                                                                                                                                                 ended. Operations have returned to normal. Event details are
                                                                                                                                                                                                                                                 under investigation. Portions of FCCU3 are permitted under
228                                                                                                                                                                                                                                              Permit 18287.
                                                                                                                                                                                                                                                 CO boiler SG-501C went off-line unexpectedly on the morning
                                                                                                                                                                                                                                                 of 5/13/07 causing unauthorized emissions at the wet gas
                                                                                                                                                                                                                                                 scrubber stack. The boiler was restarted a few hours later and
                                                                                                                                                                                                                                                 returned to normal operation. Hourly emissions were back to
                   ETSC 000985 -                                                                  Not specifically           Fluid Catalytic Cracking FCCU3 Wet Gas
           89687                            4/13/07 5:27          4/14/07 8:03           26:36                                                                            FCCU3WGS          Hydrogen cyanide          151.00              0.00   normal by 2:30pm, but the 24-hr rolling average for Carbon              2              R-RQ
                   000986                                                                         authorized                     Unit 3; CO Boiler       Scrubber
                                                                                                                                                                                                                                                 MOnoxide stayed above the 400ppm limit set in 30 TAC
                                                                                                                                                                                                                                                 Chapter 117 until 8:00am the next day. Portions of the FCCU3
                                                                                                                                                                                                                                                 are authorized under Flexible Permit Number 18287/PSD-TX-
229                                                                                                                                                                                                                                              730.
                                                                                                                                                                                                                                                 Planned Maintenance resulted in startup of FCCU3 C Boiler.
                   ETSC 001083 -                                                                  PAL Permit 18287/PSD-                                 FCCU3 Wet Gas
         106240                           04/13/2008 14:20       04/15/2008 2:12         35:52                                     CO Boiler C                              FCCU3          Hydrogen Cyanide                8.00     6014.44      Portions of this unit are authorized by Flex PAL Permit                 2
                   001084                                                                         TX-302M4                                                 Scrubber
230                                                                                                                                                                                                                                              #18287/PSD-TX-730M-4.
                                                                                                                                                                                                                                                 Boilers A/B/C tripped off-line. Portions of the FCCU3 unit are
                ETSC 001091 -                                                                     No specific emisions       Fluid Catalytic Cracking
         106703                           04/22/2008 11:02      04/23/2008 16:21         29:19                                                           Bypass Stack    Bypass Stack      Hydrogen Cyanide           142.00              0.00   authorized under Flexible PAL Permit #18287/PSD-TX-                     2              R-RQ
                001092                                                                            authorized                          Unit 3
231                                                                                                                                                                                                                                              730M4/PAL.
                                                                                                                                                                                                                                                 Boilers B and C tripped offline while A Boiler was down for
                ETSC 001173 -                                                                     Not specifically           Fluid Catalytic Cracking   FCCU3 Bypass
         118545                            01/07/2009 4:16      01/08/2009 14:16         34:00                                                                           Bypass Stack      Hydrogen Cyanide               13.00           0.00   maintenance. Portions of FCCU3 unit are authorized under                2              R-RQ
                001174                                                                            authorized                          Unit 3               Stack
232                                                                                                                                                                                                                                              Flexible PAL Permit #18287/PSD-TX-730M4.
                                                                                                  18.5 lbs of 18.5 are
                                                                                                                                                                                                                                            FCCU2 start up after planned shutdown for planned
                   ETSC 001180 -                                                                  authorized by PAL          Fluid Catalytic Cracking FCCU2 Wet Gas
         120022                           02/13/2009 19:00      02/15/2009 16:00         45:00                                                                            FCCUWGS          Hydrogen Cyanide               18.50     6014.44 maintenance. Portions of this unit are authorized by Flex PAL                2              R-RQ
                   001181                                                                         Permit 18287/PSD-TX-                Unit 2             Scrubber
                                                                                                                                                                                                                                            Permit #18287/PSD-TX-730M-4.
233                                                                                               730M4
                                                                                                                                                                                                                                            FCCU3 CO Boiler A tripped offline while B Boiler was down for
                   ETSC 001197 -                                                                  Not specifically           Fluid Catalytic Cracking   FCCU3 Bypass     FCCU3 Bypass
         123795                            05/04/2009 8:41      05/05/2009 17:05         32:24                                                                                             Hydrogen Cyanide               88.00        0.00 maintenance. Portions of FCCU3 unit are authorized under                     2              R-RQ
                   001198                                                                         authorized                          Unit 3               Stack            Stack
234                                                                                                                                                                                                                                         Flexible PAL Permit #18287/PSD-TX-730M4.
                                                                                                                                                                                                                                            CO Boiler SG501A tripped offline. Hourly emissions returned
                                                                                                                                                                                                                                            to normal by 6/22/09 18:40, but the 24-hr rolling average for
                   ETSC 001210 -                                                                  Not specifically           Fluid Catalytic Cracking   FCCU3 Bypass
         125838                            06/21/2009 9:24      06/22/2009 18:40         33:16                                                                           Bypass Stack      Hydrogen Cyanide                1.00        0.00 carbon monoxide stayed above the 400 ppm limit set in 30               already counted
                   001211                                                                         authorized                          Unit 3               Stack
                                                                                                                                                                                                                                            TAC Chapter 117 until 6/22/09 21:00. Portions of FCCU3 are
235                                                                                                                                                                                                                                         authorized under Flexible PAL Permit #18287/PSD-TX-730M4.
                                                                                                                                                                                                                                            Startup FCCU3 from planned maintenance. Event ended on
                                                                                                                                                                                                                                            11/26/09 at 21:00, but the 24-hr rolling average for carbon
                   ETSC 001247 -                                                                  Not specifically                                      FCCU3 Wet Gas
         132400                            11/25/2009 7:59      11/26/2009 21:00         37:01                                       FCCU3                                FCCU3WGS         Hydrogen Cyanide           150.00        6010.61 monoxide stayed above the 400 ppm limit set in 30 TAC                        2              R-RQ
                   001248                                                                         authorized                                               Scrubber
                                                                                                                                                                                                                                            Chapter 117 until 11/27/09 21:00. Portions of this unit are
236                                                                                                                                                                                                                                         authorized by Flex PAL Permit #18287/PSD-TX-730M-4.
                                                                                                                                                                                                                                            CO boiler SG-501C was taken out of service periodically to
                                                                                                                                                                                                                                            perform maintenance on the electrical circuit that provides
                                                                                                                                                                                                                                            power to its instrumentation. The boiler had to remain out of
                   ETSC 001041 -                                                                  Not specifically           Fluid Catalytic Cracking FCCU3 Wet Gas
           84046                           11/20/06 10:25        11/22/06 11:19          48:54                                                                            FCCU3WGS         Hydrogen Cyanide           285.00           0.00 service longer than expected to make the necessary repairs.                  3              R-RQ
                   001042                                                                         authorized                 Unit 3; CO Boiler 501C      Scrubber
                                                                                                                                                                                                                                            The extended duration of the downtime caused the unit to
                                                                                                                                                                                                                                            exceed the pre-notified emissions. Portions of the FCCU3 are
237                                                                                                                                                                                                                                         authorized under permit #18287.
         A                B                  C                  D              E                   F                          G                      H                  I                 J              K            L                                         M                                          N                  O
                  Bates # of first                                                                                                                                                                    Amount     Reported
      Tracking                                                              Duration                                                            Emission                                                                                                                                            Number of Days      Traceability
                   page of Final     Start Date & Time   End Date & Time                   Authorization                    Unit                                      EPN          Contaminant        Released   Emission                                    Cause
      Number                                                                 (h:mm)                                                              Point                                                                                                                                                of Violation         Codes
 2                   STEERS                                                                                                                                                                             (lbs)  Limit (lbs/hr)
                                                                                                                                                                                                                               Scheduled shutdown due to approach of Hurricane Ike.
                 ETSC 001132 -                                                         Not specifically            Fluid Catalytic Cracking
        113887                        09/11/2008 12:00   09/15/2008 18:30    102:30                                                            FCCU3 D505           FCCU3WGS       Hydrogen Cyanide       175.00          0.00 Portions of the refinery are permitted under Permit                         5                R-RQ
                 001144                                                                authorized                           Unit 3
238                                                                                                                                                                                                                            18287/PSD-TX-730-M4.
                                                                                                                                                                                                                               A malfunction of seal tank internals to the FCCU3 bypass stack
               ETSC 001103 -                                                           Not specifically            Fluid Catalytic Cracking    FCCU3 Bypass
        109166                        05/15/2008 17:00   07/25/2008 14:00    1701:00                                                                                  FCCU3        Hydrogen Cyanide       233.00          0.00 caused emissions to escape through the stack. Portions of the               71               R-RQ
               001104                                                                  authorized                           Unit 3                Stack
239                                                                                                                                                                                                                            refinery are authorized by PAL permit number 18287.
                                                                                                                                                                                                                               Boiler SG-501A boiler tripped offline and regenerator flue gas
                                                                                                                                                                                                                               was partially rerouted to the atmosphere. Regenerator flue
                 ETSC 001053 -                                                         Not specifically            Fluid Catalytic Cracking    Wet Gas                                                                         gas from SG-501A also continued to be partially treated in the
         83379                          11/1/06 14:24      11/2/06 16:00     25:36                                                                                                 Hydrogen Cyanide          38.00        0.00                                                                       already counted
                 001054                                                                authorized                           Unit 3          Scrubber Stack                                                                     Wet Gas Scrubber. The boiler was promptly returned to
                                                                                                                                                                                                                               service. The event has ended. The unit has returned to normal
240                                                                                                                                                                                                                            operations.
                                                                                                                                                                                                                               Boilers A/B/C tripped off-line. Portions of the FCCU3 unit are
                 ETSC 001091 -                                                         Permit 18287 - 8 lb         Fluid Catalytic Cracking FCCU3 Wet Gas
        106703                        04/22/2008 11:02   04/23/2008 16:21    29:19                                                                                  FCCU3WGS       Hydrogen Cyanide           8.00     6014.44 authorized under Flexible PAL Permit #18287/PSD-TX-                   already counted
                 001092                                                                authorized                           Unit 3             Scrubbe
241                                                                                                                                                                                                                            730M4/PAL.
                                                                                                                                                                                                                               Scheduled shutdown due to approach of Hurricane Ike.
               ETSC 001132 -                                                           Not specifically            Fluid Catalytic Cracking    FCCU3 Bypass
        113887                        09/11/2008 12:00   09/15/2008 18:30    102:30                                                                                Bypass Stack    Hydrogen Cyanide           3.00        0.00 Portions of the refinery are permitted under Permit                   already counted
               001144                                                                  authorized                           Unit 3                Stack
242                                                                                                                                                                                                                            18287/PSD-TX-730-M4.
                                                                                                                                                                                                                               Boilers B and C tripped offline while A Boiler was down for
                 ETSC 001173 -                                                         Not specifically            Fluid Catalytic Cracking FCCU3 Wet Gas
        118545                         01/07/2009 4:16   01/08/2009 14:16    34:00                                                                                  FCCUWGS        Hydrogen Cyanide       371.00       6014.44 maintenance. Portions of FCCU3 unit are authorized under              already counted
                 001174                                                                authorized                           Unit 3             Scrubber
243                                                                                                                                                                                                                            Flexible PAL Permit #18287/PSD-TX-730M4.
               ETSC 001184 -                                                           Not specifically            Fluid Catalytic Cracking FCCU3 Wet Gas                                                                      CO Boiler SG501C tripped offline. Portions of the FCCU3 are
        121025                        03/06/2009 17:48   03/06/2009 20:31     2:43                                                                                  FCCU3WGS       Hydrogen Cyanide          45.00     6010.61                                                                             1                R-RQ
244            001185                                                                  authorized                           Unit 3             Scrubber                                                                        authorized under Flexible PAL Permit #18287/PSD-TX-730M4.
                                                                                                                                                                                                                               FCCU3 CO Boiler A tripped offline while B Boiler was down for
                 ETSC 001197 -                                                         Not specifically            Fluid Catalytic Cracking FCCU3 Wet Gas
        123795                         05/04/2009 8:41   05/05/2009 17:05    32:24                                                                                  FCCU3WGS       Hydrogen Cyanide           5.00     6014.44 maintenance. Portions of FCCU3 unit are authorized under              already counted
                 001198                                                                authorized                           Unit 3             Scrubber
245                                                                                                                                                                                                                            Flexible PAL Permit #18287/PSD-TX-730M4.
                                                                                                                                                                                                                               CO Boiler SG501A tripped offline. Hourly emissions returned
                                                                                                                                                                                                                               to normal by 6/22/09 18:40, but the 24-hr rolling average for
                 ETSC 001210 -                                                         Not specifically            Fluid Catalytic Cracking FCCU3 Wet Gas
        125838                         06/21/2009 9:24   06/22/2009 18:40    33:16                                                                                  FCCU3WGS       Hydrogen Cyanide          56.00     6010.61 carbon monoxide stayed above the 400 ppm limit set in 30                    2                R-RQ
                 001211                                                                authorized                           Unit 3             Scrubber
                                                                                                                                                                                                                               TAC Chapter 117 until 6/22/09 21:00. Portions of FCCU3 are
246                                                                                                                                                                                                                            authorized under Flexible PAL Permit #18287/PSD-TX-730M4.
247                                                                                                                                                                                                                                                              TOTAL - HYDROGEN CYANIDE                 106                104
                                                                                       No specific emissions
                 ETSC 000724 -                                                                                       Propane Dewaxing            Chiller                                                                          Flange leak on chiller overhead line at CV074-2 resulted in
         68603                         11/29/05 16:00      11/30/05 4:30     12:30     authorizations for this                                                                     Hydrogen Sulfide          62.00         0.00                                                                            1
                 000725                                                                                                    Unit               Overhead Line                                                                       emissions to atmosphere. Cause is still under investigation.
248                                                                                    facility
                                                                                       No specific emissions
                 ETSC 000726 -                                                                                                                                                                                                    Leak off of HUR9 T-371 resulting in emissions to atmosphere.
         68705                         11/29/05 20:00     11/29/05 23:30      3:30     authorizations for this       Hydrofining Unit 9         HU9 T-371                          Hydrogen Sulfide          38.00         0.00                                                                            1
                 000727                                                                                                                                                                                                           Cause is still under investigation.
249                                                                                    facility
                                                                                                                                                                                                                                  Fire at Electrical Substation #5, servicing the lubes plant.
                                                                                                                                                                                                                                  Resulted in trip of East Loop Flare Gas Recovery Compressor
                                                                                                                                                                                                                                  and subsequent flaring off of the East Loop Flare Systems.
                 ETSC 000842 -                                                         Not specifically             Substation 5 & East                                                                                           Material routed to the flare included flows from MEK, LDU,
         74965                          4/25/06 21:45      4/26/06 21:31     23:46                                                                Flare 15           Flare15       Hydrogen Sulfide           3.80        15.68                                                                            1                  F
                 000844                                                                authorized                    Loop Flare System                                                                                            PDU & LHU2 units. VOC from substation is petroleum
                                                                                                                                                                                                                                  distillates. This report is being submitted as part of the
                                                                                                                                                                                                                                  interim agreement with TCEQ Region 12. Portions of the
250                                                                                                                                                                                                                               Refinery are permitted under Permit #18287.
                                                                                                                                                                                                                                  Unit instability due to compressor C-701 issues resulted in
                                                                                                                                                                                                                                  depressuring to D-401 and D-902 atmospheric vents. The
                 ETSC 000830 -                                                         Not specifically                                                                                                                                                                                                                O-RQ, R-RQ, O-M,
         76501                          5/31/06 9:15       5/31/06 9:20       0:05                                  Hydrocracking Unit 1       D902 & D401         D902 & D401     Hydrogen Sulfide       267.00           0.00   event has ended and unit personnel are restarting the unit.              1
                 000831                                                                authorized                                                                                                                                                                                                                            R-M
                                                                                                                                                                                                                                  The VOC portion represents C6's and higher. Portions of HCU1
251                                                                                                                                                                                                                               are authorized under permit #18267.
                                                                                                                                                                                                                                  Two pilot outages occurred on flare stack 14 over the course
                 ETSC 000826 -                                                         Not specifically
         76597                          6/1/06 17:30       6/1/06 21:30       4:00                                 Fuels East Flare System        Flare 14           FLARE14       Hydrogen Sulfide           2.00         0.00   of 4 hours. VOC is C6+ unspeciated material. Portions of the             1                  F
                 000827                                                                authorized
252                                                                                                                                                                                                                               Fuels East Flare System are authorized under permit #18267.
                 ETSC 000881 -                                                         Not specifically                                       Hole in piping at                                                                   Pin hole leak on line at Booster Station 4. Portions of the
         78440                          7/12/06 11:35      7/13/06 9:47      22:12                                    Booster Station 4                                            Hydrogen Sulfide       117.00           0.00                                                                            1             O-RQ, R-RQ
253              000882                                                                authorized                                                   BS4                                                                           Refinery are permitted under Permit #18287.
                                                                                                                                                                                                                                  The HCU unit tripped off-line which resulted in depressuring
                 ETSC 000877 -
         79486                          8/4/06 22:46       8/4/06 23:04       0:18     No specific authorization      Hydrocraker Unit         D902 & D401         D902 & D401     Hydrogen Sulfide       414.00           0.00   to D-401 and D-902 atmospheric vents. Portions of the HCU                1             O-RQ, R-RQ
                 000878
254                                                                                                                                                                                                                               unit are covered under permit #18287/PSD-TX-730-M3.
               ETSC 000862 -                                                           Not specifically             Baytown Refinery                                                                                              Flameout on all pilot lights. Portions of the facility are
         80937                          8/29/06 22:40      8/30/06 0:20       1:40                                                                Flare 14           FLARE14       Hydrogen Sulfide          11.09         0.00                                                                            1                  F
255            000863                                                                  authorized                  Operating Units: FS14                                                                                          authorized under permit number 18287.
                                                                                                                                                                                                                                  Product stripper tower T-276 developed a pinhole leak. The
                                                                                                                                                                                                                                  leak was likely caused by corrosion/erosion. There was a small
                                                                                                                                                                                                                                  intermittent fire and release of process gas oil (VOC-PGO).
                 ETSC 001049 -                                                         Not specifically                                                                                                                           The small fire has ended and visible emissions from the
         83410                          11/2/06 5:00       11/2/06 19:33     14:33                                        Gofiner 1            Tower T-276                         Hydrogen Sulfide       150.00           0.00                                                                            1             O-RQ, R-RQ
                 001050                                                                authorized                                                                                                                                 pinhole have stopped. The VOC reported is C5 thru C8s. The
                                                                                                                                                                                                                                  tower was isolated and repaired. Portions of Gofiner 1 are
                                                                                                                                                                                                                                  permitted in Permit 18287 and an Interim Agreement with
256                                                                                                                                                                                                                               TCEQ.
                                                                                                                                                                                                                                  A pinhole leak was discovered in an overhead line to a
                 ETSC 001043 -                                                         Not specifically             Catalytic Light Ends         D-41 Line                                                                        knockout drum (D-41) at the Catalytic Light Ends Unit (CLEU2).
         83907                          11/15/06 1:00      11/15/06 5:00      4:00                                                                                 Pinhole Leak    Hydrogen Sulfide       168.00           0.00                                                                            1             O-RQ, R-RQ
                 001044                                                                authorized                          Unit 2                 Pinhole                                                                         The event has ended. Portions of the Catalytic Light Ends Unit
257                                                                                                                                                                                                                               are covered under permit #18287.
                                                                                                                                                                                                                                  A seal on a unit pump failed which resulted in a release of hot
                 ETSC 001027 -                                                         Not specifically                                        Gofiner Unit 1
         85962                          1/11/07 20:25      1/11/07 21:10      0:45                                         Gofiner                                   GF1FUG        Hydrogen Sulfide           0.20         0.00   gas oil vapors to the atmosphere. Portions of the Gofiner Unit           1
                 001028                                                                authorized                                                Fugitives
258                                                                                                                                                                                                                               are covered under Permit 18287-PSD-TX-730-M4.
                                                                                                                                                                                                                                  Equipment malfunction caused High H2S in the Low Btu Gas
                 ETSC 000991 -                                                                                       Low Btu Gas Fired         Low Btu Gas                                                                        (LBG)system. Portions of the refinery are authorized under
         87852                          3/2/07 12:15        3/3/07 4:42      16:27                                                                                   LBGSRC        Hydrogen Sulfide           1.50         0.00                                                                            1
                 000992                                                                                                  Sources               Fired Sources                                                                      permit 18287 and PSD-TX_730M3/PAL. Emissions were
259                                                                                                                                                                                                                               intermittent between 6:43pm 3/1/07 and 11/10am 3/2/07.
                                                                                                                                                                                                                                  A temporary loss of amine flow to absorber tower T-662 led
                                                                                                                                                                                                                                  to increased hydrogen sulfide emissions at Flexsorb Absorber
                                                                                                                                                                                                                                  Vent T-601. The event has ended and the unit is back to
                 ETSC 000959 -                                                         Not specifically            Sulfur Conversion Unit;
         95557                           8/7/07 7:13        8/7/07 8:33       1:20                                                                 T-601            SCU2T601       Hydrogen Sulfide       567.00           0.00   normal operation. There was no impact to prodction and all               1             O-RQ, R-RQ
                 000960                                                                authorized                   Tail Gas Cleanup Unit
                                                                                                                                                                                                                                  customers' needs were met. Emissions from the Sulfur
                                                                                                                                                                                                                                  Conversion Unit (SCU2) are authorized under Flexible Permit
260                                                                                                                                                                                                                               #18287.
                                                                                                                                                                                                                                  Shift in power supply to Hydrofining Unit 9 (HU9) resulted in
                                                                                                                                                                                                                                  depressuring to D-500 atmospheric vent. HU9 diversion
                 ETSC 000947 -                                                         Not specifically
         96519                          8/23/07 20:13      8/24/07 1:07       4:54                                  Hydrofining Unit #9           Flare 14           FLARE14       Hydrogen Sulfide           0.10         0.00   resulted in flaring of Low Btu Gas normally used in HU9                  1
                 000949                                                                authorized
                                                                                                                                                                                                                                  furnaces. Portions of the BTRF Refinery are authorized by
261                                                                                                                                                                                                                               Flex/PAL Permit No. 18290
                                                                                                                                                  HCU1                                                                            A valve leaked into the atmospheric drums D401/D902.
                 ETSC 001182 -                                                         Not specifically
        120401                        02/21/2009 15:27   02/21/2009 18:55     3:28                                  Hydrocracking Unit 1        D401/D902                          Hydrogen Sulfide     1,928.00           0.00   Portions of HCU1 unit are authorized under Flexible PAL                  1             O-RQ, R-RQ
                 001183                                                                authorized
262                                                                                                                                               vents                                                                           Permit #18287/PSD-TX-730M4.
               ETSC 001203 -                                                           Not specifically                                                                                                                           HCU1 shut down. Portions of the units are authorized by
        125757                        06/17/2009 14:45   06/17/2009 17:00     2:15                                  Hydrocracker Unit 1           Flare 4            FLARE4        Hydrogen Sulfide           1.00        15.78                                                                      already counted
263            001209                                                                  authorized                                                                                                                                 Permit #18287/PSD-TX-730.
                                                                                                                                                                                                                                  As a result of a malfunctioning boiler feed water pump, the
               ETSC 001237 -                                                                                                                                                                                                      Flexicoker waste heat boiler (WHB) was shut down causing
                                                                                       Not specifically            Flexicoker Waste Heat
        128824 001238; EOMCS          08/30/2009 15:22    08/31/2009 1:57    10:35                                                             Flare Stack 26          FL26        Hydrogen Sulfide           1.00         0.00   emissions to be released to the atmosphere through the                   1
                                                                                       authorized                          Boiler
               00232142 - 0023148                                                                                                                                                                                                 Flexicoker gas turbine generator WHB bypass stack. Portions
264                                                                                                                                                                                                                               of the refinery are authorized by PAL permit number 18287.
                                                                                                                                                                                                                                  Shutdown of compressor C-701 caused HCU1 to shutdown.
                 ETSC 001241 -                                                         Not specifically                                                                                                                           Associated units temporarily reduced rates to minimize
        130563                         10/09/2009 6:37   10/09/2009 12:37     6:00                                  Hydrocracker Unit 1         D 401/902                          Hydrogen Sulfide       727.00           0.00                                                                            1             O-RQ, R-RQ
                 001244                                                                authorized                                                                                                                                 emissions. Portions of this event may be authorized under
265                                                                                                                                                                                                                               Permit 18287-PSD-TX-730-M4.
                                                                                       Portions may be
                 ETSC 001316 -                                                                                      Catalytic Light Ends                                                                                          Flaring due to C-75 compressor trip. Portions of the unit
        142407                         07/15/2010 4:32   07/15/2010 10:07     5:35     authorized by Permit                                    Flare Stack 17        FLARE17       Hydrogen Sulfide           5.10        15.78                                                                            1                  F
                 001322                                                                                               Unit 3 (CLEU3)                                                                                              emissions are authorized by Permit #18287/PSD-TX-730.
266                                                                                    18287/PSD-TX-730M4
                                                                                                                                                                                                                                Instrumentation malfunction at reactor R3 caused the
                                                                                       0.016 of total 0.610 lbs                                                                                                                 depressurization valves to open for approximately six
                 ETSC 001327 -                                                         are authorized under         Hydrocracking Unit 1       Flare Stack 14                                                                   minutes, resulting in an atmospheric release at HCU1 D401
        144890                        09/15/2010 13:59   09/15/2010 15:38     1:39                                                                                   FLARE14       Hydrogen Sulfide           0.60        15.78                                                                      already counted
                 001328                                                                Permit #18287/PSD-TX-              (HCU1)                   (FECC)                                                                       D902 and flaring at FLARE14. Portions of this unit are
                                                                                       730.                                                                                                                                     authorized by Permit #18287/PSD-TX-730. The event has
267                                                                                                                                                                                                                             ended.
                                                                                                                    Naphtha Hydrofiner                                                                                          Leak occurred at the thermowell on an exchanger. Portions of
                 ETSC 001346 -                                                         Not specifically
        149213                        01/06/2011 20:25    01/07/2011 2:25     6:00                                 (NHF), Exchanger 702        Pinhole Leak            NA          Hydrogen Sulfide           3.00         0.00 the unit emissions are authorized by Permit #18287. This                   1
                 001348                                                                authorized
268                                                                                                                          D                                                                                                  event has ended.
                                                                                                                                                                                                                                Malfunctioning temperature instrument caused depressuring
                                                                                                                                                                                                                                through EBV 701 A/B. Emissions occurred intermittently
                 ETSC 001368 -                                                         Not specifically                                                                                                                         beginning on 04/15/2011 at 8:15 PM until 04/16/2011 at                                 O-RQ, R-RQ, O-M,
        153388                        04/15/2011 20:15   04/15/2011 20:22     0:07                                          HCU1               EBV 701 A/B         EBV 701 A/B     Hydrogen Sulfide       446.00           0.00                                                                            1
                 001369                                                                authorized                                                                                                                               12:10 PM for a total of 8 minutes. RQ was exceeded on                                        R-M
                                                                                                                                                                                                                                04/16/2011 at 12:50 AM. Portions of the unit emissions are
269                                                                                                                                                                                                                             authorized by Permit #18287/PSD-TX-730M4/PAL7.
                                                                                                                                                                                                                                Power disruption resulted in shutdown of unit, causing
                 ETSC 001372 -                                                         Not specifically              Hydrocracking unit        Atmospheric                                                                                                                                                             O-RQ, R-RQ, O-M,
        155973                          6/21/11 5:13       6/21/11 5:34       0:21                                                                                HCU1 D401 D902   Hydrogen Sulfide    192.00        0.00       atmospheric release at HCU1D401 D902. Portions of the unit                 1
                 001373                                                                authorized                         (HCU1)                  vent                                                                                                                                                                       R-M
270                                                                                                                                                                                                                             emissions are authorized by Permit #18287/PSD-TX-730.
                                                                                                                                                                                                                                Exchanger leak resulted in subsequent unit shutdown and
                 ETSC 001374 -                                                         Not specifically              Hydrocracking unit        Atmospheric                                                                      depressure through HCU1 D401 D902 atmospheric vent.                                    O-RQ, R-RQ, O-M,
        156361                          6/30/11 21:29      6/30/11 22:36      1:07                                                                                HCU1 D401 D902   Hydrogen Sulfide    153.00        0.00                                                                                  1
                 001375                                                                authorized                         (HCU1)                  vent                                                                          Portions of the unit emissions are authorized by Permit                                      R-M
271                                                                                                                                                                                                                             #18287/PSD-TX-730.
         A                B                  C                  D              E                   F                         G                     H               I               J              K             L                                           M                                           N                O
                  Bates # of first                                                                                                                                                             Amount     Reported
      Tracking                                                              Duration                                                          Emission                                                                                                                                           Number of Days     Traceability
                   page of Final     Start Date & Time   End Date & Time                   Authorization                    Unit                                 EPN        Contaminant        Released   Emission                                       Cause
      Number                                                                 (h:mm)                                                            Point                                                                                                                                               of Violation        Codes
 2                   STEERS                                                                                                                                                                      (lbs)  Limit (lbs/hr)
                                                                                                                                                                                                                              On 11/15/11 @ 23:00, a hole in a pipe was observed and
                                                                                                                                                                                                                              subsequently isolated. The initial estimate indicated the
                 ETSC 068035 -                                                         Not specifically                                                                                                                       emissions were below a reportable quantity. During insulation
        161875                         11/17/11 10:50     11/17/11 11:15      0:25                                        Gofiner            Hole in Pipe                   Hydrogen Sulfide    109.33         0.00                                                                                     1            O-RQ, R-RQ
                 068036                                                                authorized                                                                                                                             removal and inspection of the pipe on 11/17/11, the hole size
                                                                                                                                                                                                                              indicated that emissions were higher than the initial estimate.
272                                                                                                                                                                                                                           Site Permit Number is 18287/PSD-TX-730.
                                                                                                                                                                                                                              Compressor trip resulted in unit shutdown, causing
                 ETSC 072655 -                                                         Not specifically            Hydrocracking Unit 1         E-702                                                                         subsequent emissions and flaring. Portions of the unit
        168050                          5/1/12 17:39        5/2/12 2:29       8:50                                                                                          Hydrogen Sulfide     0.20          0.00                                                                               already counted
                 072658                                                                authorized                        (HCU1)               Exchanger                                                                       emissions are authorized by Permit #18287/PSD-TX-
273                                                                                                                                                                                                                           730M4/PAL7.

                                                                                                                                                                                                                            Replaced 250 foot section of jet vent gas line. The refinery
                 ETSC 000732 -                                                         Not specifically
         66872                          11/5/05 0:06       11/6/05 4:16      28:10                                   Booster Station 4         Flare 27         FLARE27     Hydrogen Sulfide       484.00              0.00 flares are permitted under Permit #18287. This report is being              2           F, O-RQ, R-RQ
                 000733                                                                authorized
                                                                                                                                                                                                                            submitted under an interim agreement with TCEQ Region 12.
274
               ETSC 000734 -                                                           Not specifically                                                                                                                       HF4 furnace maintenance resulting in flaring of Low BTU Gas
         66884                          11/1/05 8:51       11/2/05 13:46     28:55                                   Hydrofining Unit 4     Flare Stack 26       FS26       Hydrogen Sulfide            0.30           0.00                                                                             2
275            000735                                                                  authorized                                                                                                                             (LBG) normally consumed by the furnace.
                                                                                                                                                                                                                              Pump P-329A tripped at Flexicoker resulting in flaring.
                 ETSC 000730 -                                                         Not specifically                                                                                                                       Portions of the Flexicoker are permitted under permit
         67926                          11/13/05 5:24     11/14/05 11:29     30:05                                    Flexicoker Unit       Flare Stack 25       FS25       Hydrogen Sulfide       233.00              0.00                                                                             2           F, O-RQ, R-RQ
                 000731                                                                authorized                                                                                                                             #18287. This report is being submitted under an interim
276                                                                                                                                                                                                                           agreement with TCEQ Region 12.
                 ETSC 000915 -                                                         Not specifically                                                                                                                       Restart of Claus B following inspection and repair. Natural gas
         76448                          6/7/06 10:00        6/9/06 1:44      39:44                                 Sulfur Conversion Unit     SCU2 F-549       SCU2 F-549   Hydrogen Sulfide          13.00            0.00                                                                             2
277              000916                                                                authorized                                                                                                                             will be routed to the F-549 incinerator during start-up.
                                                                                                                                                                                                                              Failure of cooling tower supply header caused shutdown of
                                                                                                                                                                                                                              Propane Dewaxing Unit and Lube Deasphalting Unit.
                 ETSC 001201 -                                                         Not specifically
        124761                        05/26/2009 23:40   05/28/2009 13:57    38:17                                     Dewaxing Unit           Flare 15          FS15       Hydrogen Sulfide            4.40     6014.44      Shutdown and subsequent unit clearing caused flaring.                     2                 F
                 001202                                                                authorized
                                                                                                                                                                                                                              Portions of the Refinery are authorized under Flexible PAL
278                                                                                                                                                                                                                           Permit #18287/PSD-TX-730M4.
                                                                                                                                                                                                                              Leaks from two holes in feed line to T-855 (Naphtha
                                                                                       Portions may be
                 ETSC 001314 -                                                                                     FNGT (Fuels North Gas                                                                                      Hydrofiner (NHF) Tail Gas Scrubber). This event has ended.
        142015                         07/06/2010 7:30   07/07/2010 22:00    38:30     authorized by Permit                                  Hole in Pipe                   Hydrogen Sulfide       225.80             15.78                                                                             2            O-RQ, R-RQ
                 001315                                                                                                  Treating)                                                                                            Portions of the unit emissions are authroized by Permit
                                                                                       18287/PSD-TX-730M4
279                                                                                                                                                                                                                           #18287/PSD-TX-730.
                                                                                       Portions may be
                 ETSC 072911 -                                                         authorized under Permit                                                                                                                Compressor trip resulted in an atmospheric release at a HCU1
        178267                          1/21/13 3:37       1/22/13 19:00     39:23                                 Hydrocracking Unit 1     Flare Stack 11      FLARE11     Hydrogen Sulfide     0.02          15.78                                                                              already counted
                 072914                                                                18287/PSD-TX-                                                                                                                          safety vent and safe utilization of the flare system.
280                                                                                    730M4/PAL7.
                                                                                                                                                                                                                              Leak at flange on PS7 drum; event has ended. Portions of the
                 ETSC 001282 -                                                         Not specifically                                      Flange at PS7
        135717                         02/10/2010 9:45   02/12/2010 12:34    50:49                                    Pipe Still 7 (PS7)                                    Hydrogen Sulfide          58.00           15.78   refinery emissions are authorized by Permit #18287/PSD-TX-                3
                 001283                                                                authorized                                                drum
281                                                                                                                                                                                                                           730.
                                                                                                                                                                                                                              Emissions from pinhole leak in piping at Gofiner Tower 252.
                                                                                                                                             Pipe Leak in
                 ETSC 001293 -                                                         Not specifically                                                                                                                       Portions of the refinery emissions may be authorized by
        137570                         03/28/2010 3:00   03/30/2010 16:00    61:00                                    Gofiner 1 (GF1)       Gofiner Tower                   Hydrogen Sulfide       369.00              0.00                                                                             3            O-RQ, R-RQ
                 001294                                                                authorized                                                                                                                             Permit #18287/PSD-TX-730. Emissions occurred intermittently
                                                                                                                                                 252
282                                                                                                                                                                                                                           through the duration of the event.
                                                                                       Portions are authorized                                                                                                                Emissions due to loss of flexicoker fractionator bottoms flow.
                 ETSC 068131 -
        160475                          10/12/11 3:44     10/14/11 13:59     58:15     under Permit                      Flexicoker         Flare Stack 25     FLARE 25     Hydrogen Sulfide     0.20          15.78          Portions of emissions are authorized by Permit #18287/PSD-                3
                 068132
283                                                                                    #18287/PSD-TX-730                                                                                                                      TX-730M4/PAL7.
                                                                                                                                                                                                                              Maintenance on west loop flare gas recovery compressor C-
                 ETSC 000715 -                                                         Not specifically                                                                                                                       002. VOC is unspeciated C6+ material. The refinery flares are
         68629                          12/12/05 6:00     12/15/05 23:20     89:20                                                              Flare 4         FLARE4      Hydrogen Sulfide            0.10           0.00                                                                             4
                 000717                                                                authorized                                                                                                                             permitted under permit #18287. This report is being
284                                                                                                                                                                                                                           submitted under an interim agreement with TCEQ Region 12.
                                                                                       All emission from this                                                                                                                 During a Claus D unit start-up, a sulfur condenser in the unit
                 ETSC 001105 -                                                         EPN authorized by           Claus Sulfur Recovery                                                                                      plugged causing the downstream flexsorb absorber vent to
        109887                        06/22/2008 10:00    06/25/2008 1:00    63:00                                                            Drum 702         SCU2D702     Hydrogen Sulfide            3.60           0.00                                                                             4
                 001106                                                                Flexible Permit 18287                Unit                                                                                              exceeded permit limits. Portions of the Refinery are
285                                                                                    SC30                                                                                                                                   authorized by PAL permit number 18287/PSD-TX730M4.
               EOMCS 00024373 -                                                        Not specifically                                                                                                                       HCU1 shut down. Portions of the units are authorized by
        124215                        05/12/2009 15:46   05/15/2009 20:48    77:02                                  Hydrocracker Unit 1     Drums 401/902      D-401/902    Hydrogen Sulfide       822.00             15.86                                                                             4            O-RQ, R-RQ
286            000024382                                                               authorized                                                                                                                             Permit #18287/PSD-TX-730.
                                                                                       8.9 lbs of the 52 lbs are                                                                                                              Flaring due to Flexicoker start-up after shut down. This event
                 ETSC 001221 -                                                                                                                 FN Fired
        126082                        06/25/2009 21:00    06/29/2009 3:46    78:46     authorized by Permit #         Flexicoker (FXK)                                      Hydrogen Sulfide          52.00           15.78   has ended. Portions of the refinery are permitted under             already counted
                 001223                                                                                                                        Sources
287                                                                                    18287 & PSD-TX-730M4                                                                                                                   Permit 18287/PSD-TX-730-M4.

                                                                                                                                                                                                                            Initial pin hole leak in pipe on Plant Girbitol unit discovered on
                                                                                                                                                                                                                            1/17/06 did not result in RQ exceedance. Pipe was
                                                                                                                                                                                                                            temporarily wrapped while a clamp was being engineered. On
                                                                                                                                             Plant Girbitol
                    ETSC 000794 -                                                      Not specifically                                                                                                                     1/22/06 at 7:15 AM the wrap failed and hole size increased
       70677                            1/17/06 20:00      1/22/06 18:00     118:00                                  Plant Girbitol Unit      Piping on E-                  Hydrogen Sulfide       895.30              0.00                                                                             5            O-RQ, R-RQ
                       000795                                                          authorized                                                                                                                           resulting in RQ exceedance. Plant Girbotol operations are
                                                                                                                                              803A outlet
                                                                                                                                                                                                                            authorized as represented in Refinery permits 18287/PSD-TX-
                                                                                                                                                                                                                            730-M3. Other Refinery permits are 9163/PSD-TX-474 (SCU2),
                                                                                                                                                                                                                            44533/PSD-TX-975 ((LSM), 30 TAC 116.617, 30TAC106.
288
                                                                                                                                                                                                                           Water ingress from a suspected exchanger leak at Tail Gas
                                                                                                                                                                                                                           Cleanup Unit C lead to reduced treatment of tail gas at SCU2.
               ETSC 001065 -                                                           Not specifically            Sulfur Conversion Unit                                                                                  Portions of the emissions from SCU2F702 and SCU2T601 were
        102061                         01/04/2008 5:10    01/08/2008 8:00    98:50                                                           Furnace 702       SCU2F702     Hydrogen Sulfide          16.00           0.00                                                                              5
               001066                                                                  authorized                            2                                                                                             authorized under Flexible PAL Permit #18287/PSD-TX-730M.
                                                                                                                                                                                                                           Also, flexible Permit #18287 SC30 authorized emissions from
289                                                                                                                                                                                                                        SCU2D702.
                                                                                                                                                                                                                           Scheduled shutdown due to approach of Hurricane Ike.
                 ETSC 001132 -                                                         Permit #18287 & PSD-TX-                               All Blend Gas
        113887                        09/11/2008 12:00   09/15/2008 18:30    102:30                                  Baytown Refinery                                       Hydrogen Sulfide            1.00        199.25 Portions of the refinery are permitted under Permit                    already counted
                 001144                                                                730M4                                                 Fired Sources
290                                                                                                                                                                                                                        18287/PSD-TX-730-M4.
                                                                                                                                                                                                                           Loss of flotation on Tank 998 floating roof. Event is under
                                                                                                                                                                                                                           investigation but most likely cause is that floating roof
                                                                                                                                                                                                                           became entangled with tank's roof anti-rotation device. Tank
                 ETSC 000975 -                                                         Not specifically
         91325                          5/17/07 6:00       5/22/07 19:00     133:00                                Oil Movements Area 1        Tank 998         TK0998      Hydrogen Sulfide       182.00             0.00 contained oil destined for refinery recycle. Portions of Oil                 6            O-RQ, R-RQ
                 000976                                                                authorized
                                                                                                                                                                                                                           Movements Area 1, including Tank 998, are authorized in
                                                                                                                                                                                                                           permit 18287. No impact on production and all customer
291                                                                                                                                                                                                                        needs were met. Event has ended.
                                                                                       Portions of these
                                                                                                                                                                                                                            Emissions from hole in piping to gas treating towers. Portions
                 ETSC 001273 -                                                         emissions may be
        134509                        01/14/2010 14:30    01/21/2010 1:50    155:20                                     Gas Treating           Flare 20          FL20       Hydrogen Sulfide       665.34             15.78 of the refinery emissions may be authorized by Permit                       7           F, O-RQ, R-RQ
                 001274                                                                authorized by Permit
                                                                                                                                                                                                                            #18287/PSD-TX-730.
292                                                                                    #18287
                                                                                                                                                                                                                              The MEA Tower System had a leaking exchanger that resulted
                                                                                                                                                                                                                              in increased levels of H2S in the blend gas system and in Tank
                                                                                                                                                                                                                              501. Each fuel gas combustion device in the Fuels North area
                                                                                                                                                                                                                              potentially received the hydrogen sulfide containing material.
                 ETSC 001057 -                                                         Not specifically
         82898                          10/20/06 3:00     10/28/06 12:00     201:00                                     Fuels North          Tank No. 501       TK0501      Hydrogen Sulfide          33.00            0.00   The possible emission sources are: HSK:                                   9
                 001058                                                                authorized
                                                                                                                                                                                                                              F901/926/701/801/802/803/804/ 401/402/403/404/405
                                                                                                                                                                                                                              HDS: F301/201/227/703 FXK: F301/WHB301 Portions of the
                                                                                                                                                                                                                              Refinery are authorized under permit 18287 and PSD-TX-
293                                                                                                                                                                                                                           730M3.
                                                                                                                                                                                                                              Scheduled startup due to shutdown for Hurricane Ike. This
                                                                                                                                                                                                                              initial STEERS initial report is based on September 2005
                                                                                                                                                                                                                              refinery startup after shutdown due to approach of hurricane.
                                                                                                                                                                                                                              Portions of the refinery are permitted under Permit
                                                                                                                                               All BG Fired
                 ETSC 001156 -                                                         Permit #18287 & PSD-TX-                                                                                                                18287/PSD-TX-730-M4. Note: STEERS would not allow
        114161                        09/15/2008 18:30    10/04/2008 1:00    438:30                                  Baytown Refinery       Fired Units (SEE                Hydrogen Sulfide            1.00          15.86                                                                       already counted
                 001163                                                                730M4                                                                                                                                  submittal of just one report because it exceeded the CCEDS
                                                                                                                                                PERMIT)
                                                                                                                                                                                                                              requirements. The STEERS contact (Jim Drozd) recommended
                                                                                                                                                                                                                              we submit two reports. A previous submitted report with
                                                                                                                                                                                                                              Incident Tracking Number 114157 contains the balance of
294                                                                                                                                                                                                                           information for this startup event.
                                                                                                                                                                                                                              Maintenance on west loop flare gas recovery compressor C-
                 ETSC 000715 -                                                         Not specifically                                                                                                                       002. VOC is unspeciated C6+ material. The refinery flares are
         68629                          12/12/05 6:00     12/15/05 23:20     89:20                                                              Flare 5         FLARE5      Hydrogen Sulfide            0.01           0.00                                                                       already counted
                 000717                                                                authorized                                                                                                                             permitted under permit #18287. This report is being
295                                                                                                                                                                                                                           submitted under an interim agreement with TCEQ Region 12.
                                                                                                                                                                                                                              Maintenance on west loop flare gas recovery compressor C-
                 ETSC 000715 -                                                         Not specifically                                                                                                                       002. VOC is unspeciated C6+ material. The refinery flares are
         68629                          12/12/05 6:00     12/15/05 23:20     89:20                                                              Flare 3         FLARE3      Hydrogen Sulfide          14.00            0.00                                                                       already counted
                 000717                                                                authorized                                                                                                                             permitted under permit #18287. This report is being
296                                                                                                                                                                                                                           submitted under an interim agreement with TCEQ Region 12.
                                                                                                                                                                                                                              Shift in power supply to Hydrofining Unit 9 (HU9) resulted in
                                                                                                                                                                                                                              depressuring to D-500 atmospheric vent. HU9 diversion
                 ETSC 000947 -                                                         Not specifically
         96519                          8/23/07 20:13      8/24/07 1:07       4:54                                  Hydrofining Unit #9     Flare Stack 26       FS26       Hydrogen Sulfide            0.02           0.00   resulted in flaring of Low Btu Gas normally used in HU9             already counted
                 000949                                                                authorized
                                                                                                                                                                                                                              furnaces. Portions of the BTRF Refinery are authorized by
297                                                                                                                                                                                                                           Flex/PAL Permit No. 18294
                                                                                                                                                                                                                              Water ingress from a suspected exchanger leak at Tail Gas
                                                                                                                                                                                                                              Cleanup Unit C lead to reduced treatment of tail gas at SCU2.
                 ETSC 001065 -                                                         Flexible Permit 18287 SC Sulfur Conversion Unit                                                                                        Portions of the emissions from SCU2F702 and SCU2T601 were
        102061                         01/04/2008 5:10    01/08/2008 8:00    98:50                                                            Drum 702         SCU2D702     Hydrogen Sulfide            6.20           0.00                                                                       already counted
                 001066                                                                30                                 2                                                                                                   authorized under Flexible PAL Permit #18287/PSD-TX-730M.
                                                                                                                                                                                                                              Also, flexible Permit #18287 SC30 authorized emissions from
298                                                                                                                                                                                                                           SCU2D702.
                                                                                                                                                                                                                              Water ingress from a suspected exchanger leak at Tail Gas
                                                                                       Portion of emissions                                                                                                                   Cleanup Unit C lead to reduced treatment of tail gas at SCU2.
                 ETSC 001065 -                                                         authorized under permit Sulfur Conversion Unit                                                                                         Portions of the emissions from SCU2F702 and SCU2T601 were
        102061                         01/04/2008 5:10    01/08/2008 8:00    98:50                                                            Tower 601        SCU2T601     Hydrogen Sulfide          14.20           15.70                                                                       already counted
                 001066                                                                18287 PSD No                      2                                                                                                    authorized under Flexible PAL Permit #18287/PSD-TX-730M.
                                                                                       TX730M4/PAL                                                                                                                            Also, flexible Permit #18287 SC30 authorized emissions from
299                                                                                                                                                                                                                           SCU2D702.
         A                B                  C                  D              E                   F                      G                    H              I              J              K            L                                        M                                          N                O
                  Bates # of first                                                                                                                                                       Amount     Reported
      Tracking                                                              Duration                                                      Emission                                                                                                                                    Number of Days     Traceability
                   page of Final     Start Date & Time   End Date & Time                   Authorization                 Unit                               EPN       Contaminant        Released   Emission                                    Cause
      Number                                                                 (h:mm)                                                        Point                                                                                                                                        of Violation        Codes
 2                   STEERS                                                                                                                                                                (lbs)  Limit (lbs/hr)
                                                                                                                                                                                                                     During a Claus D unit start-up, a sulfur condenser in the unit
                 ETSC 001105 -                                                         18 lbs of 18 lbs are      Claus Sulfur Recovery      Flexsorb                                                                 plugged causing the downstream flexsorb absorber vent to
        109887                        06/22/2008 10:00    06/25/2008 1:00    63:00                                                                        SCU2R601    Hydrogen Sulfide          18.00        15.86                                                                     already counted
                 001106                                                                authorized                         Unit           Absorber Vent                                                               exceeded permit limits. Portions of the Refinery are
300                                                                                                                                                                                                                  authorized by PAL permit number 18287/PSD-TX730M4.
                                                                                                                                                                                                                     Scheduled shutdown due to approach of Hurricane Ike.
                 ETSC 001132 -                                                         Permit #18287 & PSD-TX-
        113887                        09/11/2008 12:00   09/15/2008 18:30    102:30                               Baytown Refinery       Flare Stack 25     FS25      Hydrogen Sulfide           1.00         0.00   Portions of the refinery are permitted under Permit               already counted
                 001144                                                                730M4
301                                                                                                                                                                                                                  18287/PSD-TX-730-M4.
                                                                                                                                                                                                                     Scheduled shutdown due to approach of Hurricane Ike.
                 ETSC 001132 -                                                         Permit #18287 & PSD-TX-
        113887                        09/11/2008 12:00   09/15/2008 18:30    102:30                               Baytown Refinery          Flare 27      FLARE27     Hydrogen Sulfide          12.00        15.86   Portions of the refinery are permitted under Permit               already counted
                 001144                                                                730M4
302                                                                                                                                                                                                                  18287/PSD-TX-730-M4.
                                                                                                                                                                                                                     Scheduled shutdown due to approach of Hurricane Ike.
               ETSC 001132 -                                                           Permit #18287 & PSD-TX-
        113887                        09/11/2008 12:00   09/15/2008 18:30    102:30                               Baytown Refinery          Flare 11      FLARE11     Hydrogen Sulfide           4.00        15.86   Portions of the refinery are permitted under Permit               already counted
               001144                                                                  730M4
303                                                                                                                                                                                                                  18287/PSD-TX-730-M4.
                                                                                                                                                                                                                     Scheduled shutdown due to approach of Hurricane Ike.
               ETSC 001132 -                                                           Permit #18287 & PSD-TX-
        113887                        09/11/2008 12:00   09/15/2008 18:30    102:30                               Baytown Refinery          Flare 14      FLARE14     Hydrogen Sulfide       150.00          15.86   Portions of the refinery are permitted under Permit                     5           F, O-RQ, R-RQ
               001144                                                                  730M4
304                                                                                                                                                                                                                  18287/PSD-TX-730-M4.
                                                                                                                                                                                                                     Scheduled shutdown due to approach of Hurricane Ike.
               ETSC 001132 -                                                           Permit #18287 & PSD-TX-
        113887                        09/11/2008 12:00   09/15/2008 18:30    102:30                               Baytown Refinery          Flare 15      FLARE15     Hydrogen Sulfide       183.00          15.86   Portions of the refinery are permitted under Permit               already counted
               001144                                                                  730M4
305                                                                                                                                                                                                                  18287/PSD-TX-730-M4.
                                                                                                                                                                                                                     Scheduled shutdown due to approach of Hurricane Ike.
               ETSC 001132 -                                                           Permit #18287 & PSD-TX-
        113887                        09/11/2008 12:00   09/15/2008 18:30    102:30                               Baytown Refinery          Flare 17      FLARE17     Hydrogen Sulfide           9.00        15.86   Portions of the refinery are permitted under Permit               already counted
               001144                                                                  730M4
306                                                                                                                                                                                                                  18287/PSD-TX-730-M4.
                                                                                                                                                                                                                     Scheduled shutdown due to approach of Hurricane Ike.
               ETSC 001132 -                                                           Permit #18287 & PSD-TX-
        113887                        09/11/2008 12:00   09/15/2008 18:30    102:30                               Baytown Refinery          Flare 18      FLARE18     Hydrogen Sulfide           0.50        15.86   Portions of the refinery are permitted under Permit               already counted
               001144                                                                  730M4
307                                                                                                                                                                                                                  18287/PSD-TX-730-M4.
                                                                                                                                                                                                                     Scheduled shutdown due to approach of Hurricane Ike.
                 ETSC 001132 -                                                         Permit #18287 & PSD-TX-
        113887                        09/11/2008 12:00   09/15/2008 18:30    102:30                               Baytown Refinery          Flare 19      FLARE19     Hydrogen Sulfide          59.00        15.86   Portions of the refinery are permitted under Permit               already counted
                 001144                                                                730M4
308                                                                                                                                                                                                                  18287/PSD-TX-730-M4.
                                                                                                                                                                                                                     Scheduled shutdown due to approach of Hurricane Ike.
                 ETSC 001132 -                                                         Permit #18287 & PSD-TX-
        113887                        09/11/2008 12:00   09/15/2008 18:30    102:30                               Baytown Refinery          Flare 20      FLARE20     Hydrogen Sulfide           6.00        15.86   Portions of the refinery are permitted under Permit               already counted
                 001144                                                                730M4
309                                                                                                                                                                                                                  18287/PSD-TX-730-M4.
                                                                                                                                                                                                                     Scheduled shutdown due to approach of Hurricane Ike.
                 ETSC 001132 -                                                         Permit #18287 & PSD-TX-
        113887                        09/11/2008 12:00   09/15/2008 18:30    102:30                               Baytown Refinery          Flare 21      FLARE21     Hydrogen Sulfide           1.00        15.86   Portions of the refinery are permitted under Permit               already counted
                 001144                                                                730M4
310                                                                                                                                                                                                                  18287/PSD-TX-730-M4.
                                                                                                                                                                                                                     Scheduled shutdown due to approach of Hurricane Ike.
               ETSC 001132 -                                                           Permit #18287 & PSD-TX-
        113887                        09/11/2008 12:00   09/15/2008 18:30    102:30                               Baytown Refinery          Flare 3        FLARE3     Hydrogen Sulfide          13.00        15.86   Portions of the refinery are permitted under Permit               already counted
               001144                                                                  730M4
311                                                                                                                                                                                                                  18287/PSD-TX-730-M4.
                                                                                                                                                                                                                     Scheduled shutdown due to approach of Hurricane Ike.
               ETSC 001132 -                                                           Permit #18287 & PSD-TX-
        113887                        09/11/2008 12:00   09/15/2008 18:30    102:30                               Baytown Refinery          Flare 4        FLARE4     Hydrogen Sulfide           1.00        15.86   Portions of the refinery are permitted under Permit               already counted
               001144                                                                  730M4
312                                                                                                                                                                                                                  18287/PSD-TX-730-M4.
                                                                                                                                                                                                                     Scheduled shutdown due to approach of Hurricane Ike.
               ETSC 001132 -                                                           Permit #18287 & PSD-TX-
        113887                        09/11/2008 12:00   09/15/2008 18:30    102:30                               Baytown Refinery          Flare 6        FLARE6     Hydrogen Sulfide           0.50        15.86   Portions of the refinery are permitted under Permit               already counted
               001144                                                                  730M4
313                                                                                                                                                                                                                  18287/PSD-TX-730-M4.
                                                                                                                                                                                                                     Scheduled shutdown due to approach of Hurricane Ike.
               ETSC 001132 -                                                           Permit #18287 & PSD-TX-    Baytown Refinery
        113887                        09/11/2008 12:00   09/15/2008 18:30    102:30                                                       SCU2 D-702      SCU2D702    Hydrogen Sulfide          14.00        15.86   Portions of the refinery are permitted under Permit               already counted
               001144                                                                  730M4                       Operating Units
314                                                                                                                                                                                                                  18287/PSD-TX-730-M4.
                                                                                                                                                                                                                     Scheduled shutdown due to approach of Hurricane Ike.
               ETSC 001132 -                                                           Permit #18287 & PSD-TX-    Baytown Refinery
        113887                        09/11/2008 12:00   09/15/2008 18:30    102:30                                                       SCU2 F-529      SCU2F529    Hydrogen Sulfide           1.00        15.86   Portions of the refinery are permitted under Permit               already counted
               001144                                                                  730M4                       Operating Units
315                                                                                                                                                                                                                  18287/PSD-TX-730-M4.
                                                                                                                                                                                                                     Scheduled shutdown due to approach of Hurricane Ike.
                 ETSC 001132 -                                                         Permit #18287 & PSD-TX-    Baytown Refinery
        113887                        09/11/2008 12:00   09/15/2008 18:30    102:30                                                        SCU2 T601      SCU2T601    Hydrogen Sulfide          10.00        15.86   Portions of the refinery are permitted under Permit               already counted
                 001144                                                                730M4                       Operating Units
316                                                                                                                                                                                                                  18287/PSD-TX-730-M4.
                                                                                                                                                                                                                     Scheduled startup due to shutdown for Hurricane Ike. This
                                                                                                                                                                                                                     initial STEERS initial report is based on September 2005
                                                                                                                                                                                                                     refinery startup after shutdown due to approach of hurricane.
                                                                                                                                                                                                                     Portions of the refinery are permitted under Permit
                                                                                                                                          PS7 Tower T-
                 ETSC 001156 -                                                         Not specifically           Baytown Refinery                                                                                   18287/PSD-TX-730-M4. Note: STEERS would not allow
        114161                        09/15/2008 18:30    10/04/2008 1:00    438:30                                                      702 Overhead                 Hydrogen Sulfide           2.00         0.00                                                                     already counted
                 001163                                                                authorized                  Operating Units                                                                                   submittal of just one report because it exceeded the CCEDS
                                                                                                                                              Leak
                                                                                                                                                                                                                     requirements. The STEERS contact (Jim Drozd) recommended
                                                                                                                                                                                                                     we submit two reports. A previous submitted report with
                                                                                                                                                                                                                     Incident Tracking Number 114157 contains the balance of
317                                                                                                                                                                                                                  information for this startup event.
                                                                                                                                                                                                                     Scheduled startup due to shutdown for Hurricane Ike. This
                                                                                                                                                                                                                     initial STEERS initial report is based on September 2005
                                                                                                                                                                                                                     refinery startup after shutdown due to approach of hurricane.
                                                                                                                                                                                                                     Portions of the refinery are permitted under Permit
                 ETSC 001156 -                                                         Permit #18287 & PSD-TX-    Baytown Refinery                                                                                   18287/PSD-TX-730-M4. Note: STEERS would not allow
        114161                        09/15/2008 18:30    10/04/2008 1:00    438:30                                                         Flare 11      FLARE11     Hydrogen Sulfide           4.00        15.86                                                                     already counted
                 001163                                                                730M4                       Operating Units                                                                                   submittal of just one report because it exceeded the CCEDS
                                                                                                                                                                                                                     requirements. The STEERS contact (Jim Drozd) recommended
                                                                                                                                                                                                                     we submit two reports. A previous submitted report with
                                                                                                                                                                                                                     Incident Tracking Number 114157 contains the balance of
318                                                                                                                                                                                                                  information for this startup event.
                                                                                                                                                                                                                     Scheduled startup due to shutdown for Hurricane Ike. This
                                                                                                                                                                                                                     initial STEERS initial report is based on September 2005
                                                                                                                                                                                                                     refinery startup after shutdown due to approach of hurricane.
                                                                                                                                                                                                                     Portions of the refinery are permitted under Permit
                 ETSC 001156 -                                                         Permit #18287 & PSD-TX-    Baytown Refinery                                                                                   18287/PSD-TX-730-M4. Note: STEERS would not allow
        114161                        09/15/2008 18:30    10/04/2008 1:00    438:30                                                         Flare 21      FLARE21     Hydrogen Sulfide       116.00          15.86                                                                     already counted
                 001163                                                                730M4                       Operating Units                                                                                   submittal of just one report because it exceeded the CCEDS
                                                                                                                                                                                                                     requirements. The STEERS contact (Jim Drozd) recommended
                                                                                                                                                                                                                     we submit two reports. A previous submitted report with
                                                                                                                                                                                                                     Incident Tracking Number 114157 contains the balance of
319                                                                                                                                                                                                                  information for this startup event.
                                                                                                                                                                                                                     Scheduled startup due to shutdown for Hurricane Ike. This
                                                                                                                                                                                                                     initial STEERS initial report is based on September 2005
                                                                                                                                                                                                                     refinery startup after shutdown due to approach of hurricane.
                                                                                                                                                                                                                     Portions of the refinery are permitted under Permit
                 ETSC 001156 -                                                         Permit #18287 & PSD-TX-    Baytown Refinery                                                                                   18287/PSD-TX-730-M4. Note: STEERS would not allow
        114161                        09/15/2008 18:30    10/04/2008 1:00    438:30                                                         Flare 14      FLARE14     Hydrogen Sulfide       116.00          15.86                                                                     already counted
                 001163                                                                730M4                       Operating Units                                                                                   submittal of just one report because it exceeded the CCEDS
                                                                                                                                                                                                                     requirements. The STEERS contact (Jim Drozd) recommended
                                                                                                                                                                                                                     we submit two reports. A previous submitted report with
                                                                                                                                                                                                                     Incident Tracking Number 114157 contains the balance of
320                                                                                                                                                                                                                  information for this startup event.
                                                                                                                                                                                                                     Scheduled startup due to shutdown for Hurricane Ike. This
                                                                                                                                                                                                                     initial STEERS initial report is based on September 2005
                                                                                                                                                                                                                     refinery startup after shutdown due to approach of hurricane.
                                                                                                                                                                                                                     Portions of the refinery are permitted under Permit
                 ETSC 001156 -                                                         Permit #18287 & PSD-TX-    Baytown Refinery                                                                                   18287/PSD-TX-730-M4. Note: STEERS would not allow
        114161                        09/15/2008 18:30    10/04/2008 1:00    438:30                                                         Flare 17      FLARE17     Hydrogen Sulfide          19.00        15.86                                                                     already counted
                 001163                                                                730M4                       Operating Units                                                                                   submittal of just one report because it exceeded the CCEDS
                                                                                                                                                                                                                     requirements. The STEERS contact (Jim Drozd) recommended
                                                                                                                                                                                                                     we submit two reports. A previous submitted report with
                                                                                                                                                                                                                     Incident Tracking Number 114157 contains the balance of
321                                                                                                                                                                                                                  information for this startup event.
                                                                                                                                                                                                                     Scheduled startup due to shutdown for Hurricane Ike. This
                                                                                                                                                                                                                     initial STEERS initial report is based on September 2005
                                                                                                                                                                                                                     refinery startup after shutdown due to approach of hurricane.
                                                                                                                                                                                                                     Portions of the refinery are permitted under Permit
                 ETSC 001156 -                                                         Permit #18287 & PSD-TX-    Baytown Refinery                                                                                   18287/PSD-TX-730-M4. Note: STEERS would not allow
        114161                        09/15/2008 18:30    10/04/2008 1:00    438:30                                                         Flare 6        FLARE6     Hydrogen Sulfide     3,361.00          15.86                                                                           19          F, O-RQ, R-RQ
                 001163                                                                730M4                       Operating Units                                                                                   submittal of just one report because it exceeded the CCEDS
                                                                                                                                                                                                                     requirements. The STEERS contact (Jim Drozd) recommended
                                                                                                                                                                                                                     we submit two reports. A previous submitted report with
                                                                                                                                                                                                                     Incident Tracking Number 114157 contains the balance of
322                                                                                                                                                                                                                  information for this startup event.
               EOMCS 00024373 -                                                        6 lbs of the 7 lbs are                                                                                                        HCU1 shut down. Portions of the units are authorized by
        124215                        05/12/2009 15:46   05/15/2009 20:48    77:02                               Hydrocracker Unit 1        Flare 14      FLARE14     Hydrogen Sulfide           7.00        15.86                                                                     already counted
323            000024382                                                               authorized                                                                                                                    Permit #18287/PSD-TX-730.
               EOMCS 00024373 -                                                        Not specifically                                                                                                              HCU1 shut down. Portions of the units are authorized by
        124215                        05/12/2009 15:46   05/15/2009 20:48    77:02                               Hydrocracker Unit 1        Flare 3        FLARE3     Hydrogen Sulfide           1.00        15.86                                                                     already counted
324            000024382                                                               authorized                                                                                                                    Permit #18287/PSD-TX-730.
               EOMCS 00024373 -                                                                                                                                                                                      HCU1 shut down. Portions of the units are authorized by
        124215                        05/12/2009 15:46   05/15/2009 20:48    77:02     1 lb is authorized        Hydrocracker Unit 1        Flare 4        FLARE4     Hydrogen Sulfide           1.00        15.86                                                                     already counted
325            000024382                                                                                                                                                                                             Permit #18287/PSD-TX-730.
               EOMCS 00024373 -                                                        Not specifically                                                                                                              HCU1 shut down. Portions of the units are authorized by
        124215                        05/12/2009 15:46   05/15/2009 20:48    77:02                               Hydrocracker Unit 1        FV-702         FV-702     Hydrogen Sulfide           2.00        15.86                                                                     already counted
326            000024382                                                               authorized                                                                                                                    Permit #18287/PSD-TX-730.
                                                                                                                                                                                                                     Failure of cooling tower supply header caused shutdown of
                                                                                                                                                                                                                     Propane Dewaxing Unit and Lube Deasphalting Unit.
                 ETSC 001201 -                                                         Not specifically
        124761                        05/26/2009 23:40   05/28/2009 13:57    38:17                                  Dewaxing Unit           Flare 16        FS16      Hydrogen Sulfide           0.60    6014.44     Shutdown and subsequent unit clearing caused flaring.             already counted
                 001202                                                                authorized
                                                                                                                                                                                                                     Portions of the Refinery are authorized under Flexible PAL
327                                                                                                                                                                                                                  Permit #18287/PSD-TX-730M4.
               ETSC 001203 -                                                           Not specifically                                                                                                              HCU1 shut down. Portions of the units are authorized by
        125757                        06/17/2009 14:45   06/17/2009 17:00     2:15                               Hydrocracker Unit 1     Drums 401/902    D-401/902   Hydrogen Sulfide       372.00          15.78                                                                           1            O-RQ, R-RQ
328            001209                                                                  authorized                                                                                                                    Permit #18287/PSD-TX-730.
               ETSC 001203 -                                                           Not specifically                                                                                                              HCU1 shut down. Portions of the units are authorized by
        125757                        06/17/2009 14:45   06/17/2009 17:00     2:15                               Hydrocracker Unit 1        FV-702         FV-702     Hydrogen Sulfide          10.00        15.78                                                                     already counted
329            001209                                                                  authorized                                                                                                                    Permit #18287/PSD-TX-730.
               ETSC 001203 -                                                           Not specifically                                                                                                              HCU1 shut down. Portions of the units are authorized by
        125757                        06/17/2009 14:45   06/17/2009 17:00     2:15                               Hydrocracker Unit 1        Flare 14      FLARE14     Hydrogen Sulfide           1.00        15.78                                                                     already counted
330            001209                                                                  authorized                                                                                                                    Permit #18287/PSD-TX-730.
               ETSC 001203 -                                                           Not specifically                                                                                                              HCU1 shut down. Portions of the units are authorized by
        125757                        06/17/2009 14:45   06/17/2009 17:00     2:15                               Hydrocracker Unit 1        Flare 17      FLARE17     Hydrogen Sulfide           2.00        15.78                                                                     already counted
331            001209                                                                  authorized                                                                                                                    Permit #18287/PSD-TX-730.
         A                B                  C                  D              E                   F                           G                     H                  I                    J                  K              L                                          M                                          N                O
                  Bates # of first                                                                                                                                                                          Amount     Reported
      Tracking                                                              Duration                                                            Emission                                                                                                                                                      Number of Days     Traceability
                   page of Final     Start Date & Time   End Date & Time                   Authorization                     Unit                                     EPN             Contaminant           Released   Emission                                        Cause
      Number                                                                 (h:mm)                                                              Point                                                                                                                                                          of Violation        Codes
 2                   STEERS                                                                                                                                                                                   (lbs)  Limit (lbs/hr)
                 ETSC 001203 -                                                         Not specifically                                                                                                                                     HCU1 shut down. Portions of the units are authorized by
        125757                        06/17/2009 14:45   06/17/2009 17:00     2:15                                   Hydrocracker Unit 1          Flare 20          FLARE20           Hydrogen Sulfide                1.00          15.78                                                                      already counted
332              001209                                                                authorized                                                                                                                                           Permit #18287/PSD-TX-730.
                 ETSC 001203 -                                                         Not specifically                                                                                                                                     HCU1 shut down. Portions of the units are authorized by
        125757                        06/17/2009 14:45   06/17/2009 17:00     2:15                                   Hydrocracker Unit 1           Flare 3           FLARE3           Hydrogen Sulfide                1.00          15.78                                                                      already counted
333              001209                                                                authorized                                                                                                                                           Permit #18287/PSD-TX-730.
                                                                                       Portions of the refinery
                                                                                                                                                                                                                                          Flaring due to Flexicoker start-up after shut down. This event
               ETSC 001221 -                                                           are authorized by Permi
        126082                        06/25/2009 21:00    06/29/2009 3:46    78:46                                     Flexicoker (FXK)        Flare Stack 25         FL25            Hydrogen Sulfide                1.00          15.78 has ended. Portions of the refinery are permitted under              already counted
               001223                                                                  #18287 & PSD-TX-
                                                                                                                                                                                                                                          Permit 18287/PSD-TX-730-M4.
334                                                                                    730M4
                                                                                       1 lbs of the 372 lbs are                                                                                                                             Flaring due to Flexicoker start-up after shut down. This event
                 ETSC 001221 -
        126082                        06/25/2009 21:00    06/29/2009 3:46    78:46     authorized by Permit #          Flexicoker (FXK)        Flare Stack 26         FL26            Hydrogen Sulfide          372.00              15.78   has ended. Portions of the refinery are permitted under                  4           F, O-RQ, R-RQ
                 001223
335                                                                                    18287 & PSD-TX-730M4                                                                                                                                 Permit 18287/PSD-TX-730-M4.
                                                                                                                                                                                                                                            Shutdown of compressor C-701 caused HCU1 to shutdown.
               ETSC 001241 -                                                           Not specifically                                                                                                                                     Associated units temporarily reduced rates to minimize
        130563                         10/09/2009 6:37   10/09/2009 12:37     6:00                                   Hydrocracker Unit 1          Flare14           FLARE14           Hydrogen Sulfide                1.00          15.86                                                                      already counted
               001244                                                                  authorized                                                                                                                                           emissions. Portions of this event may be authorized under
336                                                                                                                                                                                                                                         Permit 18287-PSD-TX-730-M4.
                                                                                                                                                                                                                                            Shutdown of compressor C-701 caused HCU1 to shutdown.
                 ETSC 001241 -                                                         Not specifically                                                                                                                                     Associated units temporarily reduced rates to minimize
        130563                         10/09/2009 6:37   10/09/2009 12:37     6:00                                   Hydrocracker Unit 1          Flare17           FLARE17           Hydrogen Sulfide                4.00          15.86                                                                      already counted
                 001244                                                                permitted                                                                                                                                            emissions. Portions of this event may be authorized under
337                                                                                                                                                                                                                                         Permit 18287-PSD-TX-730-M4.
                                                                                                                                                                                                                                            Shutdown of compressor C-701 caused HCU1 to shutdown.
                 ETSC 001241 -                                                         Not specifically                                                                                                                                     Associated units temporarily reduced rates to minimize
        130563                         10/09/2009 6:37   10/09/2009 12:37     6:00                                   Hydrocracker Unit 1           Flare3              FL3            Hydrogen Sulfide                1.00          15.86                                                                      already counted
                 001244                                                                authorized                                                                                                                                           emissions. Portions of this event may be authorized under
338                                                                                                                                                                                                                                         Permit 18287-PSD-TX-730-M4.
                                                                                                                                                                                                                                            Emissions from hole in piping to gas treating towers. Portions
                 ETSC 001273 -                                                         Not specifically
        134509                        01/14/2010 14:30    01/21/2010 1:50    155:20                                      Gas Treating          Hole in Piping     Hole in Piping      Hydrogen Sulfide          575.50               0.00   of the refinery emissions may be authorized by Permit              already counted
                 001274                                                                authorized
339                                                                                                                                                                                                                                         #18287/PSD-TX-730.
                                                                                       Portions may be
               ETSC 001316 -                                                                                         Catalytic Light Ends                                                                                                 Flaring due to C-75 compressor trip. Portions of the unit
        142407                         07/15/2010 4:32   07/15/2010 10:07     5:35     authorized by Permit                                    Flare Stack 20         FL20            Hydrogen Sulfide                1.03          15.78                                                                      already counted
               001322                                                                                                  Unit 3 (CLEU3)                                                                                                     emissions are authorized by Permit #18287/PSD-TX-730.
340                                                                                    18287/PSD-TX-730M4
                                                                                       Portions may be
               ETSC 001316 -                                                                                         Catalytic Light Ends                                                                                                 Flaring due to C-75 compressor trip. Portions of the unit
        142407                         07/15/2010 4:32   07/15/2010 10:07     5:35     authorized by Permit                                     Flare Stack 3          FL3            Hydrogen Sulfide                0.64          15.78                                                                      already counted
               001322                                                                                                  Unit 3 (CLEU3)                                                                                                     emissions are authorized by Permit #18287/PSD-TX-730.
341                                                                                    18287/PSD-TX-730M4
                                                                                       Portions may be
                 ETSC 001316 -                                                                                       Catalytic Light Ends                                                                                                   Flaring due to C-75 compressor trip. Portions of the unit
        142407                         07/15/2010 4:32   07/15/2010 10:07     5:35     authorized by Permit                                     Flare Stack 4       FLARE04           Hydrogen Sulfide                0.14          15.78                                                                      already counted
                 001322                                                                                                Unit 3 (CLEU3)                                                                                                       emissions are authorized by Permit #18287/PSD-TX-730.
342                                                                                    18287/PSD-TX-730M4
                                                                                       Portions may be
                 ETSC 001316 -                                                                                       Catalytic Light Ends                                                                                                   Flaring due to C-75 compressor trip. Portions of the unit
        142407                         07/15/2010 4:32   07/15/2010 10:07     5:35     authorized by Permit                                     Flare Stack 5          FL5            Hydrogen Sulfide                0.72          15.78                                                                      already counted
                 001322                                                                                                Unit 3 (CLEU3)                                                                                                       emissions are authorized by Permit #18287/PSD-TX-730.
343                                                                                    18287/PSD-TX-730M4
                                                                                       Portions may be
                 ETSC 001316 -                                                                                       Catalytic Light Ends                                                                                                   Flaring due to C-75 compressor trip. Portions of the unit
        142407                         07/15/2010 4:32   07/15/2010 10:07     5:35     authorized by Permit                                     Flare Stack 6          FL6            Hydrogen Sulfide                0.32          15.78                                                                      already counted
                 001322                                                                                                Unit 3 (CLEU3)                                                                                                       emissions are authorized by Permit #18287/PSD-TX-730.
344                                                                                    18287/PSD-TX-730M4
                                                                                                                                                                                                                                        Instrumentation malfunction at reactor R3 caused the
                                                                                                                                                                                                                                        depressurization valves to open for approximately six
                                                                                                                                                   HCU1
                 ETSC 001327 -                                                         Not specifically              Hydrocracking Unit 1                                                                                               minutes, resulting in an atmospheric release at HCU1 D401
        144890                        09/15/2010 13:59   09/15/2010 15:38     1:39                                                              atmospheric      HCU1 D401 D902       Hydrogen Sulfide          346.00             0.00                                                                              1            O-RQ, R-RQ
                 001328                                                                authorized                          (HCU1)                                                                                                       D902 and flaring at FLARE14. Portions of this unit are
                                                                                                                                                   vent
                                                                                                                                                                                                                                        authorized by Permit #18287/PSD-TX-730. The event has
345                                                                                                                                                                                                                                     ended.
                                                                                       Portions are authorized                                                                                                                          Emissions due to loss of flexicoker fractionator bottoms flow.
                 ETSC 068131 -
        160475                          10/12/11 3:44     10/14/11 13:59     58:15     under Permit                       Flexicoker           Flare Stack 26       FLARE 26          Hydrogen Sulfide         2.05          15.78      Portions of emissions are authorized by Permit #18287/PSD-             already counted
                 068132
346                                                                                    #18287/PSD-TX-730                                                                                                                                TX-730M4/PAL7.
                                                                                                                                                                                                                                        Compressor trip resulted in unit shutdown, causing
                                                                                                                                                   HCU1
                 ETSC 072655 -                                                         Not specifically              Hydrocracking Unit 1                                                                                               subsequent emissions and flaring. Portions of the unit
        168050                          5/1/12 17:39        5/2/12 2:29       8:50                                                              atmospheric                           Hydrogen Sulfide       1,891.00        0.00                                                                                    1            O-RQ, R-RQ
                 072658                                                                authorized.                         (HCU1)                                                                                                       emissions are authorized by Permit #18287/PSD-TX-
                                                                                                                                                   vent
347                                                                                                                                                                                                                                     730M4/PAL7.
                                                                                       1.102 lbs of total 2.791                                                                                                                         Compressor trip resulted in unit shutdown, causing
                 ETSC 072655 -                                                         lbs are authorized under      Hydrocracking Unit 1                                                                                               subsequent emissions and flaring. Portions of the unit
        168050                          5/1/12 17:39        5/2/12 2:29       8:50                                                             Flare Stack 14       FLARE14           Hydrogen Sulfide         1.69          15.78                                                                             already counted
                 072658                                                                Permit #18287/PSD-TX-               (HCU1)                                                                                                       emissions are authorized by Permit #18287/PSD-TX-
348                                                                                    730M4/PAL7                                                                                                                                       730M4/PAL7.
                                                                                                                                                   HCU1
               ETSC 072911 -                                                           Not specifically                                                                                                                                     Compressor trip resulted in an atmospheric release at a HCU1
        178267                          1/21/13 3:37       1/22/13 19:00     39:23                                   Hydrocracking Unit 1       atmospheric                           Hydrogen Sulfide       756.00          0.00                                                                                    2            O-RQ, R-RQ
               072914                                                                  authorized                                                                                                                                           safety vent and safe utilization of the flare system.
349                                                                                                                                                vent
                                                                                       0.11 lbs of the total 3.08
                 ETSC 072911 -                                                         lbs are authorized under                                                                                                                             Compressor trip resulted in an atmospheric release at a HCU1
        178267                          1/21/13 3:37       1/22/13 19:00     39:23                                   Hydrocracking Unit 1      Flare Stack 14       FLARE14           Hydrogen Sulfide         2.97          15.78                                                                             already counted
                 072914                                                                permit 18287/PSD-TX-                                                                                                                                 safety vent and safe utilization of the flare system.
350                                                                                    730M4.
351                                                                                                                                                                                                                                                                              TOTAL - HYDROGEN SULFIDE           121               82
                                                                                                                                                                                                                                            Hole in E3 evaporator line leaked to atmosphere. Hole due to
                    ETSC 000864 -                                                      Not specifically                                          Hole in E3
       80443                            8/27/06 12:30      8/31/06 23:00     106:30                                 Lube Extraction Unit 2                                         N-Methyl-2-pyrrolidone       195.00               0.00   solvent NMP (n-Methyl-2-pyrrolidone) corrosion. Portions of              5                H
                       000865                                                          authorized                                              Evaporator line
352                                                                                                                                                                                                                                         the refinery are permitted under Permit #18287.
353                                                                                                                                                                                                                                                                                             TOTAL - NMP          5                 5
                                                                                                                                                                                                                                            Scheduled shutdown due to approach of Hurricane Ike.
                 ETSC 001132 -                                                         Permit #18287 & PSD-TX-
        113887                        09/11/2008 12:00   09/15/2008 18:30    102:30                                   Baytown Refinery         Flare Stack 25         FS25            Nitrogen Dioxide              50.00            0.00   Portions of the refinery are permitted under Permit                      5               F, H
                 001144                                                                730M4
354                                                                                                                                                                                                                                         18287/PSD-TX-730-M4.
                                                                                                                                                                                                                                            FCCU3 C Boiler tripped offline at 2:47 and again shortly after
                 ETSC 000736 -                                                         Not specifically             Fluid Catalytic Cracking     Wet Gas
         66438                          10/14/05 2:47     10/14/05 20:21     17:34                                                                                                     Nitrogen oxide           349.00               0.00   start-up at noon. Cause of event currently under                         1             H, R-RQ
                 000737                                                                authorized                            Unit 3          Scrubber Bypass
355                                                                                                                                                                                                                                         investigation.
               ETSC 001184 -                                                           Not specifically             Fluid Catalytic Cracking   FCCU3 Bypass                                                                                 CO Boiler SG501C tripped offline. Portions of the FCCU3 are
        121025                        03/06/2009 17:48   03/06/2009 20:31     2:43                                                                                Bypass Stack         Nitrogen oxide                 3.00           0.00                                                                            1                H
356            001185                                                                  authorized                            Unit 3               Stack                                                                                     authorized under Flexible PAL Permit #18287/PSD-TX-730M4.
                                                                                                                                                                                                                                            Boiler SG-501A boiler tripped offline and regenerator flue gas
                                                                                       Not specifically
                                                                                                                                                                                                                                            was partially rerouted to the atmosphere. Regenerator flue
                                                                                       authorized. 500 ppm
                 ETSC 001053 -                                                                                  Fluid Catalytic Cracking         CO Boiler                                                                                  gas from SG-501A also continued to be partially treated in the
         83379                          11/1/06 14:24      11/2/06 16:00     25:36     limit per 40 CFR 63.1565                                                                        Nitrogen oxide               24.00            0.00                                                                            2                H
                 001054                                                                                                  Unit 3                 Bypass Stack                                                                                Wet Gas Scrubber. The boiler was promptly returned to
                                                                                       (c)(1) and 400 ppm limit
                                                                                                                                                                                                                                            service. The event has ended. The unit has returned to normal
                                                                                       per 30 TAC 117.206(e)(1)
357                                                                                                                                                                                                                                         operations.
                                                                                                                                                                                                                                            Boilers B and C tripped offline while A Boiler was down for
                 ETSC 001173 -                                                         Not specifically             Fluid Catalytic Cracking   FCCU3 Bypass
        118545                         01/07/2009 4:16   01/08/2009 14:16    34:00                                                                                Bypass Stack         Nitrogen oxide               11.00            0.00   maintenance. Portions of FCCU3 unit are authorized under                 2                H
                 001174                                                                authorized                            Unit 3               Stack
358                                                                                                                                                                                                                                         Flexible PAL Permit #18287/PSD-TX-730M4.
                                                                                                                                                                                                                                            Boilers B and C tripped offline while A Boiler was down for
                 ETSC 001173 -                                                         Not specifically             Fluid Catalytic Cracking FCCU3 Wet Gas
        118545                         01/07/2009 4:16   01/08/2009 14:16    34:00                                                                                 FCCUWGS             Nitrogen oxide          1,816.00        1775.47      maintenance. Portions of FCCU3 unit are authorized under           already counted
                 001174                                                                authorized                            Unit 3             Scrubber
359                                                                                                                                                                                                                                         Flexible PAL Permit #18287/PSD-TX-730M4.
                 ETSC 001184 -                                                         Not specifically             Fluid Catalytic Cracking FCCU3 Wet Gas                                                                                  CO Boiler SG501C tripped offline. Portions of the FCCU3 are
        121025                        03/06/2009 17:48   03/06/2009 20:31     2:43                                                                                 FCCU3WGS            Nitrogen oxide           244.00         1775.47                                                                         already counted
360              001185                                                                authorized                            Unit 3             Scrubber                                                                                    authorized under Flexible PAL Permit #18287/PSD-TX-730M4.
                                                                                                                                                                                                                                            During start-up of Hydrofining Unit 9, exceeded 3 hour 160
                                                                                                                                                                                                                                            ppm limit of H2S in fuel gas. This fuel gas is used at the
                 ETSC 000728 -                                                                                        Flexicoker Unit &
         68273                          11/21/05 5:57      11/21/05 7:43      1:46     Permit #18287                                             DCUF601            DCUF601                NOX                      26.00      4165.67      Flexicoker Unit Furnace F-301 (FXKF301) & WHB-301                        1                H
                 000729                                                                                              Delayed Coker Unit
                                                                                                                                                                                                                                            (FXKGTGWHB) and at the Delayed Coker Unit F-601 & F-602.
361                                                                                                                                                                                                                                         These sources are listed in permit #18287.
                                                                                                                                                                                                                                            Paint cans and wood-based material caught fire inside the
                 ETSC 000776 -                                                         Not specifically                                        Tank 801 fire                                                                                firewall of Tank 801. The minor fire only burned painting
         72945                          3/14/06 17:30      3/14/06 17:50      0:20                                     Oil Movements                                                       NOX                        0.17           0.00                                                                            1
                 000777                                                                authorized                                                  wall                                                                                     supplies and was put out minutes later. The ignition source
362                                                                                                                                                                                                                                         was not determined.
                                                                                                                                                                                                                                            Loss of MEA circulation on H2S scrubber tower T-854 causing
                                                                                                                                                                                                                                            Hydrogen Sulfide in the blend gas to exceed the NSPS J limit
                                                                                                                                                                                                                                            of 160 ppm over a 3 hour average. Each fuel gas combustion
                                                                                                                                                Multiple FN
                 ETSC 000770 -                                                         Permit #18287                   Fuels North Gas                                                                                                      device in the Fuels North area potentially received the
         73875                          4/2/06 14:30       4/2/06 19:00       4:30                                                              Combustion                                 NOX                 1,080.60        3,424.96                                                                              1             H, R-RQ
                 000771                                                                PSDTX730M3                         Treating                                                                                                          hydrogen sulfide containing material. The emission sources
                                                                                                                                                  Devices
                                                                                                                                                                                                                                            are: F-
                                                                                                                                                                                                                                            801/802/803/804/410/402/403/404/405/301/926/901/701/2
363                                                                                                                                                                                                                                         01/227/702/703.
                                                                                                                                                                                                                                            Fire at Electrical Substation #5, servicing the lubes plant.
                                                                                                                                                                                                                                            Resulted in trip of East Loop Flare Gas Recovery Compressor
                                                                                                                                                                                                                                            and subsequent flaring off of the East Loop Flare Systems.
                 ETSC 000842 -                                                         Not specifically              Substation 5 & East                                                                                                    Material routed to the flare included flows from MEK, LDU,
         74965                          4/25/06 21:45      4/26/06 21:31     23:46                                                                Flare 15           Flare15               NOX                  257.30              33.60                                                                            1               F, H
                 000844                                                                authorized                     Loop Flare System                                                                                                     PDU & LHU2 units. VOC from substation is petroleum
                                                                                                                                                                                                                                            distillates. This report is being submitted as part of the
                                                                                                                                                                                                                                            interim agreement with TCEQ Region 12. Portions of the
364                                                                                                                                                                                                                                         Refinery are permitted under Permit #18287.
                                                                                                                                                                                                                                            Bearing failure in pump P-2 caused the engine to overheat
                 ETSC 000840 -                                                         Not specifically
         75191                          5/1/06 16:20       5/1/06 16:50       0:30                                     Cooling Tower 9           Pump P-2                                  NOX                        0.01           0.00   and smoke. No actual flame was present. Portions of Cooling              1
                 000841                                                                authorized
365                                                                                                                                                                                                                                         Tower 9 are covered under refinery permit 18287.
                                                                                                                                                                                                                                            Product stripper tower T-276 developed a pinhole leak. The
                                                                                                                                                                                                                                            leak was likely caused by corrosion/erosion. There was a small
                                                                                                                                                                                                                                            intermittent fire and release of process gas oil (VOC-PGO).
                 ETSC 001049 -                                                         Not specifically                                                                                                                                     The small fire has ended and visible emissions from the
         83410                          11/2/06 5:00       11/2/06 19:33     14:33                                         Gofiner 1            Tower T-276                                NOX                        8.00           0.00                                                                            1                H
                 001050                                                                authorized                                                                                                                                           pinhole have stopped. The VOC reported is C5 thru C8s. The
                                                                                                                                                                                                                                            tower was isolated and repaired. Portions of Gofiner 1 are
                                                                                                                                                                                                                                            permitted in Permit 18287 and an Interim Agreement with
366                                                                                                                                                                                                                                         TCEQ.
                                                                                                                                                                                                                                            A small fire was discovered on a line to F-601 furnace at the
                 ETSC 001039 -                                                         Not specifically             Lube Hydrofining Unit                                                                                                   Lube Hydrofining Unit 1 (LHU1). The event has ended.
         84083                          11/20/06 1:00      11/20/06 4:00      3:00                                                               F601 Line         Fire on Line            NOX                        1.40           0.00                                                                            1                H
                 001041                                                                authorized                            1                                                                                                              Portions of the Lube Hydrifining Unit are covered under
367                                                                                                                                                                                                                                         permit #18287.
         A                B                  C                  D              E                   F                           G                     H               I              J           K               L                                           M                                          N                O
                  Bates # of first                                                                                                                                                           Amount     Reported
      Tracking                                                              Duration                                                             Emission                                                                                                                                       Number of Days     Traceability
                   page of Final     Start Date & Time   End Date & Time                   Authorization                     Unit                                  EPN         Contaminant   Released   Emission                                         Cause
      Number                                                                 (h:mm)                                                               Point                                                                                                                                           of Violation        Codes
 2                   STEERS                                                                                                                                                                    (lbs)  Limit (lbs/hr)
                                                                                                                                                                                                                              Equipment malfunction caused High H2S in the Low Btu Gas
                 ETSC 000991 -                                                         Permit 18287 & PSD-TX-         Low Btu Gas Fired         Low Btu Gas                                                                   (LBG)system. Portions of the refinery are authorized under
         87852                          3/2/07 12:15        3/3/07 4:42      16:27                                                                                LBGSRC          NOX          1,130.00          1914.29                                                                               1             H, R-RQ
                 000992                                                                730M3PAL                           Sources               Fired Sources                                                                 permit 18287 and PSD-TX_730M3/PAL. Emissions were
368                                                                                                                                                                                                                           intermittent between 6:43pm 3/1/07 and 11/10am 3/2/07.
                                                                                                                                                                                                                              Shift in power supply to Hydrofining Unit 9 (HU9) resulted in
                                                                                                                                                                                                                              depressuring to D-500 atmospheric vent. HU9 diversion
                 ETSC 000947 -                                                         Not specifically
         96519                          8/23/07 20:13      8/24/07 1:07       4:54                                   Hydrofining Unit #9          Flare 14        FLARE14         NOX                 7.00             0.00   resulted in flaring of Low Btu Gas normally used in HU9                  1               F, H
                 000949                                                                authorized
                                                                                                                                                                                                                              furnaces. Portions of the BTRF Refinery are authorized by
369                                                                                                                                                                                                                           Flex/PAL Permit No. 18291
                                                                                                                                                                                                                              A reactor was being air freed when material was released
                 ETSC 001126 -                                                         Not specifically                                                                                                                       resulting in a fire. This event has ended. Portions of the HF3
        113088                        08/24/2008 15:30   08/24/2008 15:40     0:10                                      Hydroformer 3           Reactor Vent    HF3RXVENT         NOX                 0.10             0.00                                                                            1
                 001127                                                                authorized                                                                                                                             unit are authorized under Flexible PAL Permit #18287/PSD-TX-
370                                                                                                                                                                                                                           730M4/PAL.
                 ETSC 001203 -                                                         9 of the 14 lbs are                                                                                                                    HCU1 shut down. Portions of the units are authorized by
        125757                        06/17/2009 14:45   06/17/2009 17:00     2:15                                   Hydrocracker Unit 1           Flare 4        FLARE4          NOX               14.00        1775.47                                                                               1               F, H
371              001209                                                                authorized                                                                                                                             Permit #18287/PSD-TX-730.
                                                                                                                                                                                                                              Loss of oxygen to FCCU2. A portion of emissions are
               ETSC 001224 -                                                                                                                   FCCU2 Wet Gas
        126586                        07/08/2009 11:00   07/08/2009 12:00     1:00                                          FCCU2                                FCCU2WGS         NOX               23.32        1775.47      authorized by Flex PAL Permit #18287/PSD-TX-730M-4.                      1                H
               001225                                                                                                                             Scrubber
372                                                                                                                                                                                                                           Calculations show emissions were below reportable quantity.
                                                                                                                                                                                                                              As a result of a malfunctioning boiler feed water pump, the
               ETSC 001237 -                                                                                                                                                                                                  Flexicoker waste heat boiler (WHB) was shut down causing
                                                                                       Not specifically             Flexicoker Waste Heat
        128824 001238; EOMCS          08/30/2009 15:22    08/31/2009 1:57    10:35                                                             Flare Stack 26      FL26           NOX               19.00              0.00   emissions to be released to the atmosphere through the                   1               F, H
                                                                                       authorized                           Boiler
               00232142 - 0023148                                                                                                                                                                                             Flexicoker gas turbine generator WHB bypass stack. Portions
373                                                                                                                                                                                                                           of the refinery are authorized by PAL permit number 18287.
                                                                                                                                                                                                                              Shutdown of compressor C-701 caused HCU1 to shutdown.
                 ETSC 001241 -                                                         Not specifically                                                                                                                       Associated units temporarily reduced rates to minimize
        130563                         10/09/2009 6:37   10/09/2009 12:37     6:00                                   Hydrocracker Unit 1          Flare14         FLARE14         NOX               12.00        1914.29                                                                               1               F, H
                 001244                                                                authorized                                                                                                                             emissions. Portions of this event may be authorized under
374                                                                                                                                                                                                                           Permit 18287-PSD-TX-730-M4.
                                                                                       Portions may be
               ETSC 001316 -                                                                                         Catalytic Light Ends                                                                                Flaring due to C-75 compressor trip. Portions of the unit
        142407                         07/15/2010 4:32   07/15/2010 10:07     5:35     authorized by Permit                                    Flare Stack 17     FLARE17         NOX               29.80        1747.18                                                                               1               F, H
               001322                                                                                                  Unit 3 (CLEU3)                                                                                    emissions are authorized by Permit #18287/PSD-TX-730.
375                                                                                    18287/PSD-TX-730M4
                                                                                                                                                                                                                         A coupling on the common discharge header for the Wet Gas
                                                                                       61.4 of the total 61.4 lbs                                                                                                        Scrubber Recirculation Pumps (P-501's) developed a leak on
                 ETSC 001323 -                                                                                        Fluidized Catalytic      FCCU-3 Wet Gas
        143353                        08/09/2010 17:10   08/09/2010 18:31     1:21     are authorized by Permit                                                  FCCU3WGS         NOX                 0.00       1747.18 8/8/2010. The P-501's were shut down to install a temporary                   1
                 001324                                                                                                  Cracking Unit            Scrubber
                                                                                       #18287/PSD-TX-730                                                                                                                 clamp. Portions of the unit emissions are authorized by
376                                                                                                                                                                                                                      Permit #18287.PSD-TX-9
                                                                                                                                                                                                                         Instrumentation malfunction at reactor R3 caused the
                                                                                       0.772 of total 4.08 lbs                                                                                                           depressurization valves to open for approximately six
                 ETSC 001327 -                                                         are authorized under          Hydrocracking Unit 1      Flare Stack 14                                                            minutes, resulting in an atmospheric release at HCU1 D401
        144890                        09/15/2010 13:59   09/15/2010 15:38     1:39                                                                                FLARE14         NOX                 3.31       1747.18                                                                               1               F, H
                 001328                                                                Permit #18287/PSD-TX-               (HCU1)                  (FECC)                                                                D902 and flaring at FLARE14. Portions of this unit are
                                                                                       730.                                                                                                                              authorized by Permit #18287/PSD-TX-730. The event has
377                                                                                                                                                                                                                      ended.
                                                                                       41 lbs of total 41 lbs are
                                                                                                                     Fluidized Catalytic                                                                                 Loss of oxygen to FCCU2 from third party supplier. Portions of
                 ETSC 001341 -                                                         authorized by Flex PAL                              FCCU2 Wet Gas
        146940                         11/02/2010 2:00    11/02/2010 5:00     3:00                                    Cracking Unit 2                            FCCU2WGS         NOX                 0.00       1747.18 emissions may be authorized by Flex PAL Permit #18287/PSD-                    1
                 001342                                                                Permit #18287/PSD-TX-                                   Scrubber
                                                                                                                           (FCCU2)                                                                                       TX-730M-4.
378                                                                                    730M-4
                                                                                       Portions may be                                                                                                                        Compressor trip resulted in unit shutdown, causing
                 ETSC 072655 -                                                         authorized under Permit Hydrocracking Unit 1                                                                                           subsequent emissions and flaring. Portions of the unit
        168050                          5/1/12 17:39        5/2/12 2:29       8:50                                                          Flare Stack 11        FLARE11         NOX          9.75          1747.18                                                                                   1               F, H
                 072658                                                                18287/PSD-TX-                        (HCU1)                                                                                            emissions are authorized by Permit #18287/PSD-TX-
379                                                                                    730M4/PAL7.                                                                                                                            730M4/PAL7.
                                                                                       35 LBS of total 35 LBS
                 ETSC 072917 -                                                         are authorized under       Fluid Catalytic Cracking                                                                                    CO Boiler trip resulted in emissions from the wet gas scrubber
        179694                          2/22/13 18:24      2/23/13 1:31       7:07                                                         Cat Regenerator       FCCU3WGS          NOx         0.00          1,747.18                                                                                  1
                 072918                                                                Permit #18287/PSD-TX-                Unit 3                                                                                            at the Fluidized Catalytic Cracking Unit 3 (FCCU3).
380                                                                                    730M4/PAL7
               ETSC 073046 -                                                           Not specifically
        182695                          5/11/13 6:30       5/11/13 11:21      4:51                                     Hydroformer 3            Flange                             NOx                1.58             0.00 Flange leak on inlet line to Reactor 3                                     1                H
381            073047                                                                  authorized
               ETSC 000915 -                                                                                                                                                                                                Restart of Claus B following inspection and repair. Natural gas
         76448                          6/7/06 10:00        6/9/06 1:44      39:44     Permit #9163                 Sulfur Conversion Unit       SCU2 F-549      SCU2 F-549       NOX               84.00              5.70                                                                            2                H
382            000916                                                                                                                                                                                                       will be routed to the F-549 incinerator during start-up.
                                                                                                                                                                                                                            Boilers A/B/C tripped off-line. Portions of the FCCU3 unit are
                 ETSC 001091 -                                                         No specific emisions         Fluid Catalytic Cracking
        106703                        04/22/2008 11:02   04/23/2008 16:21    29:19                                                              Bypass Stack    Bypass Stack      NOX               57.00              0.00 authorized under Flexible PAL Permit #18287/PSD-TX-                        2                H
                 001092                                                                authorized                            Unit 3
383                                                                                                                                                                                                                         730M4/PAL.
                                                                                       1843 lbs of 1843 are
                                                                                                                                                                                                                         FCCU2 start up after planned shutdown for planned
                 ETSC 001180 -                                                         authorized by PAL            Fluid Catalytic Cracking FCCU2 Wet Gas
        120022                        02/13/2009 19:00   02/15/2009 16:00    45:00                                                                               FCCUWGS          NOX          1,843.00          1775.47 maintenance. Portions of this unit are authorized by Flex PAL                 2             H, R-RQ
                 001181                                                                Permit 18287/PSD-TX-                  Unit 2             Scrubber
                                                                                                                                                                                                                         Permit #18287/PSD-TX-730M-4.
384                                                                                    730M4
                                                                                                                                                                                                                              FCCU3 CO Boiler A tripped offline while B Boiler was down for
                 ETSC 001197 -                                                         Not specifically             Fluid Catalytic Cracking   FCCU3 Bypass     FCCU3 Bypass
        123795                         05/04/2009 8:41   05/05/2009 17:05    32:24                                                                                                NOX               15.00              0.00   maintenance. Portions of FCCU3 unit are authorized under                 2                H
                 001198                                                                authorized                            Unit 3               Stack            Stack
385                                                                                                                                                                                                                           Flexible PAL Permit #18287/PSD-TX-730M4.
                                                                                                                                                                                                                              Failure of cooling tower supply header caused shutdown of
                                                                                                                                                                                                                              Propane Dewaxing Unit and Lube Deasphalting Unit.
                 ETSC 001201 -                                                         Not specifically
        124761                        05/26/2009 23:40   05/28/2009 13:57    38:17                                      Dewaxing Unit             Flare 15         FS15           NOX            407.00          1775.47      Shutdown and subsequent unit clearing caused flaring.                    2            F, H, R-RQ
                 001202                                                                authorized
                                                                                                                                                                                                                              Portions of the Refinery are authorized under Flexible PAL
386                                                                                                                                                                                                                           Permit #18287/PSD-TX-730M4.
                                                                                                                                                                                                                              CO Boiler SG501A tripped offline. Hourly emissions returned
                                                                                                                                                                                                                              to normal by 6/22/09 18:40, but the 24-hr rolling average for
                 ETSC 001210 -                                                         Not specifically             Fluid Catalytic Cracking FCCU3 Wet Gas
        125838                         06/21/2009 9:24   06/22/2009 18:40    33:16                                                                               FCCU3WGS         NOX          1,964.00          1775.47      carbon monoxide stayed above the 400 ppm limit set in 30                 2             H, R-RQ
                 001211                                                                authorized                            Unit 3             Scrubber
                                                                                                                                                                                                                              TAC Chapter 117 until 6/22/09 21:00. Portions of FCCU3 are
387                                                                                                                                                                                                                           authorized under Flexible PAL Permit #18287/PSD-TX-730M4.
                                                                                                                                                                                                                              Startup FCCU3 from planned maintenance. Event ended on
                                                                                                                                                                                                                              11/26/09 at 21:00, but the 24-hr rolling average for carbon
                 ETSC 001247 -                                                         Not specifically                                        FCCU3 Wet Gas
        132400                         11/25/2009 7:59   11/26/2009 21:00    37:01                                          FCCU3                                FCCU3WGS         NOX          1,274.00          1775.47      monoxide stayed above the 400 ppm limit set in 30 TAC                    2             H, R-RQ
                 001248                                                                authorized                                                 Scrubber
                                                                                                                                                                                                                              Chapter 117 until 11/27/09 21:00. Portions of this unit are
388                                                                                                                                                                                                                           authorized by Flex PAL Permit #18287/PSD-TX-730M-4.
                                                                                       4.33 lbs of the total
                 ETSC 072911 -                                                         10.25 lbs are authorized                                                                                                               Compressor trip resulted in an atmospheric release at a HCU1
        178267                          1/21/13 3:37       1/22/13 19:00     39:23                              Hydrocracking Unit 1           Flare Stack 11     FLARE11          NOx         5.92          1,747.18                                                                                  2               F, H
                 072914                                                                under permit 18287/PSD-                                                                                                                safety vent and safe utilization of the flare system.
389                                                                                    TX-730M4.
                                                                                       Portions are authorized                                                                                                           Emissions due to loss of flexicoker fractionator bottoms flow.
                 ETSC 068131 -
        160475                          10/12/11 3:44     10/14/11 13:59     58:15     under Permit                  Flexicoker                Flare Stack 25     FLARE 25        NOX          1.50          1747.18     Portions of emissions are authorized by Permit #18287/PSD-                    3               F, H
                 068132
390                                                                                    #18287/PSD-TX-730                                                                                                                 TX-730M4/PAL7.
                 EOMCS 00024373 -                                                      Not specifically                                                                                                                  HCU1 shut down. Portions of the units are authorized by
        124215                        05/12/2009 15:46   05/15/2009 20:48    77:02                              Hydrocracker Unit 1               Flare 11        FLARE11         NOX                 1.00       1914.29                                                                               4
391              000024382                                                             authorized                                                                                                                        Permit #18287/PSD-TX-730.
                                                                                       15396 lbs of the 15396
                                                                                                                                                                                                                         Flaring due to Flexicoker start-up after shut down. This event
                 ETSC 001221 -                                                         lbs are authorized by                                      FN Fired
        126082                        06/25/2009 21:00    06/29/2009 3:46    78:46                                Flexicoker (FXK)                                                NOX         15,396.00          1775.47 has ended. Portions of the refinery are permitted under                       4             H, R-RQ
                 001223                                                                Permit # 18287 & PSD-                                      Sources
                                                                                                                                                                                                                         Permit 18287/PSD-TX-730-M4.
392                                                                                    TX-730M4
                                                                                                                                                                                                                              Run in test of Flexicoker Unit GTG 301 resulting in turbine
                 ETSC 000784 -                                                         Not specifically                                        GTG301 WHB
         71454                          2/22/06 13:55      2/27/06 0:00      106:05                                     Flexicoker Unit                                           NOX            114.00                0.00   emissions being routed through the Waste Heat Boiler bypass              5                H
                 000785                                                                authorized                                              Bypass STack
393                                                                                                                                                                                                                           stack.
                                                                                                                                                                                                                              Water ingress from a suspected exchanger leak at Tail Gas
                                                                                                                                                                                                                              Cleanup Unit C lead to reduced treatment of tail gas at SCU2.
                 ETSC 001065 -                                                         Not specifically             Sulfur Conversion Unit                                                                                    Portions of the emissions from SCU2F702 and SCU2T601 were
        102061                         01/04/2008 5:10    01/08/2008 8:00    98:50                                                              Furnace 702      SCU2F702         NOX               66.00              0.00                                                                            5                H
                 001066                                                                authorized                             2                                                                                               authorized under Flexible PAL Permit #18287/PSD-TX-730M.
                                                                                                                                                                                                                              Also, flexible Permit #18287 SC30 authorized emissions from
394                                                                                                                                                                                                                           SCU2D702.
                                                                                                                                                                                                                              Scheduled shutdown due to approach of Hurricane Ike.
                 ETSC 001132 -                                                         Permit #18287 & PSD-TX-                                  All Blend Gas
        113887                        09/11/2008 12:00   09/15/2008 18:30    102:30                                   Baytown Refinery                                            NOX            180.00         1,914.29      Portions of the refinery are permitted under Permit                already counted
                 001144                                                                730M4                                                    Fired Sources
395                                                                                                                                                                                                                           18287/PSD-TX-730-M4.
                                                                                                                                                                                                                              Start-up of the Flexicoker Gas Turbine after a unit turnaround.
                 ETSC 000780 -                                                                                                                                                                                                During start-up exceeded NOx RACT and RMACT II CO
         72319                          2/27/06 9:00        3/5/06 7:00      142:00    18287                            Flexicoker Unit           GTG301        FXKWHB301         NOX          1,239.00         3,424.96                                                                               6             H, R-RQ
                 000781                                                                                                                                                                                                       Concentration limits of 400 ppm and 500 ppm. Portions of the
396                                                                                                                                                                                                                           Flexicoker are permitted under Permit #18287.
                                                                                       Portions of these
                                                                                                                                                                                                                         Emissions from hole in piping to gas treating towers. Portions
                 ETSC 001273 -                                                         emissions may be
        134509                        01/14/2010 14:30    01/21/2010 1:50    155:20                                      Gas Treating             Flare 20         FL20           NOX          1,164.35          1747.18 of the refinery emissions may be authorized by Permit                         7            F, H, R-RQ
                 001274                                                                authorized by Permit
                                                                                                                                                                                                                         #18287/PSD-TX-730.
397                                                                                    #18287
                                                                                                                                                                                                                         The MEA Tower System had a leaking exchanger that resulted
                                                                                                                                                                                                                         in increased levels of H2S in the blend gas system and in Tank
                                                                                                                                                                                                                         501. Each fuel gas combustion device in the Fuels North area
                                                                                                                                                Fuels North                                                              potentially received the hydrogen sulfide containing material.
                 ETSC 001057 -
         82898                          10/20/06 3:00     10/28/06 12:00     201:00    Flexible Permit #18287            Fuels North            Combustion      FNCOMBDV          NOX         22,714.00          3424.96 The possible emission sources are: HSK:                                       9             H, R-RQ
                 001058
                                                                                                                                                  Devices                                                                F901/926/701/801/802/803/804/ 401/402/403/404/405
                                                                                                                                                                                                                         HDS: F301/201/227/703 FXK: F301/WHB301 Portions of the
                                                                                                                                                                                                                         Refinery are authorized under permit 18287 and PSD-TX-
398                                                                                                                                                                                                                      730M3.
         A                B                  C                  D              E                   F                        G                     H                 I              J           K            L                                        M                                          N                O
                  Bates # of first                                                                                                                                                          Amount     Reported
      Tracking                                                              Duration                                                          Emission                                                                                                                                   Number of Days     Traceability
                   page of Final     Start Date & Time   End Date & Time                   Authorization                  Unit                                    EPN         Contaminant   Released   Emission                                    Cause
      Number                                                                 (h:mm)                                                            Point                                                                                                                                       of Violation        Codes
 2                   STEERS                                                                                                                                                                   (lbs)  Limit (lbs/hr)
                                                                                                                                                                                                                        Scheduled startup due to shutdown for Hurricane Ike. This
                                                                                                                                                                                                                        initial STEERS initial report is based on September 2005
                                                                                                                                                                                                                        refinery startup after shutdown due to approach of hurricane.
                                                                                                                                                                                                                        Portions of the refinery are permitted under Permit
                                                                                                                                               All BG Fired
                 ETSC 001156 -                                                         Permit #18287 & PSD-TX-                                                                                                          18287/PSD-TX-730-M4. Note: STEERS would not allow
        114161                        09/15/2008 18:30    10/04/2008 1:00    438:30                                Baytown Refinery         Fired Units (SEE                     NOX            314.00      1,914.29                                                                            19            H, R-RQ
                 001163                                                                730M4                                                                                                                            submittal of just one report because it exceeded the CCEDS
                                                                                                                                                PERMIT)
                                                                                                                                                                                                                        requirements. The STEERS contact (Jim Drozd) recommended
                                                                                                                                                                                                                        we submit two reports. A previous submitted report with
                                                                                                                                                                                                                        Incident Tracking Number 114157 contains the balance of
399                                                                                                                                                                                                                     information for this startup event.
                                                                                                                                                                                                                        A malfunction of seal tank internals to the FCCU3 bypass stack
                 ETSC 001103 -                                                         Not specifically          Fluid Catalytic Cracking   FCCU3 Bypass
        109166                        05/15/2008 17:00   07/25/2008 14:00    1701:00                                                                             FCCU3           NOX            157.00           0.00   caused emissions to escape through the stack. Portions of the           71               H
                 001104                                                                authorized                         Unit 3               Stack
400                                                                                                                                                                                                                     refinery are authorized by PAL permit number 18287.
                                                                                                                                                                                                                        During start-up of Hydrofining Unit 9, exceeded 3 hour 160
                                                                                                                                                                                                                        ppm limit of H2S in fuel gas. This fuel gas is used at the
                 ETSC 000728 -                                                                                     Flexicoker Unit &
         68273                          11/21/05 5:57      11/21/05 7:43      1:46     Permit #18287                                           DCUF602          DCUF602          NOX               25.00    4165.67     Flexicoker Unit Furnace F-301 (FXKF301) & WHB-301                 already counted
                 000729                                                                                           Delayed Coker Unit
                                                                                                                                                                                                                        (FXKGTGWHB) and at the Delayed Coker Unit F-601 & F-602.
401                                                                                                                                                                                                                     These sources are listed in permit #18287.
                                                                                                                                                                                                                        During start-up of Hydrofining Unit 9, exceeded 3 hour 160
                                                                                                                                                                                                                        ppm limit of H2S in fuel gas. This fuel gas is used at the
                 ETSC 000728 -                                                                                     Flexicoker Unit &
         68273                          11/21/05 5:57      11/21/05 7:43      1:46     Permit #18287                                         FXK WHB 301       FXKGTGWHB         NOX               11.00    4165.67     Flexicoker Unit Furnace F-301 (FXKF301) & WHB-301                 already counted
                 000729                                                                                           Delayed Coker Unit
                                                                                                                                                                                                                        (FXKGTGWHB) and at the Delayed Coker Unit F-601 & F-602.
402                                                                                                                                                                                                                     These sources are listed in permit #18287.
                                                                                                                                                                                                                        During start-up of Hydrofining Unit 9, exceeded 3 hour 160
                                                                                                                                                                                                                        ppm limit of H2S in fuel gas. This fuel gas is used at the
                 ETSC 000728 -                                                                                     Flexicoker Unit &
         68273                          11/21/05 5:57      11/21/05 7:43      1:46     Permit #18287                                           FXKF301           FXKF301         NOX               11.00    4165.67     Flexicoker Unit Furnace F-301 (FXKF301) & WHB-301                 already counted
                 000729                                                                                           Delayed Coker Unit
                                                                                                                                                                                                                        (FXKGTGWHB) and at the Delayed Coker Unit F-601 & F-602.
403                                                                                                                                                                                                                     These sources are listed in permit #18287.
                                                                                                                                                                                                                        Fire at Electrical Substation #5, servicing the lubes plant.
                                                                                                                                                                                                                        Resulted in trip of East Loop Flare Gas Recovery Compressor
                                                                                                                                            Substation 5 -                                                              and subsequent flaring off of the East Loop Flare Systems.
                 ETSC 000842 -                                                         Not specifically           Substation 5 & East       Transformers                                                                Material routed to the flare included flows from MEK, LDU,
         74965                          4/25/06 21:45      4/26/06 21:31     23:46                                                                                               NOX                4.30         0.00                                                                     already counted
                 000844                                                                authorized                  Loop Flare System        T501, T502 &                                                                PDU & LHU2 units. VOC from substation is petroleum
                                                                                                                                                T503                                                                    distillates. This report is being submitted as part of the
                                                                                                                                                                                                                        interim agreement with TCEQ Region 12. Portions of the
404                                                                                                                                                                                                                     Refinery are permitted under Permit #18287.
                                                                                                                                                                                                                        Fire at Electrical Substation #5, servicing the lubes plant.
                                                                                                                                                                                                                        Resulted in trip of East Loop Flare Gas Recovery Compressor
                                                                                                                                                                                                                        and subsequent flaring off of the East Loop Flare Systems.
                 ETSC 000842 -                                                         Not specifically           Substation 5 & East                                                                                   Material routed to the flare included flows from MEK, LDU,
         74965                          4/25/06 21:45      4/26/06 21:31     23:46                                                             Flare 16          Flare16         NOX                9.00        33.60                                                                     already counted
                 000844                                                                authorized                  Loop Flare System                                                                                    PDU & LHU2 units. VOC from substation is petroleum
                                                                                                                                                                                                                        distillates. This report is being submitted as part of the
                                                                                                                                                                                                                        interim agreement with TCEQ Region 12. Portions of the
405                                                                                                                                                                                                                     Refinery are permitted under Permit #18287.
                                                                                                                                                                                                                        Shift in power supply to Hydrofining Unit 9 (HU9) resulted in
                                                                                                                                                                                                                        depressuring to D-500 atmospheric vent. HU9 diversion
                 ETSC 000947 -                                                         Not specifically
         96519                          8/23/07 20:13      8/24/07 1:07       4:54                                Hydrofining Unit #9       Flare Stack 26        FS26           NOX                8.00         0.00   resulted in flaring of Low Btu Gas normally used in HU9           already counted
                 000949                                                                authorized
                                                                                                                                                                                                                        furnaces. Portions of the BTRF Refinery are authorized by
406                                                                                                                                                                                                                     Flex/PAL Permit No. 18295
                                                                                                                                                                                                                        Boilers A/B/C tripped off-line. Portions of the FCCU3 unit are
                 ETSC 001091 -                                                         Permit 18287 - 2963 lb    Fluid Catalytic Cracking FCCU3 Wet Gas
        106703                        04/22/2008 11:02   04/23/2008 16:21    29:19                                                                             FCCU3WGS          NOX          2,963.00      1914.29     authorized under Flexible PAL Permit #18287/PSD-TX-               already counted
                 001092                                                                authorized                         Unit 3             Scrubber
407                                                                                                                                                                                                                     730M4/PAL.
                                                                                                                                                                                                                        Scheduled shutdown due to approach of Hurricane Ike.
                 ETSC 001132 -                                                         Not specifically          Fluid Catalytic Cracking   FCCU3 Bypass
        113887                        09/11/2008 12:00   09/15/2008 18:30    102:30                                                                            Bypass Stack      NOX                2.00         0.00   Portions of the refinery are permitted under Permit               already counted
                 001144                                                                authorized                         Unit 3               Stack
408                                                                                                                                                                                                                     18287/PSD-TX-730-M4.
                                                                                                                                                                                                                        Scheduled shutdown due to approach of Hurricane Ike.
                 ETSC 001132 -                                                         Permit #18287 & PSD-TX-
        113887                        09/11/2008 12:00   09/15/2008 18:30    102:30                                Baytown Refinery            Flare 27          FLARE27         NOX            242.00      1,914.29    Portions of the refinery are permitted under Permit               already counted
                 001144                                                                730M4
409                                                                                                                                                                                                                     18287/PSD-TX-730-M4.
                                                                                                                                                                                                                        Scheduled shutdown due to approach of Hurricane Ike.
               ETSC 001132 -                                                           Permit #18287 & PSD-TX-
        113887                        09/11/2008 12:00   09/15/2008 18:30    102:30                                Baytown Refinery            Flare 11          FLARE11         NOX            207.00      1,914.29    Portions of the refinery are permitted under Permit               already counted
               001144                                                                  730M4
410                                                                                                                                                                                                                     18287/PSD-TX-730-M4.
                                                                                                                                                                                                                        Scheduled shutdown due to approach of Hurricane Ike.
               ETSC 001132 -                                                           Permit #18287 & PSD-TX-
        113887                        09/11/2008 12:00   09/15/2008 18:30    102:30                                Baytown Refinery            Flare 14          FLARE14         NOX            513.00      1,914.29    Portions of the refinery are permitted under Permit               already counted
               001144                                                                  730M4
411                                                                                                                                                                                                                     18287/PSD-TX-730-M4.
                                                                                                                                                                                                                        Scheduled shutdown due to approach of Hurricane Ike.
               ETSC 001132 -                                                           Permit #18287 & PSD-TX-
        113887                        09/11/2008 12:00   09/15/2008 18:30    102:30                                Baytown Refinery            Flare 15          FLARE15         NOX            207.00      1,914.29    Portions of the refinery are permitted under Permit               already counted
               001144                                                                  730M4
412                                                                                                                                                                                                                     18287/PSD-TX-730-M4.
                                                                                                                                                                                                                        Scheduled shutdown due to approach of Hurricane Ike.
               ETSC 001132 -                                                           Permit #18287 & PSD-TX-
        113887                        09/11/2008 12:00   09/15/2008 18:30    102:30                                Baytown Refinery            Flare 17          FLARE17         NOX            799.00      1,914.29    Portions of the refinery are permitted under Permit               already counted
               001144                                                                  730M4
413                                                                                                                                                                                                                     18287/PSD-TX-730-M4.
                                                                                                                                                                                                                        Scheduled shutdown due to approach of Hurricane Ike.
               ETSC 001132 -                                                           Permit #18287 & PSD-TX-
        113887                        09/11/2008 12:00   09/15/2008 18:30    102:30                                Baytown Refinery            Flare 18          FLARE18         NOX               25.00    1,914.29    Portions of the refinery are permitted under Permit               already counted
               001144                                                                  730M4
414                                                                                                                                                                                                                     18287/PSD-TX-730-M4.
                                                                                                                                                                                                                        Scheduled shutdown due to approach of Hurricane Ike.
                 ETSC 001132 -                                                         Permit #18287 & PSD-TX-
        113887                        09/11/2008 12:00   09/15/2008 18:30    102:30                                Baytown Refinery            Flare 19          FLARE19         NOX                4.00    1,914.29    Portions of the refinery are permitted under Permit               already counted
                 001144                                                                730M4
415                                                                                                                                                                                                                     18287/PSD-TX-730-M4.
                                                                                                                                                                                                                        Scheduled shutdown due to approach of Hurricane Ike.
                 ETSC 001132 -                                                         Permit #18287 & PSD-TX-
        113887                        09/11/2008 12:00   09/15/2008 18:30    102:30                                Baytown Refinery            Flare 20          FLARE20         NOX            725.00      1,914.29    Portions of the refinery are permitted under Permit               already counted
                 001144                                                                730M4
416                                                                                                                                                                                                                     18287/PSD-TX-730-M4.
                                                                                                                                                                                                                        Scheduled shutdown due to approach of Hurricane Ike.
               ETSC 001132 -                                                           Permit #18287 & PSD-TX-
        113887                        09/11/2008 12:00   09/15/2008 18:30    102:30                                Baytown Refinery            Flare 21          FLARE21         NOX               50.00    1,914.29    Portions of the refinery are permitted under Permit               already counted
               001144                                                                  730M4
417                                                                                                                                                                                                                     18287/PSD-TX-730-M4.
                                                                                                                                                                                                                        Scheduled shutdown due to approach of Hurricane Ike.
               ETSC 001132 -                                                           Permit #18287 & PSD-TX-
        113887                        09/11/2008 12:00   09/15/2008 18:30    102:30                                Baytown Refinery             Flare 3          FLARE3          NOX            659.00      1,914.29    Portions of the refinery are permitted under Permit               already counted
               001144                                                                  730M4
418                                                                                                                                                                                                                     18287/PSD-TX-730-M4.
                                                                                                                                                                                                                        Scheduled shutdown due to approach of Hurricane Ike.
               ETSC 001132 -                                                           Permit #18287 & PSD-TX-
        113887                        09/11/2008 12:00   09/15/2008 18:30    102:30                                Baytown Refinery             Flare 4          FLARE4          NOX            457.00      1,914.29    Portions of the refinery are permitted under Permit               already counted
               001144                                                                  730M4
419                                                                                                                                                                                                                     18287/PSD-TX-730-M4.
                                                                                                                                                                                                                        Scheduled shutdown due to approach of Hurricane Ike.
               ETSC 001132 -                                                           Permit #18287 & PSD-TX-
        113887                        09/11/2008 12:00   09/15/2008 18:30    102:30                                Baytown Refinery          Flare Stack 5         FL5           NOX                3.00    1,914.29    Portions of the refinery are permitted under Permit               already counted
               001144                                                                  730M4
420                                                                                                                                                                                                                     18287/PSD-TX-730-M4.
                                                                                                                                                                                                                        Scheduled shutdown due to approach of Hurricane Ike.
               ETSC 001132 -                                                           Permit #18287 & PSD-TX-
        113887                        09/11/2008 12:00   09/15/2008 18:30    102:30                                Baytown Refinery             Flare 6          FLARE6          NOX               20.00    1,914.29    Portions of the refinery are permitted under Permit               already counted
               001144                                                                  730M4
421                                                                                                                                                                                                                     18287/PSD-TX-730-M4.
                                                                                                                                                                                                                        Scheduled shutdown due to approach of Hurricane Ike.
                 ETSC 001132 -                                                         Permit #18287 & PSD-TX-     Baytown Refinery
        113887                        09/11/2008 12:00   09/15/2008 18:30    102:30                                                           SCU2 F-529        SCU2F529         NOX               71.00    1,914.29    Portions of the refinery are permitted under Permit               already counted
                 001144                                                                730M4                        Operating Units
422                                                                                                                                                                                                                     18287/PSD-TX-730-M4.
                                                                                                                                                                                                                        Scheduled shutdown due to approach of Hurricane Ike.
                 ETSC 001132 -                                                         Permit #18287 & PSD-TX- Fluid Catalytic Cracking FCCU2 Wet Gas
        113887                        09/11/2008 12:00   09/15/2008 18:30    102:30                                                                            FCCU2WGS          NOX          1,905.00      1,914.29    Portions of the refinery are permitted under Permit               already counted
                 001144                                                                730M4                            Unit 2             Scrubber
423                                                                                                                                                                                                                     18287/PSD-TX-730-M4.
                                                                                                                                                                                                                        Scheduled startup due to shutdown for Hurricane Ike. This
                                                                                                                                                                                                                        initial STEERS initial report is based on September 2005
                                                                                                                                                                                                                        refinery startup after shutdown due to approach of hurricane.
                                                                                                                                                                                                                        Portions of the refinery are permitted under Permit
                                                                                                                                             HF3 MOV32
                 ETSC 001156 -                                                         Not specifically            Baytown Refinery                                                                                     18287/PSD-TX-730-M4. Note: STEERS would not allow
        114161                        09/15/2008 18:30    10/04/2008 1:00    438:30                                                          Flange Flash                        NOX                1.00         0.00                                                                     already counted
                 001163                                                                authorized                   Operating Units                                                                                     submittal of just one report because it exceeded the CCEDS
                                                                                                                                                 Fire
                                                                                                                                                                                                                        requirements. The STEERS contact (Jim Drozd) recommended
                                                                                                                                                                                                                        we submit two reports. A previous submitted report with
                                                                                                                                                                                                                        Incident Tracking Number 114157 contains the balance of
424                                                                                                                                                                                                                     information for this startup event.
                                                                                                                                                                                                                        Scheduled startup due to shutdown for Hurricane Ike. This
                                                                                                                                                                                                                        initial STEERS initial report is based on September 2005
                                                                                                                                                                                                                        refinery startup after shutdown due to approach of hurricane.
                                                                                                                                                                                                                        Portions of the refinery are permitted under Permit
                 ETSC 001156 -                                                         Permit #18287 & PSD-TX-     Baytown Refinery                                                                                     18287/PSD-TX-730-M4. Note: STEERS would not allow
        114161                        09/15/2008 18:30    10/04/2008 1:00    438:30                                                            Flare 11          FLARE11         NOX            911.00      1,914.29                                                                      already counted
                 001163                                                                730M4                        Operating Units                                                                                     submittal of just one report because it exceeded the CCEDS
                                                                                                                                                                                                                        requirements. The STEERS contact (Jim Drozd) recommended
                                                                                                                                                                                                                        we submit two reports. A previous submitted report with
                                                                                                                                                                                                                        Incident Tracking Number 114157 contains the balance of
425                                                                                                                                                                                                                     information for this startup event.
                                                                                                                                                                                                                        Scheduled startup due to shutdown for Hurricane Ike. This
                                                                                                                                                                                                                        initial STEERS initial report is based on September 2005
                                                                                                                                                                                                                        refinery startup after shutdown due to approach of hurricane.
                                                                                                                                                                                                                        Portions of the refinery are permitted under Permit
                 ETSC 001156 -                                                         Permit #18287 & PSD-TX-     Baytown Refinery                                                                                     18287/PSD-TX-730-M4. Note: STEERS would not allow
        114161                        09/15/2008 18:30    10/04/2008 1:00    438:30                                                            Flare 18          FLARE18         NOX               71.00    1,914.29                                                                      already counted
                 001163                                                                730M4                        Operating Units                                                                                     submittal of just one report because it exceeded the CCEDS
                                                                                                                                                                                                                        requirements. The STEERS contact (Jim Drozd) recommended
                                                                                                                                                                                                                        we submit two reports. A previous submitted report with
                                                                                                                                                                                                                        Incident Tracking Number 114157 contains the balance of
426                                                                                                                                                                                                                     information for this startup event.
         A                B                  C                  D              E                   F                        G                   H             I            J           K            L                                        M                                        N                O
                  Bates # of first                                                                                                                                                  Amount     Reported
      Tracking                                                              Duration                                                       Emission                                                                                                                            Number of Days     Traceability
                   page of Final     Start Date & Time   End Date & Time                   Authorization                  Unit                               EPN      Contaminant   Released   Emission                                   Cause
      Number                                                                 (h:mm)                                                         Point                                                                                                                                of Violation        Codes
 2                   STEERS                                                                                                                                                           (lbs)  Limit (lbs/hr)
                                                                                                                                                                                                               Scheduled startup due to shutdown for Hurricane Ike. This
                                                                                                                                                                                                               initial STEERS initial report is based on September 2005
                                                                                                                                                                                                               refinery startup after shutdown due to approach of hurricane.
                                                                                                                                                                                                               Portions of the refinery are permitted under Permit
                 ETSC 001156 -                                                         Permit #18287 & PSD-TX-      Baytown Refinery                                                                           18287/PSD-TX-730-M4. Note: STEERS would not allow
        114161                        09/15/2008 18:30    10/04/2008 1:00    438:30                                                          Flare 21      FLARE21       NOX          2,092.00      1,914.29                                                                    already counted
                 001163                                                                730M4                         Operating Units                                                                           submittal of just one report because it exceeded the CCEDS
                                                                                                                                                                                                               requirements. The STEERS contact (Jim Drozd) recommended
                                                                                                                                                                                                               we submit two reports. A previous submitted report with
                                                                                                                                                                                                               Incident Tracking Number 114157 contains the balance of
427                                                                                                                                                                                                            information for this startup event.
                                                                                                                                                                                                               Scheduled startup due to shutdown for Hurricane Ike. This
                                                                                                                                                                                                               initial STEERS initial report is based on September 2005
                                                                                                                                                                                                               refinery startup after shutdown due to approach of hurricane.
                                                                                                                                                                                                               Portions of the refinery are permitted under Permit
                 ETSC 001156 -                                                         Permit #18287 & PSD-TX-      Baytown Refinery                                                                           18287/PSD-TX-730-M4. Note: STEERS would not allow
        114161                        09/15/2008 18:30    10/04/2008 1:00    438:30                                                       Flare Stack 26     FS26        NOX                1.00    1,914.29                                                                    already counted
                 001163                                                                730M4                         Operating Units                                                                           submittal of just one report because it exceeded the CCEDS
                                                                                                                                                                                                               requirements. The STEERS contact (Jim Drozd) recommended
                                                                                                                                                                                                               we submit two reports. A previous submitted report with
                                                                                                                                                                                                               Incident Tracking Number 114157 contains the balance of
428                                                                                                                                                                                                            information for this startup event.
                                                                                                                                                                                                               Scheduled startup due to shutdown for Hurricane Ike. This
                                                                                                                                                                                                               initial STEERS initial report is based on September 2005
                                                                                                                                                                                                               refinery startup after shutdown due to approach of hurricane.
                                                                                                                                                                                                               Portions of the refinery are permitted under Permit
                 ETSC 001156 -                                                         Permit #18287 & PSD-TX-      Baytown Refinery                                                                           18287/PSD-TX-730-M4. Note: STEERS would not allow
        114161                        09/15/2008 18:30    10/04/2008 1:00    438:30                                                          Flare 14      FLARE14       NOX          2,092.00      1,914.29                                                                    already counted
                 001163                                                                730M4                         Operating Units                                                                           submittal of just one report because it exceeded the CCEDS
                                                                                                                                                                                                               requirements. The STEERS contact (Jim Drozd) recommended
                                                                                                                                                                                                               we submit two reports. A previous submitted report with
                                                                                                                                                                                                               Incident Tracking Number 114157 contains the balance of
429                                                                                                                                                                                                            information for this startup event.
                                                                                                                                                                                                               Scheduled startup due to shutdown for Hurricane Ike. This
                                                                                                                                                                                                               initial STEERS initial report is based on September 2005
                                                                                                                                                                                                               refinery startup after shutdown due to approach of hurricane.
                                                                                                                                                                                                               Portions of the refinery are permitted under Permit
                 ETSC 001156 -                                                         Permit #18287 & PSD-TX-      Baytown Refinery                                                                           18287/PSD-TX-730-M4. Note: STEERS would not allow
        114161                        09/15/2008 18:30    10/04/2008 1:00    438:30                                                          Flare 16      FLARE16       NOX                1.00    1,914.29                                                                    already counted
                 001163                                                                730M4                         Operating Units                                                                           submittal of just one report because it exceeded the CCEDS
                                                                                                                                                                                                               requirements. The STEERS contact (Jim Drozd) recommended
                                                                                                                                                                                                               we submit two reports. A previous submitted report with
                                                                                                                                                                                                               Incident Tracking Number 114157 contains the balance of
430                                                                                                                                                                                                            information for this startup event.
                                                                                                                                                                                                               Scheduled startup due to shutdown for Hurricane Ike. This
                                                                                                                                                                                                               initial STEERS initial report is based on September 2005
                                                                                                                                                                                                               refinery startup after shutdown due to approach of hurricane.
                                                                                                                                                                                                               Portions of the refinery are permitted under Permit
                 ETSC 001156 -                                                         Permit #18287 & PSD-TX-      Baytown Refinery                                                                           18287/PSD-TX-730-M4. Note: STEERS would not allow
        114161                        09/15/2008 18:30    10/04/2008 1:00    438:30                                                          Flare 17      FLARE17       NOX          1,956.00      1,914.29                                                                    already counted
                 001163                                                                730M4                         Operating Units                                                                           submittal of just one report because it exceeded the CCEDS
                                                                                                                                                                                                               requirements. The STEERS contact (Jim Drozd) recommended
                                                                                                                                                                                                               we submit two reports. A previous submitted report with
                                                                                                                                                                                                               Incident Tracking Number 114157 contains the balance of
431                                                                                                                                                                                                            information for this startup event.
                                                                                                                                                                                                               Scheduled startup due to shutdown for Hurricane Ike. This
                                                                                                                                                                                                               initial STEERS initial report is based on September 2005
                                                                                                                                                                                                               refinery startup after shutdown due to approach of hurricane.
                                                                                                                                                                                                               Portions of the refinery are permitted under Permit
                 ETSC 001156 -                                                         Permit #18287 & PSD-TX-      Baytown Refinery                                                                           18287/PSD-TX-730-M4. Note: STEERS would not allow
        114161                        09/15/2008 18:30    10/04/2008 1:00    438:30                                                          Flare 6        FLARE6       NOX            451.00      1,914.29                                                                    already counted
                 001163                                                                730M4                         Operating Units                                                                           submittal of just one report because it exceeded the CCEDS
                                                                                                                                                                                                               requirements. The STEERS contact (Jim Drozd) recommended
                                                                                                                                                                                                               we submit two reports. A previous submitted report with
                                                                                                                                                                                                               Incident Tracking Number 114157 contains the balance of
432                                                                                                                                                                                                            information for this startup event.
                                                                                                                                                                                                               FCCU3 CO Boiler A tripped offline while B Boiler was down for
                 ETSC 001197 -                                                         Not specifically           Fluid Catalytic Cracking FCCU3 Wet Gas
        123795                         05/04/2009 8:41   05/05/2009 17:05    32:24                                                                         FCCU3WGS      NOX            502.00      1775.47    maintenance. Portions of FCCU3 unit are authorized under         already counted
                 001198                                                                authorized                          Unit 3             Scrubber
433                                                                                                                                                                                                            Flexible PAL Permit #18287/PSD-TX-730M4.
                 EOMCS 00024373 -                                                      not specifically                                                                                                        HCU1 shut down. Portions of the units are authorized by
        124215                        05/12/2009 15:46   05/15/2009 20:48    77:02                                 Hydrocracker Unit 1       Flare 14      FLARE14       NOX            285.00      1914.29                                                                     already counted
434              000024382                                                             authorized                                                                                                              Permit #18287/PSD-TX-730.
                 EOMCS 00024373 -                                                      Not specifically                                                                                                        HCU1 shut down. Portions of the units are authorized by
        124215                        05/12/2009 15:46   05/15/2009 20:48    77:02                                 Hydrocracker Unit 1       Flare 3        FLARE3       NOX                3.00    1914.29                                                                     already counted
435              000024382                                                             authorized                                                                                                              Permit #18287/PSD-TX-730.
                 EOMCS 00024373 -                                                                                                                                                                              HCU1 shut down. Portions of the units are authorized by
        124215                        05/12/2009 15:46   05/15/2009 20:48    77:02     34 lbs are authorized       Hydrocracker Unit 1       Flare 4        FLARE4       NOX               34.00    1914.29                                                                     already counted
436              000024382                                                                                                                                                                                     Permit #18287/PSD-TX-730.
                 EOMCS 00024373 -                                                      Not specifically                                                                                                        HCU1 shut down. Portions of the units are authorized by
        124215                        05/12/2009 15:46   05/15/2009 20:48    77:02                                 Hydrocracker Unit 1    Flare Stack 5      FS5         NOX                3.00    1914.29                                                                     already counted
437              000024382                                                             authorized                                                                                                              Permit #18287/PSD-TX-730.
                 EOMCS 00024373 -                                                                                                                                                                              HCU1 shut down. Portions of the units are authorized by
        124215                        05/12/2009 15:46   05/15/2009 20:48    77:02                                 Hydrocracker Unit 1       Flare 6        FLARE6       NOX                3.00    1914.29                                                                     already counted
438              000024382                                                                                                                                                                                     Permit #18287/PSD-TX-730.
                                                                                                                                                                                                               Failure of cooling tower supply header caused shutdown of
                                                                                                                                                                                                               Propane Dewaxing Unit and Lube Deasphalting Unit.
                 ETSC 001201 -                                                         Not specifically
        124761                        05/26/2009 23:40   05/28/2009 13:57    38:17                                    Dewaxing Unit          Flare 16        FS16        NOX               56.00    1775.47    Shutdown and subsequent unit clearing caused flaring.            already counted
                 001202                                                                authorized
                                                                                                                                                                                                               Portions of the Refinery are authorized under Flexible PAL
439                                                                                                                                                                                                            Permit #18287/PSD-TX-730M4.
                 ETSC 001203 -                                                         Not specifically                                                                                                        HCU1 shut down. Portions of the units are authorized by
        125757                        06/17/2009 14:45   06/17/2009 17:00     2:15                                 Hydrocracker Unit 1       Flare 11      FLARE11       NOX                1.00    1775.47                                                                     already counted
440              001209                                                                authorized                                                                                                              Permit #18287/PSD-TX-730.
                 ETSC 001203 -                                                         Not specifically                                                                                                        HCU1 shut down. Portions of the units are authorized by
        125757                        06/17/2009 14:45   06/17/2009 17:00     2:15                                 Hydrocracker Unit 1       Flare 14      FLARE14       NOX                2.00    1775.47                                                                     already counted
441              001209                                                                authorized                                                                                                              Permit #18287/PSD-TX-730.
                 ETSC 001203 -                                                         Not specifically                                                                                                        HCU1 shut down. Portions of the units are authorized by
        125757                        06/17/2009 14:45   06/17/2009 17:00     2:15                                 Hydrocracker Unit 1       Flare 17      FLARE17       NOX               24.00    1775.47                                                                     already counted
442              001209                                                                authorized                                                                                                              Permit #18287/PSD-TX-730.
                 ETSC 001203 -                                                         Not specifically                                                                                                        HCU1 shut down. Portions of the units are authorized by
        125757                        06/17/2009 14:45   06/17/2009 17:00     2:15                                 Hydrocracker Unit 1       Flare 20      FLARE20       NOX                1.00    1775.47                                                                     already counted
443              001209                                                                authorized                                                                                                              Permit #18287/PSD-TX-730.
                 ETSC 001203 -                                                         Not specifically                                                                                                        HCU1 shut down. Portions of the units are authorized by
        125757                        06/17/2009 14:45   06/17/2009 17:00     2:15                                 Hydrocracker Unit 1       Flare 3        FLARE3       NOX               33.00    1775.47                                                                     already counted
444              001209                                                                authorized                                                                                                              Permit #18287/PSD-TX-730.
                 ETSC 001203 -                                                         Not specifically                                                                                                        HCU1 shut down. Portions of the units are authorized by
        125757                        06/17/2009 14:45   06/17/2009 17:00     2:15                                 Hydrocracker Unit 1    Flare Stack 5      FS5         NOX                1.00    1775.47                                                                     already counted
445              001209                                                                authorized                                                                                                              Permit #18287/PSD-TX-730.
                 ETSC 001203 -                                                         Not specifically                                                                                                        HCU1 shut down. Portions of the units are authorized by
        125757                        06/17/2009 14:45   06/17/2009 17:00     2:15                                 Hydrocracker Unit 1       Flare 6        FLARE6       NOX               19.00    1775.47                                                                     already counted
446              001209                                                                authorized                                                                                                              Permit #18287/PSD-TX-730.
                                                                                       Portions of the refinery
                                                                                                                                                                                                            Flaring due to Flexicoker start-up after shut down. This event
               ETSC 001221 -                                                           are authorized by Permi
        126082                        06/25/2009 21:00    06/29/2009 3:46    78:46                                   Flexicoker (FXK)     Flare Stack 25     FL25        NOX                1.00    1775.47 has ended. Portions of the refinery are permitted under             already counted
               001223                                                                  #18287 & PSD-TX-
                                                                                                                                                                                                            Permit 18287/PSD-TX-730-M4.
447                                                                                    730M4
                                                                                       2255 lbs of the 3432 lbs
                                                                                                                                                                                                            Flaring due to Flexicoker start-up after shut down. This event
                 ETSC 001221 -                                                         are authorized by Permit
        126082                        06/25/2009 21:00    06/29/2009 3:46    78:46                                   Flexicoker (FXK)     Flare Stack 26     FL26        NOX          3,432.00      1775.47 has ended. Portions of the refinery are permitted under             already counted
                 001223                                                                # 18287 & PSD-TX-
                                                                                                                                                                                                            Permit 18287/PSD-TX-730-M4.
448                                                                                    730M4
                                                                                       Portions of the refinery
                                                                                                                                                                                                            Flaring due to Flexicoker start-up after shut down. This event
                 ETSC 001221 -                                                         are authorized by Permi
        126082                        06/25/2009 21:00    06/29/2009 3:46    78:46                                   Flexicoker (FXK)     Flare Stack 27     FL27        NOX                1.00    1775.47 has ended. Portions of the refinery are permitted under             already counted
                 001223                                                                #18287 & PSD-TX-
                                                                                                                                                                                                            Permit 18287/PSD-TX-730-M4.
449                                                                                    730M4
                                                                                                                                                                                                               As a result of a malfunctioning boiler feed water pump, the
                                                                                                                                           Flexicoker
               ETSC 001237 -                                                                                                                                                                                   Flexicoker waste heat boiler (WHB) was shut down causing
                                                                                       Not specifically           Flexicoker Waste Heat    Waste Heat
        128824 001238; EOMCS          08/30/2009 15:22    08/31/2009 1:57    10:35                                                                                       NOX            291.00          0.00   emissions to be released to the atmosphere through the           already counted
                                                                                       authorized                         Boiler          Boiler Bypass
               00232142 - 0023148                                                                                                                                                                              Flexicoker gas turbine generator WHB bypass stack. Portions
                                                                                                                                              Stack
450                                                                                                                                                                                                            of the refinery are authorized by PAL permit number 18287.
                                                                                                                                                                                                               Shutdown of compressor C-701 caused HCU1 to shutdown.
                 ETSC 001241 -                                                         Not specifically                                                                                                        Associated units temporarily reduced rates to minimize
        130563                         10/09/2009 6:37   10/09/2009 12:37     6:00                                 Hydrocracker Unit 1       Flare17       FLARE17       NOX            288.00      1914.29                                                                     already counted
                 001244                                                                permitted                                                                                                               emissions. Portions of this event may be authorized under
451                                                                                                                                                                                                            Permit 18287-PSD-TX-730-M4.
                                                                                                                                                                                                               Shutdown of compressor C-701 caused HCU1 to shutdown.
                 ETSC 001241 -                                                         Not specifically                                                                                                        Associated units temporarily reduced rates to minimize
        130563                         10/09/2009 6:37   10/09/2009 12:37     6:00                                 Hydrocracker Unit 1       Flare3          FL3         NOX               40.00    1914.29                                                                     already counted
                 001244                                                                authorized                                                                                                              emissions. Portions of this event may be authorized under
452                                                                                                                                                                                                            Permit 18287-PSD-TX-730-M4.
                                                                                                                                                                                                               Shutdown of compressor C-701 caused HCU1 to shutdown.
                 ETSC 001241 -                                                         Not specifically                                                                                                        Associated units temporarily reduced rates to minimize
        130563                         10/09/2009 6:37   10/09/2009 12:37     6:00                                 Hydrocracker Unit 1       Flare6          FL6         NOX               19.00    1914.29                                                                     already counted
                 001244                                                                authorized                                                                                                              emissions. Portions of this event may be authorized under
453                                                                                                                                                                                                            Permit 18287-PSD-TX-730-M4.
                                                                                       Portions may be
                 ETSC 001316 -                                                                                     Catalytic Light Ends                                                                        Flaring due to C-75 compressor trip. Portions of the unit
        142407                         07/15/2010 4:32   07/15/2010 10:07     5:35     authorized by Permit                               Flare Stack 20     FL20        NOX                7.60    1747.18                                                                     already counted
                 001322                                                                                              Unit 3 (CLEU3)                                                                            emissions are authorized by Permit #18287/PSD-TX-730.
454                                                                                    18287/PSD-TX-730M4
                                                                                       Portions may be
                 ETSC 001316 -                                                                                     Catalytic Light Ends                                                                        Flaring due to C-75 compressor trip. Portions of the unit
        142407                         07/15/2010 4:32   07/15/2010 10:07     5:35     authorized by Permit                               Flare Stack 29     FL29        NOX                1.58    1747.18                                                                     already counted
                 001322                                                                                              Unit 3 (CLEU3)                                                                            emissions are authorized by Permit #18287/PSD-TX-730.
455                                                                                    18287/PSD-TX-730M4
                                                                                       Portions may be
               ETSC 001316 -                                                                                       Catalytic Light Ends                                                                     Flaring due to C-75 compressor trip. Portions of the unit
        142407                         07/15/2010 4:32   07/15/2010 10:07     5:35     authorized by Permit                               Flare Stack 3      FL3         NOX               83.43    1747.18                                                                     already counted
               001322                                                                                                Unit 3 (CLEU3)                                                                         emissions are authorized by Permit #18287/PSD-TX-730.
456                                                                                    18287/PSD-TX-730M4
                                                                                       Portions may be
               ETSC 001316 -                                                                                       Catalytic Light Ends                                                                     Flaring due to C-75 compressor trip. Portions of the unit
        142407                         07/15/2010 4:32   07/15/2010 10:07     5:35     authorized by Permit                               Flare Stack 4    FLARE04       NOX               24.81    1747.18                                                                     already counted
               001322                                                                                                Unit 3 (CLEU3)                                                                         emissions are authorized by Permit #18287/PSD-TX-730.
457                                                                                    18287/PSD-TX-730M4
         A                 B                  C                  D              E                    F                        G                     H               I              J           K              L                                           M                                          N                O
                   Bates # of first                                                                                                                                                         Amount     Reported
      Tracking                                                               Duration                                                          Emission                                                                                                                                       Number of Days     Traceability
                    page of Final     Start Date & Time   End Date & Time                   Authorization                   Unit                                  EPN         Contaminant   Released   Emission                                        Cause
      Number                                                                  (h:mm)                                                            Point                                                                                                                                           of Violation        Codes
 2                    STEERS                                                                                                                                                                  (lbs)  Limit (lbs/hr)
                                                                                        Portions may be
                  ETSC 001316 -                                                                                     Catalytic Light Ends                                                                                    Flaring due to C-75 compressor trip. Portions of the unit
        142407                          07/15/2010 4:32   07/15/2010 10:07     5:35     authorized by Permit                                  Flare Stack 5        FL5           NOX            130.43         1747.18                                                                         already counted
                  001322                                                                                              Unit 3 (CLEU3)                                                                                        emissions are authorized by Permit #18287/PSD-TX-730.
458                                                                                     18287/PSD-TX-730M4
                                                                                        Portions may be
               ETSC 001316 -                                                                                        Catalytic Light Ends                                                                               Flaring due to C-75 compressor trip. Portions of the unit
        142407                          07/15/2010 4:32   07/15/2010 10:07     5:35     authorized by Permit                                  Flare Stack 6        FL6           NOX               31.49       1747.18                                                                         already counted
               001322                                                                                                 Unit 3 (CLEU3)                                                                                   emissions are authorized by Permit #18287/PSD-TX-730.
459                                                                                     18287/PSD-TX-730M4
                                                                                        Portions are authorized                                                                                                             Emissions due to loss of flexicoker fractionator bottoms flow.
               ETSC 068131 -
        160475                           10/12/11 3:44     10/14/11 13:59     58:15     under Permit                     Flexicoker           Flare Stack 26    FLARE 26         NOX         897.47        1747.18          Portions of emissions are authorized by Permit #18287/PSD-         already counted
               068132
460                                                                                     #18287/PSD-TX-730                                                                                                                   TX-730M4/PAL7.
                                                                                        Portions may be                                                                                                                     Compressor trip resulted in unit shutdown, causing
                  ETSC 072655 -                                                         authorized under Permit     Hydrocracking Unit 1                                                                                    subsequent emissions and flaring. Portions of the unit
        168050                           5/1/12 17:39        5/2/12 2:29       8:50                                                           Flare Stack 14     FLARE14         NOX          46.50        1747.18                                                                             already counted
                  072658                                                                18287/PSD-TX-                     (HCU1)                                                                                            emissions are authorized by Permit #18287/PSD-TX-
461                                                                                     730M4/PAL7.                                                                                                                         730M4/PAL7.
                                                                                        4.08 lbs of the total
                  ETSC 072911 -                                                         160.61 lbs are                                                                                                                      Compressor trip resulted in an atmospheric release at a HCU1
        178267                           1/21/13 3:37       1/22/13 19:00     39:23                                 Hydrocracking Unit 1      Flare Stack 14     FLARE14          NOx        156.53        1,747.18                                                                            already counted
                  072914                                                                authorized under permit                                                                                                             safety vent and safe utilization of the flare system.
462                                                                                     18287/PSD-TX-730M4.
463                                                                                                                                                                                                                                                                        SUBTOTAL of NOX          181              172
                                                                                                                                                                                                                            Paint cans and wood-based material caught fire inside the
                  ETSC 000776 -                                                         Not specifically                                      Tank 801 fire                                                                 firewall of Tank 801. The minor fire only burned painting
          72945                          3/14/06 17:30      3/14/06 17:50      0:20                                   Oil Movements                                             OPACITY       100.00%                0.00                                                                            1               S, H
                  000777                                                                authorized                                                wall                                                                      supplies and was put out minutes later. The ignition source
464                                                                                                                                                                                                                         was not determined.
                                                                                                                                                                                                                            Fire at Electrical Substation #5, servicing the lubes plant.
                                                                                                                                                                                                                            Resulted in trip of East Loop Flare Gas Recovery Compressor
                                                                                                                                              Substation 5 -                                                                and subsequent flaring off of the East Loop Flare Systems.
                  ETSC 000842 -                                                         Not specifically            Substation 5 & East       Transformers                                                                  Material routed to the flare included flows from MEK, LDU,
          74965                          4/25/06 21:45      4/26/06 21:31     23:46                                                                                             OPACITY       100.00%               0.00%                                                                            1               S, H
                  000844                                                                authorized                   Loop Flare System        T501, T502 &                                                                  PDU & LHU2 units. VOC from substation is petroleum
                                                                                                                                                  T503                                                                      distillates. This report is being submitted as part of the
                                                                                                                                                                                                                            interim agreement with TCEQ Region 12. Portions of the
465                                                                                                                                                                                                                         Refinery are permitted under Permit #18287.
                                                                                                                                                                                                                            Bearing failure in pump P-2 caused the engine to overheat
                  ETSC 000840 -                                                         Not specifically
          75191                          5/1/06 16:20       5/1/06 16:50       0:30                                   Cooling Tower 9           Pump P-2                        OPACITY       100.00%               0.00%   and smoke. No actual flame was present. Portions of Cooling              1               S, H
                  000841                                                                authorized
466                                                                                                                                                                                                                         Tower 9 are covered under refinery permit 18287.
                                                                                                                                                                                                                            Product stripper tower T-276 developed a pinhole leak. The
                                                                                                                                                                                                                            leak was likely caused by corrosion/erosion. There was a small
                                                                                                                                                                                                                            intermittent fire and release of process gas oil (VOC-PGO).
                  ETSC 001049 -                                                         Not specifically                                                                                                                    The small fire has ended and visible emissions from the
          83410                          11/2/06 5:00       11/2/06 19:33     14:33                                       Gofiner 1           Tower T-276                       OPACITY       100.00%               0.00%                                                                            1               S, H
                  001050                                                                authorized                                                                                                                          pinhole have stopped. The VOC reported is C5 thru C8s. The
                                                                                                                                                                                                                            tower was isolated and repaired. Portions of Gofiner 1 are
                                                                                                                                                                                                                            permitted in Permit 18287 and an Interim Agreement with
467                                                                                                                                                                                                                         TCEQ.
                                                                                                                                                                                                                            A small fire was discovered on a line to F-601 furnace at the
                  ETSC 001039 -                                                         Not specifically           Lube Hydrofining Unit                                                                                    Lube Hydrofining Unit 1 (LHU1). The event has ended.
          84083                          11/20/06 1:00      11/20/06 4:00      3:00                                                             F601 Line      Fire on Line     OPACITY       100.00%               0.00%                                                                            1               S, H
                  001041                                                                authorized                          1                                                                                               Portions of the Lube Hydrifining Unit are covered under
468                                                                                                                                                                                                                         permit #18287.
                                                                                                                                                                                                                            A seal on a unit pump failed which resulted in a release of hot
                  ETSC 001027 -                                                         Not specifically                                      Gofiner Unit 1
          85962                          1/11/07 20:25      1/11/07 21:10      0:45                                        Gofiner                               GF1FUG         OPACITY        80.00%               0.00%   gas oil vapors to the atmosphere. Portions of the Gofiner Unit           1               S, H
                  001028                                                                authorized                                              Fugitives
469                                                                                                                                                                                                                         are covered under Permit 18287-PSD-TX-730-M4.
                                                                                                                                                                                                                            A reactor was being air freed when material was released
                  ETSC 001126 -                                                                                                                                                                                             resulting in a fire. This event has ended. Portions of the HF3
        113088                         08/24/2008 15:30   08/24/2008 15:40     0:10     30 TAC 111                     Hydroformer 3          Reactor Vent     HF3RXVENT        OPACITY        95.00%             30.00%                                                                             1               S, H
                  001127                                                                                                                                                                                                    unit are authorized under Flexible PAL Permit #18287/PSD-TX-
470                                                                                                                                                                                                                         730M4/PAL.
                                                                                        Portions of the refinery                                                                                                            Excess opacity observed from furnace as unit began to start
                  ETSC 072689 -
        126110                          06/28/2009 6:00    06/28/2009 6:12     0:12     are authorized by Permi           Pipestill 8         Furnace 801        PS8F801        OPACITY        85.00%               0.00%   up after shut down. Portions of the refinery are authorized by           1               S, H
                  072690
471                                                                                     #18287 & PSD-TX-730                                                                                                                 Permit #18287/PSD-TX-730.
                                                                                                                    Hydrodesulfurization                                                                                    Furnace F702 experienced low combustion efficiency.
                     ETSC 072691 -
       138187                          04/10/2010 16:00   04/10/2010 16:30     0:30     30 TAC 111                  Unit 1 Furnace F702          HDU-1          HDU1F702        Opacity        60.00%                0.30   Portions of the Furnace F702 emissions are authorized by                 1               S, H
                        072692
472                                                                                                                     (HDU1F702)                                                                                          Permit #18287/PSD-TX-730. Event has ended.
                                                                                                                                                                                                                            Opacity exceedance from Furnace B2 at Lubes Extraction Unit
                     ETSC 001349 -                                                      Not specifically           Lubes Extraction Unit                                                                                    2 while bringing unit down for pinhole leak. Portions of the
       149712                           01/22/2011 6:00    01/22/2011 7:20     1:20                                                            Furnace B2          NA           Opacity       100.00%               0.00%                                                                            1               S, H
                        001350                                                          authorized                        2, LXU2                                                                                           refinery emissions may be authorized by Permit #18287/PSD-
473                                                                                                                                                                                                                         TX-730M4/PAL7. Event has ended.
                                                                                        Opacity occurred                                                                                                                    Opacity occurred at Flares 11 and 14 intermittently for 15
                  ETSC 068127 -                                                                                   Fluid Catalytic Cracking
        159551                           9/22/11 11:28      9/22/11 11:43      0:15     intermittently over a 15                                 Flare 11       FLARE 11        Opacity      100.00%         0.00           minutes. Portions of the unit emissions are authorized by                1              F, S, H
                  068128                                                                                               Unit 3 (FCCU3)
474                                                                                     minute duration                                                                                                                     Permit #18287/PSD-TX-730.
                                                                                        Portions are authorized
                                                                                                                                                                                                                            Opacity due to unplanned combustion event at pump slab
                     ETSC 068129 -                                                      under Permit                                           Pump Slab
       160029                            10/3/11 14:13      10/3/11 14:23      0:10                               Oil Movements Area 3                                          Opacity      85.00%        30.00%           sample point. Portions of these emissions are authorized by              1               S, H
                        068130                                                          #18287/PSD-TX-                                        Sample Point
                                                                                                                                                                                                                            Permit #18287/PSD-TX-730M4/PAL7. The event has ended.
475                                                                                     730M4/PAL7
                                                                                        Opacity occurred                                                                                                                    Opacity occurred at Flares 6 and 6 intermittently for 8
                  ETSC 068646 -
        167161                           4/12/12 16:30      4/12/12 16:38      0:08     intermittently over an 8                                 Flare 5           FL5          Opacity      100.00%         0.00           minutes. Portions of the unit emissions are authorized by                1              F, S, H
                  068647
476                                                                                     minute duration                                                                                                                     Permit #18287/PSD-TX-730M4/PAL7.
                                                                                        Opacity occurred                                                                                                                    Opacity occurred at Flares 6 and 6 intermittently for 8
               ETSC 068646 -
        167161                           4/12/12 16:30      4/12/12 16:38      0:08     intermittently over an 8                                 Flare 6           FL6          Opacity      100.00%         0.00           minutes. Portions of the unit emissions are authorized by                1              F, S, H
               068647
477                                                                                     minute duration                                                                                                                     Permit #18287/PSD-TX-730M4/PAL7.
                                                                                        Opacity occurred                                                                                                                    Opacity occurred at Flare Stack 16 intermittently for 15
                     ETSC 072921 -                                                                                  Propane Dewaxing
       180113                            3/6/13 10:57       3/6/13 11:12       0:15     intermittently over a 15                              Flare Stack 16     FLARE16        Opacity      100.00%        0.00%           minutes due to failure of the steam regulator to automatically           1              F, S, H
                        072922                                                                                              Unit
478                                                                                     minute duration                                                                                                                     open.
                                                                                        Opacity was from 6:30
               ETSC 073046 -
        182695                           5/11/13 6:30       5/11/13 11:21      4:51     to 6:45. Not specifically     Hydroformer 3              Flange                         Opacity       100.00%                0.00 Flange leak on inlet line to Reactor 3                                     1               S, H
               073047
479                                                                                     authorized.
                                                                                                                                                                                                                            Boilers A/B/C tripped off-line. Portions of the FCCU3 unit are
               ETSC 001091 -                                                                                       Fluid Catalytic Cracking
        106703                         04/22/2008 11:02   04/23/2008 16:21    29:19     30 TAC 111(a)(C)                                      Bypass Stack     Bypass Stack     OPACITY        50.00%             15.00%    authorized under Flexible PAL Permit #18287/PSD-TX-                      2               S, H
               001092                                                                                                       Unit 3
480                                                                                                                                                                                                                         730M4/PAL.
                                                                                                                                                                                                                            CO Boiler SG501A tripped offline. Hourly emissions returned
                                                                                                                                                                                                                            to normal by 6/22/09 18:40, but the 24-hr rolling average for
                  ETSC 001210 -                                                         Not specifically           Fluid Catalytic Cracking    Fan FD-520
        125838                          06/21/2009 9:24   06/22/2009 18:40    33:16                                                                                             OPACITY        20.00%               0.00%   carbon monoxide stayed above the 400 ppm limit set in 30                 2               S, H
                  001211                                                                authorized                          Unit 3               Motor,
                                                                                                                                                                                                                            TAC Chapter 117 until 6/22/09 21:00. Portions of FCCU3 are
481                                                                                                                                                                                                                         authorized under Flexible PAL Permit #18287/PSD-TX-730M4.
                                                                                                                                                                                                                            These incremental startup emissions are due to Hurricane Ike-
                                                                                                                                                                                                                            related fouling of SCU2. The fouling resulted in acid gas being
                                                                                                                                                                                                                            temporarily rerouted to flares and incinerators. Emissions
                  ETSC 001164 -                                                         Permit #18287 & PSD-TX-                                                                                                             from other refinery EPNs are consistent with the two earlier
        114755                         09/28/2008 11:00    10/04/2008 1:00    134:00                            Base Sour Water Unit             Flare 6         FLARE6         OPACITY       100.00%                0.00                                                                            6              F, S, H
                  001166                                                                730M4                                                                                                                               hurricane startup reports (Incident tracking numbers 114161
                                                                                                                                                                                                                            and 114157). Emissions are included in STEERS 114161 and
                                                                                                                                                                                                                            114157 STARTUP. Portions of the refinery are permitted
482                                                                                                                                                                                                                         under Permit 18287/PSD-TX-730M4.
                                                                                                                                                                                                                            The MEA Tower System had a leaking exchanger that resulted
                                                                                                                                                                                                                            in increased levels of H2S in the blend gas system and in Tank
                                                                                                                                                                                                                            501. Each fuel gas combustion device in the Fuels North area
                                                                                                                                              Fuels North                                                                   potentially received the hydrogen sulfide containing material.
                  ETSC 001057 -                                                         Not specifically
          82898                          10/20/06 3:00     10/28/06 12:00     201:00                                    Fuels North           Combustion       FNCOMBDV         OPACITY       100.00%               0.00%   The possible emission sources are: HSK:                                  9               S, H
                  001058                                                                authorized
                                                                                                                                                Devices                                                                     F901/926/701/801/802/803/804/ 401/402/403/404/405
                                                                                                                                                                                                                            HDS: F301/201/227/703 FXK: F301/WHB301 Portions of the
                                                                                                                                                                                                                            Refinery are authorized under permit 18287 and PSD-TX-
483                                                                                                                                                                                                                         730M3.
                                                                                                                                                                                                                            These incremental startup emissions are due to Hurricane Ike-
                                                                                                                                                                                                                            related fouling of SCU2. The fouling resulted in acid gas being
                                                                                                                                                                                                                            temporarily rerouted to flares and incinerators. Emissions
                  ETSC 001164 -                                                         Permit #18287 & PSD-TX-                                                                                                             from other refinery EPNs are consistent with the two earlier
        114755                         09/28/2008 11:00    10/04/2008 1:00    134:00                            Base Sour Water Unit             Flare 19        FLARE19        OPACITY       100.00%                0.00                                                                      already counted
                  001166                                                                730M4                                                                                                                               hurricane startup reports (Incident tracking numbers 114161
                                                                                                                                                                                                                            and 114157). Emissions are included in STEERS 114161 and
                                                                                                                                                                                                                            114157 STARTUP. Portions of the refinery are permitted
484                                                                                                                                                                                                                         under Permit 18287/PSD-TX-730M4.
                                                                                                                                                                                                                            These incremental startup emissions are due to Hurricane Ike-
                                                                                                                                                                                                                            related fouling of SCU2. The fouling resulted in acid gas being
                                                                                                                                                                                                                            temporarily rerouted to flares and incinerators. Emissions
                  ETSC 001164 -                                                         Permit #18287 & PSD-TX-                                                                                                             from other refinery EPNs are consistent with the two earlier
        114755                         09/28/2008 11:00    10/04/2008 1:00    134:00                            Base Sour Water Unit             Flare 22        FLARE22        OPACITY       100.00%                0.00                                                                      already counted
                  001166                                                                730M4                                                                                                                               hurricane startup reports (Incident tracking numbers 114161
                                                                                                                                                                                                                            and 114157). Emissions are included in STEERS 114161 and
                                                                                                                                                                                                                            114157 STARTUP. Portions of the refinery are permitted
485                                                                                                                                                                                                                         under Permit 18287/PSD-TX-730M4.
                                                                                                                                                                                                                            These incremental startup emissions are due to Hurricane Ike-
                                                                                                                                                                                                                            related fouling of SCU2. The fouling resulted in acid gas being
                                                                                                                                                                                                                            temporarily rerouted to flares and incinerators. Emissions
                  ETSC 001164 -                                                         Permit #18287 & PSD-TX- Sulfur Conversion Unit                                                                                      from other refinery EPNs are consistent with the two earlier
        114755                         09/28/2008 11:00    10/04/2008 1:00    134:00                                                           SCU2F529         SCU2F529        OPACITY       100.00%                0.00                                                                      already counted
                  001166                                                                730M4                             2                                                                                                 hurricane startup reports (Incident tracking numbers 114161
                                                                                                                                                                                                                            and 114157). Emissions are included in STEERS 114161 and
                                                                                                                                                                                                                            114157 STARTUP. Portions of the refinery are permitted
486                                                                                                                                                                                                                         under Permit 18287/PSD-TX-730M4.
         A                B                  C                  D              E                   F                         G                     H               I                 J               K              L                                           M                                           N                O
                  Bates # of first                                                                                                                                                                Amount     Reported
      Tracking                                                              Duration                                                           Emission                                                                                                                                              Number of Days     Traceability
                   page of Final     Start Date & Time   End Date & Time                   Authorization                   Unit                                  EPN          Contaminant         Released   Emission                                         Cause
      Number                                                                 (h:mm)                                                             Point                                                                                                                                                  of Violation        Codes
 2                   STEERS                                                                                                                                                                         (lbs)  Limit (lbs/hr)
                                                                                                                                                                                                                                  These incremental startup emissions are due to Hurricane Ike-
                                                                                                                                                                                                                                  related fouling of SCU2. The fouling resulted in acid gas being
                                                                                                                                                                                                                                  temporarily rerouted to flares and incinerators. Emissions
                 ETSC 001164 -                                                         Permit #18287 & PSD-TX- Sulfur Conversion Unit                                                                                             from other refinery EPNs are consistent with the two earlier
        114755                        09/28/2008 11:00    10/04/2008 1:00    134:00                                                            SCU2F702        SCU2F702          OPACITY             50.00%                0.00                                                                       already counted
                 001166                                                                730M4                             2                                                                                                        hurricane startup reports (Incident tracking numbers 114161
                                                                                                                                                                                                                                  and 114157). Emissions are included in STEERS 114161 and
                                                                                                                                                                                                                                  114157 STARTUP. Portions of the refinery are permitted
487                                                                                                                                                                                                                               under Permit 18287/PSD-TX-730M4.
                                                                                       Portions of the refinery                                                                                                                   Excess opacity observed from furnace as unit began to start
                 ETSC 072689 -
        126110                         06/28/2009 6:00    06/28/2009 6:12     0:12     are authorized by Permi         Pipestill 8            Furnace 802       PS8F802          OPACITY             85.00%               0.00%   up after shut down. Portions of the refinery are authorized by      already counted
                 072690
488                                                                                    #18287 & PSD-TX-730                                                                                                                        Permit #18287/PSD-TX-730.
                                                                                       Opacity occurred                                                                                                                           Opacity occurred at Flares 11 and 14 intermittently for 15
                 ETSC 068127 -                                                                                  Fluid Catalytic Cracking
        159551                          9/22/11 11:28      9/22/11 11:43      0:15     intermittently over a 15                                 Flare 14        FLARE 14          Opacity          100.00%         0.00           minutes. Portions of the unit emissions are authorized by           already counted
                 068128                                                                                              Unit 3 (FCCU3)
489                                                                                    minute duration                                                                                                                            Permit #18287/PSD-TX-730.
490                                                                                                                                                                                                                                                                        SUBTOTAL of OPACITY              35              35
                                                                                                                                                                                                                                  FCCU3 C Boiler tripped offline at 2:47 and again shortly after
                 ETSC 000736 -                                                         Not specifically           Fluid Catalytic Cracking     Wet Gas
         66438                          10/14/05 2:47     10/14/05 20:21     17:34                                                                                           Particulate Matter     1,271.00               0.00   start-up at noon. Cause of event currently under                          1               S, H
                 000737                                                                authorized                          Unit 3          Scrubber Bypass
491                                                                                                                                                                                                                               investigation.
                 ETSC 001184 -                                                         Not specifically           Fluid Catalytic Cracking   FCCU3 Bypass                                                                         CO Boiler SG501C tripped offline. Portions of the FCCU3 are
        121025                        03/06/2009 17:48   03/06/2009 20:31     2:43                                                                            Bypass Stack   Particulate Matter            9.00            0.00                                                                             1               S, H
492              001185                                                                authorized                          Unit 3               Stack                                                                             authorized under Flexible PAL Permit #18287/PSD-TX-730M4.
                                                                                                                                                                                                                                  Loss of oxygen to FCCU2. A portion of emissions are
               ETSC 001224 -                                                                                                                 FCCU2 Wet Gas
        126586                        07/08/2009 11:00   07/08/2009 12:00     1:00                                        FCCU2                                FCCU2WGS      Particulate Matter          55.00          554.40    authorized by Flex PAL Permit #18287/PSD-TX-730M-4.                       1               S, H
               001225                                                                                                                           Scrubber
493                                                                                                                                                                                                                               Calculations show emissions were below reportable quantity.
                                                                                                                                                                                                                                  A coupling on the common discharge header for the Wet Gas
                                                                                       1074.4 lb of the total
                                                                                                                                                                                                                                  Scrubber Recirculation Pumps (P-501's) developed a leak on
                 ETSC 001323 -                                                         1157.2 lbs are               Fluidized Catalytic      FCCU-3 Wet Gas
        143353                        08/09/2010 17:10   08/09/2010 18:31     1:21                                                                             FCCU3WGS      Particulate Matter          82.80          554.40    8/8/2010. The P-501's were shut down to install a temporary               1               S, H
                 001324                                                                authorized by Permit            Cracking Unit            Scrubber
                                                                                                                                                                                                                                  clamp. Portions of the unit emissions are authorized by
                                                                                       #18287/PSD-TX-730
494                                                                                                                                                                                                                               Permit #18287.PSD-TX10
                                                                                       166 lbs of total 166 lbs
                                                                                                                    Fluidized Catalytic                                                                                        Loss of oxygen to FCCU2 from third party supplier. Portions of
                 ETSC 001341 -                                                         are authorized by Flex                                FCCU2 Wet Gas
        146940                         11/02/2010 2:00    11/02/2010 5:00     3:00                                   Cracking Unit 2                           FCCU2WGS      Particulate Matter            0.00         554.40 emissions may be authorized by Flex PAL Permit #18287/PSD-                   1
                 001342                                                                PAL Permit #18287/PSD-                                   Scrubber
                                                                                                                          (FCCU2)                                                                                              TX-730M-4.
495                                                                                    TX-730M-4
                                                                                       675 lbs of total 675 bs
                 ETSC 073073 -                                                         are authorized under         Fluidized Catalytic      FCCU3 Wet Gas                                                                        FCCU3 Selective Catalytic Reduction (SCR) system tripped
        187800                          8/27/13 8:30       8/27/13 16:45      8:20                                                                             FCCU3WGS      Particulate Matter            0.00         570.71                                                                              1
                 073074                                                                Permit #18287/PSD-TX-          Cracking Unit 3           Scrubber                                                                          causing NOx emissions to increase.
496                                                                                    730M4/PAL7.
                                                                                                                                                                                                                                Boiler SG-501A boiler tripped offline and regenerator flue gas
                                                                                       Not specifically
                                                                                                                                                                                                                                was partially rerouted to the atmosphere. Regenerator flue
                                                                                       authorized. 500 ppm
                 ETSC 001053 -                                                                                  Fluid Catalytic Cracking       CO Boiler                                                                        gas from SG-501A also continued to be partially treated in the
         83379                          11/1/06 14:24      11/2/06 16:00     25:36     limit per 40 CFR 63.1565                                                              Particulate Matter          44.00             0.00                                                                             2               S, H
                 001054                                                                                                  Unit 3               Bypass Stack                                                                      Wet Gas Scrubber. The boiler was promptly returned to
                                                                                       (c)(1) and 400 ppm limit
                                                                                                                                                                                                                                service. The event has ended. The unit has returned to normal
                                                                                       per 30 TAC 117.206(e)(1)
497                                                                                                                                                                                                                             operations.
                                                                                                                                                                                                                                Boilers A/B/C tripped off-line. Portions of the FCCU3 unit are
                 ETSC 001091 -                                                         No specific emisions       Fluid Catalytic Cracking
        106703                        04/22/2008 11:02   04/23/2008 16:21    29:19                                                            Bypass Stack    Bypass Stack   Particulate Matter       803.00               0.00 authorized under Flexible PAL Permit #18287/PSD-TX-                         2               S, H
                 001092                                                                authorized                          Unit 3
498                                                                                                                                                                                                                             730M4/PAL.
                                                                                       2476 lbs of 2476 are
                                                                                                                                                                                                                               FCCU2 start up after planned shutdown for planned
                 ETSC 001180 -                                                         authorized by PAL          Fluid Catalytic Cracking FCCU2 Wet Gas
        120022                        02/13/2009 19:00   02/15/2009 16:00    45:00                                                                             FCCUWGS       Particulate Matter     2,476.00            554.40 maintenance. Portions of this unit are authorized by Flex PAL                2               S, H
                 001181                                                                Permit 18287/PSD-TX-                Unit 2             Scrubber
                                                                                                                                                                                                                               Permit #18287/PSD-TX-730M-4.
499                                                                                    730M4
                                                                                                                                                                                                                                  FCCU3 CO Boiler A tripped offline while B Boiler was down for
                 ETSC 001197 -                                                         Not specifically           Fluid Catalytic Cracking   FCCU3 Bypass     FCCU3 Bypass
        123795                         05/04/2009 8:41   05/05/2009 17:05    32:24                                                                                           Particulate Matter       503.00               0.00   maintenance. Portions of FCCU3 unit are authorized under                  2               S, H
                 001198                                                                authorized                          Unit 3               Stack            Stack
500                                                                                                                                                                                                                               Flexible PAL Permit #18287/PSD-TX-730M4.
                                                                                                                                                                                                                                  CO Boiler SG501A tripped offline. Hourly emissions returned
                                                                                                                                                                                                                                  to normal by 6/22/09 18:40, but the 24-hr rolling average for
                 ETSC 001210 -                                                         Not specifically           Fluid Catalytic Cracking   FCCU3 Bypass
        125838                         06/21/2009 9:24   06/22/2009 18:40    33:16                                                                            Bypass Stack   Particulate Matter            2.00            0.00   carbon monoxide stayed above the 400 ppm limit set in 30                  2               S, H
                 001211                                                                authorized                          Unit 3               Stack
                                                                                                                                                                                                                                  TAC Chapter 117 until 6/22/09 21:00. Portions of FCCU3 are
501                                                                                                                                                                                                                               authorized under Flexible PAL Permit #18287/PSD-TX-730M4.
                                                                                                                                                                                                                                  Startup FCCU3 from planned maintenance. Event ended on
                                                                                                                                                                                                                                  11/26/09 at 21:00, but the 24-hr rolling average for carbon
                 ETSC 001247 -                                                         Not specifically                                      FCCU3 Wet Gas
        132400                         11/25/2009 7:59   11/26/2009 21:00    37:01                                        FCCU3                                FCCU3WGS      Particulate Matter     1,384.00            554.40    monoxide stayed above the 400 ppm limit set in 30 TAC                     2               S, H
                 001248                                                                authorized                                               Scrubber
                                                                                                                                                                                                                                  Chapter 117 until 11/27/09 21:00. Portions of this unit are
502                                                                                                                                                                                                                               authorized by Flex PAL Permit #18287/PSD-TX-730M-4.
                                                                                                                                                                                                                                  Water ingress from a suspected exchanger leak at Tail Gas
                                                                                                                                                                                                                                  Cleanup Unit C lead to reduced treatment of tail gas at SCU2.
                 ETSC 001065 -                                                         Not specifically           Sulfur Conversion Unit                                                                                          Portions of the emissions from SCU2F702 and SCU2T601 were
        102061                         01/04/2008 5:10    01/08/2008 8:00    98:50                                                            Furnace 702      SCU2F702      Particulate Matter            6.00            0.00                                                                             5               S, H
                 001066                                                                authorized                           2                                                                                                     authorized under Flexible PAL Permit #18287/PSD-TX-730M.
                                                                                                                                                                                                                                  Also, flexible Permit #18287 SC30 authorized emissions from
503                                                                                                                                                                                                                               SCU2D702.
                                                                                                                                                                                                                                  Scheduled shutdown due to approach of Hurricane Ike.
                 ETSC 001132 -                                                         Permit #18287 & PSD-TX-      Baytown Refinery
        113887                        09/11/2008 12:00   09/15/2008 18:30    102:30                                                            SCU2 F-529      SCU2F529      Particulate Matter            1.00         571.11    Portions of the refinery are permitted under Permit                       5
                 001144                                                                730M4                         Operating Units
504                                                                                                                                                                                                                               18287/PSD-TX-730-M4.
                                                                                                                                                                                                                                  A malfunction of seal tank internals to the FCCU3 bypass stack
               ETSC 001103 -                                                           Not specifically           Fluid Catalytic Cracking   FCCU3 Bypass
        109166                        05/15/2008 17:00   07/25/2008 14:00    1701:00                                                                             FCCU3       Particulate Matter       369.00               0.00   caused emissions to escape through the stack. Portions of the             71              S, H
               001104                                                                  authorized                          Unit 3               Stack
505                                                                                                                                                                                                                               refinery are authorized by PAL permit number 18287.
                                                                                                                                                                                                                                  Scheduled shutdown due to approach of Hurricane Ike.
               ETSC 001132 -                                                           Not specifically           Fluid Catalytic Cracking   FCCU3 Bypass
        113887                        09/11/2008 12:00   09/15/2008 18:30    102:30                                                                           Bypass Stack   Particulate Matter          15.00             0.00   Portions of the refinery are permitted under Permit                 already counted
               001144                                                                  authorized                          Unit 3               Stack
506                                                                                                                                                                                                                               18287/PSD-TX-730-M4.
                 ETSC 001184 -                                                         Not specifically           Fluid Catalytic Cracking FCCU3 Wet Gas                                                                          CO Boiler SG501C tripped offline. Portions of the FCCU3 are
        121025                        03/06/2009 17:48   03/06/2009 20:31     2:43                                                                             FCCU3WGS      Particulate Matter          83.00          554.40                                                                        already counted
507              001185                                                                authorized                          Unit 3             Scrubber                                                                            authorized under Flexible PAL Permit #18287/PSD-TX-730M4.
                                                                                                                                                                                                                                  FCCU3 CO Boiler A tripped offline while B Boiler was down for
                 ETSC 001197 -                                                         Not specifically           Fluid Catalytic Cracking FCCU3 Wet Gas
        123795                         05/04/2009 8:41   05/05/2009 17:05    32:24                                                                             FCCU3WGS      Particulate Matter       118.00            554.40    maintenance. Portions of FCCU3 unit are authorized under            already counted
                 001198                                                                authorized                          Unit 3             Scrubber
508                                                                                                                                                                                                                               Flexible PAL Permit #18287/PSD-TX-730M4.
                                                                                                                                                                                                                                  CO Boiler SG501A tripped offline. Hourly emissions returned
                                                                                                                                                                                                                                  to normal by 6/22/09 18:40, but the 24-hr rolling average for
                 ETSC 001210 -                                                         Not specifically           Fluid Catalytic Cracking FCCU3 Wet Gas
        125838                         06/21/2009 9:24   06/22/2009 18:40    33:16                                                                             FCCU3WGS      Particulate Matter     1,087.00            554.40    carbon monoxide stayed above the 400 ppm limit set in 30            already counted
                 001211                                                                authorized                          Unit 3             Scrubber
                                                                                                                                                                                                                                  TAC Chapter 117 until 6/22/09 21:00. Portions of FCCU3 are
509                                                                                                                                                                                                                               authorized under Flexible PAL Permit #18287/PSD-TX-730M4.
                                                                                       393 LBS of total 393 LBS
                 ETSC 072917 -                                                         are authorized under     Fluid Catalytic Cracking                                                                                          CO Boiler trip resulted in emissions from the wet gas scrubber
        179694                          2/22/13 18:24      2/23/13 1:31       7:07                                                       Cat Regenerator       FCCU3WGS      PM (unspeciated)       0.00          570.71                                                                                    1
                 072918                                                                Permit #18287/PSD-TX-             Unit 3                                                                                                   at the Fluidized Catalytic Cracking Unit 3 (FCCU3).
510                                                                                    730M4/PAL7
               ETSC 073046 -                                                           Not specifically
        182695                          5/11/13 6:30       5/11/13 11:21      4:51                                  Hydroformer 3             Flange                         PM (unspeciated)              0.13            0.00 Flange leak on inlet line to Reactor 3                                      1
511            073047                                                                  authorized
512                                                                                                                                                                                                                                                                                     TOTAL - PM         101              92
                                                                                                                                                                                                                                  Equipment malfunction caused High H2S in the Low Btu Gas
                 ETSC 000991 -                                                         Not specifically             Low Btu Gas Fired         Low Btu Gas                                                                         (LBG)system. Portions of the refinery are authorized under
         87852                          3/2/07 12:15        3/3/07 4:42      16:27                                                                              LBGSRC             Sulfur                  0.81            0.00                                                                             1
                 000992                                                                authorized                       Sources               Fired Sources                                                                       permit 18287 and PSD-TX_730M3/PAL. Emissions were
513                                                                                                                                                                                                                               intermittent between 6:43pm 3/1/07 and 11/10am 3/2/07.
                                                                                                                                                                                                                                  Shift in power supply to Hydrofining Unit 9 (HU9) resulted in
                                                                                                                                                                                                                                  depressuring to D-500 atmospheric vent. HU9 diversion
                 ETSC 000947 -                                                         Not specifically
         96519                          8/23/07 20:13      8/24/07 1:07       4:54                                 Hydrofining Unit #9       Flare Stack 26      FS26              Sulfur                  0.30            0.00   resulted in flaring of Low Btu Gas normally used in HU9                   1
                 000949                                                                authorized
                                                                                                                                                                                                                                  furnaces. Portions of the BTRF Refinery are authorized by
514                                                                                                                                                                                                                               Flex/PAL Permit No. 18296
                 ETSC 000734 -                                                         Not specifically                                                                                                                           HF4 furnace maintenance resulting in flaring of Low BTU Gas
         66884                          11/1/05 8:51       11/2/05 13:46     28:55                                  Hydrofining Unit 4       Flare Stack 26      FS26              Sulfur                21.00             0.00                                                                             2
515              000735                                                                authorized                                                                                                                                 (LBG) normally consumed by the furnace.
                                                                                                                                                                                                                                  As a result of a malfunctioning boiler feed water pump, the
               ETSC 001237 -                                                                                                                                                                                                      Flexicoker waste heat boiler (WHB) was shut down causing
                                                                                       Not specifically           Flexicoker Waste Heat
        128824 001238; EOMCS          08/30/2009 15:22    08/31/2009 1:57    10:35                                                           Flare Stack 26      FL26        Sulfur Compounds              4.00            0.00   emissions to be released to the atmosphere through the                    1
                                                                                       authorized                         Boiler
               00232142 - 0023148                                                                                                                                                                                                 Flexicoker gas turbine generator WHB bypass stack. Portions
516                                                                                                                                                                                                                               of the refinery are authorized by PAL permit number 18287.
517                                                                                                                                                                                                                                                           SUBTOTAL of SULFUR COMPOUNDS                  5
                                                                                                                                                                                                                                  FCCU3 C Boiler tripped offline at 2:47 and again shortly after
                 ETSC 000736 -                                                         Not specifically           Fluid Catalytic Cracking     Wet Gas
         66438                          10/14/05 2:47     10/14/05 20:21     17:34                                                                                             Sulfur Dioxide      11,441.00               0.00   start-up at noon. Cause of event currently under                          1            O-RQ, R-RQ
                 000737                                                                authorized                          Unit 3          Scrubber Bypass
518                                                                                                                                                                                                                               investigation.
                                                                                                                                                                                                                                  During start-up of Hydrofining Unit 9, exceeded 3 hour 160
                                                                                                                                                                                                                                  ppm limit of H2S in fuel gas. This fuel gas is used at the
                 ETSC 000728 -                                                         Not specifically             Flexicoker Unit &
         68273                          11/21/05 5:57      11/21/05 7:43      1:46                                                              DCUF601         DCUF601        Sulfur Dioxide         634.00               0.00   Flexicoker Unit Furnace F-301 (FXKF301) & WHB-301                         1            O-RQ, R-RQ
                 000729                                                                authorized                  Delayed Coker Unit
                                                                                                                                                                                                                                  (FXKGTGWHB) and at the Delayed Coker Unit F-601 & F-602.
519                                                                                                                                                                                                                               These sources are listed in permit #18287.
                                                                                                                                                                                                                                  Paint cans and wood-based material caught fire inside the
                 ETSC 000776 -                                                         Not specifically                                       Tank 801 fire                                                                       firewall of Tank 801. The minor fire only burned painting
         72945                          3/14/06 17:30      3/14/06 17:50      0:20                                   Oil Movements                                             Sulfur Dioxide              0.02            0.00                                                                             1
                 000777                                                                authorized                                                 wall                                                                            supplies and was put out minutes later. The ignition source
520                                                                                                                                                                                                                               was not determined.
                                                                                                                                                                                                                                  Loss of MEA circulation on H2S scrubber tower T-854 causing
                                                                                                                                                                                                                                  Hydrogen Sulfide in the blend gas to exceed the NSPS J limit
                                                                                                                                                                                                                                  of 160 ppm over a 3 hour average. Each fuel gas combustion
                                                                                                                                              Multiple FN
                 ETSC 000770 -                                                         Permit #18287                 Fuels North Gas                                                                                              device in the Fuels North area potentially received the
         73875                          4/2/06 14:30       4/2/06 19:00       4:30                                                            Combustion                       Sulfur Dioxide      12,051.00        3,629.75                                                                                1            O-RQ, R-RQ
                 000771                                                                PSDTX730M3                       Treating                                                                                                  hydrogen sulfide containing material. The emission sources
                                                                                                                                                Devices
                                                                                                                                                                                                                                  are: F-
                                                                                                                                                                                                                                  801/802/803/804/410/402/403/404/405/301/926/901/701/2
521                                                                                                                                                                                                                               01/227/702/703.
         A                 B                  C                  D              E                   F                          G                     H               I               J             K               L                                           M                                         N               O
                   Bates # of first                                                                                                                                                             Amount     Reported
      Tracking                                                               Duration                                                            Emission                                                                                                                                          Number of Days   Traceability
                    page of Final     Start Date & Time   End Date & Time                   Authorization                    Unit                                  EPN         Contaminant      Released   Emission                                         Cause
      Number                                                                  (h:mm)                                                              Point                                                                                                                                              of Violation      Codes
 2                    STEERS                                                                                                                                                                      (lbs)  Limit (lbs/hr)
                                                                                                                                                                                                                                 Fire at Electrical Substation #5, servicing the lubes plant.
                                                                                                                                                                                                                                 Resulted in trip of East Loop Flare Gas Recovery Compressor
                                                                                                                                                                                                                                 and subsequent flaring off of the East Loop Flare Systems.
                  ETSC 000842 -                                                         Not specifically             Substation 5 & East                                                                                         Material routed to the flare included flows from MEK, LDU,
          74965                          4/25/06 21:45      4/26/06 21:31     23:46                                                               Flare 15        Flare15      Sulfur Dioxide       351.40             39.00                                                                             1                F
                  000844                                                                authorized                    Loop Flare System                                                                                          PDU & LHU2 units. VOC from substation is petroleum
                                                                                                                                                                                                                                 distillates. This report is being submitted as part of the
                                                                                                                                                                                                                                 interim agreement with TCEQ Region 12. Portions of the
522                                                                                                                                                                                                                              Refinery are permitted under Permit #18287.
                                                                                                                                                                                                                                 Product stripper tower T-276 developed a pinhole leak. The
                                                                                                                                                                                                                                 leak was likely caused by corrosion/erosion. There was a small
                                                                                                                                                                                                                                 intermittent fire and release of process gas oil (VOC-PGO).
                  ETSC 001049 -                                                         Not specifically                                                                                                                         The small fire has ended and visible emissions from the
          83410                          11/2/06 5:00       11/2/06 19:33     14:33                                        Gofiner 1            Tower T-276                    Sulfur Dioxide          56.00              0.00                                                                           1
                  001050                                                                authorized                                                                                                                               pinhole have stopped. The VOC reported is C5 thru C8s. The
                                                                                                                                                                                                                                 tower was isolated and repaired. Portions of Gofiner 1 are
                                                                                                                                                                                                                                 permitted in Permit 18287 and an Interim Agreement with
523                                                                                                                                                                                                                              TCEQ.
                                                                                                                                                                                                                                 A small fire was discovered on a line to F-601 furnace at the
                  ETSC 001039 -                                                         Not specifically            Lube Hydrofining Unit                                                                                        Lube Hydrofining Unit 1 (LHU1). The event has ended.
          84083                          11/20/06 1:00      11/20/06 4:00      3:00                                                              F601 Line      Fire on Line   Sulfur Dioxide          87.00              0.00                                                                           1
                  001041                                                                authorized                           1                                                                                                   Portions of the Lube Hydrifining Unit are covered under
524                                                                                                                                                                                                                              permit #18287.
                                                                                                                                                                                                                                 Equipment malfunction caused High H2S in the Low Btu Gas
                                                                                        Emission limit 160 ppm
                  ETSC 000991 -                                                                                       Low Btu Gas Fired         Low Btu Gas                                                                      (LBG)system. Portions of the refinery are authorized under
          87852                          3/2/07 12:15        3/3/07 4:42      16:27     H2S 3-hour average                                                        LBGSRC       Sulfur Dioxide    11,294.00                0.00                                                                           1           O-RQ, R-RQ
                  000992                                                                                                  Sources               Fired Sources                                                                    permit 18287 and PSD-TX_730M3/PAL. Emissions were
                                                                                        (NSPS J)
525                                                                                                                                                                                                                              intermittent between 6:43pm 3/1/07 and 11/10am 3/2/07.
                                                                                                                                                                                                                                 Shift in power supply to Hydrofining Unit 9 (HU9) resulted in
                                                                                                                                                                                                                                 depressuring to D-500 atmospheric vent. HU9 diversion
                  ETSC 000947 -                                                         Not specifically
          96519                          8/23/07 20:13      8/24/07 1:07       4:54                                  Hydrofining Unit #9          Flare 14        FLARE14      Sulfur Dioxide            6.60             0.00   resulted in flaring of Low Btu Gas normally used in HU9                 1                F
                  000949                                                                authorized
                                                                                                                                                                                                                                 furnaces. Portions of the BTRF Refinery are authorized by
526                                                                                                                                                                                                                              Flex/PAL Permit No. 18292
                                                                                                                                                                                                                                 A reactor was being air freed when material was released
                  ETSC 001126 -                                                         Not specifically                                                                                                                         resulting in a fire. This event has ended. Portions of the HF3
        113088                         08/24/2008 15:30   08/24/2008 15:40     0:10                                     Hydroformer 3           Reactor Vent    HF3RXVENT      Sulfur Dioxide            0.10             0.00                                                                           1
                  001127                                                                authorized                                                                                                                               unit are authorized under Flexible PAL Permit #18287/PSD-TX-
527                                                                                                                                                                                                                              730M4/PAL.
               ETSC 001184 -                                                            Not specifically            Fluid Catalytic Cracking   FCCU3 Bypass                                                                      CO Boiler SG501C tripped offline. Portions of the FCCU3 are
        121025                         03/06/2009 17:48   03/06/2009 20:31     2:43                                                                             Bypass Stack   Sulfur Dioxide       171.00                0.00                                                                           1
528            001185                                                                   authorized                           Unit 3               Stack                                                                          authorized under Flexible PAL Permit #18287/PSD-TX-730M4.
               ETSC 001203 -                                                            Not specifically                                                                                                                         HCU1 shut down. Portions of the units are authorized by
        125757                         06/17/2009 14:45   06/17/2009 17:00     2:15                                  Hydrocracker Unit 1           Flare 4        FLARE4       Sulfur Dioxide          28.00        3242.67                                                                              1                F
529            001209                                                                   authorized                                                                                                                               Permit #18287/PSD-TX-730.
                                                                                                                                                                                                                                 Loss of oxygen to FCCU2. A portion of emissions are
                  ETSC 001224 -                                                                                                                FCCU2 Wet Gas
        126586                         07/08/2009 11:00   07/08/2009 12:00     1:00                                         FCCU2                                FCCU2WGS      Sulfur Dioxide          17.72        3242.67      authorized by Flex PAL Permit #18287/PSD-TX-730M-4.                     1
                  001225                                                                                                                          Scrubber
530                                                                                                                                                                                                                              Calculations show emissions were below reportable quantity.
                                                                                                                                                                                                                                 As a result of a malfunctioning boiler feed water pump, the
               ETSC 001237 -                                                                                                                                                                                                     Flexicoker waste heat boiler (WHB) was shut down causing
                                                                                        Not specifically            Flexicoker Waste Heat
        128824 001238; EOMCS           08/30/2009 15:22    08/31/2009 1:57    10:35                                                            Flare Stack 26      FL26        Sulfur Dioxide            2.00             0.00   emissions to be released to the atmosphere through the                  1                F
                                                                                        authorized                          Boiler
               00232142 - 0023148                                                                                                                                                                                                Flexicoker gas turbine generator WHB bypass stack. Portions
531                                                                                                                                                                                                                              of the refinery are authorized by PAL permit number 18287.
                                                                                                                                                                                                                                 Shutdown of compressor C-701 caused HCU1 to shutdown.
                  ETSC 001241 -                                                         Not specifically                                                                                                                         Associated units temporarily reduced rates to minimize
        130563                          10/09/2009 6:37   10/09/2009 12:37     6:00                                  Hydrocracker Unit 1          Flare14         FLARE14      Sulfur Dioxide          85.00        3317.49                                                                              1                F
                  001244                                                                authorized                                                                                                                               emissions. Portions of this event may be authorized under
532                                                                                                                                                                                                                              Permit 18287-PSD-TX-730-M4.
                                                                                                                                                                                                                                 Liquid sulfur product in tank ignited. Duration of excess
                  ETSC 001249 -                                                         Not specifically
        133051                          12/09/2009 7:45   12/09/2009 14:00     6:15                                 Oil Movements Area 3          Tank 667        TKo667       Sulfur Dioxide       397.00                0.00   opacity event was 15 minutes. Portions of the unit are                  1
                  001250                                                                authorized
533                                                                                                                                                                                                                              authorized by Permit #18287/PSD-TX-730.
                                                                                        Portions may be
                  ETSC 001316 -                                                                                      Catalytic Light Ends                                                                                        Flaring due to C-75 compressor trip. Portions of the unit
        142407                          07/15/2010 4:32   07/15/2010 10:07     5:35     authorized by Permit                                   Flare Stack 17     FLARE17      Sulfur Dioxide       471.00          3242.67                                                                              1                F
                  001322                                                                                               Unit 3 (CLEU3)                                                                                            emissions are authorized by Permit #18287/PSD-TX-730.
534                                                                                     18287/PSD-TX-730M4
                                                                                                                                                                                                                            A coupling on the common discharge header for the Wet Gas
                                                                                        107.7 lbs of the total
                                                                                                                                                                                                                            Scrubber Recirculation Pumps (P-501's) developed a leak on
                  ETSC 001323 -                                                         1501.1 lbs are                Fluidized Catalytic      FCCU-3 Wet Gas
        143353                         08/09/2010 17:10   08/09/2010 18:31     1:21                                                                              FCCU3WGS      Sulfur Dioxide     1,393.40          3242.67 8/8/2010. The P-501's were shut down to install a temporary                  1           O-RQ, R-RQ
                  001324                                                                authorized by Permit             Cracking Unit            Scrubber
                                                                                                                                                                                                                            clamp. Portions of the unit emissions are authorized by
                                                                                        #18287/PSD-TX-730
535                                                                                                                                                                                                                         Permit #18287.PSD-TX11
                                                                                                                                                                                                                            Instrumentation malfunction at reactor R3 caused the
                                                                                        1.445 of total 56.223 lbs                                                                                                           depressurization valves to open for approximately six
                  ETSC 001327 -                                                         are authorized under         Hydrocracking Unit 1      Flare Stack 14                                                               minutes, resulting in an atmospheric release at HCU1 D401
        144890                         09/15/2010 13:59   09/15/2010 15:38     1:39                                                                               FLARE14      Sulfur Dioxide          54.79        3242.67                                                                              1                F
                  001328                                                                Permit #18287/PSD-TX-              (HCU1)                  (FECC)                                                                   D902 and flaring at FLARE14. Portions of this unit are
                                                                                        730.                                                                                                                                authorized by Permit #18287/PSD-TX-730. The event has
536                                                                                                                                                                                                                         ended.
                                                                                        6485 pounds of total
                                                                                        8737 pounds are                                                                                                                     Flaring emissions due to GF1 start up activities. Portions of
                     ETSC 001329 -
       146177                          10/15/2010 22:00    10/16/2010 0:00     2:00     authorized under Permi          Gofiner1 (GF1)       Flare Stack 20        FL20        Sulfur Dioxide     2,252.00          3242.67 the unit emissions may be authorized under Permit                            1          F, O-RQ, R-RQ
                        001330
                                                                                        #18287/PSD-TX-                                                                                                                      #18287/PSD-TX-703M4/PAL7. This event has ended.
537                                                                                     730M4/PAL7
                                                                                        10 lbs of total 10 lbs are
                                                                                                                      Fluidized Catalytic                                                                                   Loss of oxygen to FCCU2 from third party supplier. Portions of
                  ETSC 001341 -                                                         authorized by Flex PAL                              FCCU2 Wet Gas
        146940                          11/02/2010 2:00    11/02/2010 5:00     3:00                                    Cracking Unit 2                           FCCU2WGS      Sulfur Dioxide            0.00       3242.67 emissions may be authorized by Flex PAL Permit #18287/PSD-                   1
                  001342                                                                Permit #18287/PSD-TX-                                   Scrubber
                                                                                                                            (FCCU2)                                                                                         TX-730M-4.
538                                                                                     730M-4
                                                                                        101.486 lbs of total
                                                                                                                                                                                                                                 Compressor trip resulted in unit shutdown, causing
                                                                                        257.104 lbs are
                  ETSC 072655 -                                                                                     Hydrocracking Unit 1                                                                                         subsequent emissions and flaring. Portions of the unit
        168050                           5/1/12 17:39        5/2/12 2:29       8:50     authorized under Permit                              Flare Stack 14       FLARE14      Sulfur dioxide    155.62         3242.67                                                                                  1                F
                  072658                                                                                                     (HCU1)                                                                                              emissions are authorized by Permit #18287/PSD-TX-
                                                                                        #18287/PSD-TX-
                                                                                                                                                                                                                                 730M4/PAL7.
539                                                                                     730M4/PAL7
                                                                                        89 LBS of total 89 LBS
                  ETSC 072917 -                                                         are authorized under       Fluid Catalytic Cracking                                                                                      CO Boiler trip resulted in emissions from the wet gas scrubber
        179694                           2/22/13 18:24      2/23/13 1:31       7:07                                                         Cat Regenerator      FCCU3WGS      Sulfur dioxide     0.00          3,242.67                                                                                 1
                  072918                                                                Permit #18287/PSD-TX-                Unit 3                                                                                              at the Fluidized Catalytic Cracking Unit 3 (FCCU3).
540                                                                                     730M4/PAL7
               ETSC 073046 -                                                            Not specifically
        182695                           5/11/13 6:30       5/11/13 11:21      4:51                                     Hydroformer 3            Flange                        Sulfur dioxide            0.01             0.00 Flange leak on inlet line to Reactor 3                                    1
541            073047                                                                   authorized
                                                                                        312 lbs of total 312 bs
               ETSC 073073 -                                                            are authorized under          Fluidized Catalytic   FCCU3 Wet Gas                                                                   FCCU3 Selective Catalytic Reduction (SCR) system tripped
        187800                           8/27/13 8:30       8/27/13 16:45      8:20                                                                              FCCU3WGS      Sulfur dioxide            0.00       3242.67                                                                              1
               073074                                                                   Permit #18287/PSD-TX-           Cracking Unit 3         Scrubber                                                                    causing NOx emissions to increase.
542                                                                                     730M4/PAL7.

                                                                                                                                                                                                                               Replaced 250 foot section of jet vent gas line. The refinery
                  ETSC 000732 -                                                         Not specifically
          66872                          11/5/05 0:06       11/6/05 4:16      28:10                                    Booster Station 4          Flare 27        FLARE27      Sulfur Dioxide    44,626.00                0.00 flares are permitted under Permit #18287. This report is being            2          F, O-RQ, R-RQ
                  000733                                                                authorized
                                                                                                                                                                                                                               submitted under an interim agreement with TCEQ Region 12.
543
                ETSC 000734 -                                                           Not specifically                                                                                                                         HF4 furnace maintenance resulting in flaring of Low BTU Gas
          66884                          11/1/05 8:51       11/2/05 13:46     28:55                                   Hydrofining Unit 4       Flare Stack 26      FS26        Sulfur Dioxide     1,089.00                0.00                                                                           2          F, O-RQ, R-RQ
544             000735                                                                  authorized                                                                                                                               (LBG) normally consumed by the furnace.
                                                                                                                                                                                                                                 Pump P-329A tripped at Flexicoker resulting in flaring.
                ETSC 000730 -                                                           Not specifically                                                                                                                         Portions of the Flexicoker are permitted under permit
          67926                          11/13/05 5:24     11/14/05 11:29     30:05                                     Flexicoker Unit        Flare Stack 25      FS25        Sulfur Dioxide    21,529.00                0.00                                                                           2          F, O-RQ, R-RQ
                000731                                                                  authorized                                                                                                                               #18287. This report is being submitted under an interim
545                                                                                                                                                                                                                              agreement with TCEQ Region 12.
                                                                                                                                                                                                                                  During the shutdown of the unit, GTG/WHB-301 exceeded it's
                  ETSC 000806 -                                                         Not specifically                                           FXK
          70283                          1/10/06 8:00       1/11/06 18:00     34:00                                     Flexicoker Unit                         FXKGTGWHB      Sulfur Dioxide          99.00              0.00   NOX RACT 24-hour rolling average limit of 400 ppm CO.                   2
                  000807                                                                authorized                                             GTG/WHB301
546                                                                                                                                                                                                                              GTG/WHB-301 is permitted under Permit #18287.
                  ETSC 000915 -                                                                                                                                                                                                  Restart of Claus B following inspection and repair. Natural gas
          76448                          6/7/06 10:00        6/9/06 1:44      39:44     Permit #9163                Sulfur Conversion Unit       SCU2 F-549      SCU2 F-549    Sulfur Dioxide     3,818.00                0.73                                                                           2           O-RQ, R-RQ
547               000916                                                                                                                                                                                                         will be routed to the F-549 incinerator during start-up.
                                                                                                                                                                                                                                 Boiler SG-501A boiler tripped offline and regenerator flue gas
                                                                                        Not specifically
                                                                                                                                                                                                                                 was partially rerouted to the atmosphere. Regenerator flue
                                                                                        authorized. 500 ppm
                  ETSC 001053 -                                                                                  Fluid Catalytic Cracking        CO Boiler                                                                       gas from SG-501A also continued to be partially treated in the
          83379                          11/1/06 14:24      11/2/06 16:00     25:36     limit per 40 CFR 63.1565                                                               Sulfur Dioxide       685.00                0.00                                                                           2           O-RQ, R-RQ
                  001054                                                                                                  Unit 3                Bypass Stack                                                                     Wet Gas Scrubber. The boiler was promptly returned to
                                                                                        (c)(1) and 400 ppm limit
                                                                                                                                                                                                                                 service. The event has ended. The unit has returned to normal
                                                                                        per 30 TAC 117.206(e)(1)
548                                                                                                                                                                                                                              operations.
                                                                                                                                                                                                                                 Boilers A/B/C tripped off-line. Portions of the FCCU3 unit are
                  ETSC 001091 -                                                         No specific emisions        Fluid Catalytic Cracking
        106703                         04/22/2008 11:02   04/23/2008 16:21    29:19                                                             Bypass Stack    Bypass Stack   Sulfur Dioxide    17,144.00                0.00   authorized under Flexible PAL Permit #18287/PSD-TX-                     2           O-RQ, R-RQ
                  001092                                                                authorized                           Unit 3
549                                                                                                                                                                                                                              730M4/PAL.
                                                                                                                                                                                                                                 Boilers B and C tripped offline while A Boiler was down for
                  ETSC 001173 -                                                         Not specifically            Fluid Catalytic Cracking   FCCU3 Bypass
        118545                          01/07/2009 4:16   01/08/2009 14:16    34:00                                                                             Bypass Stack   Sulfur Dioxide       584.00                0.00   maintenance. Portions of FCCU3 unit are authorized under                2           O-RQ, R-RQ
                  001174                                                                authorized                           Unit 3               Stack
550                                                                                                                                                                                                                              Flexible PAL Permit #18287/PSD-TX-730M4.
                                                                                        253 lbs of 253 are
                                                                                                                                                                                                                            FCCU2 start up after planned shutdown for planned
                  ETSC 001180 -                                                         authorized by PAL           Fluid Catalytic Cracking FCCU2 Wet Gas
        120022                         02/13/2009 19:00   02/15/2009 16:00    45:00                                                                              FCCUWGS       Sulfur Dioxide       253.00          3242.67 maintenance. Portions of this unit are authorized by Flex PAL                2
                  001181                                                                Permit 18287/PSD-TX-                 Unit 2             Scrubber
                                                                                                                                                                                                                            Permit #18287/PSD-TX-730M-4.
551                                                                                     730M4
                                                                                                                                                                                                                            FCCU3 CO Boiler A tripped offline while B Boiler was down for
                  ETSC 001197 -                                                         Not specifically            Fluid Catalytic Cracking   FCCU3 Bypass     FCCU3 Bypass
        123795                          05/04/2009 8:41   05/05/2009 17:05    32:24                                                                                            Sulfur Dioxide     3,978.00             0.00 maintenance. Portions of FCCU3 unit are authorized under                     2           O-RQ, R-RQ
                  001198                                                                authorized                           Unit 3               Stack            Stack
552                                                                                                                                                                                                                         Flexible PAL Permit #18287/PSD-TX-730M4.
                                                                                                                                                                                                                            Failure of cooling tower supply header caused shutdown of
                                                                                                                                                                                                                            Propane Dewaxing Unit and Lube Deasphalting Unit.
                  ETSC 001201 -                                                         Not specifically
        124761                         05/26/2009 23:40   05/28/2009 13:57    38:17                                     Dewaxing Unit             Flare 15         FS15        Sulfur Dioxide       402.00          3242.67 Shutdown and subsequent unit clearing caused flaring.                        2                F
                  001202                                                                authorized
                                                                                                                                                                                                                            Portions of the Refinery are authorized under Flexible PAL
553                                                                                                                                                                                                                         Permit #18287/PSD-TX-730M4.
         A                B                  C                  D              E                   F                          G                     H                 I               J             K               L                                        M                                          N                O
                  Bates # of first                                                                                                                                                               Amount     Reported
      Tracking                                                              Duration                                                            Emission                                                                                                                                         Number of Days     Traceability
                   page of Final     Start Date & Time   End Date & Time                   Authorization                    Unit                                    EPN         Contaminant      Released   Emission                                       Cause
      Number                                                                 (h:mm)                                                              Point                                                                                                                                             of Violation        Codes
 2                   STEERS                                                                                                                                                                        (lbs)  Limit (lbs/hr)
                                                                                                                                                                                                                             CO Boiler SG501A tripped offline. Hourly emissions returned
                                                                                                                                                                                                                             to normal by 6/22/09 18:40, but the 24-hr rolling average for
                 ETSC 001210 -                                                         Not specifically            Fluid Catalytic Cracking   FCCU3 Bypass
        125838                         06/21/2009 9:24   06/22/2009 18:40    33:16                                                                               Bypass Stack   Sulfur Dioxide          36.00           0.00 carbon monoxide stayed above the 400 ppm limit set in 30                   2
                 001211                                                                authorized                           Unit 3               Stack
                                                                                                                                                                                                                             TAC Chapter 117 until 6/22/09 21:00. Portions of FCCU3 are
554                                                                                                                                                                                                                          authorized under Flexible PAL Permit #18287/PSD-TX-730M4.
                                                                                                                                                                                                                             Startup FCCU3 from planned maintenance. Event ended on
                                                                                                                                                                                                                             11/26/09 at 21:00, but the 24-hr rolling average for carbon
                 ETSC 001247 -                                                         Not specifically                                       FCCU3 Wet Gas
        132400                         11/25/2009 7:59   11/26/2009 21:00    37:01                                         FCCU3                                 FCCU3WGS       Sulfur Dioxide     1,842.00          3242.67 monoxide stayed above the 400 ppm limit set in 30 TAC                      2            O-RQ, R-RQ
                 001248                                                                authorized                                                Scrubber
                                                                                                                                                                                                                             Chapter 117 until 11/27/09 21:00. Portions of this unit are
555                                                                                                                                                                                                                          authorized by Flex PAL Permit #18287/PSD-TX-730M-4.
                                                                                       Portions may be
                 ETSC 072911 -                                                         authorized under Permit                                                                                                                  Compressor trip resulted in an atmospheric release at a HCU1
        178267                          1/21/13 3:37       1/22/13 19:00     39:23                                  Hydrocracking Unit 1      Flare Stack 11       FLARE11      Sulfur dioxide     0.90          3,242.67                                                                         already counted
                 072914                                                                18287/PSD-TX-                                                                                                                            safety vent and safe utilization of the flare system.
556                                                                                    730M4/PAL7.
                                                                                       Portions are authorized                                                                                                                Emissions due to loss of flexicoker fractionator bottoms flow.
                 ETSC 068131 -
        160475                          10/12/11 3:44     10/14/11 13:59     58:15     under Permit                      Flexicoker           Flare Stack 25      FLARE 25      Sulfur dioxide     18.64         3242.67      Portions of emissions are authorized by Permit #18287/PSD-                3                 F
                 068132
557                                                                                    #18287/PSD-TX-730                                                                                                                      TX-730M4/PAL7.
                                                                                                                                                                                                                              Maintenance on west loop flare gas recovery compressor C-
                 ETSC 000715 -                                                         Not specifically                                                                                                                       002. VOC is unspeciated C6+ material. The refinery flares are
         68629                          12/12/05 6:00     12/15/05 23:20     89:20                                                                Flare 4          FLARE4       Sulfur Dioxide            8.00           0.00                                                                           4                 F
                 000717                                                                authorized                                                                                                                             permitted under permit #18287. This report is being
558                                                                                                                                                                                                                           submitted under an interim agreement with TCEQ Region 12.
               EOMCS 00024373 -                                                        Not specifically                                                                                                                       HCU1 shut down. Portions of the units are authorized by
        124215                        05/12/2009 15:46   05/15/2009 20:48    77:02                                  Hydrocracker Unit 1          Flare 11          FLARE11      Sulfur Dioxide            1.00       3317.49                                                                      already counted
559            000024382                                                               authorized                                                                                                                             Permit #18287/PSD-TX-730.
                                                                                       821.2 lbs of the 4784 lbs
                                                                                                                                                                                                                             Flaring due to Flexicoker start-up after shut down. This event
               ETSC 001221 -                                                           are authorized by Permit                                  FN Fired
        126082                        06/25/2009 21:00    06/29/2009 3:46    78:46                                    Flexicoker (FXK)                                          Sulfur Dioxide     4,784.00          3242.67 has ended. Portions of the refinery are permitted under                    4            O-RQ, R-RQ
               001223                                                                  # 18287 & PSD-TX-                                         Sources
                                                                                                                                                                                                                             Permit 18287/PSD-TX-730-M4.
560                                                                                    730M4
                                                                                                                                                                                                                             Water ingress from a suspected exchanger leak at Tail Gas
                                                                                                                                                                                                                             Cleanup Unit C lead to reduced treatment of tail gas at SCU2.
                 ETSC 001065 -                                                         Not specifically            Sulfur Conversion Unit                                                                                    Portions of the emissions from SCU2F702 and SCU2T601 were
        102061                         01/04/2008 5:10    01/08/2008 8:00    98:50                                                             Furnace 702        SCU2F702      Sulfur Dioxide       139.00             0.00                                                                            5
                 001066                                                                authorized                            2                                                                                               authorized under Flexible PAL Permit #18287/PSD-TX-730M.
                                                                                                                                                                                                                             Also, flexible Permit #18287 SC30 authorized emissions from
561                                                                                                                                                                                                                          SCU2D702.
                                                                                                                                                                                                                             Scheduled shutdown due to approach of Hurricane Ike.
                 ETSC 001132 -                                                         Permit #18287 & PSD-TX-                                 All Blend Gas
        113887                        09/11/2008 12:00   09/15/2008 18:30    102:30                                  Baytown Refinery                                           Sulfur Dioxide          90.00       3,317.49 Portions of the refinery are permitted under Permit                  already counted
                 001144                                                                730M4                                                   Fired Sources
562                                                                                                                                                                                                                          18287/PSD-TX-730-M4.
                                                                                                                                                                                                                             Start-up of the Flexicoker Gas Turbine after a unit turnaround.
                 ETSC 000780 -                                                                                                                                                                                               During start-up exceeded NOx RACT and RMACT II CO
         72319                          2/27/06 9:00        3/5/06 7:00      142:00    18287                           Flexicoker Unit           GTG301          FXKWHB301      Sulfur Dioxide       110.00         3,629.75                                                                            6
                 000781                                                                                                                                                                                                      Concentration limits of 400 ppm and 500 ppm. Portions of the
563                                                                                                                                                                                                                          Flexicoker are permitted under Permit #18287.
                                                                                       Portions of these
                                                                                                                                                                                                                             Emissions from hole in piping to gas treating towers. Portions
                 ETSC 001273 -                                                         emissions may be
        134509                        01/14/2010 14:30    01/21/2010 1:50    155:20                                     Gas Treating             Flare 20           FL20        Sulfur Dioxide    61,249.45          3242.67 of the refinery emissions may be authorized by Permit                      7           F, O-RQ, R-RQ
                 001274                                                                authorized by Permit
                                                                                                                                                                                                                             #18287/PSD-TX-730.
564                                                                                    #18287
                                                                                                                                                                                                                                The MEA Tower System had a leaking exchanger that resulted
                                                                                                                                                                                                                                in increased levels of H2S in the blend gas system and in Tank
                                                                                                                                                                                                                                501. Each fuel gas combustion device in the Fuels North area
                                                                                                                                               Fuels North                                                                      potentially received the hydrogen sulfide containing material.
                 ETSC 001057 -                                                         Not specifically
         82898                          10/20/06 3:00     10/28/06 12:00     201:00                                     Fuels North            Combustion        FNCOMBDV       Sulfur Dioxide    19,972.00              0.00   The possible emission sources are: HSK:                                 9            O-RQ, R-RQ
                 001058                                                                authorized
                                                                                                                                                 Devices                                                                        F901/926/701/801/802/803/804/ 401/402/403/404/405
                                                                                                                                                                                                                                HDS: F301/201/227/703 FXK: F301/WHB301 Portions of the
                                                                                                                                                                                                                                Refinery are authorized under permit 18287 and PSD-TX-
565                                                                                                                                                                                                                             730M3.
                                                                                                                                                                                                                                Scheduled startup due to shutdown for Hurricane Ike. This
                                                                                                                                                                                                                                initial STEERS initial report is based on September 2005
                                                                                                                                                                                                                                refinery startup after shutdown due to approach of hurricane.
                                                                                                                                                                                                                                Portions of the refinery are permitted under Permit
                                                                                                                                                 All BG Fired
                 ETSC 001156 -                                                         Permit #18287 & PSD-TX-                                                                                                                  18287/PSD-TX-730-M4. Note: STEERS would not allow
        114161                        09/15/2008 18:30    10/04/2008 1:00    438:30                                  Baytown Refinery         Fired Units (SEE                  Sulfur Dioxide       145.00         3,317.49                                                                      already counted
                 001163                                                                730M4                                                                                                                                    submittal of just one report because it exceeded the CCEDS
                                                                                                                                                  PERMIT)
                                                                                                                                                                                                                                requirements. The STEERS contact (Jim Drozd) recommended
                                                                                                                                                                                                                                we submit two reports. A previous submitted report with
                                                                                                                                                                                                                                Incident Tracking Number 114157 contains the balance of
566                                                                                                                                                                                                                             information for this startup event.
                                                                                                                                                                                                                                A malfunction of seal tank internals to the FCCU3 bypass stack
                 ETSC 001103 -                                                         Not specifically            Fluid Catalytic Cracking   FCCU3 Bypass
        109166                        05/15/2008 17:00   07/25/2008 14:00    1701:00                                                                               FCCU3        Sulfur Dioxide     2,631.00              0.00   caused emissions to escape through the stack. Portions of the           71           O-RQ, R-RQ
                 001104                                                                authorized                           Unit 3               Stack
567                                                                                                                                                                                                                             refinery are authorized by PAL permit number 18287.
                                                                                                                                                                                                                                During start-up of Hydrofining Unit 9, exceeded 3 hour 160
                                                                                                                                                                                                                                ppm limit of H2S in fuel gas. This fuel gas is used at the
                 ETSC 000728 -                                                         Not specifically              Flexicoker Unit &
         68273                          11/21/05 5:57      11/21/05 7:43      1:46                                                               DCUF602          DCUF602       Sulfur Dioxide       616.00              0.00   Flexicoker Unit Furnace F-301 (FXKF301) & WHB-301                 already counted
                 000729                                                                authorized                   Delayed Coker Unit
                                                                                                                                                                                                                                (FXKGTGWHB) and at the Delayed Coker Unit F-601 & F-602.
568                                                                                                                                                                                                                             These sources are listed in permit #18287.
                                                                                                                                                                                                                                During start-up of Hydrofining Unit 9, exceeded 3 hour 160
                                                                                                                                                                                                                                ppm limit of H2S in fuel gas. This fuel gas is used at the
                 ETSC 000728 -                                                         Not specifically              Flexicoker Unit &
         68273                          11/21/05 5:57      11/21/05 7:43      1:46                                                             FXK WHB 301       FXKGTGWHB      Sulfur Dioxide       290.00              0.00   Flexicoker Unit Furnace F-301 (FXKF301) & WHB-301                 already counted
                 000729                                                                authorized                   Delayed Coker Unit
                                                                                                                                                                                                                                (FXKGTGWHB) and at the Delayed Coker Unit F-601 & F-602.
569                                                                                                                                                                                                                             These sources are listed in permit #18287.
                                                                                                                                                                                                                                During start-up of Hydrofining Unit 9, exceeded 3 hour 160
                                                                                                                                                                                                                                ppm limit of H2S in fuel gas. This fuel gas is used at the
                 ETSC 000728 -                                                         Not specifically              Flexicoker Unit &
         68273                          11/21/05 5:57      11/21/05 7:43      1:46                                                               FXKF301           FXKF301      Sulfur Dioxide       272.00              0.00   Flexicoker Unit Furnace F-301 (FXKF301) & WHB-301                 already counted
                 000729                                                                authorized                   Delayed Coker Unit
                                                                                                                                                                                                                                (FXKGTGWHB) and at the Delayed Coker Unit F-601 & F-602.
570                                                                                                                                                                                                                             These sources are listed in permit #18287.
                                                                                                                                                                                                                                Maintenance on west loop flare gas recovery compressor C-
                 ETSC 000715 -                                                         Not specifically                                                                                                                         002. VOC is unspeciated C6+ material. The refinery flares are
         68629                          12/12/05 6:00     12/15/05 23:20     89:20                                                                Flare 5          FLARE5       Sulfur Dioxide            1.00           0.00                                                                     already counted
                 000717                                                                authorized                                                                                                                               permitted under permit #18287. This report is being
571                                                                                                                                                                                                                             submitted under an interim agreement with TCEQ Region 12.
                                                                                                                                                                                                                                Maintenance on west loop flare gas recovery compressor C-
                 ETSC 000715 -                                                         Not specifically                                                                                                                         002. VOC is unspeciated C6+ material. The refinery flares are
         68629                          12/12/05 6:00     12/15/05 23:20     89:20                                                                Flare 3          FLARE3       Sulfur Dioxide     1,312.00              0.00                                                                     already counted
                 000717                                                                authorized                                                                                                                               permitted under permit #18287. This report is being
572                                                                                                                                                                                                                             submitted under an interim agreement with TCEQ Region 12.
                                                                                                                                                                                                                                Fire at Electrical Substation #5, servicing the lubes plant.
                                                                                                                                                                                                                                Resulted in trip of East Loop Flare Gas Recovery Compressor
                                                                                                                                                                                                                                and subsequent flaring off of the East Loop Flare Systems.
                 ETSC 000842 -                                                         Not specifically             Substation 5 & East                                                                                         Material routed to the flare included flows from MEK, LDU,
         74965                          4/25/06 21:45      4/26/06 21:31     23:46                                                               Flare 16          Flare16      Sulfur Dioxide            1.00          39.00                                                                     already counted
                 000844                                                                authorized                    Loop Flare System                                                                                          PDU & LHU2 units. VOC from substation is petroleum
                                                                                                                                                                                                                                distillates. This report is being submitted as part of the
                                                                                                                                                                                                                                interim agreement with TCEQ Region 12. Portions of the
573                                                                                                                                                                                                                             Refinery are permitted under Permit #18287.
                                                                                                                                                                                                                                Shift in power supply to Hydrofining Unit 9 (HU9) resulted in
                                                                                                                                                                                                                                depressuring to D-500 atmospheric vent. HU9 diversion
                 ETSC 000947 -                                                         Not specifically
         96519                          8/23/07 20:13      8/24/07 1:07       4:54                                  Hydrofining Unit #9       Flare Stack 26        FS26        Sulfur Dioxide          17.00            0.00   resulted in flaring of Low Btu Gas normally used in HU9           already counted
                 000949                                                                authorized
                                                                                                                                                                                                                                furnaces. Portions of the BTRF Refinery are authorized by
574                                                                                                                                                                                                                             Flex/PAL Permit No. 18297
                                                                                                                                                                                                                                Boilers A/B/C tripped off-line. Portions of the FCCU3 unit are
                 ETSC 001091 -                                                         Permit 18287 - 126 lb       Fluid Catalytic Cracking FCCU3 Wet Gas
        106703                        04/22/2008 11:02   04/23/2008 16:21    29:19                                                                               FCCU3WGS       Sulfur Dioxide       126.00          3317.49    authorized under Flexible PAL Permit #18287/PSD-TX-               already counted
                 001092                                                                authorized                           Unit 3             Scrubber
575                                                                                                                                                                                                                             730M4/PAL.
                                                                                                                                                                                                                                Scheduled shutdown due to approach of Hurricane Ike.
               ETSC 001132 -                                                           Permit #18287 & PSD-TX-
        113887                        09/11/2008 12:00   09/15/2008 18:30    102:30                                  Baytown Refinery         Flare Stack 25        FS25        Sulfur Dioxide          27.00            0.00   Portions of the refinery are permitted under Permit               already counted
               001144                                                                  730M4
576                                                                                                                                                                                                                             18287/PSD-TX-730-M4.
                                                                                                                                                                                                                                Scheduled shutdown due to approach of Hurricane Ike.
               ETSC 001132 -                                                           Not specifically            Fluid Catalytic Cracking   FCCU3 Bypass
        113887                        09/11/2008 12:00   09/15/2008 18:30    102:30                                                                              Bypass Stack   Sulfur Dioxide          21.00            0.00   Portions of the refinery are permitted under Permit               already counted
               001144                                                                  authorized                           Unit 3               Stack
577                                                                                                                                                                                                                             18287/PSD-TX-730-M4.
                                                                                                                                                                                                                                Scheduled shutdown due to approach of Hurricane Ike.
                 ETSC 001132 -                                                         Permit #18287 & PSD-TX-
        113887                        09/11/2008 12:00   09/15/2008 18:30    102:30                                  Baytown Refinery            Flare 27          FLARE27      Sulfur Dioxide     1,057.00         3,317.49    Portions of the refinery are permitted under Permit               already counted
                 001144                                                                730M4
578                                                                                                                                                                                                                             18287/PSD-TX-730-M4.
                                                                                                                                                                                                                                Scheduled shutdown due to approach of Hurricane Ike.
                 ETSC 001132 -                                                         Permit #18287 & PSD-TX-
        113887                        09/11/2008 12:00   09/15/2008 18:30    102:30                                  Baytown Refinery            Flare 11          FLARE11      Sulfur Dioxide       336.00         3,317.49    Portions of the refinery are permitted under Permit               already counted
                 001144                                                                730M4
579                                                                                                                                                                                                                             18287/PSD-TX-730-M4.
                                                                                                                                                                                                                                Scheduled shutdown due to approach of Hurricane Ike.
               ETSC 001132 -                                                           Permit #18287 & PSD-TX-
        113887                        09/11/2008 12:00   09/15/2008 18:30    102:30                                  Baytown Refinery            Flare 14          FLARE14      Sulfur Dioxide     1,387.00         3,317.49    Portions of the refinery are permitted under Permit                     5           F, O-RQ, R-RQ
               001144                                                                  730M4
580                                                                                                                                                                                                                             18287/PSD-TX-730-M4.
                                                                                                                                                                                                                                Scheduled shutdown due to approach of Hurricane Ike.
               ETSC 001132 -                                                           Permit #18287 & PSD-TX-
        113887                        09/11/2008 12:00   09/15/2008 18:30    102:30                                  Baytown Refinery            Flare 15          FLARE15      Sulfur Dioxide       336.00         3,317.49    Portions of the refinery are permitted under Permit               already counted
               001144                                                                  730M4
581                                                                                                                                                                                                                             18287/PSD-TX-730-M4.
                                                                                                                                                                                                                                Scheduled shutdown due to approach of Hurricane Ike.
               ETSC 001132 -                                                           Permit #18287 & PSD-TX-
        113887                        09/11/2008 12:00   09/15/2008 18:30    102:30                                  Baytown Refinery            Flare 17          FLARE17      Sulfur Dioxide       809.00         3,317.49    Portions of the refinery are permitted under Permit               already counted
               001144                                                                  730M4
582                                                                                                                                                                                                                             18287/PSD-TX-730-M4.
                                                                                                                                                                                                                                Scheduled shutdown due to approach of Hurricane Ike.
               ETSC 001132 -                                                           Permit #18287 & PSD-TX-
        113887                        09/11/2008 12:00   09/15/2008 18:30    102:30                                  Baytown Refinery            Flare 18          FLARE18      Sulfur Dioxide            5.00      3,317.49    Portions of the refinery are permitted under Permit               already counted
               001144                                                                  730M4
583                                                                                                                                                                                                                             18287/PSD-TX-730-M4.
                                                                                                                                                                                                                                Scheduled shutdown due to approach of Hurricane Ike.
               ETSC 001132 -                                                           Permit #18287 & PSD-TX-
        113887                        09/11/2008 12:00   09/15/2008 18:30    102:30                                  Baytown Refinery            Flare 19          FLARE19      Sulfur Dioxide     5,402.00         3,317.49    Portions of the refinery are permitted under Permit               already counted
               001144                                                                  730M4
584                                                                                                                                                                                                                             18287/PSD-TX-730-M4.
         A                B                  C                  D              E                   F                         G                   H             I             J             K            L                                     M                                         N                O
                  Bates # of first                                                                                                                                                      Amount     Reported
      Tracking                                                              Duration                                                        Emission                                                                                                                             Number of Days     Traceability
                   page of Final     Start Date & Time   End Date & Time                   Authorization                   Unit                               EPN      Contaminant      Released   Emission                                 Cause
      Number                                                                 (h:mm)                                                          Point                                                                                                                                 of Violation        Codes
 2                   STEERS                                                                                                                                                               (lbs)  Limit (lbs/hr)
                                                                                                                                                                                                                 Scheduled shutdown due to approach of Hurricane Ike.
                 ETSC 001132 -                                                         Permit #18287 & PSD-TX-
        113887                        09/11/2008 12:00   09/15/2008 18:30    102:30                                  Baytown Refinery         Flare 20      FLARE20    Sulfur Dioxide       525.00      3,317.49 Portions of the refinery are permitted under Permit              already counted
                 001144                                                                730M4
585                                                                                                                                                                                                              18287/PSD-TX-730-M4.
                                                                                                                                                                                                                 Scheduled shutdown due to approach of Hurricane Ike.
               ETSC 001132 -                                                           Permit #18287 & PSD-TX-
        113887                        09/11/2008 12:00   09/15/2008 18:30    102:30                                  Baytown Refinery         Flare 21      FLARE21    Sulfur Dioxide          27.00    3,317.49 Portions of the refinery are permitted under Permit              already counted
               001144                                                                  730M4
586                                                                                                                                                                                                              18287/PSD-TX-730-M4.
                                                                                                                                                                                                                 Scheduled shutdown due to approach of Hurricane Ike.
               ETSC 001132 -                                                           Permit #18287 & PSD-TX-
        113887                        09/11/2008 12:00   09/15/2008 18:30    102:30                                  Baytown Refinery         Flare 3        FLARE3    Sulfur Dioxide       974.00      3,317.49 Portions of the refinery are permitted under Permit              already counted
               001144                                                                  730M4
587                                                                                                                                                                                                              18287/PSD-TX-730-M4.
                                                                                                                                                                                                                 Scheduled shutdown due to approach of Hurricane Ike.
               ETSC 001132 -                                                           Permit #18287 & PSD-TX-
        113887                        09/11/2008 12:00   09/15/2008 18:30    102:30                                  Baytown Refinery         Flare 4        FLARE4    Sulfur Dioxide       139.00      3,317.49 Portions of the refinery are permitted under Permit              already counted
               001144                                                                  730M4
588                                                                                                                                                                                                              18287/PSD-TX-730-M4.
                                                                                                                                                                                                                 Scheduled shutdown due to approach of Hurricane Ike.
               ETSC 001132 -                                                           Permit #18287 & PSD-TX-
        113887                        09/11/2008 12:00   09/15/2008 18:30    102:30                                  Baytown Refinery         Flare 6        FLARE6    Sulfur Dioxide           7.00    3,317.49 Portions of the refinery are permitted under Permit              already counted
               001144                                                                  730M4
589                                                                                                                                                                                                              18287/PSD-TX-730-M4.
                                                                                                                                                                                                                 Scheduled shutdown due to approach of Hurricane Ike.
               ETSC 001132 -                                                           Permit #18287 & PSD-TX-       Baytown Refinery
        113887                        09/11/2008 12:00   09/15/2008 18:30    102:30                                                         SCU2 F-529      SCU2F529   Sulfur Dioxide          22.00    3,317.49 Portions of the refinery are permitted under Permit              already counted
               001144                                                                  730M4                          Operating Units
590                                                                                                                                                                                                              18287/PSD-TX-730-M4.
                                                                                                                                                                                                                 Scheduled shutdown due to approach of Hurricane Ike.
                 ETSC 001132 -                                                         Permit #18287 & PSD-TX- Fluid Catalytic Cracking FCCU2 Wet Gas
        113887                        09/11/2008 12:00   09/15/2008 18:30    102:30                                                                         FCCU2WGS   Sulfur Dioxide     2,770.00      3,317.49 Portions of the refinery are permitted under Permit              already counted
                 001144                                                                730M4                            Unit 2             Scrubber
591                                                                                                                                                                                                              18287/PSD-TX-730-M4.
                                                                                                                                                                                                                 Scheduled startup due to shutdown for Hurricane Ike. This
                                                                                                                                                                                                                 initial STEERS initial report is based on September 2005
                                                                                                                                                                                                                 refinery startup after shutdown due to approach of hurricane.
                                                                                                                                                                                                                 Portions of the refinery are permitted under Permit
                 ETSC 001156 -                                                         Permit #18287 & PSD-TX-       Baytown Refinery                                                                            18287/PSD-TX-730-M4. Note: STEERS would not allow
        114161                        09/15/2008 18:30    10/04/2008 1:00    438:30                                                           Flare 11      FLARE11    Sulfur Dioxide       360.00      3,317.49                                                                  already counted
                 001163                                                                730M4                          Operating Units                                                                            submittal of just one report because it exceeded the CCEDS
                                                                                                                                                                                                                 requirements. The STEERS contact (Jim Drozd) recommended
                                                                                                                                                                                                                 we submit two reports. A previous submitted report with
                                                                                                                                                                                                                 Incident Tracking Number 114157 contains the balance of
592                                                                                                                                                                                                              information for this startup event.
                                                                                                                                                                                                                 Scheduled startup due to shutdown for Hurricane Ike. This
                                                                                                                                                                                                                 initial STEERS initial report is based on September 2005
                                                                                                                                                                                                                 refinery startup after shutdown due to approach of hurricane.
                                                                                                                                                                                                                 Portions of the refinery are permitted under Permit
                 ETSC 001156 -                                                         Permit #18287 & PSD-TX-       Baytown Refinery                                                                            18287/PSD-TX-730-M4. Note: STEERS would not allow
        114161                        09/15/2008 18:30    10/04/2008 1:00    438:30                                                           Flare 18      FLARE18    Sulfur Dioxide           9.00    3,317.49                                                                  already counted
                 001163                                                                730M4                          Operating Units                                                                            submittal of just one report because it exceeded the CCEDS
                                                                                                                                                                                                                 requirements. The STEERS contact (Jim Drozd) recommended
                                                                                                                                                                                                                 we submit two reports. A previous submitted report with
                                                                                                                                                                                                                 Incident Tracking Number 114157 contains the balance of
593                                                                                                                                                                                                              information for this startup event.
                                                                                                                                                                                                                 Scheduled startup due to shutdown for Hurricane Ike. This
                                                                                                                                                                                                                 initial STEERS initial report is based on September 2005
                                                                                                                                                                                                                 refinery startup after shutdown due to approach of hurricane.
                                                                                                                                                                                                                 Portions of the refinery are permitted under Permit
                 ETSC 001156 -                                                         Permit #18287 & PSD-TX-       Baytown Refinery                                                                            18287/PSD-TX-730-M4. Note: STEERS would not allow
        114161                        09/15/2008 18:30    10/04/2008 1:00    438:30                                                           Flare 21      FLARE21    Sulfur Dioxide          46.00    3,317.49                                                                  already counted
                 001163                                                                730M4                          Operating Units                                                                            submittal of just one report because it exceeded the CCEDS
                                                                                                                                                                                                                 requirements. The STEERS contact (Jim Drozd) recommended
                                                                                                                                                                                                                 we submit two reports. A previous submitted report with
                                                                                                                                                                                                                 Incident Tracking Number 114157 contains the balance of
594                                                                                                                                                                                                              information for this startup event.
                                                                                                                                                                                                                 Scheduled startup due to shutdown for Hurricane Ike. This
                                                                                                                                                                                                                 initial STEERS initial report is based on September 2005
                                                                                                                                                                                                                 refinery startup after shutdown due to approach of hurricane.
                                                                                                                                                                                                                 Portions of the refinery are permitted under Permit
                 ETSC 001156 -                                                         Permit #18287 & PSD-TX-       Baytown Refinery                                                                            18287/PSD-TX-730-M4. Note: STEERS would not allow
        114161                        09/15/2008 18:30    10/04/2008 1:00    438:30                                                           Flare 14      FLARE14    Sulfur Dioxide    10,867.00      3,317.49                                                                  already counted
                 001163                                                                730M4                          Operating Units                                                                            submittal of just one report because it exceeded the CCEDS
                                                                                                                                                                                                                 requirements. The STEERS contact (Jim Drozd) recommended
                                                                                                                                                                                                                 we submit two reports. A previous submitted report with
                                                                                                                                                                                                                 Incident Tracking Number 114157 contains the balance of
595                                                                                                                                                                                                              information for this startup event.
                                                                                                                                                                                                                 Scheduled startup due to shutdown for Hurricane Ike. This
                                                                                                                                                                                                                 initial STEERS initial report is based on September 2005
                                                                                                                                                                                                                 refinery startup after shutdown due to approach of hurricane.
                                                                                                                                                                                                                 Portions of the refinery are permitted under Permit
                 ETSC 001156 -                                                         Permit #18287 & PSD-TX-       Baytown Refinery                                                                            18287/PSD-TX-730-M4. Note: STEERS would not allow
        114161                        09/15/2008 18:30    10/04/2008 1:00    438:30                                                           Flare 16      FLARE16    Sulfur Dioxide       331.00      3,317.49                                                                  already counted
                 001163                                                                730M4                          Operating Units                                                                            submittal of just one report because it exceeded the CCEDS
                                                                                                                                                                                                                 requirements. The STEERS contact (Jim Drozd) recommended
                                                                                                                                                                                                                 we submit two reports. A previous submitted report with
                                                                                                                                                                                                                 Incident Tracking Number 114157 contains the balance of
596                                                                                                                                                                                                              information for this startup event.
                                                                                                                                                                                                                 Scheduled startup due to shutdown for Hurricane Ike. This
                                                                                                                                                                                                                 initial STEERS initial report is based on September 2005
                                                                                                                                                                                                                 refinery startup after shutdown due to approach of hurricane.
                                                                                                                                                                                                                 Portions of the refinery are permitted under Permit
                 ETSC 001156 -                                                         Permit #18287 & PSD-TX-       Baytown Refinery                                                                            18287/PSD-TX-730-M4. Note: STEERS would not allow
        114161                        09/15/2008 18:30    10/04/2008 1:00    438:30                                                           Flare 17      FLARE17    Sulfur Dioxide     1,820.00      3,317.49                                                                  already counted
                 001163                                                                730M4                          Operating Units                                                                            submittal of just one report because it exceeded the CCEDS
                                                                                                                                                                                                                 requirements. The STEERS contact (Jim Drozd) recommended
                                                                                                                                                                                                                 we submit two reports. A previous submitted report with
                                                                                                                                                                                                                 Incident Tracking Number 114157 contains the balance of
597                                                                                                                                                                                                              information for this startup event.
                                                                                                                                                                                                                 Scheduled startup due to shutdown for Hurricane Ike. This
                                                                                                                                                                                                                 initial STEERS initial report is based on September 2005
                                                                                                                                                                                                                 refinery startup after shutdown due to approach of hurricane.
                                                                                                                                                                                                                 Portions of the refinery are permitted under Permit
                 ETSC 001156 -                                                         Permit #18287 & PSD-TX-       Baytown Refinery                                                                            18287/PSD-TX-730-M4. Note: STEERS would not allow
        114161                        09/15/2008 18:30    10/04/2008 1:00    438:30                                                           Flare 6        FLARE6    Sulfur Dioxide   310,369.00      3,317.49                                                                        19          F, O-RQ, R-RQ
                 001163                                                                730M4                          Operating Units                                                                            submittal of just one report because it exceeded the CCEDS
                                                                                                                                                                                                                 requirements. The STEERS contact (Jim Drozd) recommended
                                                                                                                                                                                                                 we submit two reports. A previous submitted report with
                                                                                                                                                                                                                 Incident Tracking Number 114157 contains the balance of
598                                                                                                                                                                                                              information for this startup event.
                                                                                                                                                                                                                 Boilers B and C tripped offline while A Boiler was down for
                 ETSC 001173 -                                                         Not specifically            Fluid Catalytic Cracking FCCU3 Wet Gas
        118545                         01/07/2009 4:16   01/08/2009 14:16    34:00                                                                          FCCUWGS    Sulfur Dioxide          83.00    3242.67 maintenance. Portions of FCCU3 unit are authorized under          already counted
                 001174                                                                authorized                           Unit 3             Scrubber
599                                                                                                                                                                                                              Flexible PAL Permit #18287/PSD-TX-730M4.
               ETSC 001184 -                                                           Not specifically            Fluid Catalytic Cracking FCCU3 Wet Gas                                                        CO Boiler SG501C tripped offline. Portions of the FCCU3 are
        121025                        03/06/2009 17:48   03/06/2009 20:31     2:43                                                                          FCCU3WGS   Sulfur Dioxide          15.00    3242.67                                                                   already counted
600            001185                                                                  authorized                           Unit 3             Scrubber                                                          authorized under Flexible PAL Permit #18287/PSD-TX-730M4.
                                                                                                                                                                                                                 FCCU3 CO Boiler A tripped offline while B Boiler was down for
                 ETSC 001197 -                                                         Not specifically            Fluid Catalytic Cracking FCCU3 Wet Gas
        123795                         05/04/2009 8:41   05/05/2009 17:05    32:24                                                                          FCCU3WGS   Sulfur Dioxide          18.00    3242.67 maintenance. Portions of FCCU3 unit are authorized under          already counted
                 001198                                                                authorized                           Unit 3             Scrubber
601                                                                                                                                                                                                              Flexible PAL Permit #18287/PSD-TX-730M4.
                 EOMCS 00024373 -                                                      89 lbs of the 573 lbs are                                                                                                 HCU1 shut down. Portions of the units are authorized by
        124215                        05/12/2009 15:46   05/15/2009 20:48    77:02                                  Hydrocracker Unit 1       Flare 14      FLARE14    Sulfur Dioxide       573.00      3317.49                                                                         4           F, O-RQ, R-RQ
602              000024382                                                             authorized                                                                                                                Permit #18287/PSD-TX-730.
                 EOMCS 00024373 -                                                      Not specifically                                                                                                          HCU1 shut down. Portions of the units are authorized by
        124215                        05/12/2009 15:46   05/15/2009 20:48    77:02                                  Hydrocracker Unit 1       Flare 3        FLARE3    Sulfur Dioxide          33.00    3317.49                                                                   already counted
603              000024382                                                             authorized                                                                                                                Permit #18287/PSD-TX-730.
                 EOMCS 00024373 -                                                                                                                                                                                HCU1 shut down. Portions of the units are authorized by
        124215                        05/12/2009 15:46   05/15/2009 20:48    77:02     11 lbs are authorized        Hydrocracker Unit 1       Flare 4        FLARE4    Sulfur Dioxide          11.00    3317.49                                                                   already counted
604              000024382                                                                                                                                                                                       Permit #18287/PSD-TX-730.
                 EOMCS 00024373 -                                                      Not specifically                                                                                                          HCU1 shut down. Portions of the units are authorized by
        124215                        05/12/2009 15:46   05/15/2009 20:48    77:02                                  Hydrocracker Unit 1    Flare Stack 5      FS5      Sulfur Dioxide           1.00    3317.49                                                                   already counted
605              000024382                                                             authorized                                                                                                                Permit #18287/PSD-TX-730.
                 EOMCS 00024373 -                                                                                                                                                                                HCU1 shut down. Portions of the units are authorized by
        124215                        05/12/2009 15:46   05/15/2009 20:48    77:02                                  Hydrocracker Unit 1       Flare 6        FLARE6    Sulfur Dioxide           1.00    3317.49                                                                   already counted
606              000024382                                                                                                                                                                                       Permit #18287/PSD-TX-730.
                                                                                                                                                                                                                 Failure of cooling tower supply header caused shutdown of
                                                                                                                                                                                                                 Propane Dewaxing Unit and Lube Deasphalting Unit.
               ETSC 001201 -                                                           Not specifically
        124761                        05/26/2009 23:40   05/28/2009 13:57    38:17                                     Dewaxing Unit          Flare 16        FS16     Sulfur Dioxide          55.00    3242.67 Shutdown and subsequent unit clearing caused flaring.             already counted
               001202                                                                  authorized
                                                                                                                                                                                                                 Portions of the Refinery are authorized under Flexible PAL
607                                                                                                                                                                                                              Permit #18287/PSD-TX-730M4.
               ETSC 001203 -                                                           Not specifically                                                                                                          HCU1 shut down. Portions of the units are authorized by
        125757                        06/17/2009 14:45   06/17/2009 17:00     2:15                                  Hydrocracker Unit 1       Flare 14      FLARE14    Sulfur Dioxide           3.00    3242.67                                                                   already counted
608            001209                                                                  authorized                                                                                                                Permit #18287/PSD-TX-730.
               ETSC 001203 -                                                           Not specifically                                                                                                          HCU1 shut down. Portions of the units are authorized by
        125757                        06/17/2009 14:45   06/17/2009 17:00     2:15                                  Hydrocracker Unit 1       Flare 17      FLARE17    Sulfur Dioxide       164.00      3242.67                                                                   already counted
609            001209                                                                  authorized                                                                                                                Permit #18287/PSD-TX-730.
               ETSC 001203 -                                                           Not specifically                                                                                                          HCU1 shut down. Portions of the units are authorized by
        125757                        06/17/2009 14:45   06/17/2009 17:00     2:15                                  Hydrocracker Unit 1       Flare 20      FLARE20    Sulfur Dioxide           3.00    3242.67                                                                   already counted
610            001209                                                                  authorized                                                                                                                Permit #18287/PSD-TX-730.
               ETSC 001203 -                                                           Not specifically                                                                                                          HCU1 shut down. Portions of the units are authorized by
        125757                        06/17/2009 14:45   06/17/2009 17:00     2:15                                  Hydrocracker Unit 1       Flare 3        FLARE3    Sulfur Dioxide          69.00    3242.67                                                                   already counted
611            001209                                                                  authorized                                                                                                                Permit #18287/PSD-TX-730.
               ETSC 001203 -                                                           Not specifically                                                                                                          HCU1 shut down. Portions of the units are authorized by
        125757                        06/17/2009 14:45   06/17/2009 17:00     2:15                                  Hydrocracker Unit 1       Flare 6        FLARE6    Sulfur Dioxide          69.00    3242.67                                                                   already counted
612            001209                                                                  authorized                                                                                                                Permit #18287/PSD-TX-730.
                                                                                                                                                                                                                 CO Boiler SG501A tripped offline. Hourly emissions returned
                                                                                                                                                                                                                 to normal by 6/22/09 18:40, but the 24-hr rolling average for
                 ETSC 001210 -                                                         Not specifically            Fluid Catalytic Cracking FCCU3 Wet Gas
        125838                         06/21/2009 9:24   06/22/2009 18:40    33:16                                                                          FCCU3WGS   Sulfur Dioxide          67.00    3242.67 carbon monoxide stayed above the 400 ppm limit set in 30          already counted
                 001211                                                                authorized                           Unit 3             Scrubber
                                                                                                                                                                                                                 TAC Chapter 117 until 6/22/09 21:00. Portions of FCCU3 are
613                                                                                                                                                                                                              authorized under Flexible PAL Permit #18287/PSD-TX-730M4.
                                                                                       Portions of the refinery
                                                                                                                                                                                                                Flaring due to Flexicoker start-up after shut down. This event
                 ETSC 001221 -                                                         are authorized by Permi
        126082                        06/25/2009 21:00    06/29/2009 3:46    78:46                                    Flexicoker (FXK)     Flare Stack 25     FL25     Sulfur Dioxide           1.00    3242.67 has ended. Portions of the refinery are permitted under           already counted
                 001223                                                                #18287 & PSD-TX-
                                                                                                                                                                                                                Permit 18287/PSD-TX-730-M4.
614                                                                                    730M4
         A                B                  C                  D              E                   F                         G                   H              I                   J                   K              L                                           M                                         N                O
                  Bates # of first                                                                                                                                                                  Amount     Reported
      Tracking                                                              Duration                                                        Emission                                                                                                                                                  Number of Days     Traceability
                   page of Final     Start Date & Time   End Date & Time                   Authorization                   Unit                               EPN            Contaminant            Released   Emission                                         Cause
      Number                                                                 (h:mm)                                                          Point                                                                                                                                                      of Violation        Codes
 2                   STEERS                                                                                                                                                                           (lbs)  Limit (lbs/hr)
                                                                                       122 lbs of the 51948 lbs
                                                                                                                                                                                                                                Flaring due to Flexicoker start-up after shut down. This event
                 ETSC 001221 -                                                         are authorized by Permit
        126082                        06/25/2009 21:00    06/29/2009 3:46    78:46                                    Flexicoker (FXK)     Flare Stack 26     FL26            Sulfur Dioxide         51,948.00          3242.67 has ended. Portions of the refinery are permitted under                already counted
                 001223                                                                # 18287 & PSD-TX-
                                                                                                                                                                                                                                Permit 18287/PSD-TX-730-M4.
615                                                                                    730M4
                                                                                       Portions of the refinery
                                                                                                                                                                                                                                Flaring due to Flexicoker start-up after shut down. This event
                 ETSC 001221 -                                                         are authorized by Permi
        126082                        06/25/2009 21:00    06/29/2009 3:46    78:46                                    Flexicoker (FXK)     Flare Stack 27     FL27            Sulfur Dioxide                 1.00       3242.67 has ended. Portions of the refinery are permitted under                already counted
                 001223                                                                #18287 & PSD-TX-
                                                                                                                                                                                                                                Permit 18287/PSD-TX-730-M4.
616                                                                                    730M4
                                                                                                                                                                                                                                Shutdown of compressor C-701 caused HCU1 to shutdown.
                 ETSC 001241 -                                                         Not specifically                                                                                                                         Associated units temporarily reduced rates to minimize
        130563                         10/09/2009 6:37   10/09/2009 12:37     6:00                                  Hydrocracker Unit 1       Flare17        FLARE17          Sulfur Dioxide            321.00          3317.49                                                                        already counted
                 001244                                                                permitted                                                                                                                                emissions. Portions of this event may be authorized under
617                                                                                                                                                                                                                             Permit 18287-PSD-TX-730-M4.
                                                                                                                                                                                                                                Shutdown of compressor C-701 caused HCU1 to shutdown.
                 ETSC 001241 -                                                         Not specifically                                                                                                                         Associated units temporarily reduced rates to minimize
        130563                         10/09/2009 6:37   10/09/2009 12:37     6:00                                  Hydrocracker Unit 1        Flare3          FL3            Sulfur Dioxide                46.00       3317.49                                                                        already counted
                 001244                                                                authorized                                                                                                                               emissions. Portions of this event may be authorized under
618                                                                                                                                                                                                                             Permit 18287-PSD-TX-730-M4.
                                                                                                                                                                                                                                Shutdown of compressor C-701 caused HCU1 to shutdown.
                 ETSC 001241 -                                                         Not specifically                                                                                                                         Associated units temporarily reduced rates to minimize
        130563                         10/09/2009 6:37   10/09/2009 12:37     6:00                                  Hydrocracker Unit 1        Flare6          FL6            Sulfur Dioxide                 4.00       3317.49                                                                        already counted
                 001244                                                                authorized                                                                                                                               emissions. Portions of this event may be authorized under
619                                                                                                                                                                                                                             Permit 18287-PSD-TX-730-M4.
                                                                                       Portions may be
                 ETSC 001316 -                                                                                      Catalytic Light Ends                                                                                             Flaring due to C-75 compressor trip. Portions of the unit
        142407                         07/15/2010 4:32   07/15/2010 10:07     5:35     authorized by Permit                                Flare Stack 20     FL20            Sulfur Dioxide                94.39       3242.67                                                                        already counted
                 001322                                                                                               Unit 3 (CLEU3)                                                                                                 emissions are authorized by Permit #18287/PSD-TX-730.
620                                                                                    18287/PSD-TX-730M4
                                                                                       Portions may be
               ETSC 001316 -                                                                                        Catalytic Light Ends                                                                                        Flaring due to C-75 compressor trip. Portions of the unit
        142407                         07/15/2010 4:32   07/15/2010 10:07     5:35     authorized by Permit                                 Flare Stack 3      FL3            Sulfur Dioxide                58.53       3242.67                                                                        already counted
               001322                                                                                                 Unit 3 (CLEU3)                                                                                            emissions are authorized by Permit #18287/PSD-TX-730.
621                                                                                    18287/PSD-TX-730M4
                                                                                       Portions may be
               ETSC 001316 -                                                                                        Catalytic Light Ends                                                                                        Flaring due to C-75 compressor trip. Portions of the unit
        142407                         07/15/2010 4:32   07/15/2010 10:07     5:35     authorized by Permit                                 Flare Stack 4    FLARE04          Sulfur Dioxide                13.15       3242.67                                                                        already counted
               001322                                                                                                 Unit 3 (CLEU3)                                                                                            emissions are authorized by Permit #18287/PSD-TX-730.
622                                                                                    18287/PSD-TX-730M4
                                                                                       Portions may be
               ETSC 001316 -                                                                                        Catalytic Light Ends                                                                                        Flaring due to C-75 compressor trip. Portions of the unit
        142407                         07/15/2010 4:32   07/15/2010 10:07     5:35     authorized by Permit                                 Flare Stack 5      FL5            Sulfur Dioxide                65.81       3242.67                                                                        already counted
               001322                                                                                                 Unit 3 (CLEU3)                                                                                            emissions are authorized by Permit #18287/PSD-TX-730.
623                                                                                    18287/PSD-TX-730M4
                                                                                       Portions may be
                 ETSC 001316 -                                                                                      Catalytic Light Ends                                                                                             Flaring due to C-75 compressor trip. Portions of the unit
        142407                         07/15/2010 4:32   07/15/2010 10:07     5:35     authorized by Permit                                 Flare Stack 6      FL6            Sulfur Dioxide                28.99       3242.67                                                                        already counted
                 001322                                                                                               Unit 3 (CLEU3)                                                                                                 emissions are authorized by Permit #18287/PSD-TX-730.
624                                                                                    18287/PSD-TX-730M4
                                                                                       Portions are authorized                                                                                                                       Emissions due to loss of flexicoker fractionator bottoms flow.
                 ETSC 068131 -
        160475                          10/12/11 3:44     10/14/11 13:59     58:15     under Permit                      Flexicoker        Flare Stack 26    FLARE 26         Sulfur dioxide         5,549.52       3242.67          Portions of emissions are authorized by Permit #18287/PSD-        already counted
                 068132
625                                                                                    #18287/PSD-TX-730                                                                                                                             TX-730M4/PAL7.
                                                                                       9.86 lbs of the total
                 ETSC 072911 -                                                         283.51 lbs are                                                                                                                                Compressor trip resulted in an atmospheric release at a HCU1
        178267                          1/21/13 3:37       1/22/13 19:00     39:23                                  Hydrocracking Unit 1   Flare Stack 14    FLARE14          Sulfur dioxide         273.65         3,242.67                                                                                 2                F
                 072914                                                                authorized under permit                                                                                                                       safety vent and safe utilization of the flare system.
626                                                                                    18287/PSD-TX-730M4.
627                                                                                                                                                                                                                                                                     TOTAL - SULFUR DIOXIDE              190              162
                                                                                                                                                                                                                                 Scheduled shutdown due to approach of Hurricane Ike.
                 ETSC 001132 -                                                         Permit #18287 & PSD-TX-                             All Blend Gas
        113887                        09/11/2008 12:00   09/15/2008 18:30    102:30                                  Baytown Refinery                                         Sulfuric acid                  1.00          15.86 Portions of the refinery are permitted under Permit                         5
                 001144                                                                730M4                                               Fired Sources
628                                                                                                                                                                                                                              18287/PSD-TX-730-M4.
629                                                                                                                                                                                                                                                                      TOTAL - SULFURIC ACID               5
                                                                                                                                                                                                                                 During the shutdown of the unit, an atmospheric safety valve
                                                                                                                                                                                                                                 on T-451 opened and released light hydrocarbons to the
                                                                                                                                                                          TOTAL NOX: Nitrogen                                    atmopshere. Light ends and hydrogen were also flared on the
                 ETSC 000798 -                                                         Not specifically
         70344                          1/12/06 13:09      1/12/06 13:24      0:15                                                            Flare 17       FLARE 17       Dioxide, Nitrogen                1.42           0.00 Fuels North flare system. VOC is unspeciated C6+ material.                  1               F, H
                 000801                                                                authorized
                                                                                                                                                                               Monoxide                                          The refinery flares are permitted under permit #18287. This
                                                                                                                                                                                                                                 report is being submitted under an interim agreement with
630                                                                                                                                                                                                                              TCEQ Region 12.
                                                                                                                                                                          TOTAL NOX: Nitrogen                                    Facility steam constraints resulted in exceedance of NOx 93
                 ETSC 000796 -                                                         TCEQ Permit #18287           ExxonMobil Baytown
         70360                          1/12/06 21:10      1/13/06 13:11     16:01                                                         GTG45/WHB75      BH7WHB75        Dioxide, Nitrogen          2,280.00             0.00 ppmv limit from the coupled GTG45/WHB75 stack.                              1             H, R-RQ
                 000797                                                                NOx limit of 93 ppmv              Refinery
631                                                                                                                                                                            Monoxide                                          GTG45/WHB75 are permitted under permit #18287.
                                                                                                                                                                          TOTAL NOX: Nitrogen                                      Replaced 250 foot section of jet vent gas line. The refinery
                 ETSC 000732 -                                                         Not specifically
         66872                          11/5/05 0:06       11/6/05 4:16      28:10                                   Booster Station 4        Flare 27       FLARE27        Dioxide, Nitrogen           712.00                0.00 flares are permitted under Permit #18287. This report is being            2            F, H, R-RQ
                 000733                                                                authorized
                                                                                                                                                                               Monoxide                                            submitted under an interim agreement with TCEQ Region 12.
632
                                                                                                                                                                          TOTAL NOX: Nitrogen
                 ETSC 000734 -                                                         Not specifically                                                                                                                              HF4 furnace maintenance resulting in flaring of Low BTU Gas
         66884                          11/1/05 8:51       11/2/05 13:46     28:55                                   Hydrofining Unit 4    Flare Stack 26     FS26          Dioxide, Nitrogen           428.00                0.00                                                                           2            F, H, R-RQ
                 000735                                                                authorized                                                                                                                                    (LBG) normally consumed by the furnace.
633                                                                                                                                                                            Monoxide
                                                                                                                                                                                                                                     Pump P-329A tripped at Flexicoker resulting in flaring.
                                                                                                                                                                          TOTAL NOX: Nitrogen
                 ETSC 000730 -                                                         Not specifically                                                                                                                              Portions of the Flexicoker are permitted under permit
         67926                          11/13/05 5:24     11/14/05 11:29     30:05                                    Flexicoker Unit      Flare Stack 25     FS25          Dioxide, Nitrogen          5,704.00               0.00                                                                           2            F, H, R-RQ
                 000731                                                                authorized                                                                                                                                    #18287. This report is being submitted under an interim
                                                                                                                                                                               Monoxide
634                                                                                                                                                                                                                                  agreement with TCEQ Region 12.
                                                                                                                                                                          TOTAL NOX: Nitrogen                                         During the shutdown of the unit, GTG/WHB-301 exceeded it's
                 ETSC 000806 -                                                         Not specifically                                        FXK
         70283                          1/10/06 8:00       1/11/06 18:00     34:00                                    Flexicoker Unit                       FXKGTGWHB       Dioxide, Nitrogen           483.00                0.00   NOX RACT 24-hour rolling average limit of 400 ppm CO.                   2             H, R-RQ
                 000807                                                                authorized                                          GTG/WHB301
635                                                                                                                                                                            Monoxide                                              GTG/WHB-301 is permitted under Permit #18287.
                                                                                                                                                                                                                                     Maintenance on west loop flare gas recovery compressor C-
                                                                                                                                                                          TOTAL NOX: Nitrogen
                 ETSC 000715 -                                                         Not specifically                                                                                                                              002. VOC is unspeciated C6+ material. The refinery flares are
         68629                          12/12/05 6:00     12/15/05 23:20     89:20                                                             Flare 4       FLARE4         Dioxide, Nitrogen               11.00             0.00                                                                           4               F, H
                 000717                                                                authorized                                                                                                                                    permitted under permit #18287. This report is being
                                                                                                                                                                               Monoxide
636                                                                                                                                                                                                                                  submitted under an interim agreement with TCEQ Region 12.
                                                                                                                                                                                                                                     Maintenance on west loop flare gas recovery compressor C-
                                                                                                                                                                          TOTAL NOX: Nitrogen
                 ETSC 000715 -                                                         Not specifically                                                                                                                              002. VOC is unspeciated C6+ material. The refinery flares are
         68629                          12/12/05 6:00     12/15/05 23:20     89:20                                                             Flare 5       FLARE5         Dioxide, Nitrogen                2.20             0.00                                                                     already counted
                 000717                                                                authorized                                                                                                                                    permitted under permit #18287. This report is being
                                                                                                                                                                               Monoxide
637                                                                                                                                                                                                                                  submitted under an interim agreement with TCEQ Region 12.
                                                                                                                                                                                                                                     Maintenance on west loop flare gas recovery compressor C-
                                                                                                                                                                          TOTAL NOX: Nitrogen
                 ETSC 000715 -                                                         Not specifically                                                                                                                              002. VOC is unspeciated C6+ material. The refinery flares are
         68629                          12/12/05 6:00     12/15/05 23:20     89:20                                                             Flare 3       FLARE3         Dioxide, Nitrogen          1,841.00               0.00                                                                     already counted
                 000717                                                                authorized                                                                                                                                    permitted under permit #18287. This report is being
                                                                                                                                                                               Monoxide
638                                                                                                                                                                                                                                  submitted under an interim agreement with TCEQ Region 12.
                                                                                                                                                                                                                                     During the shutdown of the unit, an atmospheric safety valve
                                                                                                                                                                                                                                     on T-451 opened and released light hydrocarbons to the
                                                                                                                                                                          TOTAL NOX: Nitrogen                                        atmopshere. Light ends and hydrogen were also flared on the
                 ETSC 000798 -                                                         Not specifically
         70344                          1/12/06 13:09      1/12/06 13:24      0:15                                                            Flare 18       FLARE 18       Dioxide, Nitrogen                1.42             0.00   Fuels North flare system. VOC is unspeciated C6+ material.        already counted
                 000801                                                                authorized
                                                                                                                                                                               Monoxide                                              The refinery flares are permitted under permit #18287. This
                                                                                                                                                                                                                                     report is being submitted under an interim agreement with
639                                                                                                                                                                                                                                  TCEQ Region 12.
                                                                                                                                                                                                                                     During the shutdown of the unit, an atmospheric safety valve
                                                                                                                                                                                                                                     on T-451 opened and released light hydrocarbons to the
                                                                                                                                                                          TOTAL NOX: Nitrogen                                        atmopshere. Light ends and hydrogen were also flared on the
                 ETSC 000798 -                                                         Not specifically
         70344                          1/12/06 13:09      1/12/06 13:24      0:15                                                            Flare 20       FLARE 20       Dioxide, Nitrogen                1.42             0.00   Fuels North flare system. VOC is unspeciated C6+ material.        already counted
                 000801                                                                authorized
                                                                                                                                                                               Monoxide                                              The refinery flares are permitted under permit #18287. This
                                                                                                                                                                                                                                     report is being submitted under an interim agreement with
640                                                                                                                                                                                                                                  TCEQ Region 12.
                                                                                                                                                                                                                                     During the shutdown of the unit, an atmospheric safety valve
                                                                                                                                                                                                                                     on T-451 opened and released light hydrocarbons to the
                                                                                                                                                                          TOTAL NOX: Nitrogen                                        atmopshere. Light ends and hydrogen were also flared on the
                 ETSC 000798 -                                                         Not specifically
         70344                          1/12/06 13:09      1/12/06 13:24      0:15                                                            Flare 21       FLARE 21       Dioxide, Nitrogen                                 0.00   Fuels North flare system. VOC is unspeciated C6+ material.        already counted
                 000801                                                                authorized
                                                                                                                                                                               Monoxide                                              The refinery flares are permitted under permit #18287. This
                                                                                                                                                                                                                                     report is being submitted under an interim agreement with
641                                                                                                                                                                                                                                  TCEQ Region 12.
                                                                                       681 lbs of total 1,962 bs
                 ETSC 073073 -                                                         are authorized under          Fluidized Catalytic   FCCU3 Wet Gas                  TOTAL NOX: Nitrogen                                        FCCU3 Selective Catalytic Reduction (SCR) system tripped
        187800                          8/27/13 8:30       8/27/13 16:45      8:20                                                                          FCCU3WGS                                   1,281.00         1747.18                                                                              1             H, R-RQ
                 073074                                                                Permit #18287/PSD-TX-           Cracking Unit 3        Scrubber                   dioxide, Nitrogen Oxide                                     causing NOx emissions to increase.
642                                                                                    730M4/PAL7.
643                                                                                                                                                                                                                                                                             SUBTOTAL OF NOX              15              15
                                                                                       Portions of the refinery
                                                                                                                                                                                                                                 Flaring due to Flexicoker start-up after shut down. This event
                 ETSC 001221 -                                                         are authorized by Permi
        126082                        06/25/2009 21:00    06/29/2009 3:46    78:46                                    Flexicoker (FXK)     Flare Stack 25     FS25             Total Sulfur                  1.00          15.78 has ended. Portions of the refinery are permitted under               already counted
                 001223                                                                #18287 & PSD-TX-
                                                                                                                                                                                                                                 Permit 18287/PSD-TX-730-M4.
644                                                                                    730M4

                                                                                       228 lbs of the 343 lbs are                                                                                                                  Flaring due to Flexicoker start-up after shut down. This event
                 ETSC 001221 -
        126082                        06/25/2009 21:00    06/29/2009 3:46    78:46     authorized by Permit #         Flexicoker (FXK)     Flare Stack 26     FL26             Total Sulfur             343.00                0.00 has ended. Portions of the refinery are permitted under                   4                F
                 001223
                                                                                       18287 & PSD-TX-730M4                                                                                                                        Permit 18287/PSD-TX-730-M4.
645
646                                                                                                                                                                                                                                                        SUBTOTAL of SULFUR COMPOUNDS                      4                4
                                                                                                                                                                                                                                Start-up of the Flexicoker Gas Turbine after a unit turnaround.
                 ETSC 000780 -                                                                                                                                                                                                  During start-up exceeded NOx RACT and RMACT II CO
         72319                          2/27/06 9:00        3/5/06 7:00      142:00    18287                          Flexicoker Unit         GTG301        FXKWHB301          TOTAL VOC                    38.00      6,027.79                                                                              6                H
                 000781                                                                                                                                                                                                         Concentration limits of 400 ppm and 500 ppm. Portions of the
647                                                                                                                                                                                                                             Flexicoker are permitted under Permit #18287.
                                                                                                                                                                          TOTAL VOC: Butane N-,
                                                                                                                                                                            Heptanes, Hexanes,                                  Loss of flame on flare pilots. The event has ended. Portions of
                 ETSC 001325 -                                                         Not specifically               West Loop Flare
        144239                        08/30/2010 16:02   08/30/2010 16:39     0:37                                                          Flare Stack 4    FLARE04      Isobutane, Isopentane,        463.70          6010.61 the unit emissions are authorized by Permit #18287/PSD-TX-                   1               F, H
                 001326                                                                authorized                        System
                                                                                                                                                                         Other, Pentane, Propane,                               730.
648                                                                                                                                                                     Propene, Toluene, Butenes
         A                B                  C                  D              E                   F                       G                   H             I                   J                    K            L                                       M                                         N                O
                  Bates # of first                                                                                                                                                                 Amount     Reported
      Tracking                                                              Duration                                                      Emission                                                                                                                                            Number of Days     Traceability
                   page of Final     Start Date & Time   End Date & Time                   Authorization                 Unit                              EPN           Contaminant               Released   Emission                                   Cause
      Number                                                                 (h:mm)                                                        Point                                                                                                                                                of Violation        Codes
 2                   STEERS                                                                                                                                                                          (lbs)  Limit (lbs/hr)
                                                                                                                                                                      TOTAL VOC: 1-Butene +
                                                                                                                                                                    Isobutylene, Butane N-, Cis-
                                                                                       Portions may be                                                                  2-Butene, Ethylene
               ETSC 001316 -                                                                                      Catalytic Light Ends                                                                                       Flaring due to C-75 compressor trip. Portions of the unit
        142407                         07/15/2010 4:32   07/15/2010 10:07     5:35     authorized by Permit                              Flare Stack 29    FL29        (gaseous), Isobutane,              1.84     6010.61                                                                     already counted
               001322                                                                                               Unit 3 (CLEU3)                                                                                           emissions are authorized by Permit #18287/PSD-TX-730.
                                                                                       18287/PSD-TX-730M4                                                               Propane, Propylene
                                                                                                                                                                    (Propene), Trans-2-Butene,
649                                                                                                                                                                      VOC (unspeciated)
                                                                                                                                                                      TOTAL VOC: 1-Butene +
                                                                                                                                                                    Isobutylene, Butane N-, Cis-
                                                                                       Portions may be                                                                  2-Butene, Ethylene
                 ETSC 001316 -                                                                                    Catalytic Light Ends                                                                                       Flaring due to C-75 compressor trip. Portions of the unit
        142407                         07/15/2010 4:32   07/15/2010 10:07     5:35     authorized by Permit                               Flare Stack 3    FL3         (gaseous), Isobutane,           389.19      6010.61                                                                     already counted
                 001322                                                                                             Unit 3 (CLEU3)                                                                                           emissions are authorized by Permit #18287/PSD-TX-730.
                                                                                       18287/PSD-TX-730M4                                                               Propane, Propylene
                                                                                                                                                                    (Propene), Trans-2-Butene,
650                                                                                                                                                                      VOC (unspeciated)
                                                                                                                                                                      TOTAL VOC: 1-Butene +
                                                                                                                                                                    Isobutylene, Butane N-, Cis-
                                                                                       Portions may be                                                                  2-Butene, Ethylene
                 ETSC 001316 -                                                                                    Catalytic Light Ends                                                                                       Flaring due to C-75 compressor trip. Portions of the unit
        142407                         07/15/2010 4:32   07/15/2010 10:07     5:35     authorized by Permit                               Flare Stack 4   FLARE04      (gaseous), Isobutane,           162.95      6010.61                                                                     already counted
                 001322                                                                                             Unit 3 (CLEU3)                                                                                           emissions are authorized by Permit #18287/PSD-TX-730.
                                                                                       18287/PSD-TX-730M4                                                               Propane, Propylene
                                                                                                                                                                    (Propene), Trans-2-Butene,
651                                                                                                                                                                      VOC (unspeciated)
                                                                                                                                                                      TOTAL VOC: 1-Butene +
                                                                                                                                                                    Isobutylene, Butane N-, Cis-
                                                                                       Portions may be                                                                  2-Butene, Ethylene
                 ETSC 001316 -                                                                                    Catalytic Light Ends                                                                                       Flaring due to C-75 compressor trip. Portions of the unit
        142407                         07/15/2010 4:32   07/15/2010 10:07     5:35     authorized by Permit                               Flare Stack 5    FL5         (gaseous), Isobutane,           786.54      6010.61                                                                     already counted
                 001322                                                                                             Unit 3 (CLEU3)                                                                                           emissions are authorized by Permit #18287/PSD-TX-730.
                                                                                       18287/PSD-TX-730M4                                                               Propane, Propylene
                                                                                                                                                                    (Propene), Trans-2-Butene,
652                                                                                                                                                                      VOC (unspeciated)
                                                                                                                                                                      TOTAL VOC: 1-Butene +
                                                                                                                                                                    Isobutylene, Butane N-, Cis-
                                                                                       Portions may be                                                                  2-Butene, Ethylene
                 ETSC 001316 -                                                                                    Catalytic Light Ends                                                                                       Flaring due to C-75 compressor trip. Portions of the unit
        142407                         07/15/2010 4:32   07/15/2010 10:07     5:35     authorized by Permit                               Flare Stack 6    FL6         (gaseous), Isobutane,           159.93      6010.61                                                                     already counted
                 001322                                                                                             Unit 3 (CLEU3)                                                                                           emissions are authorized by Permit #18287/PSD-TX-730.
                                                                                       18287/PSD-TX-730M4                                                               Propane, Propylene
                                                                                                                                                                    (Propene), Trans-2-Butene,
653                                                                                                                                                                      VOC (unspeciated)

                                                                                                                                                                          TOTAL VOC: 1,2-
                                                                                                                                                                      Dimethylhydrazine, 1,3-
                                                                                                                                                                     Butadiene, 1-Butene, 2,3-
                                                                                                                                                                    Dimethylpentane, 2-Methyl-
                                                                                                                                                                       1-butene, 2-Methyl-2-
                                                                                                                                                                    Butene, 2-Methylhexane, 2-
                                                                                                                                                                    Methylpentene-1. 3-Methyl-
                                                                                                                                                                    1-butene, 3-methylhexane,
                                                                                                                                                                        Butane, Cispentene,
                                                                                                                                                                    Cyclohexane, Cyclpentane,
                                                                                                                                                                                                                            Air emissions are from evaporation of frac tank slop oil spill.
                 ETSC 072695 -                                                                                                           Oil Movements              Heptane (or N-), Heptanes,
        154039                         05/02/2011 6:30   05/02/2011 10:30     4:00                                 Oil Movements                                                                     2,865.30          0.00 Portions of the unit emissions are authorized by Flex PAL                1             H, R-RQ
                 072698                                                                                                                     Area, Spill                  Hexane, Hexenes,
                                                                                                                                                                                                                            Permit #18287/PSD-TX-730M4/PAL7. This event has ended.
                                                                                                                                                                      Isobutane, Isobutylene,
                                                                                                                                                                        Methycyclohexane,
                                                                                                                                                                       Methylcyclopentane,
                                                                                                                                                                          Octanes, Other,
                                                                                                                                                                       Pentadiene, Pentane,
                                                                                                                                                                         Pentene, Propane,
                                                                                                                                                                    Propylene, Toluene, Trans-
                                                                                                                                                                     2-butene, Trans-Pentene,
                                                                                                                                                                     VOC (unspeciated), Xylene
                                                                                                                                                                                m-
654
                                                                                                                                                                          TOTAL VOC: 1,2,4-
                                                                                                                                                                        Trimethylbenzene; 1-
                                                                                                                                                                         Butene; 1-methyl-2-
                                                                                                                                                                     ethylbenzene; 1-methyl-3-
                                                                                                                                                                     ethylbenzene; 1-methyl-4-
                                                                                                                                                                        ethylbenzene; 1c,2t,3-
                                                                                                                                                                       trimethylcyclopentane;
                                                                                                                                                                               1c,2t,4c-
                                                                                                                                                                    trimethylcyclohexane; 1c,3-
                                                                                                                                                                       dimethylcyclopentane;
                                                                                                                                                                               1c,3c,5-
                                                                                                                                                                    trimethylcyclohexane; 1t,2-
                                                                                                                                                                    dimethylcyclopentane; 2,3-
                                                                                                                                                                         Dimethylpentane; 2-
                                                                                                                                                                      Methylhexane; 3-methyl
                                                                                                                  Naphtha Hydrofiner                                 hexane; 4-ethylheptane; 4-                             Leak occurred at the thermowell on an exchanger. Portions of
                 ETSC 001346 -                                                         Not specifically
        149213                        01/06/2011 20:25    01/07/2011 2:25     6:00                               (NHF), Exchanger 702     Pinhole Leak      NA       methyloctane; Butane-N;         2,415.00          0.00 the unit emissions are authorized by Permit #18287. This                 1           H, R-RQ, O-RQ
                 001348                                                                authorized
                                                                                                                           D                                           Butane-i; Cis-2-Butene;                              event has ended.
                                                                                                                                                                             Cyclohexane;
                                                                                                                                                                            Cyclopentane;
                                                                                                                                                                            Ethylbenzene;
                                                                                                                                                                          Ethylcyclopentane;
                                                                                                                                                                        Hexanes; Isopentane;
                                                                                                                                                                         Methylcyclohexane;
                                                                                                                                                                        Methylcyclopentane;
                                                                                                                                                                        Octanes; Orthoxylene;
                                                                                                                                                                         Other; Pentane, N-;
                                                                                                                                                                         Pentenes; Propane;
                                                                                                                                                                      Toluene; VOCs; Decanes;
                                                                                                                                                                     metaxylene; n-Heptane; n-
                                                                                                                                                                              nonane; n-
                                                                                                                                                                         propylcyclopentane;
655                                                                                                                                                                    paraxylene; t-2-butene
                                                                                                                                                                                                                            Scheduled startup due to shutdown for Hurricane Ike. This
                                                                                                                                                                                                                            initial STEERS initial report is based on September 2005
                                                                                                                                                                         TOTAL VOC: 1,3-                                    refinery startup after shutdown due to approach of hurricane.
                                                                                                                                                                      BUTADIENE, Butane i,                                  Portions of the refinery are permitted under Permit
                 ETSC 001156 -                                                         Permit #18287 & PSD-TX-    Baytown Refinery                                      Butane N-, Butene,                                  18287/PSD-TX-730-M4. Note: STEERS would not allow
        114161                        09/15/2008 18:30    10/04/2008 1:00    438:30                                                          Flare 6      FLARE6                                     4,520.00      6,014.44                                                                    already counted
                 001163                                                                730M4                       Operating Units                                     Ethylene (gaseous),                                  submittal of just one report because it exceeded the CCEDS
                                                                                                                                                                      Isobutylene, Propane,                                 requirements. The STEERS contact (Jim Drozd) recommended
                                                                                                                                                                    Propylene (Propene), VOC                                we submit two reports. A previous submitted report with
                                                                                                                                                                                                                            Incident Tracking Number 114157 contains the balance of
656                                                                                                                                                                                                                         information for this startup event.
                                                                                                                                                                        TOTAL VOC: 1,3-
                                                                                                                                                                      BUTADIENE, Butane-I,
                                                                                                                                                                                                                            Scheduled shutdown due to approach of Hurricane Ike.
               ETSC 001132 -                                                           Permit #18287 & PSD-TX-                                                         Butane N-, Butene,
        113887                        09/11/2008 12:00   09/15/2008 18:30    102:30                               Baytown Refinery          Flare 14      FLARE14                                    7,349.00      6,014.44 Portions of the refinery are permitted under Permit                already counted
               001144                                                                  730M4                                                                           Ethylene (gasoue),
                                                                                                                                                                                                                            18287/PSD-TX-730-M4.
                                                                                                                                                                       Propane, Propylene
657                                                                                                                                                                      (Propene), VOC

                                                                                                                                                                          TOTAL VOC: 1,3-
                                                                                                                                                                       BUTADIENE, Butane,                                   Scheduled shutdown due to approach of Hurricane Ike.
                 ETSC 001132 -                                                         Permit #18287 & PSD-TX-
        113887                        09/11/2008 12:00   09/15/2008 18:30    102:30                               Baytown Refinery           Flare 3      FLARE3    Butene, Ethylene (gaseous),      5,040.00      6,014.44 Portions of the refinery are permitted under Permit                already counted
                 001144                                                                730M4
                                                                                                                                                                        Isobutane, Propane,                                 18287/PSD-TX-730-M4.
                                                                                                                                                                     Propylene (Propene), VOC
658
                                                                                                                                                                          TOTAL VOC: 2-
                                                                                                                                                                                                                            During the shutdown of the unit, an atmospheric safety valve
                                                                                                                                                                        methylpentane, 2-
                                                                                                                                                                                                                            on T-451 opened and released light hydrocarbons to the
                                                                                                                                                                     Methylhexane, Butane N-,
                                                                                                                                                                                                                            atmopshere. Light ends and hydrogen were also flared on the
                 ETSC 000798 -                                                         Not specifically                                                             Heptane (or n-), Isobutane,
         70344                          1/12/06 13:09      1/12/06 13:24      0:15                                  Hydroformer 4           OH0452                                                   1,241.73          0.00 Fuels North flare system. VOC is unspeciated C6+ material.               1                H
                 000801                                                                authorized                                                                           Isopentane,
                                                                                                                                                                                                                            The refinery flares are permitted under permit #18287. This
                                                                                                                                                                       Methylcyclopentane,
                                                                                                                                                                                                                            report is being submitted under an interim agreement with
                                                                                                                                                                       Pentane, Propane, di-
                                                                                                                                                                                                                            TCEQ Region 12.
659                                                                                                                                                                  methyl cyclopentane, VOC
                                                                                                                                                                       TOTAL VOC: Benzene,                                   Leaking stormwater roof drain resulted in crude oil on tank
                                                                                       3,977.9 of 8,203.9 lbs
                 ETSC 001076 -                                                                                                                                      Ethylbenzene, Orthoxylene,                               roof. Secondary mist released at ground level sewer and
        103838                         02/16/2008 8:30   02/20/2008 12:00    99:30     authorized by Permit        Oil Movements         Tank 1095 roof   TK1095                                     8,161.40      6014.44                                                                     already counted
                 001078                                                                                                                                                paraxylene, Propane,                                  vapor released from tank roof. Portions of Oil Movements,
                                                                                       18287
660                                                                                                                                                                        Toluene, VOC                                      including the tank, authorized in Permit 18287.
         A                B                  C                  D              E                   F                          G                     H                 I                     J                     K               L                                             M                                      N                  O
                  Bates # of first                                                                                                                                                                            Amount     Reported
      Tracking                                                              Duration                                                           Emission                                                                                                                                                         Number of Days      Traceability
                   page of Final     Start Date & Time   End Date & Time                   Authorization                    Unit                                    EPN              Contaminant              Released   Emission                                            Cause
      Number                                                                 (h:mm)                                                             Point                                                                                                                                                             of Violation         Codes
 2                   STEERS                                                                                                                                                                                     (lbs)  Limit (lbs/hr)
                                                                                                                                                                                TOTAL VOC: Butadiene, 2-
                                                                                                                                                                                     Methypentane, 3-
                                                                                                                                                                                Methylpentane, 3-Methyl-1-
                                                                                                                                                                                 Butene, Butane, Butene,                                      Shift in power supply to Hydrofining Unit 9 (HU9) resulted in
                                                                                                                                                                                       Cis-2-Butene,                                          depressuring to D-500 atmospheric vent. HU9 diversion
                 ETSC 000947 -                                                         Not specifically                                        D-500 ATM
         96519                          8/23/07 20:13      8/24/07 1:07       4:54                                   Hydrofining Unit #9                                          Cyclopentane, Hexane,          4,219.80                0.00 resulted in flaring of Low Btu Gas normally used in HU9                  1               H, R-RQ
                 000949                                                                authorized                                                 Vent
                                                                                                                                                                                  Isobutane, Isopentane,                                      furnaces. Portions of the BTRF Refinery are authorized by
                                                                                                                                                                                  Pentadienes, Pentane,                                       Flex/PAL Permit No. 18287.
                                                                                                                                                                                    Pentene, Propane,
                                                                                                                                                                                Propylene (Propene), Trans-
661                                                                                                                                                                                   2-Butene, VOC
                                                                                                                                                                                   TOTAL VOC: Butane i,
                                                                                                                                                                                    Butane N-, Butene,                                     Scheduled shutdown due to approach of Hurricane Ike.
                 ETSC 001132 -                                                         Permit #18287 & PSD-TX-
        113887                        09/11/2008 12:00   09/15/2008 18:30    102:30                                   Baytown Refinery           Flare 15         FLARE15           Ethylene (gaseous),        15,714.00          6,014.44 Portions of the refinery are permitted under Permit                   already counted
                 001144                                                                730M4
                                                                                                                                                                                    Pentane, Propane,                                      18287/PSD-TX-730-M4.
662                                                                                                                                                                             Propylene (Propene), VOC
                                                                                                                                                                                   TOTAL VOC: Butane i,
                                                                                                                                                                                    Butane N-, Butene,
                 EOMCS 00024373 -                                                      Not specifically                                                                                                                                         HCU1 shut down. Portions of the units are authorized by
        124215                        05/12/2009 15:46   05/15/2009 20:48    77:02                                   Hydrocracker Unit 1         Flare 11         FLARE11           Ethylene (gaseous),                 9.00      6014.44                                                                        already counted
                 000024382                                                             authorized                                                                                                                                               Permit #18287/PSD-TX-730.
                                                                                                                                                                                    Propane, Propylene
663                                                                                                                                                                                   (Propene), VOC
                                                                                                                                                                                   TOTAL VOC: Butane i,
                                                                                                                                                                                    Butane N-, Butene,
                 EOMCS 00024373 -                                                      186 lbs of the 427 lbs are                                                                                                                               HCU1 shut down. Portions of the units are authorized by
        124215                        05/12/2009 15:46   05/15/2009 20:48    77:02                                   Hydrocracker Unit 1         Flare 14         FLARE14           Ethylene (gaseous),           427.00          6014.44                                                                        already counted
                 000024382                                                             authorized                                                                                                                                               Permit #18287/PSD-TX-730.
                                                                                                                                                                                    Propane, Propylene
664                                                                                                                                                                                   (Propene), VOC
                                                                                                                                                                                   TOTAL VOC: Butane i,
                 EOMCS 00024373 -                                                      Not specifically                                                                          Butane N-, Cis-2-Butene,                                       HCU1 shut down. Portions of the units are authorized by
        124215                        05/12/2009 15:46   05/15/2009 20:48    77:02                                   Hydrocracker Unit 1         FV-702            FV-702                                             52.00       6014.44                                                                        already counted
                 000024382                                                             authorized                                                                                 Pentane, Propane, VOC                                         Permit #18287/PSD-TX-730.
665                                                                                                                                                                                        (C6+)
                                                                                                                                                                                                                                              Scheduled startup due to shutdown for Hurricane Ike. This
                                                                                                                                                                                                                                              initial STEERS initial report is based on September 2005
                                                                                                                                                                                                                                              refinery startup after shutdown due to approach of hurricane.
                                                                                                                                                                                                                                              Portions of the refinery are permitted under Permit
                                                                                                                                               PS7 Tower T-                       TOTAL VOC: Butane i,
                 ETSC 001156 -                                                         Not specifically               Baytown Refinery                                                                                                        18287/PSD-TX-730-M4. Note: STEERS would not allow
        114161                        09/15/2008 18:30    10/04/2008 1:00    438:30                                                           702 Overhead                         Butane N-, Pentene,                80.00              0.00                                                                    already counted
                 001163                                                                authorized                      Operating Units                                                                                                        submittal of just one report because it exceeded the CCEDS
                                                                                                                                                   Leak                                 Propane
                                                                                                                                                                                                                                              requirements. The STEERS contact (Jim Drozd) recommended
                                                                                                                                                                                                                                              we submit two reports. A previous submitted report with
                                                                                                                                                                                                                                              Incident Tracking Number 114157 contains the balance of
666                                                                                                                                                                                                                                           information for this startup event.
                                                                                                                                                                                                                                              Instrumentation malfunction at reactor R3 caused the
                                                                                                                                                                                  TOTAL VOC: Butane N-,                                       depressurization valves to open for approximately six
                                                                                                                                                 HCU1
                 ETSC 001327 -                                                         Not specifically              Hydrocracking Unit 1                                           Butane i-, Pentanes                                       minutes, resulting in an atmospheric release at HCU1 D401
        144890                        09/15/2010 13:59   09/15/2010 15:38     1:39                                                            atmospheric      HCU1 D401 D902                                    1,686.00                0.00                                                                    already counted
                 001328                                                                authorized                          (HCU1)                                                Propane, Propylene, VOC                                      D902 and flaring at FLARE14. Portions of this unit are
                                                                                                                                                 vent
                                                                                                                                                                                      (unspeciated)                                           authorized by Permit #18287/PSD-TX-730. The event has
667                                                                                                                                                                                                                                           ended.
                                                                                                                                                                               TOTAL VOC: Butane N-,
                 ETSC 001203 -                                                         Not specifically                                                                       Butane I, Butene, Ethylene                                        HCU1 shut down. Portions of the units are authorized by
        125757                        06/17/2009 14:45   06/17/2009 17:00     2:15                                   Hydrocracker Unit 1         Flare 14         FLARE14                                             22.00       6010.61                                                                        already counted
                 001209                                                                authorized                                                                                (gaseous), Propane,                                            Permit #18287/PSD-TX-730.
668                                                                                                                                                                           Propylene (Propene), VOC
                                                                                                                                                                               TOTAL VOC: Butane N-,
                 ETSC 001203 -                                                         Not specifically                                                                         Butane I, Butenes (all                                          HCU1 shut down. Portions of the units are authorized by
        125757                        06/17/2009 14:45   06/17/2009 17:00     2:15                                   Hydrocracker Unit 1         Flare 17         FLARE17                                         111.00          6010.61                                                                        already counted
                 001209                                                                authorized                                                                                isomers), Propane,                                             Permit #18287/PSD-TX-730.
669                                                                                                                                                                           Propylene (Propene), VOC
                                                                                                                                                                               TOTAL VOC: Butane N-,
                 ETSC 001203 -                                                         Not specifically                                                                         Butane I, Butenes (all                                          HCU1 shut down. Portions of the units are authorized by
        125757                        06/17/2009 14:45   06/17/2009 17:00     2:15                                   Hydrocracker Unit 1         Flare 20         FLARE20                                               6.00      6010.61                                                                        already counted
                 001209                                                                authorized                                                                                isomers), Propane,                                             Permit #18287/PSD-TX-730.
670                                                                                                                                                                           Propylene (Propene), VOC
                                                                                                                                                                               TOTAL VOC: Butane N-,                                      Exchanger leak resulted in subsequent unit shutdown and
                 ETSC 001374 -                                                         Not specifically               Hydrocracking unit      Atmospheric                       Butane i, Isopentane,                                     depressure through HCU1 D401 D902 atmospheric vent.
        156361                          6/30/11 21:29      6/30/11 22:36      1:07                                                                             HCU1 D401 D902                                  495.00           0.00                                                                                   1                  H
                 001375                                                                authorized                          (HCU1)                vent                          Pentane, Propane, VOC                                      Portions of the unit emissions are authorized by Permit
671                                                                                                                                                                                      (C6+)                                            #18287/PSD-TX-730.
                                                                                                                                                                               TOTAL VOC: Butane N-,                                      Power disruption resulted in shutdown of unit, causing
                 ETSC 001372 -                                                         Not specifically               Hydrocracking unit      Atmospheric
        155973                          6/21/11 5:13       6/21/11 5:34       0:21                                                                             HCU1 D401 D902   Butane i, Isopentane,          623.00           0.00      atmospheric release at HCU1D401 D902. Portions of the unit                   1                  H
                 001373                                                                authorized                          (HCU1)                vent
672                                                                                                                                                                            Pentane, Propane, VOCs                                     emissions are authorized by Permit #18287/PSD-TX-730.
                                                                                                                                                                                                                                          Shutdown of compressor C-701 caused HCU1 to shutdown.
                                                                                                                                                                                 TOTAL VOC: Butane N-,
                 ETSC 001241 -                                                         Not specifically                                                                                                                                   Associated units temporarily reduced rates to minimize
        130563                         10/09/2009 6:37   10/09/2009 12:37     6:00                                   Hydrocracker Unit 1         Flare14          FLARE14          Butane i, Propane,                 82.00       6014.44                                                                        already counted
                 001244                                                                authorized                                                                                                                                         emissions. Portions of this event may be authorized under
                                                                                                                                                                                Propylene (Propene), VOC
673                                                                                                                                                                                                                                       Permit 18287-PSD-TX-730-M4.
               ETSC 001203 -                                                           Not specifically                                                                           TOTAL VOC: Butane N-,                                   HCU1 shut down. Portions of the units are authorized by
        125757                        06/17/2009 14:45   06/17/2009 17:00     2:15                                   Hydrocracker Unit 1         FV-702            FV-702                                             94.00       6010.61                                                                        already counted
674            001209                                                                  authorized                                                                                 Butane i, Propane, VOC                                  Permit #18287/PSD-TX-730.
               ETSC 001203 -                                                           Not specifically                                                                           TOTAL VOC: Butane N-,                                   HCU1 shut down. Portions of the units are authorized by
        125757                        06/17/2009 14:45   06/17/2009 17:00     2:15                                   Hydrocracker Unit 1         Flare 11         FLARE11                                               4.00      6010.61                                                                        already counted
675            001209                                                                  authorized                                                                                 Butane i, Propane, VOC                                  Permit #18287/PSD-TX-730.
                                                                                                                                                                                  TOTAL VOC: Butane N-,
                                                                                       Portions may be                                                                             Butene, Cis-2-butene,                                        Compressor trip resulted in unit shutdown, causing
                 ETSC 072655 -                                                         authorized under Permit       Hydrocracking Unit 1                                           Ethylene (gaseous),                                         subsequent emissions and flaring. Portions of the unit
        168050                          5/1/12 17:39        5/2/12 2:29       8:50                                                            Flare Stack 11      FLARE11                                       35.65          6117.32                                                                           already counted
                 072658                                                                18287/PSD-TX-                       (HCU1)                                                   Isobutane, Propane,                                         emissions are authorized by Permit #18287/PSD-TX-
                                                                                       730M4/PAL7.                                                                              Propylene (Propene), Trans-                                     730M4/PAL7.
676                                                                                                                                                                                    2-Butene, VOC
                                                                                                                                                                                  TOTAL VOC: Butane N-,
                                                                                                                                                                                   Butene, Cis-2-butene,
                 ETSC 000862 -                                                         Not specifically              Baytown Refinery                                                                                                           Flameout on all pilot lights. Portions of the facility are
         80937                          8/29/06 22:40      8/30/06 0:20       1:40                                                               Flare 14         FLARE14           Ethylene (gaseous),          2,166.80                0.00                                                                          1              F, H, R-RQ
                 000863                                                                authorized                   Operating Units: FS14                                                                                                       authorized under permit number 18287.
                                                                                                                                                                                    Isobutane, Propane,
677                                                                                                                                                                              Propylene (Propene), VOC
                                                                                       45.81 lbs of total 53.51                                                                   TOTAL VOC: Butane N-,                                         Compressor trip resulted in unit shutdown, causing
                 ETSC 072655 -                                                         lbs are authorized under      Hydrocracking Unit 1                                          Butene, Cis-2-butene,                                        subsequent emissions and flaring. Portions of the unit
        168050                          5/1/12 17:39        5/2/12 2:29       8:50                                                            Flare Stack 14      FLARE14                                        7.70          6117.32                                                                           already counted
                 072658                                                                Permit #18287/PSD-TX-               (HCU1)                                                   Ethylene (gaseous),                                         emissions are authorized by Permit #18287/PSD-TX-
678                                                                                    730M4/PAL7                                                                               Isobutane, Trans-2-butene                                       730M4/PAL7.
                                                                                                                                                                                  TOTAL VOC: Butane N-,
                                                                                       No specific emissions                                                                       Butene, Cis-2-butene,
                 ETSC 000726 -                                                                                                                                                                                                                  Leak off of HUR9 T-371 resulting in emissions to atmosphere.                       H, R-RQ, O-M, R-
         68705                         11/29/05 20:00     11/29/05 23:30      3:30     authorizations for this        Hydrofining Unit 9       HU9 T-371                          Isobutane, Isopentane,         1,697.00                0.00                                                                          1
                 000727                                                                                                                                                                                                                         Cause is still under investigation.                                                       M
                                                                                       facility                                                                                     Propane, Propylene
679                                                                                                                                                                             (Propene), Trans-2-butene
                                                                                                                                                                                  TOTAL VOC: Butane N-,
                                                                                                                                                                                                                                                Maintenance on west loop flare gas recovery compressor C-
                                                                                                                                                                                Butene, Ethylene (gaseous),
                 ETSC 000715 -                                                         Not specifically                                                                                                                                         002. VOC is unspeciated C6+ material. The refinery flares are
         68629                          12/12/05 6:00     12/15/05 23:20     89:20                                                               Flare 4           FLARE4           Isobutane, Pentane,           152.40                 0.00                                                                          4                 F, H
                 000717                                                                authorized                                                                                                                                               permitted under permit #18287. This report is being
                                                                                                                                                                                    Propane, Propylene
                                                                                                                                                                                                                                                submitted under an interim agreement with TCEQ Region 12.
680                                                                                                                                                                                    (Propene), VOC
                                                                                                                                                                                  TOTAL VOC: Butane N-,
                                                                                                                                                                                                                                                Maintenance on west loop flare gas recovery compressor C-
                                                                                                                                                                                Butene, Ethylene (gaseous),
                 ETSC 000715 -                                                         Not specifically                                                                                                                                         002. VOC is unspeciated C6+ material. The refinery flares are
         68629                          12/12/05 6:00     12/15/05 23:20     89:20                                                               Flare 5           FLARE5           Isobutane, Pentane,               27.40              0.00                                                                    already counted
                 000717                                                                authorized                                                                                                                                               permitted under permit #18287. This report is being
                                                                                                                                                                                    Propane, Propylene
                                                                                                                                                                                                                                                submitted under an interim agreement with TCEQ Region 12.
681                                                                                                                                                                                    (Propene), VOC
                                                                                                                                                                                  TOTAL VOC: Butane N-,
                                                                                                                                                                                                                                                Maintenance on west loop flare gas recovery compressor C-
                                                                                                                                                                                Butene, Ethylene (gaseous),
                 ETSC 000715 -                                                         Not specifically                                                                                                                                         002. VOC is unspeciated C6+ material. The refinery flares are
         68629                          12/12/05 6:00     12/15/05 23:20     89:20                                                               Flare 3           FLARE3           Isobutane, Pentane,        25,181.00                 0.00                                                                    already counted
                 000717                                                                authorized                                                                                                                                               permitted under permit #18287. This report is being
                                                                                                                                                                                    Propane, Propylene
                                                                                                                                                                                                                                                submitted under an interim agreement with TCEQ Region 12.
682                                                                                                                                                                                    (Propene), VOC

                                                                                                                                                                                  TOTAL VOC: Butane N-,
                                                                                                                                                                                                                                              Two pilot outages occurred on flare stack 14 over the course
                 ETSC 000826 -                                                         Not specifically                                                                         Butene, Ethylene (gaseous),
         76597                          6/1/06 17:30       6/1/06 21:30       4:00                                  Fuels East Flare System      Flare 14         FLARE14                                         387.00                 0.00 of 4 hours. VOC is C6+ unspeciated material. Portions of the             1              F, H, R-RQ
                 000827                                                                authorized                                                                                   Isobutane, Propane,
                                                                                                                                                                                                                                              Fuels East Flare System are authorized under permit #18267.
                                                                                                                                                                                 Propylene (Propene), VOC
683
                                                                                                                                                                                  TOTAL VOC: Butane N-,
                 ETSC 001203 -                                                         33.3 lbs of the 101 lbs                                                                  Butene, Ethylene (gaseous),                                     HCU1 shut down. Portions of the units are authorized by
        125757                        06/17/2009 14:45   06/17/2009 17:00     2:15                                   Hydrocracker Unit 1         Flare 4           FLARE4                                         101.00          6010.61                                                                              1                 F, H
                 001209                                                                are authorized                                                                               Isobutane, Propane,                                         Permit #18287/PSD-TX-730.
                                                                                                                                                                                 Propylene (Propene), VOC
684
                                                                                                                                                                                  TOTAL VOC: Butane N-,
                 EOMCS 00024373 -                                                                                                                                               Butene, Ethylene (gaseous),                                     HCU1 shut down. Portions of the units are authorized by
        124215                        05/12/2009 15:46   05/15/2009 20:48    77:02     108 lbs are authorized        Hydrocracker Unit 1         Flare 4           FLARE4                                         110.00          6014.44                                                                        already counted
                 000024382                                                                                                                                                          Isobutane, Propane,                                         Permit #18287/PSD-TX-730.
                                                                                                                                                                                 Propylene (Propene), VOC
685
                                                                                                                                                                                  TOTAL VOC: Butane N-,                                         Shutdown of compressor C-701 caused HCU1 to shutdown.
                 ETSC 001241 -                                                         Not specifically                                                                             Butene, Isobutane,                                          Associated units temporarily reduced rates to minimize
        130563                         10/09/2009 6:37   10/09/2009 12:37     6:00                                   Hydrocracker Unit 1         Flare17          FLARE17                                        1,953.00         6014.44                                                                        already counted
                 001244                                                                permitted                                                                                  Pentanes, Propane N-,                                         emissions. Portions of this event may be authorized under
686                                                                                                                                                                             Propylene (Propene), VOC                                        Permit 18287-PSD-TX-730-M4.
                                                                                                                                                                                  TOTAL VOC: Butane N-,
                                                                                       Portions may be
                                                                                                                                                                                  Cyclohexane, Hexanes,                                         Discovered hole in T-730 Light Virgin Naptha Draw Line.
                 ETSC 068135 -                                                         authorized under Permit
        162866                         12/16/11 19:30     12/20/11 21:30     98:00                             Crude Light Ends (CLE)          Hole in Pipe                      Isopentane, Pentane N-,       6,754.00         0.00            Portions of the unit emissions are authorized by Permit                4               H, R-RQ
                 068136                                                                #18287/PSD-TX-
                                                                                                                                                                                    VOC (unspeciated),                                          #18287/PSD-TX-730M4/PAL7.
                                                                                       730M4/PAL7
687                                                                                                                                                                                Methylcyclopentane
         A                B                  C                  D              E                   F                        G                    H                 I                    J                    K            L                                           M                                      N                O
                  Bates # of first                                                                                                                                                                        Amount     Reported
      Tracking                                                              Duration                                                        Emission                                                                                                                                                  Number of Days     Traceability
                   page of Final     Start Date & Time   End Date & Time                   Authorization                  Unit                                   EPN             Contaminant              Released   Emission                                      Cause
      Number                                                                 (h:mm)                                                          Point                                                                                                                                                      of Violation        Codes
 2                   STEERS                                                                                                                                                                                 (lbs)  Limit (lbs/hr)
                                                                                                                                                                              TOTAL VOC: Butane N-,
                                                                                                                                                                                Hexane, Isobutane,
                 ETSC 000923 -                                                         Not specifically                                   P451 B suction
        101421                          12/17/07 1:00      12/17/07 5:30      4:30                                   Hydroformer 4                                           Isobutylene, Isopentane,       1,054.00            0.00 Stabilizer pump suction leak to atmosphere.                             1                H
                 000924                                                                authorized                                            piping
                                                                                                                                                                                Pentane, Propane,
688                                                                                                                                                                            Propylene (Propene)
                                                                                                                                                                                                                                       During the shutdown of the unit, an atmospheric safety valve
                                                                                                                                                                                                                                       on T-451 opened and released light hydrocarbons to the
                                                                                                                                                                             TOTAL VOC: Butane N-,                                     atmopshere. Light ends and hydrogen were also flared on the
                 ETSC 000798 -                                                         Not specifically
         70344                          1/12/06 13:09      1/12/06 13:24      0:15                                                            Flare 21         FLARE 21      Isobutane, Isopentane,               7.26          0.00   Fuels North flare system. VOC is unspeciated C6+ material.      already counted
                 000801                                                                authorized
                                                                                                                                                                             Pentane, Propane, VOC                                     The refinery flares are permitted under permit #18287. This
                                                                                                                                                                                                                                       report is being submitted under an interim agreement with
689                                                                                                                                                                                                                                    TCEQ Region 12.
                                                                                                                                                                                                                                       During the shutdown of the unit, an atmospheric safety valve
                                                                                                                                                                                                                                       on T-451 opened and released light hydrocarbons to the
                                                                                                                                                                              TOTAL VOC: Butane N-,                                    atmopshere. Light ends and hydrogen were also flared on the
                 ETSC 000798 -                                                         Not specifically
         70344                          1/12/06 13:09      1/12/06 13:24      0:15                                                            Flare 17         FLARE 17       Isobutane, Isopentane,              7.26          0.00   Fuels North flare system. VOC is unspeciated C6+ material.      already counted
                 000801                                                                authorized
                                                                                                                                                                              Pentane, Propane, VOC                                    The refinery flares are permitted under permit #18287. This
                                                                                                                                                                                                                                       report is being submitted under an interim agreement with
690                                                                                                                                                                                                                                    TCEQ Region 12.
                                                                                                                                                                                                                                       During the shutdown of the unit, an atmospheric safety valve
                                                                                                                                                                                                                                       on T-451 opened and released light hydrocarbons to the
                                                                                                                                                                              TOTAL VOC: Butane N-,                                    atmopshere. Light ends and hydrogen were also flared on the
                 ETSC 000798 -                                                         Not specifically
         70344                          1/12/06 13:09      1/12/06 13:24      0:15                                                            Flare 18         FLARE 18       Isobutane, Isopentane,              7.26          0.00   Fuels North flare system. VOC is unspeciated C6+ material.      already counted
                 000801                                                                authorized
                                                                                                                                                                              Pentane, Propane, VOC                                    The refinery flares are permitted under permit #18287. This
                                                                                                                                                                                                                                       report is being submitted under an interim agreement with
691                                                                                                                                                                                                                                    TCEQ Region 12.
                                                                                                                                                                                                                                       During the shutdown of the unit, an atmospheric safety valve
                                                                                                                                                                                                                                       on T-451 opened and released light hydrocarbons to the
                                                                                                                                                                              TOTAL VOC: Butane N-,                                    atmopshere. Light ends and hydrogen were also flared on the
                 ETSC 000798 -                                                         Not specifically
         70344                          1/12/06 13:09      1/12/06 13:24      0:15                                                            Flare 20         FLARE 20       Isobutane, Isopentane,              7.26          0.00   Fuels North flare system. VOC is unspeciated C6+ material.      already counted
                 000801                                                                authorized
                                                                                                                                                                              Pentane, Propane, VOC                                    The refinery flares are permitted under permit #18287. This
                                                                                                                                                                                                                                       report is being submitted under an interim agreement with
692                                                                                                                                                                                                                                    TCEQ Region 12.
                                                                                                                                                                                                                                       Compressor trip resulted in unit shutdown, causing
                                                                                                                                                                             TOTAL VOC: Butane N-,
                 ETSC 072655 -                                                         Not specifically            Hydrocracking Unit 1        E-702                                                                                   subsequent emissions and flaring. Portions of the unit
        168050                          5/1/12 17:39        5/2/12 2:29       8:50                                                                                            Isobutane, Isopentane,        11.40        0.00                                                                                1                H
                 072658                                                                authorized                        (HCU1)              Exchanger                                                                                 emissions are authorized by Permit #18287/PSD-TX-
                                                                                                                                                                             Pentane, Propane, VOCs
693                                                                                                                                                                                                                                    730M4/PAL7.
                                                                                                                                                                                                                                       Unit instability due to compressor C-701 issues resulted in
                                                                                                                                                                              TOTAL VOC: Butane N-,
                                                                                                                                                                                                                                       depressuring to D-401 and D-902 atmospheric vents. The
                 ETSC 000830 -                                                         Not specifically                                                                       Isobutane, Isopentane,
         76501                          5/31/06 9:15       5/31/06 9:20       0:05                                 Hydrocracking Unit 1    D902 & D401        D902 & D401                                   2,613.00            0.00   event has ended and unit personnel are restarting the unit.           1             H, R-RQ
                 000831                                                                authorized                                                                               Propane, Propylene
                                                                                                                                                                                                                                       The VOC portion represents C6's and higher. Portions of HCU1
                                                                                                                                                                                  (Propene), VOC
694                                                                                                                                                                                                                                    are authorized under permit #18267.
                                                                                                                                                                              TOTAL VOC: Butane N-,
                                                                                                                                                                                                                                     The HCU unit tripped off-line which resulted in depressuring
                 ETSC 000877 -                                                                                                                                                 Isobutane, Isopentane,
         79486                          8/4/06 22:46       8/4/06 23:04       0:18     No specific authorization    Hydrocraker Unit       D902 & D401        D902 & D401                                   4,046.00            0.00 to D-401 and D-902 atmospheric vents. Portions of the HCU               1             H, R-RQ
                 000878                                                                                                                                                          Propane, Propylene
                                                                                                                                                                                                                                     unit are covered under permit #18287/PSD-TX-730-M3.
695                                                                                                                                                                                 (Propene), VOC
                                                                                                                                                                              TOTAL VOC: Butane N-,                                  Shutdown of compressor C-701 caused HCU1 to shutdown.
                 ETSC 001241 -                                                         Not specifically                                                                        Isobutane, Isopentane,                                Associated units temporarily reduced rates to minimize
        130563                         10/09/2009 6:37   10/09/2009 12:37     6:00                                 Hydrocracker Unit 1      D 401/902                                                       7,117.00            0.00                                                                         1             H, R-RQ
                 001244                                                                authorized                                                                                Propane, Propylene                                  emissions. Portions of this event may be authorized under
696                                                                                                                                                                                 (Propene), VOC                                   Permit 18287-PSD-TX-730-M4.
                                                                                                                                                                              TOTAL VOC: Butane N-,
                 EOMCS 00024373 -                                                      Not specifically                                                                       Isobutane, pentane iso,                                  HCU1 shut down. Portions of the units are authorized by
        124215                        05/12/2009 15:46   05/15/2009 20:48    77:02                                 Hydrocracker Unit 1    Drums 401/902        D-401/902                                    8,050.00       6014.44                                                                           4             H, R-RQ
                 000024382                                                             authorized                                                                                Propane, Propylene                                    Permit #18287/PSD-TX-730.
697                                                                                                                                                                                 (Propene), VOC
                                                                                                                                                                              TOTAL VOC: Butane N-,
                 ETSC 001203 -                                                         Not specifically                                                                          Isobutane, Propane,                                   HCU1 shut down. Portions of the units are authorized by
        125757                        06/17/2009 14:45   06/17/2009 17:00     2:15                                 Hydrocracker Unit 1    Drums 401/902        D-401/902                                    3,644.00       6010.61                                                                     already counted
                 001209                                                                authorized                                                                               Propylene (Propene),                                   Permit #18287/PSD-TX-730.
698                                                                                                                                                                               Pentane (iso), VOC
                                                                                                                                                                                TOTAL VOC: Butane-I,
                                                                                                                                                                                                                                     Scheduled shutdown due to approach of Hurricane Ike.
                 ETSC 001132 -                                                         Permit #18287 & PSD-TX-                                                              Butene, Ethylene (gasous),
        113887                        09/11/2008 12:00   09/15/2008 18:30    102:30                                 Baytown Refinery       Flare Stack 25        FS25                                         778.00            0.00 Portions of the refinery are permitted under Permit                     5             H, R-RQ
                 001144                                                                730M4                                                                                     Propane, Propylene
                                                                                                                                                                                                                                     18287/PSD-TX-730-M4.
699                                                                                                                                                                                 (Propene), VOC
                                                                                                                                                                                TOTAL VOC: Butane,                                 Instrumentation malfunction at reactor R3 caused the
                                                                                       2.002 of total 46.949 lbs                                                               Butane i, Cis-2-butene,                             depressurization valves to open for approximately six
                 ETSC 001327 -                                                         are authorized under        Hydrocracking Unit 1    Flare Stack 14                        Ethylene (gaseous),                               minutes, resulting in an atmospheric release at HCU1 D401
        144890                        09/15/2010 13:59   09/15/2010 15:38     1:39                                                                              FLARE14                                          44.95     6010.61                                                                           1                H
                 001328                                                                Permit #18287/PSD-TX-             (HCU1)                (FECC)                       Propane, Propylene, Trans-                             D902 and flaring at FLARE14. Portions of this unit are
                                                                                       730.                                                                                          2-butene, VOC                                 authorized by Permit #18287/PSD-TX-730. The event has
700                                                                                                                                                                                  (unspeciated)                                 ended.
                                                                                                                                                                                TOTAL VOC: Butane,
                                                                                                                                                                             Butane N-, Cyclopentane,
                                                                                                                                                                                 Ethylene (gaseous),
                 ETSC 000881 -                                                         Not specifically                                   Hole in piping at                                                                            Pin hole leak on line at Booster Station 4. Portions of the
         78440                          7/12/06 11:35      7/13/06 9:47      22:12                                  Booster Station 4                                          Isobutane, Isopentane,         408.00            0.00                                                                         1             H, R-RQ
                 000882                                                                authorized                                               BS4                                                                                    Refinery are permitted under Permit #18287.
                                                                                                                                                                               Pentadienes, Pentane,
                                                                                                                                                                                 Propane, Propylene
701                                                                                                                                                                                    (Propene)
                                                                                                                                                                                TOTAL VOC: Butane,
                                                                                                                                                                                                                                   Scheduled shutdown due to approach of Hurricane Ike.
                 ETSC 001132 -                                                         Permit #18287 & PSD-TX-                                                              Butane-I, Butene, Ethylene
        113887                        09/11/2008 12:00   09/15/2008 18:30    102:30                                 Baytown Refinery          Flare 11          FLARE11                                       165.00      6,014.44 Portions of the refinery are permitted under Permit                 already counted
                 001144                                                                730M4                                                                                      (gaseou), Propane,
                                                                                                                                                                                                                                   18287/PSD-TX-730-M4.
702                                                                                                                                                                         Propylene (Propene), VOC

                                                                                                                                                                               TOTAL VOC: Butane,
                                                                                                                                                                                                                                       Pump P-329A tripped at Flexicoker resulting in flaring.
                                                                                                                                                                            Butene, Ethylene (gaseous),
                 ETSC 000730 -                                                         Not specifically                                                                                                                                Portions of the Flexicoker are permitted under permit
         67926                          11/13/05 5:24     11/14/05 11:29     30:05                                   Flexicoker Unit       Flare Stack 25        FS25         Isobutane, Isopentane,          997.00            0.00                                                                         2            F, H, R-RQ
                 000731                                                                authorized                                                                                                                                      #18287. This report is being submitted under an interim
                                                                                                                                                                                Pentane, Propane,
                                                                                                                                                                                                                                       agreement with TCEQ Region 12.
                                                                                                                                                                             Propylene (Propene), VOC
703
                                                                                                                                                                               TOTAL VOC: Butane,
                                                                                                                                                                                                                                   Scheduled shutdown due to approach of Hurricane Ike.
                 ETSC 001132 -                                                         Permit #18287 & PSD-TX-                                                              Butene, Ethylene (gaseous),
        113887                        09/11/2008 12:00   09/15/2008 18:30    102:30                                 Baytown Refinery          Flare 27          FLARE27                                       539.00      6,014.44 Portions of the refinery are permitted under Permit                 already counted
                 001144                                                                730M4                                                                                    Isobutane, Propane,
                                                                                                                                                                                                                                   18287/PSD-TX-730-M4.
                                                                                                                                                                             Propylene (Propene), VOC
704
                                                                                                                                                                               TOTAL VOC: Butane,
                                                                                                                                                                                                                                   Scheduled shutdown due to approach of Hurricane Ike.
                 ETSC 001132 -                                                         Permit #18287 & PSD-TX-                                                              Butene, Ethylene (gaseous),
        113887                        09/11/2008 12:00   09/15/2008 18:30    102:30                                 Baytown Refinery          Flare 18          FLARE18                                       157.50      6,014.44 Portions of the refinery are permitted under Permit                 already counted
                 001144                                                                730M4                                                                                    Isobutane, Propane,
                                                                                                                                                                                                                                   18287/PSD-TX-730-M4.
                                                                                                                                                                             Propylene (Propene), VOC
705
                                                                                                                                                                               TOTAL VOC: Butane,
                                                                                                                                                                                                                                   Scheduled shutdown due to approach of Hurricane Ike.
                 ETSC 001132 -                                                         Permit #18287 & PSD-TX-                                                              Butene, Ethylene (gaseous),
        113887                        09/11/2008 12:00   09/15/2008 18:30    102:30                                 Baytown Refinery          Flare 4           FLARE4                                      2,099.00      6,014.44 Portions of the refinery are permitted under Permit                 already counted
                 001144                                                                730M4                                                                                    Isobutane, Propane,
                                                                                                                                                                                                                                   18287/PSD-TX-730-M4.
                                                                                                                                                                             Propylene (Propene), VOC
706
                                                                                                                                                                               TOTAL VOC: Butane,
                                                                                                                                                                                                                                   Scheduled shutdown due to approach of Hurricane Ike.
                 ETSC 001132 -                                                         Permit #18287 & PSD-TX-                                                              Butene, Ethylene (gaseous),
        113887                        09/11/2008 12:00   09/15/2008 18:30    102:30                                 Baytown Refinery          Flare 6           FLARE6                                           30.00    6,014.44 Portions of the refinery are permitted under Permit                 already counted
                 001144                                                                730M4                                                                                    Isobutane, Propane,
                                                                                                                                                                                                                                   18287/PSD-TX-730-M4.
                                                                                                                                                                             Propylene (Propene), VOC
707
                                                                                                                                                                               TOTAL VOC: Butane,
                 ETSC 001203 -                                                         Not specifically                                                                                                                                HCU1 shut down. Portions of the units are authorized by
        125757                        06/17/2009 14:45   06/17/2009 17:00     2:15                                 Hydrocracker Unit 1        Flare 6           FLARE6      Butene, Ethylene (gaseous),       139.00       6010.61                                                                     already counted
                 001209                                                                authorized                                                                                                                                      Permit #18287/PSD-TX-730.
                                                                                                                                                                             Propane, Propylene, VOC
708
                                                                                                                                                                                                                                     Product stripper tower T-276 developed a pinhole leak. The
                                                                                                                                                                               TOTAL VOC: Butane,
                                                                                                                                                                                                                                     leak was likely caused by corrosion/erosion. There was a small
                                                                                                                                                                             Butene, Hexane, Hexene,
                                                                                                                                                                                                                                     intermittent fire and release of process gas oil (VOC-PGO).
                                                                                                                                                                              Isobutane, Isopentane,
               ETSC 001049 -                                                           Not specifically                                                                                                                              The small fire has ended and visible emissions from the
         83410                          11/2/06 5:00       11/2/06 19:33     14:33                                      Gofiner 1          Tower T-276                         Monoethanolamine,            1,360.00            0.00                                                                         1             H, R-RQ
               001050                                                                  authorized                                                                                                                                    pinhole have stopped. The VOC reported is C5 thru C8s. The
                                                                                                                                                                                Pentane, Pentene,
                                                                                                                                                                                                                                     tower was isolated and repaired. Portions of Gofiner 1 are
                                                                                                                                                                                Propane, Propylene
                                                                                                                                                                                                                                     permitted in Permit 18287 and an Interim Agreement with
                                                                                                                                                                                  (Propene), VOC
709                                                                                                                                                                                                                                  TCEQ.
                                                                                                                                                                              TOTAL VOC: Butane,
                                                                                                                                                                                                                                       Shutdown of compressor C-701 caused HCU1 to shutdown.
                                                                                                                                                                              Butenes (all isomers),
                 ETSC 001241 -                                                         Not specifically                                                                                                                                Associated units temporarily reduced rates to minimize
        130563                         10/09/2009 6:37   10/09/2009 12:37     6:00                                 Hydrocracker Unit 1         Flare3             FL3          Ethylene (gaseous),            179.00       6014.44                                                                     already counted
                 001244                                                                authorized                                                                                                                                      emissions. Portions of this event may be authorized under
                                                                                                                                                                               Isobutane, Propane,
                                                                                                                                                                                                                                       Permit 18287-PSD-TX-730-M4.
710                                                                                                                                                                         Propylene (Propene), VOC
                                                                                                                                                                              TOTAL VOC: Butane,
                                                                                                                                                                                                                                       Shutdown of compressor C-701 caused HCU1 to shutdown.
                                                                                                                                                                              Butenes (all isomers),
                 ETSC 001241 -                                                         Not specifically                                                                                                                                Associated units temporarily reduced rates to minimize
        130563                         10/09/2009 6:37   10/09/2009 12:37     6:00                                 Hydrocracker Unit 1         Flare6             FL6          Ethylene (gaseous),               66.00     6014.44                                                                     already counted
                 001244                                                                authorized                                                                                                                                      emissions. Portions of this event may be authorized under
                                                                                                                                                                               Isobutane, Propane,
                                                                                                                                                                                                                                       Permit 18287-PSD-TX-730-M4.
711                                                                                                                                                                         Propylene (Propene), VOC
                                                                                                                                                                              TOTAL VOC: Butane,
                 EOMCS 00024373 -                                                      Not specifically                                                                         butenes, Ethylene                                      HCU1 shut down. Portions of the units are authorized by
        124215                        05/12/2009 15:46   05/15/2009 20:48    77:02                                 Hydrocracker Unit 1        Flare 3           FLARE3                                           65.00     6014.44                                                                     already counted
                 000024382                                                             authorized                                                                              (gaseous), Propane,                                     Permit #18287/PSD-TX-730.
712                                                                                                                                                                              Propylene, VOC
         A                B                  C                  D              E                   F                      G                    H             I                   J                     K              L                                          M                                          N                O
                  Bates # of first                                                                                                                                                                 Amount     Reported
      Tracking                                                              Duration                                                      Emission                                                                                                                                                   Number of Days     Traceability
                   page of Final     Start Date & Time   End Date & Time                   Authorization                 Unit                               EPN           Contaminant              Released   Emission                                        Cause
      Number                                                                 (h:mm)                                                        Point                                                                                                                                                       of Violation        Codes
 2                   STEERS                                                                                                                                                                          (lbs)  Limit (lbs/hr)
                                                                                                                                                                        TOTAL VOC: Butane,
                 ETSC 001203 -                                                         Not specifically                                                                   butenes, Ethylene                                        HCU1 shut down. Portions of the units are authorized by
        125757                        06/17/2009 14:45   06/17/2009 17:00     2:15                                Hydrocracker Unit 1       Flare 3        FLARE3                                      229.00          6010.61                                                                        already counted
                 001209                                                                authorized                                                                        (gaseous), Propane,                                       Permit #18287/PSD-TX-730.
713                                                                                                                                                                        Propylene, VOC
                                                                                                                                                                        TOTAL VOC: Butane,
                                                                                                                                                                         Ethylene (gaseous),                                     Replaced 250 foot section of jet vent gas line. The refinery
                 ETSC 000732 -                                                         Not specifically
         66872                          11/5/05 0:06       11/6/05 4:16      28:10                                 Booster Station 4        Flare 27      FLARE27      Isobutane, Isopentane,         1,707.00              0.00 flares are permitted under Permit #18287. This report is being             2            F, H, R-RQ
                 000733                                                                authorized
                                                                                                                                                                          Pentane, Propane,                                      submitted under an interim agreement with TCEQ Region 12.
714                                                                                                                                                                  Propylene (Propene), VOC
                                                                                                                                                                        TOTAL VOC: Butane,
                                                                                                                                                                                                                               Scheduled shutdown due to approach of Hurricane Ike.
                 ETSC 001132 -                                                         Permit #18287 & PSD-TX-                                                           Ethylene (gaseous),
        113887                        09/11/2008 12:00   09/15/2008 18:30    102:30                                Baytown Refinery      Flare Stack 5      FL5                                             6.00      6,014.44 Portions of the refinery are permitted under Permit                    already counted
                 001144                                                                730M4                                                                             Isobutane, Propane,
                                                                                                                                                                                                                               18287/PSD-TX-730-M4.
715                                                                                                                                                                  Propylene (Propene), VOC
                                                                                                                                                                        TOTAL VOC: Butane,
                                                                                                                                                                                                                               Scheduled shutdown due to approach of Hurricane Ike.
                 ETSC 001132 -                                                         Permit #18287 & PSD-TX-                                                           Ethylene (gaseous),
        113887                        09/11/2008 12:00   09/15/2008 18:30    102:30                                Baytown Refinery         Flare 19      FLARE19                                          22.00      6,014.44 Portions of the refinery are permitted under Permit                    already counted
                 001144                                                                730M4                                                                              Pentane, Propane,
                                                                                                                                                                                                                               18287/PSD-TX-730-M4.
716                                                                                                                                                                        Propylene, VOC
                                                                                                                                                                        TOTAL VOC: Butane,
               ETSC 001203 -                                                           Not specifically                                                                                                                        HCU1 shut down. Portions of the units are authorized by
        125757                        06/17/2009 14:45   06/17/2009 17:00     2:15                                Hydrocracker Unit 1    Flare Stack 5      FS5          Ethylene (gaseous),                5.00       6010.61                                                                        already counted
               001209                                                                  authorized                                                                                                                              Permit #18287/PSD-TX-730.
717                                                                                                                                                                  Propane, Propylene, VOC
                                                                                                                                            HCU1                         TOTAL VOC: Butane,
               ETSC 072911 -                                                           Not specifically                                                                                                                            Compressor trip resulted in an atmospheric release at a HCU1
        178267                          1/21/13 3:37       1/22/13 19:00     39:23                               Hydrocracking Unit 1    atmospheric                   Isobutane, Isopentane,       3,746.00         0.00                                                                             already counted
               072914                                                                  authorized                                                                                                                                  safety vent and safe utilization of the flare system.
718                                                                                                                                         vent                      Pentane, Propane, VOCs
                                                                                                                                                                                                                                   Compressor trip resulted in unit shutdown, causing
                                                                                                                                            HCU1                         TOTAL VOC: Butane,
                 ETSC 072655 -                                                         Not specifically          Hydrocracking Unit 1                                                                                              subsequent emissions and flaring. Portions of the unit
        168050                          5/1/12 17:39        5/2/12 2:29       8:50                                                       atmospheric                   Isobutane, Isopentane,       9,205.00         0.00                                                                             already counted
                 072658                                                                authorized                      (HCU1)                                                                                                      emissions are authorized by Permit #18287/PSD-TX-
                                                                                                                                            vent                           Propane, VOCs
719                                                                                                                                                                                                                                730M4/PAL7.
                                                                                                                                                                      TOTAL VOC: Butane, N-,
                                                                                       35.85 lbs of the total                                                          Butene, Cis-2-butene,
                 ETSC 072911 -                                                         207.26 lbs are                                                                   Ethylene, Isobutane,                                       Compressor trip resulted in an atmospheric release at a HCU1
        178267                          1/21/13 3:37       1/22/13 19:00     39:23                               Hydrocracking Unit 1    Flare Stack 14   FLARE14                                   171.41         6,117.32                                                                           already counted
                 072914                                                                authorized under permit                                                          Isopentane, Propane,                                       safety vent and safe utilization of the flare system.
                                                                                       18287/PSD-TX-730M4.                                                           Propylene (Propene), Trans-
720                                                                                                                                                                        2-butene, VOCs
                                                                                                                                                                                                                               Scheduled startup due to shutdown for Hurricane Ike. This
                                                                                                                                                                                                                               initial STEERS initial report is based on September 2005
                                                                                                                                                                       TOTAL VOC: Butane, N-,                                  refinery startup after shutdown due to approach of hurricane.
                                                                                                                                                                     Butene, Ethylene (gaseous),                               Portions of the refinery are permitted under Permit
                                                                                                                                           CLEU T785
                 ETSC 001156 -                                                         Permit #18287 & PSD-TX-                                                            Hexane, Isobutane,                                   18287/PSD-TX-730-M4. Note: STEERS would not allow
        114161                        09/15/2008 18:30    10/04/2008 1:00    438:30                                Baytown Refinery      Piping Pinhole                                                127.00         6,014.44                                                                        already counted
                 001163                                                                730M4                                                                          Isobutylene, Pentadienes,                                submittal of just one report because it exceeded the CCEDS
                                                                                                                                              Leak
                                                                                                                                                                         Pentane N-, Propane,                                  requirements. The STEERS contact (Jim Drozd) recommended
                                                                                                                                                                      Propylene (Propene), VOC                                 we submit two reports. A previous submitted report with
                                                                                                                                                                                                                               Incident Tracking Number 114157 contains the balance of
721                                                                                                                                                                                                                            information for this startup event.
                                                                                                                                                                                                                               Scheduled startup due to shutdown for Hurricane Ike. This
                                                                                                                                                                                                                               initial STEERS initial report is based on September 2005
                                                                                                                                                                                                                               refinery startup after shutdown due to approach of hurricane.
                                                                                                                                                                      TOTAL VOC: Butane, N-,
                                                                                                                                                                                                                               Portions of the refinery are permitted under Permit
                                                                                                                                                                     Butene, Ethylene (gaseous),
                 ETSC 001156 -                                                         Permit #18287 & PSD-TX-     Baytown Refinery                                                                                            18287/PSD-TX-730-M4. Note: STEERS would not allow
        114161                        09/15/2008 18:30    10/04/2008 1:00    438:30                                                         Flare 11      FLARE11      Isobutane, Isobutylene,         191.00         6,014.44                                                                        already counted
                 001163                                                                730M4                        Operating Units                                                                                            submittal of just one report because it exceeded the CCEDS
                                                                                                                                                                         Propane, Propylene
                                                                                                                                                                                                                               requirements. The STEERS contact (Jim Drozd) recommended
                                                                                                                                                                              (Propene)
                                                                                                                                                                                                                               we submit two reports. A previous submitted report with
                                                                                                                                                                                                                               Incident Tracking Number 114157 contains the balance of
722                                                                                                                                                                                                                            information for this startup event.
                                                                                                                                                                                                                               Scheduled startup due to shutdown for Hurricane Ike. This
                                                                                                                                                                                                                               initial STEERS initial report is based on September 2005
                                                                                                                                                                                                                               refinery startup after shutdown due to approach of hurricane.
                                                                                                                                                                      TOTAL VOC: Butane, N-,
                                                                                                                                                                                                                               Portions of the refinery are permitted under Permit
                                                                                                                                                                     Butene, Ethylene (gaseous),
                 ETSC 001156 -                                                         Permit #18287 & PSD-TX-     Baytown Refinery                                                                                            18287/PSD-TX-730-M4. Note: STEERS would not allow
        114161                        09/15/2008 18:30    10/04/2008 1:00    438:30                                                         Flare 14      FLARE14      Isobutane, Isobutylene,        5,047.00        6,014.44                                                                        already counted
                 001163                                                                730M4                        Operating Units                                                                                            submittal of just one report because it exceeded the CCEDS
                                                                                                                                                                         Propane, Propylene
                                                                                                                                                                                                                               requirements. The STEERS contact (Jim Drozd) recommended
                                                                                                                                                                           (Propene), VOC
                                                                                                                                                                                                                               we submit two reports. A previous submitted report with
                                                                                                                                                                                                                               Incident Tracking Number 114157 contains the balance of
723                                                                                                                                                                                                                            information for this startup event.
                                                                                                                                                                       TOTAL VOC: Butane, N-,
                                                                                                                                                                       Ethylbenzene, Hexane,
                 ETSC 073046 -                                                         Not specifically                                                                Isobutane, Isopentane,
        182695                          5/11/13 6:30       5/11/13 11:21      4:51                                  Hydroformer 3            Flange                                                    126.40               0.00 Flange leak on inlet line to Reactor 3                                     1                H
                 073047                                                                authorized                                                                    Pentane, Propane, Toluene,
                                                                                                                                                                       Trimethylpentane,2,2,4,
                                                                                                                                                                      VOC (unspeciated), Xylene
724
                                                                                       1.24 lbs of the total                                                          TOTAL VOC: Butane, N-,
                 ETSC 072911 -                                                         32.84 lbs are authorized                                                         Ethylene (gaseous),                                        Compressor trip resulted in an atmospheric release at a HCU1
        178267                          1/21/13 3:37       1/22/13 19:00     39:23                              Hydrocracking Unit 1     Flare Stack 11   FLARE11                                    31.60         6,117.32                                                                                 2               F, H
                 072914                                                                under permit 18287/PSD-                                                          Isobutane, Propane,                                        safety vent and safe utilization of the flare system.
725                                                                                    TX-730M4.                                                                     Propylene (Propene), VOCs
                                                                                                                                                                                                                                   Leaks from two holes in feed line to T-855 (Naphtha
                                                                                       Portions may be
                 ETSC 001314 -                                                                                   FNGT (Fuels North Gas                                  TOTAL VOC: Butane,                                         Hydrofiner (NHF) Tail Gas Scrubber). This event has ended.
        142015                         07/06/2010 7:30   07/07/2010 22:00    38:30     authorized by Permit                               Hole in Pipe                                                 894.50          6010.61                                                                              2                H
                 001315                                                                                                Treating)                                         Pentane, Propane                                          Portions of the unit emissions are authroized by Permit
                                                                                       18287/PSD-TX-730M4
726                                                                                                                                                                                                                                #18287/PSD-TX-730.
                 EOMCS 00024373 -                                                      Not specifically                                                                 TOTAL VOC: Butane,                                         HCU1 shut down. Portions of the units are authorized by
        124215                        05/12/2009 15:46   05/15/2009 20:48    77:02                                Hydrocracker Unit 1    Flare Stack 5      FS5                                            37.00       6014.44                                                                        already counted
727              000024382                                                             authorized                                                                     Propane, Propylene, VOC                                      Permit #18287/PSD-TX-730.
                 EOMCS 00024373 -                                                                                                                                       TOTAL VOC: Butane,                                         HCU1 shut down. Portions of the units are authorized by
        124215                        05/12/2009 15:46   05/15/2009 20:48    77:02                                Hydrocracker Unit 1       Flare 6        FLARE6                                          37.00       6014.44                                                                        already counted
728              000024382                                                                                                                                            Propane, Propylene, VOC                                      Permit #18287/PSD-TX-730.
                                                                                                                                                                                                                                   Scheduled startup due to shutdown for Hurricane Ike. This
                                                                                                                                                                                                                                   initial STEERS initial report is based on September 2005
                                                                                                                                                                                                                                   refinery startup after shutdown due to approach of hurricane.
                                                                                                                                                                                                                                   Portions of the refinery are permitted under Permit
                                                                                                                                                                         TOTAL VOC: Butene,
                 ETSC 001156 -                                                         Permit #18287 & PSD-TX-     Baytown Refinery                                                                                                18287/PSD-TX-730-M4. Note: STEERS would not allow
        114161                        09/15/2008 18:30    10/04/2008 1:00    438:30                                                         Flare 18      FLARE18      Isobutane, Pentane N-,          515.00         6,014.44                                                                        already counted
                 001163                                                                730M4                        Operating Units                                                                                                submittal of just one report because it exceeded the CCEDS
                                                                                                                                                                           Propane, VOC
                                                                                                                                                                                                                                   requirements. The STEERS contact (Jim Drozd) recommended
                                                                                                                                                                                                                                   we submit two reports. A previous submitted report with
                                                                                                                                                                                                                                   Incident Tracking Number 114157 contains the balance of
729                                                                                                                                                                                                                                information for this startup event.
                                                                                                                                                                                                                                   Scheduled startup due to shutdown for Hurricane Ike. This
                                                                                                                                                                                                                                   initial STEERS initial report is based on September 2005
                                                                                                                                                                                                                                   refinery startup after shutdown due to approach of hurricane.
                                                                                                                                                                                                                                   Portions of the refinery are permitted under Permit
                                                                                                                                                                         TOTAL VOC: Butene,
                 ETSC 001156 -                                                         Permit #18287 & PSD-TX-     Baytown Refinery                                                                                                18287/PSD-TX-730-M4. Note: STEERS would not allow
        114161                        09/15/2008 18:30    10/04/2008 1:00    438:30                                                         Flare 21      FLARE21      Isobutane, Pentane N-,          432.00         6,014.44                                                                        already counted
                 001163                                                                730M4                        Operating Units                                                                                                submittal of just one report because it exceeded the CCEDS
                                                                                                                                                                           Propane, VOC
                                                                                                                                                                                                                                   requirements. The STEERS contact (Jim Drozd) recommended
                                                                                                                                                                                                                                   we submit two reports. A previous submitted report with
                                                                                                                                                                                                                                   Incident Tracking Number 114157 contains the balance of
730                                                                                                                                                                                                                                information for this startup event.
                                                                                                                                                                                                                                   Scheduled startup due to shutdown for Hurricane Ike. This
                                                                                                                                                                                                                                   initial STEERS initial report is based on September 2005
                                                                                                                                                                                                                                   refinery startup after shutdown due to approach of hurricane.
                                                                                                                                                                                                                                   Portions of the refinery are permitted under Permit
                                                                                                                                                                         TOTAL VOC: Butene,
                 ETSC 001156 -                                                         Permit #18287 & PSD-TX-     Baytown Refinery                                                                                                18287/PSD-TX-730-M4. Note: STEERS would not allow
        114161                        09/15/2008 18:30    10/04/2008 1:00    438:30                                                         Flare 17      FLARE17      Isobutane, Pentane N-,       15,157.00         6,014.44                                                                        already counted
                 001163                                                                730M4                        Operating Units                                                                                                submittal of just one report because it exceeded the CCEDS
                                                                                                                                                                           Propane, VOC
                                                                                                                                                                                                                                   requirements. The STEERS contact (Jim Drozd) recommended
                                                                                                                                                                                                                                   we submit two reports. A previous submitted report with
                                                                                                                                                                                                                                   Incident Tracking Number 114157 contains the balance of
731                                                                                                                                                                                                                                information for this startup event.
                                                                                                                                                                         TOTAL VOC: Butene,                                        Scheduled shutdown due to approach of Hurricane Ike.
                 ETSC 001132 -                                                         Permit #18287 & PSD-TX-
        113887                        09/11/2008 12:00   09/15/2008 18:30    102:30                                Baytown Refinery         Flare 17      FLARE17       Isobutane, Propylene          8,894.00        6,014.44     Portions of the refinery are permitted under Permit                already counted
                 001144                                                                730M4
732                                                                                                                                                                        (Propene), VOC                                          18287/PSD-TX-730-M4.
                                                                                                                                                                         TOTAL VOC: Butene,                                        Scheduled shutdown due to approach of Hurricane Ike.
               ETSC 001132 -                                                           Permit #18287 & PSD-TX-
        113887                        09/11/2008 12:00   09/15/2008 18:30    102:30                                Baytown Refinery         Flare 20      FLARE20       Isobutane, Propylene          9,419.00        6,014.44     Portions of the refinery are permitted under Permit                already counted
               001144                                                                  730M4
733                                                                                                                                                                        (Propene), VOC                                          18287/PSD-TX-730-M4.
                                                                                                                                                                         TOTAL VOC: Butene,                                        Scheduled shutdown due to approach of Hurricane Ike.
                 ETSC 001132 -                                                         Permit #18287 & PSD-TX-
        113887                        09/11/2008 12:00   09/15/2008 18:30    102:30                                Baytown Refinery         Flare 21      FLARE21       Isobutane, Propylene           441.00         6,014.44     Portions of the refinery are permitted under Permit                already counted
                 001144                                                                730M4
734                                                                                                                                                                        (Propene), VOC                                          18287/PSD-TX-730-M4.
                                                                                                                                                                                                                                   Leak on underground piping, resulting in spill and eventual air
                                                                                                                 ExxonMobil Baytown
                    ETSC 001025 -                                                      Not specifically                                   Plant Sewer                TOTAL VOC: C10, C11, C12,                                     emissions in the wastewater facility. Portions of the
       85714                            1/5/07 16:15       1/14/07 19:05     218:50                                  Refinery, Oil                        SEWERFUG                                    2,176.00              0.00                                                                            10               H
                       001026                                                          authorized                                           Fugitives                     C13, C14, C15                                            wastewater facility are covered under Permit 18287-PSD-TX-
                                                                                                                     Movements
735                                                                                                                                                                                                                                730-M4.
                                                                                                                                                                                                                                   A seal on a unit pump failed which resulted in a release of hot
                 ETSC 001027 -                                                         Not specifically                                  Gofiner Unit 1
         85962                          1/11/07 20:25      1/11/07 21:10      0:45                                      Gofiner                            GF1FUG         TOTAL VOC: C12                   20.00            0.00   gas oil vapors to the atmosphere. Portions of the Gofiner Unit           1                H
                 001028                                                                authorized                                          Fugitives
736                                                                                                                                                                                                                                are covered under Permit 18287-PSD-TX-730-M4.
         A                 B                   C                  D              E                   F                       G                   H                 I                      J                   K            L                                           M                                          N                O
                   Bates # of first                                                                                                                                                                        Amount     Reported
      Tracking                                                                Duration                                                       Emission                                                                                                                                                      Number of Days     Traceability
                    page of Final      Start Date & Time   End Date & Time                   Authorization                 Unit                                  EPN               Contaminant             Released   Emission                                      Cause
      Number                                                                   (h:mm)                                                         Point                                                                                                                                                          of Violation        Codes
 2                    STEERS                                                                                                                                                                                 (lbs)  Limit (lbs/hr)
                                                                                                                                                                                 TOTAL VOC: Cumene,
                                                                                                                                                                                     Cyclohexane,
                                                                                                                                                                              Ethylbenzene, Methyl ethyl                            Benzene concentration in wastewater treatment system.
               ETSC 001113 -                                                             All emissions authorized Wastewater Treatment Wastewater
        110887                           07/10/2008 3:00   07/18/2008 13:00    202:00                                                                         SEWERFUG          ketone, Methyl isobutyl      5,357.00       6014.44 Portions of this facility are authorized by Permit No.                        9           H, R-RQ, O-RQ
               001114                                                                    by Permit 18287                 Plant        Treatment Plant
                                                                                                                                                                                 ketone, Naphthalene,                               18287/PSD-TX-730.
                                                                                                                                                                                Phenol, Toluene, VOC,
737                                                                                                                                                                                     Xylene
                                                                                                                                                                                                                                        Loss of flotation on Tank 998 floating roof. Event is under
                                                                                                                                                                                                                                        investigation but most likely cause is that floating roof
                                                                                                                                                                              TOTAL VOC: Cyclohexane,                                   became entangled with tank's roof anti-rotation device. Tank
                ETSC 000975 -                                                            Not specifically
          91325                           5/17/07 6:00       5/22/07 19:00     133:00                              Oil Movements Area 1       Tank 998          TK0998        Ethylbenzene, Napthalene,      3,562.00            0.00   contained oil destined for refinery recycle. Portions of Oil              6           H, R-RQ, O-RQ
                000976                                                                   authorized
                                                                                                                                                                                   Toluene, Xylene                                      Movements Area 1, including Tank 998, are authorized in
                                                                                                                                                                                                                                        permit 18287. No impact on production and all customer
738                                                                                                                                                                                                                                     needs were met. Event has ended.
                                                                                                                                                                              TOTAL VOC: Ethylbenzene,                                  A reactor was being air freed when material was released
                  ETSC 001126 -                                                          Not specifically                                                                       Hexane, Mixed Xylene,                                   resulting in a fire. This event has ended. Portions of the HF3
        113088                          08/24/2008 15:30   08/24/2008 15:40     0:10                                  Hydroformer 3         Reactor Vent      HF3RXVENT                                            4.50          0.00                                                                             1                H
                  001127                                                                 authorized                                                                            Toluene, VOC (C4s), VOC                                  unit are authorized under Flexible PAL Permit #18287/PSD-TX-
739                                                                                                                                                                                (C5s), VOC (C6+)                                     730M4/PAL.
                                                                                                                                                                                                                                        Leaking stormwater roof drain resulted in crude oil on tank
                                                                                                                                                                              TOTAL VOC: Ethylbenzene,
                  ETSC 001076 -                                                          Not specifically                                    Tank 1095                                                                                  roof. Secondary mist released at ground level sewer and
        103838                           02/16/2008 8:30   02/20/2008 12:00    99:30                                  Oil Movements                           SEWERFUG         Orthoxylene, paraxylene,           68.90          0.00                                                                             5                H
                  001078                                                                 authorized                                         sewer drain                                                                                 vapor released from tank roof. Portions of Oil Movements,
                                                                                                                                                                                Propane, Toluene, VOC
740                                                                                                                                                                                                                                     including the tank, authorized in Permit 18287.
                                                                                                                                                                                                                                        Paint cans and wood-based material caught fire inside the
                  ETSC 000776 -                                                          Not specifically                                   Tank 801 fire                     TOTAL VOC: Ethylbenzene,                                  firewall of Tank 801. The minor fire only burned painting
          72945                           3/14/06 17:30      3/14/06 17:50      0:20                                  Oil Movements                                                                               32.08          0.00                                                                             1                H
                  000777                                                                 authorized                                             wall                                Xylene, VOC                                         supplies and was put out minutes later. The ignition source
741                                                                                                                                                                                                                                     was not determined.
                                                                                                                                               CLEU3                                                                                    Ethylene Compressor (C-74) tripped causing atmospheric
                     ETSC 000786 -                                                                                  Catalytic Light Ends                                        TOTAL VOC: Ethylene
       71948                              2/19/06 17:05      2/19/06 17:10      0:05     No authorized emissions                            Atmospheric                                                      9,090.00            0.00   safety (CL0369) to open. Portions of the CLEU3 unit are                   1             H, R-RQ
                        000787                                                                                             Unit 3                                                    (gaseous)
742                                                                                                                                        Safety (CL0369)                                                                              permitted under permit #18287.
                                                                                                                                                                                                                                        Ethylene refrigeration system compressor overpressured
                                                                                                                                                                                                                                        while performing computer maintenance and atmospheric
                                                                                         Not specifically           Catalytic Light Ends                                        TOTAL VOC: Ethylene
       86666      ETSC 001017-001018      1/25/07 14:28      1/25/07 14:29      0:02                                                          CL0352                                                           156.00            0.00   safety relieved for approximately 6 seconds. The event has                1             H, R-RQ
                                                                                         authorized                        Unit 3                                                    (gaseous)
                                                                                                                                                                                                                                        ended. The unit has returned to normal. Portions of CLEU3
743                                                                                                                                                                                                                                     are permitted in Permit 18287.
                                                                                                                                                                                                                                        A pinhole leak was discovered in an overhead line to a
                                                                                                                                                                                TOTAL VOC: Ethylene
                  ETSC 001043 -                                                          Not specifically           Catalytic Light Ends     D-41 Line                                                                                  knockout drum (D-41) at the Catalytic Light Ends Unit (CLEU2).
          83907                           11/15/06 1:00      11/15/06 5:00      4:00                                                                         Pinhole Leak        (gaseous), Propane,         1,045.00            0.00                                                                             1             H, R-RQ
                  001044                                                                 authorized                        Unit 2             Pinhole                                                                                   The event has ended. Portions of the Catalytic Light Ends Unit
                                                                                                                                                                                Propylene (Propene)
744                                                                                                                                                                                                                                     are covered under permit #18287.
                                                                                                                                                                                                                                        Scheduled startup due to shutdown for Hurricane Ike. This
                                                                                                                                                                                                                                        initial STEERS initial report is based on September 2005
                                                                                                                                                                                                                                        refinery startup after shutdown due to approach of hurricane.
                                                                                                                                                                                                                                        Portions of the refinery are permitted under Permit
                                                                                                                                           CLEU T-62 Feed                       TOTAL VOC: Ethylene
                  ETSC 001156 -                                                          Permit #18287 & PSD-TX-                                                                                                                        18287/PSD-TX-730-M4. Note: STEERS would not allow
        114161                          09/15/2008 18:30    10/04/2008 1:00    438:30                                Baytown Refinery       Line Pinhole                         (gaseous), Propane,               8.00    6,014.44                                                                               19               H
                  001163                                                                 730M4                                                                                                                                          submittal of just one report because it exceeded the CCEDS
                                                                                                                                                Leak                            Propylene (Propene)
                                                                                                                                                                                                                                        requirements. The STEERS contact (Jim Drozd) recommended
                                                                                                                                                                                                                                        we submit two reports. A previous submitted report with
                                                                                                                                                                                                                                        Incident Tracking Number 114157 contains the balance of
745                                                                                                                                                                                                                                     information for this startup event.
                                                                                                                                                                                                                                        Heptane from tank 741 water draw valve was released to
                  ETSC 000828 -                                                          Not specifically                                   Plant Sewer                       TOTAL VOC: Heptane (or n-
          76531                           5/31/06 14:00       6/1/06 5:50      15:50                                  Oil Movements                           SEWERFUG                                      25,644.00            0.00   onsite sewer and waste water treatment plant. Portions of Oil             1           H, R-RQ, O-RQ
                  000829                                                                 authorized                                           Fugitives                              ), Toluene
746                                                                                                                                                                                                                                     Movements are authorized under permit #18267.
                                                                                                                                                                                                                                        As a result of a malfunctioning boiler feed water pump, the
                                                                                                                                             Flexicoker                        TOTAL VOC: i-Butene, N-
               ETSC 001237 -                                                                                                                                                                                                            Flexicoker waste heat boiler (WHB) was shut down causing
                                                                                         Not specifically          Flexicoker Waste Heat     Waste Heat                        Butane, Butene, Ethylene
        128824 001238; EOMCS            08/30/2009 15:22    08/31/2009 1:57    10:35                                                                                                                           508.00            0.00   emissions to be released to the atmosphere through the                    1             H, R-RQ
                                                                                         authorized                        Boiler           Boiler Bypass                        (gaseous), Pentane,
               00232142 - 0023148                                                                                                                                                                                                       Flexicoker gas turbine generator WHB bypass stack. Portions
                                                                                                                                                Stack                          Propane, Propylene, VOC
747                                                                                                                                                                                                                                     of the refinery are authorized by PAL permit number 18287.
                                                                                                                                                                                                                                        Malfunctioning temperature instrument caused depressuring
                                                                                                                                                                                                                                        through EBV 701 A/B. Emissions occurred intermittently
                                                                                                                                                                                TOTAL VOC: Isobutane,
                  ETSC 001368 -                                                          Not specifically                                                                                                                               beginning on 04/15/2011 at 8:15 PM until 04/16/2011 at
        153388                          04/15/2011 20:15   04/15/2011 20:22     0:07                                       HCU1             EBV 701 A/B      EBV 701 A/B      Isopentane, Propane, VOC       1,837.00            0.00                                                                             1             R-M, O-M
                  001369                                                                 authorized                                                                                                                                     12:10 PM for a total of 8 minutes. RQ was exceeded on
                                                                                                                                                                                        (C6+)
                                                                                                                                                                                                                                        04/16/2011 at 12:50 AM. Portions of the unit emissions are
748                                                                                                                                                                                                                                     authorized by Permit #18287/PSD-TX-730M4/PAL7.
                                                                                                                                                                                                                                        Emissions from pinhole leak in piping at Gofiner Tower 252.
                                                                                                                                            Pipe Leak in
                  ETSC 001293 -                                                          Not specifically                                                                          TOTAL VOC:                                           Portions of the refinery emissions may be authorized by
        137570                           03/28/2010 3:00   03/30/2010 16:00    61:00                                  Gofiner 1 (GF1)      Gofiner Tower                                                          93.00          0.00                                                                             3
                  001294                                                                 authorized                                                                              Monoethanolamine                                       Permit #18287/PSD-TX-730. Emissions occurred intermittently
                                                                                                                                                252
749                                                                                                                                                                                                                                     through the duration of the event.
                                                                                         Portions of these                                                                       TOTAL VOC: N-Butane,
                                                                                                                                                                                                                                    Emissions from hole in piping to gas treating towers. Portions
                  ETSC 001273 -                                                          emissions may be                                                                          Butene, Isobutane,
        134509                          01/14/2010 14:30    01/21/2010 1:50    155:20                                  Gas Treating           Flare 20           FL20                                        9,119.70       6010.61 of the refinery emissions may be authorized by Permit                         7            F, H, R-RQ
                  001274                                                                 authorized by Permit                                                                 Isopentane, N-Pentane, N-
                                                                                                                                                                                                                                    #18287/PSD-TX-730.
750                                                                                      #18287                                                                                Propane, Propylene, VOC
                                                                                                                                                                                 TOTAL VOC: N-Butane,
                                                                                         Portions may be                                                                           Butene, Isobutane,
                  ETSC 001316 -                                                                                     Catalytic Light Ends                                                                                                Flaring due to C-75 compressor trip. Portions of the unit
        142407                           07/15/2010 4:32   07/15/2010 10:07     5:35     authorized by Permit                              Flare Stack 20        FL20           Isopentane, N-Pentane,            40.68     6010.61                                                                         already counted
                  001322                                                                                              Unit 3 (CLEU3)                                                                                                    emissions are authorized by Permit #18287/PSD-TX-730.
                                                                                         18287/PSD-TX-730M4                                                                        Propane, Propylene
751                                                                                                                                                                                  (Propene), VOC
                                                                                                                                                                                 TOTAL VOC: N-Butane,
                                                                                         Portions may be                                                                           Butene, Isobutane,
                  ETSC 001316 -                                                                                     Catalytic Light Ends                                                                                                Flaring due to C-75 compressor trip. Portions of the unit
        142407                           07/15/2010 4:32   07/15/2010 10:07     5:35     authorized by Permit                              Flare Stack 17      FLARE17          Isopentane, N-Pentane,         159.50       6010.61                                                                               1            F, H, R-RQ
                  001322                                                                                              Unit 3 (CLEU3)                                                                                                    emissions are authorized by Permit #18287/PSD-TX-730.
                                                                                         18287/PSD-TX-730M4                                                                        Propane, Propylene
752                                                                                                                                                                               (Propene), VOC (C6+)
                                                                                                                                                                                 TOTAL VOC: N-Butane,
                                                                                                                                              HCU1                                                                                    A valve leaked into the atmospheric drums D401/D902.
                  ETSC 001182 -                                                          Not specifically                                                                       Isobutane, Isopentane,
        120401                          02/21/2009 15:27   02/21/2009 18:55     3:28                               Hydrocracking Unit 1     D401/D902                                                       15,504.00            0.00 Portions of HCU1 unit are authorized under Flexible PAL                     1             H, R-RQ
                  001183                                                                 authorized                                                                                Propane, Propylene
                                                                                                                                              vents                                                                                   Permit #18287/PSD-TX-730M4.
753                                                                                                                                                                                  (Propene), VOC
                                                                                                                                                                                                                                        Emissions from hole in piping to gas treating towers. Portions
                  ETSC 001273 -                                                          Not specifically                                                                     TOTAL VOC: N-Butane, N-
        134509                          01/14/2010 14:30    01/21/2010 1:50    155:20                                  Gas Treating        Hole in Piping    Hole in Piping                                  1,913.10            0.00   of the refinery emissions may be authorized by Permit               already counted
                  001274                                                                 authorized                                                                              Pentane, Propane
754                                                                                                                                                                                                                                     #18287/PSD-TX-730.
                     ETSC 001278 -                                                       Not specifically          Lubes Extraction Unit   LXU-2 E-5 Hole                      TOTAL VOC: N-Methyl-2-                                   A hole in E-5 tower inlet nozzle. Portion of the unit is
       135178                           01/29/2010 11:30   01/29/2010 12:45     1:15                                                                                                                           321.00            0.00                                                                             1                H
755                     001279                                                           authorized                   2, Hole in Pipe         in Pipe                                Pyrrolidone                                        authorized by Permit #18287/PSD-TX-730M4/PAL.
                                                                                                                                                                                                                                        3-gallon spill of steam cracked naphtha. As per 30 TAC
               ETSC 068642 -                                                             Not specifically                                                                      TOTAL VOC: Other, VOC                                    101.201 (a)(4), the initial spill notification was made under 30
        164148                            1/14/12 21:00      1/14/12 21:45      0:45                                      DOCKS                                                                              16.00        0.00                                                                                    1             R-M, O-M
               068643                                                                    authorized                                                                                (unspeciated)                                        TAC 327.3 on 1/14/12. Portions of this facility are authorized
756                                                                                                                                                                                                                                     by Permit #18287/PSD-TX-730M4/PAL7.
                                                                                                                                                                                                                                        Failure of cooling tower supply header caused shutdown of
                                                                                                                                                                                                                                        Propane Dewaxing Unit and Lube Deasphalting Unit.
                  ETSC 001201 -                                                          Not specifically
        124761                          05/26/2009 23:40   05/28/2009 13:57    38:17                                  Dewaxing Unit           Flare 15           FS15            TOTAL VOC: Propane          5,644.00       6014.44     Shutdown and subsequent unit clearing caused flaring.                     2                 F
                  001202                                                                 authorized
                                                                                                                                                                                                                                        Portions of the Refinery are authorized under Flexible PAL
757                                                                                                                                                                                                                                     Permit #18287/PSD-TX-730M4.
                                                                                                                                                                                                                                        Failure of cooling tower supply header caused shutdown of
                                                                                                                                                                                                                                        Propane Dewaxing Unit and Lube Deasphalting Unit.
                  ETSC 001201 -                                                          Not specifically
        124761                          05/26/2009 23:40   05/28/2009 13:57    38:17                                  Dewaxing Unit           Flare 16           FS16            TOTAL VOC: Propane            777.00       6014.44     Shutdown and subsequent unit clearing caused flaring.               already counted
                  001202                                                                 authorized
                                                                                                                                                                                                                                        Portions of the Refinery are authorized under Flexible PAL
758                                                                                                                                                                                                                                     Permit #18287/PSD-TX-730M4.
                                                                                         No specific emissions
                  ETSC 000724 -                                                                                     Propane Dewaxing          Chiller                           TOTAL VOC: Propane,                                     Flange leak on chiller overhead line at CV074-2 resulted in
          68603                          11/29/05 16:00      11/30/05 4:30     12:30     authorizations for this                                                                                            11,437.00            0.00                                                                             1             H, R-RQ
                  000725                                                                                                  Unit             Overhead Line                        Propylene (Propene)                                     emissions to atmosphere. Cause is still under investigation.
759                                                                                      facility
                                                                                                                                                                                                                                    Fire at Electrical Substation #5, servicing the lubes plant.
                                                                                                                                                                                                                                    Resulted in trip of East Loop Flare Gas Recovery Compressor
                                                                                                                                                                                                                                    and subsequent flaring off of the East Loop Flare Systems.
                  ETSC 000842 -                                                          Not specifically           Substation 5 & East                                         TOTAL VOC: Propane,                                 Material routed to the flare included flows from MEK, LDU,
          74965                           4/25/06 21:45      4/26/06 21:31     23:46                                                          Flare 15          Flare15                                      1,947.00        401.00                                                                               1            F, H, R-RQ
                  000844                                                                 authorized                  Loop Flare System                                          Propylene (Propene)                                 PDU & LHU2 units. VOC from substation is petroleum
                                                                                                                                                                                                                                    distillates. This report is being submitted as part of the
                                                                                                                                                                                                                                    interim agreement with TCEQ Region 12. Portions of the
760                                                                                                                                                                                                                                 Refinery are permitted under Permit #18287.
                                                                                                                                                                                                                                    Fire at Electrical Substation #5, servicing the lubes plant.
                                                                                                                                                                                                                                    Resulted in trip of East Loop Flare Gas Recovery Compressor
                                                                                                                                                                                                                                    and subsequent flaring off of the East Loop Flare Systems.
                  ETSC 000842 -                                                          Not specifically           Substation 5 & East                                         TOTAL VOC: Propane,                                 Material routed to the flare included flows from MEK, LDU,
          74965                           4/25/06 21:45      4/26/06 21:31     23:46                                                          Flare 16          Flare16                                           40.20      401.00                                                                         already counted
                  000844                                                                 authorized                  Loop Flare System                                          Propylene (Propene)                                 PDU & LHU2 units. VOC from substation is petroleum
                                                                                                                                                                                                                                    distillates. This report is being submitted as part of the
                                                                                                                                                                                                                                    interim agreement with TCEQ Region 12. Portions of the
761                                                                                                                                                                                                                                 Refinery are permitted under Permit #18287.
                                                                                                                                                                                                                                    On 11/15/11 @ 23:00, a hole in a pipe was observed and
                                                                                                                                                                                                                                    subsequently isolated. The initial estimate indicated the
                  ETSC 068035 -                                                          Not specifically                                                                     TOTAL VOC: Propane, VOC                               emissions were below a reportable quantity. During insulation
        161875                           11/17/11 10:50     11/17/11 11:15      0:25                                      Gofiner           Hole in Pipe                                                    231.81        0.00                                                                                    1                H
                  068036                                                                 authorized                                                                                (unspeciated)                                    removal and inspection of the pipe on 11/17/11, the hole size
                                                                                                                                                                                                                                    indicated that emissions were higher than the initial estimate.
762                                                                                                                                                                                                                                 Site Permit Number is 18287/PSD-TX-730.
                                                                                                                                                                                                                                    Shift in power supply to Hydrofining Unit 9 (HU9) resulted in
                                                                                                                                                                                                                                    depressuring to D-500 atmospheric vent. HU9 diversion
                  ETSC 000947 -                                                          Not specifically
          96519                           8/23/07 20:13      8/24/07 1:07       4:54                                Hydrofining Unit #9       Flare 14         FLARE14             TOTAL VOC: VOC                 62.00        0.00 resulted in flaring of Low Btu Gas normally used in HU9                 already counted
                  000949                                                                 authorized
                                                                                                                                                                                                                                    furnaces. Portions of the BTRF Refinery are authorized by
763                                                                                                                                                                                                                                 Flex/PAL Permit No. 18288
         A                 B                  C                  D              E                   F                        G                    H              I                  J                K               L                                         M                                           N                  O
                   Bates # of first                                                                                                                                                               Amount     Reported
      Tracking                                                               Duration                                                        Emission                                                                                                                                               Number of Days      Traceability
                    page of Final     Start Date & Time   End Date & Time                   Authorization                   Unit                               EPN           Contaminant          Released   Emission                                        Cause
      Number                                                                  (h:mm)                                                          Point                                                                                                                                                   of Violation         Codes
 2                    STEERS                                                                                                                                                                        (lbs)  Limit (lbs/hr)
                                                                                                                                                                                                                               Bearing failure in pump P-2 caused the engine to overheat
                  ETSC 000840 -                                                         Not specifically                                                                    TOTAL VOC: VOC
          75191                          5/1/06 16:20       5/1/06 16:50       0:30                                   Cooling Tower 9         Pump P-2                                                     2.00           0.00 and smoke. No actual flame was present. Portions of Cooling                 1                  H
                  000841                                                                authorized                                                                           (unspeciated)
764                                                                                                                                                                                                                            Tower 9 are covered under refinery permit 18287.
                                                                                                                                                                                                                               During the shutdown of the unit, GTG/WHB-301 exceeded it's
                ETSC 000806 -                                                           Not specifically                                        FXK                         TOTAL VOC: VOC
          70283                          1/10/06 8:00       1/11/06 18:00     34:00                                   Flexicoker Unit                        FXKGTGWHB                                   11.00            0.00 NOX RACT 24-hour rolling average limit of 400 ppm CO.                       2                  H
                000807                                                                  authorized                                          GTG/WHB301                       (unspeciated)
765                                                                                                                                                                                                                            GTG/WHB-301 is permitted under Permit #18287.
                                                                                                                     Oil Movements,
                                                                                                                                            Underground                     TOTAL VOC: VOC
        147380 ETSC 001343              10/16/2010 1:30    10/17/2010 5:30    28:00                                Underground Naphtha                       Pipe Leaks                           101,506.00              0.00 Underground pipe leaks.                                                     2               H, R-RQ
                                                                                                                                             Naphtha Fill                    (unspeciated)
766                                                                                                                        Fill
                                                                                                                                                                                                                              Leak at flange on PS7 drum; event has ended. Portions of the
               ETSC 001282 -                                                            Not specifically                                    Flange at PS7                   TOTAL VOC: VOC
        135717                          02/10/2010 9:45   02/12/2010 12:34    50:49                                   Pipe Still 7 (PS7)                                                              303.00          6010.61 refinery emissions are authorized by Permit #18287/PSD-TX-                   3                  H
               001283                                                                   authorized                                              drum                         (Unspeciated)
767                                                                                                                                                                                                                           730.
                     ETSC 001284 -                                                      Not specifically                                                                    TOTAL VOC: VOC                                    Planned deinventory of Tk-1086 for planned maintenance of
       135797                          02/24/2010 14:30   02/26/2010 22:30    56:00                                   Oil Movements          Tank 1086        TK1086                                1,040.00          6010.61                                                                              3                  H
768                     001285                                                          authorized                                                                           (unspeciated)                                    tank suction and fill valves. Upon completion of maintenance
                                                                                        Portions are authorized                                                                                                               Emissions due to loss of flexicoker fractionator bottoms flow.
                  ETSC 068131 -                                                                                                                                             TOTAL VOC: VOC
        160475                           10/12/11 3:44     10/14/11 13:59     58:15     under Permit                     Flexicoker         Flare Stack 25    FLARE 25                              8.90          6117.32     Portions of emissions are authorized by Permit #18287/PSD-                   3                 F, H
                  068132                                                                                                                                                     (unspeciated)
769                                                                                     #18287/PSD-TX-730                                                                                                                     TX-730M4/PAL7.
                                                                                        Portions of the refinery
                                                                                                                                                                                                                              Flaring due to Flexicoker start-up after shut down. This event
                  ETSC 001221 -                                                         are authorized by Permi                                                             TOTAL VOC: VOC
        126082                         06/25/2009 21:00    06/29/2009 3:46    78:46                                   Flexicoker (FXK)      Flare Stack 27     FL27                                        1.00       6010.61 has ended. Portions of the refinery are permitted under                      4
                  001223                                                                #18287 & PSD-TX-                                                                     (unspeciated)
                                                                                                                                                                                                                              Permit 18287/PSD-TX-730-M4.
770                                                                                     730M4
                                                                                                                                                                                                                                 Run in test of Flexicoker Unit GTG 301 resulting in turbine
                  ETSC 000784 -                                                         Not specifically                                    GTG301 WHB                      TOTAL VOC: VOC
          71454                          2/22/06 13:55      2/27/06 0:00      106:05                                  Flexicoker Unit                                                                      2.00           0.00   emissions being routed through the Waste Heat Boiler bypass               5                  H
                  000785                                                                authorized                                          Bypass STack                     (unspeciated)
771                                                                                                                                                                                                                              stack.
                                                                                                                                                                                                                                 Water ingress from a suspected exchanger leak at Tail Gas
                                                                                                                                                                                                                                 Cleanup Unit C lead to reduced treatment of tail gas at SCU2.
                  ETSC 001065 -                                                         Not specifically           Sulfur Conversion Unit                                   TOTAL VOC: VOC                                       Portions of the emissions from SCU2F702 and SCU2T601 were
        102061                          01/04/2008 5:10    01/08/2008 8:00    98:50                                                         Furnace 702      SCU2F702                                      4.00           0.00                                                                             5                  H
                  001066                                                                authorized                           2                                               (unspeciated)                                       authorized under Flexible PAL Permit #18287/PSD-TX-730M.
                                                                                                                                                                                                                                 Also, flexible Permit #18287 SC30 authorized emissions from
772                                                                                                                                                                                                                              SCU2D702.
                                                                                                                                                                                                                                 Fire at Electrical Substation #5, servicing the lubes plant.
                                                                                                                                                                                                                                 Resulted in trip of East Loop Flare Gas Recovery Compressor
                                                                                                                                            Substation 5 -                                                                       and subsequent flaring off of the East Loop Flare Systems.
                  ETSC 000842 -                                                         Not specifically            Substation 5 & East     Transformers                    TOTAL VOC: VOC                                       Material routed to the flare included flows from MEK, LDU,
          74965                          4/25/06 21:45      4/26/06 21:31     23:46                                                                                                                      63.60            0.00                                                                       already counted
                  000844                                                                authorized                   Loop Flare System      T501, T502 &                     (unspeciated)                                       PDU & LHU2 units. VOC from substation is petroleum
                                                                                                                                                T503                                                                             distillates. This report is being submitted as part of the
                                                                                                                                                                                                                                 interim agreement with TCEQ Region 12. Portions of the
773                                                                                                                                                                                                                              Refinery are permitted under Permit #18287.
                                                                                                                                                                                                                                 Scheduled shutdown due to approach of Hurricane Ike.
                  ETSC 001132 -                                                         Permit #18287 & PSD-TX-      Baytown Refinery                                       TOTAL VOC: VOC
        113887                         09/11/2008 12:00   09/15/2008 18:30    102:30                                                         SCU2 F-529      SCU2F529                                      4.00      6,014.44    Portions of the refinery are permitted under Permit                 already counted
                  001144                                                                730M4                         Operating Units                                        (unspeciated)
774                                                                                                                                                                                                                              18287/PSD-TX-730-M4.
                                                                                                                                                                                                                                 Scheduled startup due to shutdown for Hurricane Ike. This
                                                                                                                                                                                                                                 initial STEERS initial report is based on September 2005
                                                                                                                                                                                                                                 refinery startup after shutdown due to approach of hurricane.
                                                                                                                                                                                                                                 Portions of the refinery are permitted under Permit
                                                                                                                                            HF3 MOV32
                  ETSC 001156 -                                                         Not specifically             Baytown Refinery                                       TOTAL VOC: VOC                                       18287/PSD-TX-730-M4. Note: STEERS would not allow
        114161                         09/15/2008 18:30    10/04/2008 1:00    438:30                                                        Flange Flash                                                   1.00           0.00                                                                       already counted
                  001163                                                                authorized                    Operating Units                                        (unspeciated)                                       submittal of just one report because it exceeded the CCEDS
                                                                                                                                                Fire
                                                                                                                                                                                                                                 requirements. The STEERS contact (Jim Drozd) recommended
                                                                                                                                                                                                                                 we submit two reports. A previous submitted report with
                                                                                                                                                                                                                                 Incident Tracking Number 114157 contains the balance of
775                                                                                                                                                                                                                              information for this startup event.
                                                                                                                                                                                                                                 Scheduled startup due to shutdown for Hurricane Ike. This
                                                                                                                                                                                                                                 initial STEERS initial report is based on September 2005
                                                                                                                                                                                                                                 refinery startup after shutdown due to approach of hurricane.
                                                                                                                                                                                                                                 Portions of the refinery are permitted under Permit
                  ETSC 001156 -                                                         Permit #18287 & PSD-TX-      Baytown Refinery                                       TOTAL VOC: VOC                                       18287/PSD-TX-730-M4. Note: STEERS would not allow
        114161                         09/15/2008 18:30    10/04/2008 1:00    438:30                                                        Flare Stack 26     FS26                                        7.00      6,014.44                                                                        already counted
                  001163                                                                730M4                         Operating Units                                        (unspeciated)                                       submittal of just one report because it exceeded the CCEDS
                                                                                                                                                                                                                                 requirements. The STEERS contact (Jim Drozd) recommended
                                                                                                                                                                                                                                 we submit two reports. A previous submitted report with
                                                                                                                                                                                                                                 Incident Tracking Number 114157 contains the balance of
776                                                                                                                                                                                                                              information for this startup event.
                                                                                                                                                                                                                                 Scheduled startup due to shutdown for Hurricane Ike. This
                                                                                                                                                                                                                                 initial STEERS initial report is based on September 2005
                                                                                                                                                                                                                                 refinery startup after shutdown due to approach of hurricane.
                                                                                                                                                                                                                                 Portions of the refinery are permitted under Permit
                  ETSC 001156 -                                                         Permit #18287 & PSD-TX-      Baytown Refinery                                       TOTAL VOC: VOC                                       18287/PSD-TX-730-M4. Note: STEERS would not allow
        114161                         09/15/2008 18:30    10/04/2008 1:00    438:30                                                           Flare 16       FLARE16                                      1.00      6,014.44                                                                        already counted
                  001163                                                                730M4                         Operating Units                                        (unspeciated)                                       submittal of just one report because it exceeded the CCEDS
                                                                                                                                                                                                                                 requirements. The STEERS contact (Jim Drozd) recommended
                                                                                                                                                                                                                                 we submit two reports. A previous submitted report with
                                                                                                                                                                                                                                 Incident Tracking Number 114157 contains the balance of
777                                                                                                                                                                                                                              information for this startup event.
                                                                                                                                                                                                                                 Spill occurred due to a hole in pipe releasing material to the
                     ETSC 001366 -                                                                                                                                                                                               ground and subsequent air evaporation. Portions of the unit                           H, R-RQ, O-RQ, O-
       151209                           02/06/2011 0:30   02/08/2011 17:00    64:30                                          NA                  Pipe                     TOTAL VOC: Xylene, p-       728.00              0.00                                                                             1
                        001367                                                                                                                                                                                                   emissions are authorized by Permit #18287. This event has                                  M, R-M
778                                                                                                                                                                                                                              ended.
779                                                                                                                                                                                                                                                                                  TOTAL - VOCs         157                146
                                                                                                                                                                                                                                 Liquid sulfur product in tank ignited. Duration of excess
                  ETSC 001249 -                                                         Not specifically
        133051                          12/09/2009 7:45   12/09/2009 14:00     6:15                                Oil Movements Area 3       Tank 667        TKo667        Visible Emissions        50.00%              0.00%   opacity event was 15 minutes. Portions of the unit are                    1                 S, H
                  001250                                                                authorized
780                                                                                                                                                                                                                              authorized by Permit #18287/PSD-TX-730.
781                                                                                                                                                                                                                                                                         SUBTOTAL of OPACITY            1                  1

                                                                                                                                                                                                                                                                                                                         TOTAL
                                                                                                                                                                                                                                                                                                                       TRACEABLE
                                                                                                                                                                                                                                                                                                                        DAYS OF
                                                                                                                                                                                                                                                                                                                       VIOLATION:
782
                                                                                                                                                                                                                                                                                                                          1,152
